       DECLARATION OF AMY RICHARDSON
                             PART II
                          5('$&7('




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                 Exhibit 




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1                          UNITED STATES DISTRICT COURT
                         NORTH CAROLINA MIDDLE DISTRICT
2           _______________________________________________
3           MAXWELL KADEL, et al.,
4                                 Plaintiffs,
5                 vs.                 Case No. 1:19-cv-00272-LCB-LPA
6           DALE FOLWELL, et al.,
7                                 Defendants.
           _________________________________________________
8
                    THE DEPOSITION OF GEORGE R. BROWN, M.D.
9                               September 23, 2021
10
11
12                      **PORTIONS ATTORNEYS' EYES ONLY**
13
14
15
16
17
18
19      Reported by:
20      PATRICIA A. NILSEN, RMR, CRR, CRC
        Licensed Court Reporter 717 for the State of
21      Tennessee
22
23
24
25

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1                                The deposition of GEORGE R. BROWN,
2              M.D., taken on behalf of the Defendants, pursuant
3              to Notice on September 23, 2021, beginning at
4              approximately 9:31 a.m. EST taken remotely.
5                                This deposition is taken in
6              accordance with the terms and provisions of the
7              Federal Rules of Civil Procedure.            All objections
8              are reserved except as to form, and all sides
9              stipulate to the swearing of the witness remotely.
10                               The signature of the witness is
11             reserved.
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1              Q.         And -- and if an individual is Tanner
2              Stage II, are -- what would -- how would you
3              classify that?
4                                 MR. TISHYEVICH:            Same objection.
5              A.         I -- I would classify Tanner Stage II and
6              later as adolescents.
7              Q.         Okay.     So you would -- you would classify
8              Tanner Stage II and -- and later as postpubertal
9              adolescents?
10             A.         Yes.
11             Q.         Until the age of majority at 18?
12             A.         Yes.
13             Q.         At which point you would classify them as
14             no longer adolescents; is that correct?
15             A.         No longer adolescents.               Yes.
16             Q.         So, Dr. Brown, what is gender dysphoria?
17             A.         So gender dysphoria, first of all, is two
18             things:    One, it's a diagnosis.               And I generally
19             use capital G and capital D to make the
20             distinction.       And it's also little G and little D,
21             gender dysphoria, as a set of symptoms of varying
22             degrees of intensity, where people experience some
23             level of incongruence between their sex of
24             assignment at birth and their felt gender.
25                        And that incongruence is what we -- and

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1             the -- the emotional experience of that

2             incongruence is what we call gender dysphoria, with

3             "dysphoria" referring to what I would refer to as a

4             rich amalgam of depression, anxiety, and

5             irritability, in varying amounts, depending on the

6             individual and how they experience it, related to

7             this incongruence or mismatch.

8             Q.         So is that -- is that the distinction made

9             by the DSM-5, between --

10            A.         What --

11            Q.         Does the -- does the DSM-5 diagnosis for

12            gender dysphoria make the distinction you just

13            described between gender dysphoria, the diagnosis,

14            and gender dysphoria, the emotional experience

15            of -- of the individual's incongruence?

16            A.         I think the distinction that -- that DSM-5

17            makes is -- is that the symptom -- that the

18            diagnosis, capital G, capital D, in DSM-5 means

19            that a person who has the symptoms of gender

20            dysphoria have reached a clinically significant

21            level of distress, disability, or dysfunction in

22            occupational or other important areas of their

23            life.

24                       So they -- they distinguish between little

25            G, little D, people having gender dysphoria, who

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1             don't necessarily reach clinical criteria, in much

2             the same way that human beings experience

3             depression, with a little D, versus major

4             depression, with a big D, as a clinical diagnosis.

5             Q.         And so -- so one can -- one can feel

6             gender dysphoria, this incongruence, without

7             suffering from gender dysphoria, the medical

8             diagnosis; is that correct?

9             A.         Absolutely.

10            Q.         And -- and then this is -- because it's

11            not a pop quiz.       I'm just going to introduce the

12            DSM-5 pages on gender dysphoria, because I want

13            to -- I want to be able to refer to them as you --

14            as we discuss this diagnosis.

15                               (EXHIBIT NO. 7, 2013 DSM-5 on

16            gender dysphoria, was marked for

17            identification and attached hereto.)

18            BY MR. KNEPPER:

19            Q.         Exhibit 7 should be available, if not now,

20            in a couple of moments.

21            A.         I'm there.

22            Q.         Do you -- do you recognize this -- this

23            page and these -- these nine pages?

24            A.         I do.

25            Q.         Is this the entry from the DSM-5 for

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1             gender dysphoria?

2             A.           Yes.    2013 DSM-5.

3             Q.           And this is -- this is the diagnostic

4             manual that you use in your practice for diagnosis

5             and treatment of gender dysphoria?

6             A.           Yes.    Used by me, and widely throughout

7             the United States and other countries as well.

8             Q.           So if you'll look at the first page, just

9             down -- just before the end of the second

10            paragraph, there's a sentence that begins, "Gender

11            dysphoria as a general descriptive term refers to

12            an individual's affective/cognitive discontent with

13            the assigned gender but is more specifically

14            defined when used as a diagnostic category."

15                         Did I read that correctly?

16            A.           Yes.

17            Q.           And that -- and that definition of -- that

18            description of gender dysphoria is what you refer

19            to as "little G, little D gender dysphoria," the

20            emotional experience of incongruence?

21            A.           Yeah.    I think I've reasonably paraphrased

22            what's here.

23            Q.           Yeah, absolutely.          I'm not -- I think you

24            did.      I'm just trying to make clear what you

25            testified and tie it to the -- to the DSM.

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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,                               No. 1:19-cv-00272-LCB-LPA

                             Plaintiffs,

                        v.

 DALE FOLWELL, et al.,

                             Defendants.



                      EXPERT DISCLOSURE REPORT OF
                    GEORGE RICHARD BROWN, M.D., DFAPA

I.      PRELIMINARY STATEMENT

        1.    I, George R. Brown, have been retained by counsel for Plaintiffs as an

expert in connection with the above-captioned litigation.

        2.    I have actual knowledge of the matters stated and would so testify if called

as a witness. I reserve the right to supplement or amend this report based on any future

information that is provided to me, including but not limited to information produced by

Defendants in discovery or in response to Defendants’ expert disclosures.

        3.    This report contains my opinions and conclusions, including: (1) the

medical condition known as gender dysphoria; (2) the prevailing treatment protocols for

gender dysphoria, their efficacy, and the cost-effectiveness of this care; (3) whether there

is a legitimate medical basis for the exclusions in the health plans offered by the North

Carolina State Health Plan for Teachers and State Employees (“NCSHP”), which I
                                             1


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understand to exclude “[t]reatment or studies leading to or in connection with sex

changes or modifications and related care”; and (4) the results of my evaluation of each

of the transgender Plaintiffs’ gender dysphoria diagnosis, and the medical necessity of the

care for which they have been and are being denied coverage under NCSHP.

II.      QUALIFICATIONS AND BACKGROUND

         A.    Qualifications

         4.    I am a Professor of Psychiatry and the Associate Chairman for Veterans

Affairs in the Department of Psychiatry at the East Tennessee State University, Quillen

College of Medicine. My responsibilities include advising the Chairman; contributing to

the administrative, teaching, and research missions of the Department of Psychiatry;

consulting on clinical cases at the University and at Mountain Home Veterans Health

Administration (“VHA”) Medical Center, where I also hold an appointment; and acting

as a liaison between the VHA Medical Center and the East Tennessee State University

Department of Psychiatry. The majority of my work involves researching, teaching, and

consulting about health care in the military veteran and civilian transgender populations.

         5.    In 1979, I graduated summa cum laude with a double major in biology and

geology from the University of Rochester in Rochester, New York. I earned my Doctor

of Medicine degree with Honors from the University of Rochester School of Medicine in

1983. From 1983-1984, I served as an intern at the United States Air Force Medical

Center at Wright-Patterson Air Force Base in Ohio. From 1984-1987, I worked in and

completed the United States Air Force Integrated Residency Program in Psychiatry at


                                             2


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Wright State University and Wright-Patterson Air Force Base in Dayton, Ohio. A true

and correct copy of my Curriculum Vitae is attached hereto as Exhibit A.

       6.     I first began seeing patients in 1983. I have been a practicing psychiatrist

since 1987, when I completed my residency. From 1987-1991, I served as one of the few

U.S. Air Force teaching psychiatrists. In this capacity, I performed over 200 military

disability evaluations and served as an officer on medical evaluation boards (“MEBs”) at

the largest hospital in the Air Force. Additionally, I was awarded a military medal in

recognition of my research activities while serving in the Air Force.

       7.     Over the last 35 years, I have evaluated, treated, and/or conducted research

in person with 700-1,000 individuals with gender dysphoria and during the course of

research-related chart reviews with over 5,200 patients with gender dysphoria. The vast

majority of these patients have been active duty military personnel or veterans.

       8.     For over three decades, my research and clinical practice has included

extensive study of health care for transgender individuals, including leading and

authoring three of the largest studies ever conducted which focused on the health care

needs of transgender service members and veterans. Throughout that time, I have done

research on, taught on, and published peer-reviewed professional publications

specifically addressing the needs of transgender individuals. See Brown Ex. A (CV).

       9.     I have authored or coauthored 40 papers in peer-reviewed journals and 26

book chapters on topics related to gender dysphoria and health care for transgender

individuals, including the chapter concerning gender dysphoria in Treatments of


                                             3


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Psychiatric Disorders (3d ed. 2001), a definitive medical text published by the American

Psychiatric Association.

        10.   I have served for more than 15 years on the Board of Directors of the World

Professional Association for Transgender Health (“WPATH”), the leading international

organization focused on health care for transgender individuals. WPATH has over 2,000

members throughout the world and is comprised of physicians, psychiatrists,

psychologists, social workers, surgeons, and other health professionals who specialize in

the diagnosis and treatment of gender dysphoria.

        11.   I was a member of the WPATH committee that authored and published in

2011 the current version of the WPATH Standards of Care for the Health of Transsexual,

Transgender, and Gender Nonconforming People (Version 7) (the “WPATH standards”),

https://www.wpath.org/publications/soc. The WPATH standards are the operative

collection of evidence-based treatment protocols for addressing the health care needs of

transgender individuals. I also serve on the WPATH committee that will author and

publish the next edition of the Standards of Care (Version 8), likely to be released in

2021.

        12.   Without interruption, I have been an active member of WPATH since 1987.

Over the past three decades, I have frequently presented original research on topics

relating to gender dysphoria and the clinical treatment of transgender people at the

national and international levels (seven countries).




                                             4


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       B.     Materials Considered in Preparing This Report

       13.    Attached as Exhibit B is a bibliography of scientific and medical materials

that I considered in forming my opinions in this report, in addition to the specific

materials cited below in the text of my report. I have also undertaken a thorough

evaluation of each transgender Plaintiff. I have also reviewed the Complaint for

Declaratory, Injunctive, and Other Relief, ECF No. 1; proposed First Amended

Complaint for Declaratory, Injunctive, and Other Relief, ECF No. 62-1; and transgender

Plaintiffs’ medical records.

       14.    In preparing this report, I rely on my scientific education and training, my

research experience, my knowledge of the scientific literature in the pertinent fields and

my 38 years of clinical experience in evaluating, treating, and conducting research with

patients with gender dysphoria and other issues related to gender identity.

       15.    The materials I have relied upon in preparing this report are the same types

of materials that experts in my field of study regularly rely upon when forming opinions

on the subject. I may wish to supplement these opinions or the bases for them as a result

of new scientific research or publications or in response to statements and issues that may

arise in my area of expertise.

       C.     Prior Testimony

       16.    I have testified or otherwise served as an expert on the health issues of

transgender individuals in numerous cases heard by several federal district and tax courts.

A true and correct list of federal court cases in which I have served as an expert is


                                              5


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contained in the “Forensic Psychiatry Activities” section of my Curriculum Vitae, which

is attached hereto as Exhibit A.

         D.    Compensation

         17.   I am being compensated at an hourly rate for actual time devoted, at the

following rates: $400.00 per hour for work that does not involve depositions or court

testimony; $500.00 per hour for time spent on depositions, with a half-day flat fee of

$2,000.00; $600.00 per hour for in-person court testimony; $4,000.00 for a full work-day

out of office for deposition testimony billed in half day increments assuming an eight

hour work day; and $4,800.00 for a full work-day out of office for trial testimony billed

in half day increments assuming an 8 hour work day.

         18.   My compensation does not depend on the outcome of this litigation, the

opinions I express, or the testimony I provide.

III.     EXPERT OPINIONS

         A.    Gender Dysphoria

         19.   The term “transgender” is used to describe someone who experiences any

significant degree of misalignment between their gender identity and their sex assigned at

birth.

         20.   Gender identity describes a person’s internalized, inherent sense of their

gender. For most people, their gender identity is consistent with their sex assigned at

birth. Most individuals assigned female at birth grow up, develop, and manifest a gender

identity typically associated with girls and women. Most individuals assigned male at


                                              6


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birth grow up, develop, and manifest a gender identity typically associated with boys and

men. For transgender people, that is not the case. Transgender women are individuals

assigned male at birth who have a persistent female identity. Transgender men are

individuals assigned female at birth who have a persistent male identity.

       21.    Although the precise etiology of gender identity is unknown, research

indicates that gender identity has a biological component, meaning that each person’s

gender identity (transgender and non-transgender individuals alike) is, in part, influenced

by biological factors, and not just social, cultural, and behavioral ones (Skorska, et al.,

2021; Kreukels, et al., 2016; Byne, et al., 2012).

       22.    Regardless of the precise origins of a person’s gender identity, there is a

medical consensus that gender identity is deep-seated, set early in life, and impervious to

external influences (Ettner and Guillamon, 2016).

       23.    The American Psychiatric Association’s Diagnostic and Statistical Manual

of Mental Disorders (2013) (“DSM-5”) is the current, authoritative handbook on the

diagnosis of conditions that present with mental signs and symptoms. Mental health

professionals in the United States, Canada, and other countries throughout the world rely

upon the DSM-5. The content of the DSM-5 reflects a science-based, peer-reviewed

process by experts in the field.

       24.    Gender dysphoria is the diagnostic term in the DSM-5 for the condition that

can manifest when a person suffers from clinically significant distress or impairment




                                              7


   Case 1:19-cv-00272-LCB-LPA Document 181-1 Filed 12/20/21 Page 20 of 590
associated with an incongruence or mismatch between a person’s gender identity and sex

assigned at birth.

       25.    The diagnosis of gender dysphoria in the DSM-5 (pps. 451-459) involves

two major diagnostic criteria for adolescents and adults, summarized below:

              a.            A marked incongruence between one’s experienced/expressed

                            gender and assigned gender, of at least six months’ duration, as

                            manifested by at least two of the following:

                       i.          A marked incongruence between one’s experience/expressed

                                   gender and primary and/or secondary sex characteristics.

                      ii.          A strong desire to be rid of one’s primary and/or secondary

                                   sex characteristics because of a marked incongruence with

                                   one’s experience/expressed gender.

                     iii.          A strong desire for the primary and/or secondary sex

                                   characteristics of another gender.

                     iv.           A strong desire to be of another gender.

                      v.           A strong desire to be treated as another gender.

                     vi.           A strong conviction that one has the typical feelings and

                                   reactions of another gender.

              b.            The condition is associated with clinically significant distress or

                            impairment in social, occupational, or other important areas of

                            functioning.


                                                    8


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       26.    Being transgender is not a mental disorder. See DSM-5. Men and women

who are transgender have no impairment in judgment, stability, reliability, or general

social or vocational capabilities solely because of their transgender status.

       27.    The clinically significant emotional distress experienced as a result of the

incongruence of one’s gender with their birth-assigned sex and the physiological

developments associated with that sex is the hallmark symptom associated with gender

dysphoria.

       28.    Individuals with gender dysphoria may live for a significant period of their

lives in denial of these symptoms (see, for example, Brown, 1988; McDuffie and Brown,

2010). Some transgender people may not initially have the language for their distress or

the resources to find support until well into adulthood (Lev, 2004).

       29.    Particularly as societal acceptance towards transgender individuals grows

and there are more examples of successful transgender individuals represented in media

and public life, younger people in increasing numbers have access to medical and mental

health resources that help them understand their experiences and allow them to obtain

medical support at an earlier age and resolve the clinical distress associated with gender

dysphoria (Butler, et al., 2018; Pullen Sansfaçon, et al., 2019).

       B.     Treatment for Gender Dysphoria

       30.    Gender dysphoria is a condition that is highly amenable to treatment

(Coleman, et al., 2012). With appropriate treatment, individuals with a gender dysphoria




                                              9


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diagnosis can experience significant relief, and potentially be fully cured of all clinically

significant symptoms.

         31.   Treatment of gender dysphoria has well-established community standards

for treatment and is highly effective in treating the clinically significant symptoms of this

condition (Coleman, et al., 2012; Ettner, et al., 2016; Murad, et al., 2010; Tucker, et al.,

2018).

         32.      The American Medical Association (“AMA”), the Endocrine Society,

the American Psychiatric Association, and the American Psychological Association all

agree that medical treatment for gender dysphoria is medically necessary and effective. 1

See American Medical Association (2008), Resolution 122 (A-08); American Psychiatric

Association, Position Statement on Discrimination Against Transgender & Gender

Variant Individuals (2012); Endocrine Treatment of Gender-Dysphoric/Gender-

Incongruent Persons: An Endocrine Society Clinical Practice Guideline (2017);

American Psychological Association Policy Statement on Transgender, Gender Identity

and Gender Expression Nondiscrimination (2008).

         33.   The protocol for treatment of gender dysphoria is set forth in the WPATH

standards and in the Endocrine Society Clinical Practice Guidelines for Endocrine


1
 Additional organizations that have made similar statements include: the American
Academy of Child & Adolescent Psychiatry, American Academy of Family Physicians,
American Academy of Nursing, American College of Nurse Midwives, American
College of Obstetrics and Gynecology, American College of Physicians, American
Medical Student Association, American Nurses Association, American Public Health
Association, National Association of Social Workers, and National Commission on
Correctional Health Care.
                                              10


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Treatment of Gender-Dysphoric/Gender-Incongruent Persons. 2 First developed in 1979

and currently in their seventh version, the WPATH standards set forth the authoritative

protocol for the evaluation and treatment of gender dysphoria. This approach is followed

by clinicians caring for individuals with gender dysphoria, including veterans in the

VHA. As stated above, I was a member of the WPATH committee that authored the

WPATH standards (Version 7), published in 2011.

       34.    Depending on the needs of the individual, a treatment plan for persons

diagnosed with gender dysphoria may involve components that are psychotherapeutic

(i.e., counseling as well as social role transition—living in accordance with one’s gender

in name, dress, pronoun use); pharmacological (i.e., hormone therapy); and surgical (i.e.,

gender confirmation surgeries, such as hysterectomy for transgender men and

orchiectomy for transgender women; Ettner, et al., 2016; Byne, et al., 2018). Under each

patient’s treatment plan, the goal is to enable the individual to live all aspects of one’s life

consistent with his or her gender identity, thereby eliminating the distress associated with

the incongruence.

       35.    Individual patients’ treatment needs vary (Coleman, et al., 2012; Lev, 2004;

Ettner, et al., 2016). For example, some patients need hormone therapy and surgical

intervention, while others need just one or neither. Generally, medical intervention is




2
 Available at https://www.endocrine.org/guidelines-and-clinical-practice/clinical-
practice-guidelines/gender-dysphoria-gender-incongruence.
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aimed at bringing a person’s body into some degree of conformity with their gender

identity.

       36.    Treatment protocols for gender dysphoria are comparable to those for other

mental health and medical conditions. Counseling, hormone therapy, and surgical care

for gender dysphoria—including procedures such as mastectomies, hysterectomies, and

genital reconstruction—are routinely performed as medically necessary care for other

medical conditions.

       37.    Under the WPATH standards, hormone therapy and surgical care as

medically necessary treatments for gender dysphoria are to be undertaken only after

assessment of the patient by qualified mental health professionals. Hormone therapy and

surgical treatment may be obtained once there is written documentation that this

assessment has occurred and that the person has met the criteria in the WPATH standards

for the relevant form of care.

       38.    Under the WPATH standards, the number of referrals from qualified

mental health professionals varies based on the treatment needed. Patients must also

meet the following criteria:

              a.      Persistent, well-documented gender dysphoria.

              b.      Capacity to make a fully informed decision and to consent for

                      treatment.

              c.      Age of majority in a given jurisdiction (if younger, follow the

                      WPATH standards for children and adolescents).


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              d.     If significant medical or mental health concerns are present, they

                     must be reasonably well controlled.

       C.     North Carolina’s Categorical Exclusion of Coverage for Gender-
              Confirming Care

       39.    There is no basis in medicine or science for NCSHP’s exclusion of

coverage for “[t]reatment or studies leading to or in connection with sex changes or

modifications and related care,” which appears to categorically bar coverage for gender-

confirming mental health, hormonal, and surgical care for transgender people.

       40.    These treatments are not elective or cosmetic. Rather, sixty years of

clinical experience have demonstrated the efficacy of treatment of the distress resulting

from gender dysphoria. For example, WPATH has explained:

       The medical procedures attendant to gender affirming/confirming surgeries are not
       “cosmetic” or “elective” or “for the mere convenience of the patient.” These
       reconstructive procedures are not optional in any meaningful sense, but are
       understood to be medically necessary for the treatment of the diagnosed condition.
       In some cases, such surgery is the only effective treatment for the condition, and
       for some people genital surgery is essential and life-saving.

WPATH, “Position Statement on Medical Necessity of Treatment, Sex Reassignment,

and Insurance Coverage in the U.S.A.” (Dec. 21, 2016) (footnote omitted).

       41.    As recently summarized by WPATH’s “Position Statement on Medical

Necessity of Treatment, Sex Reassignment, and Insurance Coverage in the U.S.A.,”

decades of studies and research have demonstrated that transition-related care, including

hormone therapy and surgery, is safe and effective. Based on this robust body of

research, an independent medical board in the U.S. Department of Health & Human


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Services issued a decision in 2014, rescinding a Medicare policy that had excluded

surgery from Medicare coverage. The decision explained that the Medicare surgery

exclusion was based on a medical review conducted in 1981 and failed to take into

account subsequent developments in surgical techniques and medical research. The

Board stated: “We have no difficulty concluding that the new evidence, which includes

medical studies published in the more than 32 years since issuance of the 1981 report

underlying the” surgery exclusion “demonstrates that transsexual surgery is safe and

effective and not experimental.”

      42.    Nor is there any uncertainty or dispute in the medical field regarding the

medical necessity of this care. See WPATH, “Position Statement on Medical Necessity

of Treatment, Sex Reassignment, and Insurance Coverage in the U.S.A.” (Dec. 21, 2016)

(explaining that based on clinical and peer reviewed evidence, gender-confirming care

meets standard definitions of medical necessity used by insurers in the United States). As

discussed above, every major medical organization in the United States, including the

AMA, the Endocrine Society, the American Psychiatric Association, and the American

Psychological Association agrees that gender-confirming care, including hormone

therapy and surgery, is medically necessary and effective treatment for individuals with

gender dysphoria.

      43.    The research and studies supporting the necessity, safety, and effectiveness

of counseling, hormone therapy, and surgical care for gender dysphoria is the same type

of evidence-based data that the medical community routinely relies upon when treating


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other medical conditions (van de Grift, et al., 2017; Tucker, et al., 2018; Asscheman, et

al., 2011; De Cuypere, et al., 2005; Gijs and Brewaeys, 2007; Murad, 2010; Smith, et al.,

2005; Nguyen, et al., 2019; Colizzi et al., 2013; Colizzi, et al., 2014; Smith, et al., 2005;

Dhejne, 2016; Fisher, et al., 2016; Keo-Meier, et al., 2015; Oda, et al., 2017; Davis, et al.,

2014; Owen-Smith, et al., 2018; de Vries, et al., 2014). Outcome studies have been

published since the 1990’s and those published in recent times, cited above, have

concluded that “most people are very satisfied after gender-confirming therapy: their

gender dysphoria is alleviated, psychological functioning and body satisfaction have

improved, and their quality of life has increased. In these follow-up studies psychiatric

comorbidity is diminished and individual sexual health is increased” (De Cuypere G.,

2016). My own clinical experience treating hundreds of patients with gender dysphoria

also confirms the medical necessity and efficacy of this care.

       44.       In addition to being effective for the treatment of gender dysphoria, these

interventions are also cost effective for the health care systems that provide them for

several reasons (Padula, et al., 2015; Elders, et al., 2014; Schaefer, et al., 2016).

       45.       First, based on decades of medical experience and research, it is clear that

only a very small percentage of the overall population is transgender (DSM-5; Coleman,

et al., 2012).

       46.       Second, not all medical interventions will be indicated for every

transgender person. As discussed earlier, treatment for gender dysphoria can vary widely

across individual transgender patients and surgery may not be medically indicated for


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some because of contraindicated health conditions, age, or treatment goals. This clinical

reality is reflected in research from the RAND Corporation and the Johns Hopkins

Bloomberg School of Public Health which demonstrates that the cost of insuring surgical

treatments for gender dysphoria through a group health plan is at most, negligible

(Schaefer, et al., 2016; Padula, et al., 2015; Elders, et al., 2014).

          47.   Third, the cost effectiveness of gender confirming care for persons with

gender dysphoria, including both cross-sex hormones and gender confirming surgery is

reflected in findings that such treatment is associated with avoidance of a number of

negative outcomes experienced by those who are not treated. The incremental cost to

health plans of providing comprehensive care is insignificant. One recent study

calculated a cost of $0.016 per member per month (Padula, et al., 2016). Authors Padula,

Heru, and Campbell concluded that “health insurance coverage for the U.S. transgender

population is affordable and cost-effective and has a low budget impact on U.S. society”

(id.).

         48.    Finally, there is not a disproportionate cost between providing medical care

to transgender people for the treatment of gender dysphoria that is also provided to

cisgender people for the treatment of other medical conditions. For example, some

cisgender women are prescribed estrogen treatment after menopause in similar doses and

at similar costs as estrogen treatment prescribed to transgender women for the treatment

of gender dysphoria. Though the billing codes might be different, the costs for hormone

therapy for transgender and cisgender patients is not. Similarly, the cost of a double


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      I hereby certify that on March 1, 2021, I caused a copy of the foregoing document

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             Exhibit 23(b)




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                   Exhibit B




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             Exhibit 23(c)




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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,                                No. 1:19-cv-00272-LCB-LPA

                             Plaintiffs,

                        v.

 DALE FOLWELL, et al.,

                             Defendants.



             SUPPLEMENTAL EXPERT DISCLOSURE REPORT OF
                 GEORGE RICHARD BROWN, M.D., DFAPA

       1.     I, George R. Brown, have been retained by counsel for Plaintiffs as an

expert in connection with the above-captioned litigation.

       2.     I have actual knowledge of the matters stated and would so testify if called

as a witness. I reserve the right to supplement or amend this report based on any future

information that is provided to me, including but not limited to information produced by

Defendants in discovery or in response to Defendants’ expert disclosures.

       3.     I previously signed an expert report that served on March 1, 2021 setting

forth my opinions on: (1) the medical condition known as gender dysphoria; (2) the

prevailing treatment protocols for gender dysphoria, their efficacy, and the cost-

effectiveness of this care; (3) whether there is a legitimate medical basis for the

exclusions in the health plans offered by the North Carolina State Health Plan for

Teachers and State Employees (“NCSHP”), which I understand to exclude “[t]reatment

                                              1

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or studies leading to or in connection with sex changes or modifications and related

care”; and (4) for each transgender individual named as a plaintiff at that time, the results

of my evaluation of their gender dysphoria diagnosis, and the medical necessity of the

care for which they have been and are being denied coverage under NCSHP.

       4.     Since that time, I understand that the Court has accepted Plaintiffs’ First

Amended Complaint for Declaratory, Injunctive, and Other Relief for filing, and that

Dana Caraway is now a plaintiff in this action. I now provide this report to supplement

my expert opinion regarding the results of my evaluation of Ms. Caraway’s gender

dysphoria diagnosis, and the medical necessity of the care for which NCSHP denies her

coverage.

       A.     Materials Considered in Preparing This Supplemental Report

       5.     In preparing this supplemental report, I considered the materials disclosed

in the body of and bibliography attached to my initial expert report. I have also

undertaken a thorough evaluation of Ms. Caraway, and reviewed her medical records.

       6.     In preparing this supplemental report, I rely on my scientific education and

training, my research experience, my knowledge of the scientific literature in the

pertinent fields and my 38 years of clinical experience in evaluating, treating, and

conducting research with patients with gender dysphoria and other issues related to

gender identity.

       7.     The materials I have relied upon in preparing this supplemental report are

the same types of materials that experts in my field of study regularly rely upon when



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forming opinions on the subject. I may wish to supplement these opinions or the bases

for them as a result of new scientific research or publications or in response to statements

and issues that may arise in my area of expertise.

       B.     Evaluation of Ms. Caraway

       8.     Section B of this report is designated ATTORNEYS EYES ONLY

pursuant to the Stipulated Protective Order in this matter. ECF No. 70.

       9.



       10.




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               REDACTED TEXT SUBJECT TO MOTION TO SEAL




ATTORNEYS EYES ONLY, continued




     11.




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ATTORNEYS EYES ONLY, continued




     12.




     13.




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                  REDACTED TEXT SUBJECT TO MOTION TO SEAL




ATTORNEYS EYES ONLY, continued




                                     CONCLUSION

      14.    In summary, my evaluation of Ms. Caraway confirms that she has been

properly diagnosed with Gender Dysphoria, and that the care discussed above that she

has been denied pursuant to the exclusion is medically necessary for her, consistent with

national standards of care for the diagnosis of Gender Dysphoria. I may supplement these

opinions in response to information produced by Defendants in discovery or in response

to Defendants’ expert disclosures.

      I declare under penalty of perjury that the foregoing is true and correct. Executed

this second day of April, 2021.




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                            CERTIFICATE OF SERVICE
       I hereby certify that on April 5, 2021, I caused a copy of the foregoing document
and all attachments to be served upon the following parties via email:

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                                            7

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             Exhibit 23(d)




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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,                               No. 1:19-cv-00272-LCB-LPA

                             Plaintiffs,

                        v.

 DALE FOLWELL, et al.,

                             Defendants.



                 EXPERT REBUTTAL DISCLOSURE REPORT OF
                   GEORGE RICHARD BROWN, M.D., DFAPA

       I, George R. Brown, declare as follows:

       1.     I have been retained by counsel for Plaintiffs as an expert in connection with

the above-captioned litigation.

       2.     I have actual knowledge of the matters stated and would so testify if called

as a witness. I reserve the right to supplement or amend this report based on any future

information that is provided to me, including but not limited to information produced by

Defendants in discovery or in response to Defendants’ expert disclosures.

       3.     I previously submitted an expert report that was served on March 1, 2021

setting forth my opinions on: (1) the medical condition known as Gender Dysphoria; (2) the

prevailing treatment protocols for a diagnosis of Gender Dysphoria, their efficacy, and the

cost-effectiveness of this care; (3) whether there is a legitimate medical basis for the

exclusions in the health plans offered by the North Carolina State Health Plan for Teachers
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and State Employees (“NCSHP”), which I understand to exclude “[t]reatment or studies

leading to or in connection with sex changes or modifications and related care”; and (4) for

each transgender individual named as a Plaintiff at that time, the results of my evaluation

of their Gender Dysphoria diagnosis, and the medical necessity of the care for which they

have been and are being denied coverage under NCSHP. I supplemented my report on

April 5, 2021 to provide the results of my evaluation of the Gender Dysphoria diagnosis

for an additional Plaintiff, Dana Caraway, and the medical necessity of the care for which

she was denied coverage under NCSHP.

       4.     I submit this rebuttal report to respond to the declarations of Patrick W.

Lappert, M.D. (“Lappert Decl.”), Stephen B. Levine, M.D. (“Levine Decl.”), Paul W. Hruz

M.D. (“Hruz Decl.”), and Paul R. McHugh, M.D. (“McHugh Decl.”), provided by the

Defendants in this matter.

       5.     In preparing this rebuttal report, I considered the materials disclosed in the

body of and bibliography attached to my initial expert report, as well as the materials

described in my supplemental report and attached exhibits. I also reviewed the declarations

from Defendants described above and the accompanying exhibits, and the rebuttal reports

submitted in this matter by Drs. Schechter, Karasic, and Olson.

       6.     I also rely on my scientific education and training, my research experience,

my knowledge of the scientific literature in the pertinent fields and my 38 years of clinical

experience in evaluating, treating, and conducting research with patients with gender

dysphoria and other issues related to gender identity. This experience is detailed in the

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updated curriculum vitae attached as Exhibit A. I also attach an updated bibliography

reflecting additional sources I have considered to prepare this rebuttal report, some of

which are specifically referenced within the text below.

        7.     The materials I have relied upon in preparing this rebuttal report are the same

types of materials that experts in my field of study regularly rely upon when forming

opinions on the subject. I may wish to supplement these opinions or the bases for them as

a result of new scientific research or publications or in response to statements and issues

that may arise in my area of expertise.

I.      Defendants’ Experts Dr. Hruz and Dr. Lappert Have Limited Training and
        Experience with Treatment of Gender Dysphoria in Adults and Adolescents,
        and the Opinions of All Four Experts Are Far Outside the Medical Consensus.

        8.     I have reviewed the declarations of Defendants’ experts, as well as their

curriculum vitae, and statements regarding their training, experience, and research with

patients with a diagnosis of Gender Dysphoria (the diagnosis and treatment of which are

the issues in this litigation).

        9.     As a preliminary point, I note that throughout their reports, all four of

Defendants’ experts use a term that appears to have little traction even on the unregulated

internet: Transgender Treatment Industry. (See, for example, Hruz Decl. at 62 ¶ 65;

Lappert Decl. at 6 (referring to “the highly controversial field of the Transgender Treatment

Industry”); McHugh Decl. at 10 ¶ 9 (referring to the “Transgender Treatment Industry” as

“another Psychiatric Misadventure” similar to lobotomies or recovered memory therapy);

Levine Decl. at 10 ¶ 8.l (referring to “the ‘affirmation’ treatment industry” which he says


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is “often referred to as the Transgender Treatment Industry”).) Defendants’ experts even

give this new, unused term an acronym, implying that it is in wide use (TTI).

       10.    Nothing could be further from the truth. The terms TTI or “Transgender

Treatment Industry” are not commonly-known or commonly-accepted in the field of

psychology or in the field of treatment of Gender Dysphoria more specifically. The use of

this term (with the pejorative suggestion of the word “industry”) in fact appears to be

idiosyncratic to Defendants’ experts, and it also appears to be part of the concerted attacks

by Defendants’ experts on the dedicated clinicians who provide care for the marginalized

community of transgender people—many of whom are evaluated and treated pro bono or

nearly so.

       11.    These and other ad hominem attacks on Plaintiffs’ experts (some of which I

address further below) are improper. Indeed, it is unfortunate that Defendants’ experts

accuse well-meaning and hard-working clinicians of malfeasance and unethical conduct

simply for following well-accepted and well-settled standard of care guidelines for

treatment of Gender Dysphoria. Fortunately, the majority of clinicians do not share the

narrow-minded views of these experts, whose opinions (as I describe further below) are far

from the mainstream of American medicine.

       12.    Setting aside the phraseology of Defendants’ experts, I also question their

relevant experience in treating adult and adolescent patients with Gender Dysphoria

(particularly Dr. Hruz and Dr. Lappert), and I also disagree with the substance of their

opinions, as set forth below.

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       13.     Moreover, as explained further below in Section II, the reports of all these

four experts inappropriately focus primarily on medical interventions for pre-pubescent

children, which are not medically indicated under the Standards of Care. Below, I describe

the limitations of the experience of Defendants’ experts in the relevant field.

       14.     Dr. Hruz. Dr. Hruz has not provided direct clinical care for adults or

adolescents with a diagnosis of Gender Dysphoria. His curriculum vitae does not identify

any training, experience, or research with respect to patients with this diagnosis. Of his 50

publications, only two mention gender dysphoria, and one is a Letter to the Editor and one

is an opinion piece published in the Catholic Medical Association’s journal. Both of these

publications are his personal opinions and do not discuss the topic from a clinical or

research perspective.

       15.     Dr. Hruz is also not a reviewer for any relevant professional journals where

mainstream literature on gender dysphoria is published. Furthermore, even though he

works at a prestigious medical institution in St. Louis (Washington University) which has

a well-established and respected transgender clinic since 2016, he has not been involved in

this clinic.

       16.     Finally, despite purporting to offer expert opinions in adolescent and adult

psychiatry as part of his report, Dr. Hruz reports no training or experience in these areas.

       17.     Dr. Lappert. Dr. Lappert likewise does not have the requisite training,

clinical experience, or research experience to render opinions regarding the medical and

psychiatric treatment of adolescents and adults with a diagnosis of gender dysphoria.

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Instead, his training and experience is as a surgeon. Moreover, the bulk of his experience

as a surgeon was in the United States Navy, during which he could not have performed

transition-related surgeries, as these were not authorized in the Department of Defense until

after he left the Navy.

       18.    Dr. Lappert does not appear to have provided any professional presentations

on transgender issues at Category I continuing medical education meetings at the state,

regional, national, or international levels. He has no publications regarding research into

the topic of Gender Dysphoria in adolescents or adults. He has not had any apparent

University affiliation in 19 years. In sum, from my review of Dr. Lappert’s curriculum

vitae and experience, I see no evidence that he has the requisite training, experience, or

research expertise that would qualify him as an expert in any type of transgender health,

let alone the treatment of a diagnosis of Gender Dysphoria in adolescents and adults.

       19.    Dr. McHugh. Dr. McHugh likewise does not have the requisite training,

clinical experience, or research experience to render opinions regarding the medical and

psychiatric treatment of adolescents and adults with a diagnosis of Gender Dysphoria. He

focuses his opinions on long-since-addressed controversies that existed over four decades

ago (like lobotomy, repressed memory syndrome, and multiple personality disorder), and

he does not appear to have any significant experience with respect to the modern, accepted,

clinical practices in transgender health. Although he was successful at influencing the

closure of the gender clinic at Johns Hopkins in 1979, “nearly 4 decades after he derailed

a pioneering transgender program at Johns Hopkins Hospital with his views on ‘guilt-

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ridden homosexual men,’ psychiatrist Paul McHugh is seeing his institution come full

circle with the resumption of gender reassignment surgeries.” (Washington Post, 4/15/17.)

When he co-authored a paper in a conservative Catholic publication, The New Atlantis,

over 600 students, faculty, alumni, and others at Johns Hopkins medical school signed a

petition calling on the hospital to disavow any connection between their institution and

Dr. McHugh.

       20.    Dr. Levine. Indeed, of these four experts, only Dr. Levine appears to have

any relevant training or limited recent clinical experience in the management of adolescents

or adults with a diagnosis of Gender Dysphoria. Despite that, the views expressed in his

report are outliers in the community, and they do not comport with the prevailing standards

of care or its extensive evidentiary base. Dr. Levine’s own institution, Case Western

Reserve University, follows the prevailing standards of care and provides gender-affirming

care to transgender people.

       21.    Below, I provide responses to the substantive opinions of these four experts.

There is substantial overlap, almost to the point of “cut-and-paste,” of some of the exact

statements and opinions proffered by these physicians. Therefore I will not always provide

my rebuttal responses in an individualized fashion, since a number of them apply to more

than one declaration.




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II.      Defendants’ Experts Contravene the Scientific Consensus Around the Medical
         Necessity, Safety, and Efficacy of Gender-Affirming Care.

         A.    Defendants’ Experts Improperly Conflate the Appropriate Medical
               Treatment of Gender Dysphoria in Pre-Pubertal Children Versus
               Adolescents and Adults.

         22.   The declarations from Defendants’ experts largely fail to respond to the

opinions and body of peer-reviewed literature described in my initial report, focusing

instead on issues such as the appropriateness of hormonal intervention and other medical

treatments for pre-pubescent children. To the extent Defendants’ experts suggest that I

have opined in favor of providing medical or surgical interventions to pre-pubescent

children, that is not the case.    There is wide agreement that medical and surgical

interventions are not indicated or appropriate in pre-pubescent children with gender

incongruence, and I have not opined otherwise. Beyond that, I have not been asked to offer

affirmative opinions about the appropriate course of treatment for Gender Dysphoria for

pre-pubescent children, and I do not intend to offer such opinions in this case.

         23.   Moreover, the supposedly “key” literature on which all four of Defendants’

experts rely (e.g., NICE review for Great Britain 2020, the Swedish review, the 2020

COHERE Finland reviews, etc.) focus exclusively on pre-pubertal children and thus do not

bolster Defendants’ arguments about medical care for adolescents and adults at all. In the

Finnish reviews, for example, the recommendations are largely in line with the World

Professional Association of Transgender Health (“WPATH”) Standards of Care (“SOC”),

and with modern clinical practice for adults with Gender Dysphoria:



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              “Treatment measures that modify the body to be more
              congruent with the person’s gender identity can be carried out
              if the person can reasonably justify them and is aware of the
              risks associated with them.” (pg 1, COHERE, Finnish review,
              at www.palveluvalikoima.fi/en). “Surgical procedures are
              carried out in line with the principles of promoting a good
              outcome and reducing adverse events . . .”

       24.    There are in fact, three separate reports published by COHERE in Finland,

and they divide minors into pre-puberty and post-puberty.            They indicate in their

recommendations “puberty suppression treatment may be initiated on a case-by-case

basis . . . ” for post-pubescent adolescents. See Medical treatment methods for dysphoria

associated     with     variations     in    the     gender        identity   of    minors,

https://palveluvalikoima.fi/sukupuolidysforia-alaikaiset. In summary, Defendants’ experts

misrepresent the three Finnish COHERE 2020 reports, again confusing pre-pubertal

children with post-pubertal adolescents and adults, while it clearly states in the Finnish

guidelines that appropriately diagnosed patients can be treated.

       25.    I am aware of no standards of care followed by any mainstream clinicians

who are experts in transgender healthcare that recommend medical or surgical treatments

for pre-pubertal children with gender incongruence/gender dysphoria of childhood.

Defendants’ experts’ conflation of this group of children with post-pubertal/late

adolescents and adults is misleading, inappropriate, and confusing for the readers of their

reports.

       26.    Defendants’ experts offer no references or literature to support the denial of

routine transgender healthcare for adolescents or adults diagnosed with Gender Dysphoria,


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following the WPATH Standards of Care (SOC).               This is likely because, in my

understanding and experience, no such scientifically-reliable literature has been published

in at least the last 15 years.

       27.     Defendants’ experts also erroneously generalize about the appropriate course

of treatment for Gender Dysphoria in adults or adolescents based on data about pre-pubertal

children.    This is inappropriate.   The Diagnostic and Statistical Manual of Mental

Disorders, Fifth Edition (“DSM-5”) recognizes separate criteria for diagnosing Gender

Dysphoria in children, on the one hand, and adults and adolescents on the other. The

WPATH Standards of Care (SOC) have distinct standards of care for pre-pubertal children,

adolescents and adults. As noted in my original report, the WPATH SOC, version 7

(Coleman, et al, 2011), are the nationally and internationally accepted standards of care for

the evaluation and treatment of a diagnosis of Gender Dysphoria in adolescents and adults.

These standards of care are also specifically followed by the largest healthcare systems in

the United States (Department of Veterans Affairs, Kaiser-Permanente) as well as most

major insurers of healthcare in the United States, including the corporate policy for Blue

Cross and Blue Shield which specifically references these WPATH standards. See Blue

Cross Blue Shield of North Carolina, Corporate Medical Policy, Gender Affirmation

Surgery and Hormone Therapy (2021). They are also utilized as standards of care by many

Departments of Corrections, the Federal Bureau of Prisons, the National Health Service of

the UK, and many other countries as well. Coverage for transgender health care has been

considered medically necessary for appropriately diagnosed individuals suffering from

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Gender Dysphoria for more than a decade. The opinions of Defendants’ experts to the

contrary are therefore significantly out of step with the rest of the medical, scientific, and

insurance industry communities.

       28.    Defendants’ experts also premise their opinions on the assumption that

Gender Dysphoria in post-pubertal adolescents and adults is very likely to “disappear” if

left untreated. I disagree. For example, in one follow-up study of adolescents treated at a

gender clinic, 100% of the 70 individuals treated ultimately underwent hormone therapy,

and continued to identify with a gender different than the one assigned to them at birth.

(de Vries, Steensma, Doreleijers, & Cohen-Kettenis, 2011.)

       29.    My personal experience treating patients is consistent with studies like these.

For example, in my personal experience, I have had no adult or late adolescent patients

with Gender Dysphoria report a resolution of these clinical symptoms without one or more

interventions. I have had no adults under my care “detransition” after medical and/or

surgical interventions for a diagnosis of Gender Dysphoria, and whose care has followed

the WPATH Standards of Care.

       30.    Drs. Hruz and Levine also misquote a publication by Exposito-Campos

(2020) that they say cites a figure of “60,000” people on the internet that they claim have

“detransitioned.” The Exposito-Campos paper says nothing of the kind. The authors of

this paper only allude to a so-called “subreddit” on Reddit (a social news aggregation and

discussion website that anyone can join), that claims to have 16,000 members who may

have some interest in this topic.

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       31.    That subreddit (www.reddit.com/r/detrans) shows 20,100 posters. This

group includes health care providers, those who claim they have detransitioned or are

detransitioning, those who claim to have “desisted,” and those who are “questioning.”

There are no limitations to joining as a poster on this subreddit, and “membership” on this

group is widely open and poorly defined. It is therefore unknown how many of those

20,100 posters are actually appropriately classified as “detransitioners” (i.e., post-pubertal

people who had socially, medically and/or surgically transitioned from their birth sex and

“original” gender to some other gender and then reversed that transition). Moreover, there

is no indication how many posters may have detransitioned because of true feelings of

regret, as opposed to external pressures related to stigma and discrimination. Regardless,

even if the number of posters were a reliable measure of regret, in comparison to the

population of transgender people this would indicate that regret is a rare phenomenon. It

is also noteworthy that Dr. Levine (¶ 99) states there are “misleading reports of clinical

experience, publications that misreport evidence, and the unregulated content of the

Internet” as problems associated with providing transgender healthcare, while at the same

time misquoting the Exposito-Campos publication and relying on an unregulated Internet

website to support his misguided opinions on withholding standard-of-care treatments for

patients with a diagnosis of gender dysphoria.

       B.     Randomized Control Trials Are Not the Only Accepted Basis for
              Medically Necessary and Generally-Accepted Treatment Protocols.

       32.    Defendants’ experts assert that there is a lack of evidence demonstrating the

effectiveness of the accepted protocols for the treatment of Gender Dysphoria – primarily

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because, they argue, these protocols are not supported by randomized control trials. (See,

for example, Hruz ¶ 58 (“The most notable deficiencies of existing research are the absence

of proper control subjects and lack of randomization in study design.”); McHugh ¶ 10(C)

(criticizing the “Transgender Treatment Industry” for failing to “conduct competent

randomized clinical trials”).)    They also argue that because these protocols are not

supported by randomized controlled trials, such treatments are by definition

“experimental” and not generally accepted by the relevant scientific community. (See, for

example, Hruz ¶ 26(B) (“In my opinion, the relevant scientific community agrees that

Transition Treatments are controversial, unproven, untested, and experimental . . . .”).)

       33.    Implicit in these opinions from Defendants’ experts is the assumption that

only those treatments that are supported by randomized control trials are generally

accepted, non-experimental, and medically appropriate. I disagree with Defendants’

experts’ opinions that transgender healthcare for appropriately diagnosed adolescents and

adults with Gender Dysphoria is either experimental or controversial, and I further disagree

with their position that randomized clinical trials are either necessary, ethically permissible,

or scientifically feasible for many aspects of the medical and surgical treatment of

adolescents and adults with Gender Dysphoria.

       34.    First, randomized controlled studies are not the only type of evidence upon

which scientists and doctors rely. Studies demonstrating that patients’ conditions improved

after treatment can be very informative, whether or not there are matched control groups.

(Manieri, Castellano, Crespi, et al., 2014.) Clinicians routinely rely on other types of

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evidence to guide their practice. Case reports, case series, cohort studies, observational

studies, lengthy clinical experience with a condition, and the consensus of national and

international experts in a given field are all brought to bear in the compassionate clinical

care of individuals with any given diagnosis.

       35.    A randomized clinical trial, while possible for some conditions and for some

treatments, is not possible for others. For example, it is impossible to randomize or do

blinded studies for most established surgical treatments. It is obvious to both the research

subject and the researchers whether an individual has had a surgery that is visible to the

naked eye. Likewise, for medications that have significant physical effects that are obvious

to the casual observer (for example, puberty-suppressing drugs and cross-sex hormones),

it is impossible to do a randomized, blinded trial as well.

       36.    These are just scientific considerations that do not take into account the ethics

of conducting such trials if they were scientifically feasible in the first place. For example,

once a clinical treatment is well established as a standard of care (for example, the use of

cross-sex hormones in late adolescents and adults with a diagnosis of Gender Dysphoria),

it is ethically impermissible to decide to go backwards and design a trial where patients

suffering from Gender Dysphoria are randomized to receive standard of care treatment or

no treatment. The Royal College of Psychiatrists pointed these issues out as long ago as

2013 (Royal College of Psychiatrists, 2013). It is the case across psychiatry, medicine, and

surgery that the randomized clinical trial is not the basis for the majority of standard

treatments in widespread use by mainstream clinicians worldwide. I will refer to this in

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much greater detail in a later paragraph regarding the quality of evidence for treatments for

Gender Dysphoria and other diagnoses.

       37.    Second, Defendants’ experts ignore another critically important source of

evidence—the clinical experience of generations of clinicians who have treated patients

with Gender Dysphoria. There is abundant clinical experience going back 60 years that

establishes the effectiveness of social transition, hormone therapy and surgeries as

treatments for Gender Dysphoria, utilized on an individualized basis and in collaboration

with patients, parents (when indicated), and other clinicians.

       38.    Third, it is very common for medical professionals to make choices about

treatment protocols that are not based on matched control group studies or randomized,

placebo-controlled trials. For example, many aspects of the treatment protocols for

common psychiatric conditions such as bipolar disorder, depression, post-traumatic stress

disorder, and schizophrenia (the bulk of patients seen in outpatient psychiatric clinics) are

not matched with control group studies or double-blind clinical trials, but rather have been

accepted by the profession as the standard of care based on clinical experience, limited

published data, case series, or other types of evidence available.

       39.    Another common example is a physician’s decision to select one drug over

another in treating a particular condition. In many cases, the decision to select drug A over

drug B or drug C is not validated by a control group study demonstrating that drug A

produces results superior to drug B or drug C. Instead, the physician makes a decision

among available drugs based on the unique characteristics of the patient in the office,

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his/her clinical experience and his/her overall assessment of a patient’s situation at that

point in time. That decision does not lack an evidentiary basis simply because there is not

a matched control group study to support it.

       40.    A corollary argument posited by Defendants’ experts is that medical

treatments for Gender Dysphoria are somehow experimental because they are not FDA-

approved (e.g., Hruz Decl. ¶ 63; Lappert Decl. at 21). For example, Dr. Hruz misleadingly

states that if medications are used “off label” and are not “FDA approved,” there must be

ethical problems with the medication treatments.

       41.    This is incorrect. The FDA does not regulate the practice of medicine, and

it does not state that medications used without formal FDA approval are necessarily

problematic. In fact, the FDA states on their website: “When you don’t have the labeling

directions to guide you, you need the medical knowledge of your doctor, nurse practitioner,

or other health professional” (see FDA.gov).

       42.    These opinions from Defendants’ experts also fail to acknowledge that the

practice of medicine routinely involves “off label” use of medications as standard-of-care

treatments.   For example, the most effective drug for nightmares associated with

posttraumatic stress disorder is prazosin, a medication that is FDA approved for

hypertension but not for any psychiatric indication. Nonetheless, this is standard of care

treatment in psychiatry.

       43.    Defendants’ experts also ignore the fact that the majority of medications used

every day in the pediatric population in particular are used off-label and without FDA-

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approval, because the fact that a drug is FDA-approved for a particular indication for the

adult population does not mean that it is also approved for use in the pediatric population,

and such approval requires separate evidence of drug efficacy and safety in the pediatric

population.

       44.    Moreover, there is often no financial incentive for companies to go through

the expensive, lengthy process of applying for an FDA-approved indication, especially

once a medication is available as a generic (as are almost all medication treatments for

Gender Dysphoria). Garden-variety aspirin, taken by millions of people worldwide every

day, for example, has no FDA approval simply because no one has applied for an FDA

indication for generic aspirin.

       C.     The Practice of Medicine Does Not Require Withholding Treatment
              Until There Is Perfect Knowledge About the Medical Condition at Issue.

       45.    Defendants’ experts seem to suggest that clinicians must know virtually

everything about a condition that causes substantial human suffering before being able to

treat or relieve the symptoms of that condition (e.g., Lappert Decl. at ¶ 11; Hruz Decl. at

¶45). They also seem to opine that the physician must know the exact etiology for a

diagnosis of Gender Dysphoria in adolescents and adults, before any treatments other than

“watchful waiting” or some type of conversion therapy can be utilized.

       46.    The standard posited by Defendants’ experts is not generally accepted in the

medical field, and it contravenes the way that clinicians operate every day. The exact

etiologies of many conditions treated across the spectrum of psychiatry, medicine, and

surgery are at best hypotheses. What are the etiologies of all human cancers? What causes

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chronic fatigue syndrome? What causes complex autoimmune disorders? Why do some

people exposed to combat situations develop posttraumatic stress disorder while the

majority do not? All of these are valid, heuristic questions that are worthy of further

clinical research. However, in the meantime, patients with all of these conditions present

themselves to competent, well trained clinicians who bring to bear the best scientific

information available, in combination with their clinical experience and training, in order

to collaboratively develop an individualized treatment plan to improve the well-being of

these patients.

       47.    This is the routine, daily, standard of care experience for clinicians and

patients in all fields of medicine, including in transgender healthcare. It is logically

inconsistent and cruel to state that because one does not know the precise etiology of a

condition that one cannot relieve the suffering of individuals who have it, hiding behind a

misapplication of the Hippocratic Oath. (See, for example, Levine Decl. ¶ 100; Hruz Decl.

¶ 50 (arguing that the “an essential tenet of medical practice is to avoid doing harm,” and

that supposedly “the current Gender Transition Industry violates this essential principle by

using experimental treatments on vulnerable populations . . . .”).

       48.    Defendants’ experts also state or imply that essentially doing nothing, what

they call “watchful waiting,” should suffice for adolescents and adults legitimately

diagnosed with DSM-5 Gender Dysphoria. For one, these opinions seem to be premised

on Defendants’ experts’ assumption that withholding clinical treatment will eventually

result in most patients no longer experiencing Gender Dysphoria. (See, for example,

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Levine Decl. ¶ 28 (opining that most studies show that “the large majority of children who

present with gender dysphoria will desist from desiring a transgender identity by adulthood

if left untreated”); Hruz Decl. ¶ 52 (opining that in most cases, “the vast majority of affected

children if left alone are likely to eventually realign their reports of gender identification

with their sex.”).) For reasons I describe above, this is incorrect. (See, for example, de

Vries 2011 (follow-up study of adolescents treated at a gender clinic, which found that

100% of the 70 individuals treated ultimately underwent hormone therapy and continued

to identify with a gender different than the one assigned to them at birth), and the above

summary of my clinical experience treating adult or late adolescent patients with Gender

Dysphoria.)

       49.    Moreover, given the substantial physical and mental health disparities

associated with untreated Gender Dysphoria in these populations, following the advice of

Defendants’ experts would essentially constitute malpractice in the majority of cases

relevant to this litigation. “Doing nothing” does not constitute “do no harm” in most of

these clinical situations, contrary to what Defendants’ experts say clinicians must do.

(Levine Decl. ¶ 100 (“the physician must ‘do no harm’”); Hruz Decl. ¶ 50 (“the ethical

foundations of medicine – first do no harm”).)

       50.    Defendants’ experts also cite sources such as the Cochrane Reviews and the

Endocrine Society’s Guidelines, which rate certain literature as “low quality evidence,” to

argue that well-accepted standard of care treatments for Gender Dysphoria in adolescents

and adults are unproven. (Levine Decl. at 50 ¶ 127; Lappert Decl. at 26 ¶ 14.) It is not

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uncommon for standard, routine interventions in psychiatry, medicine, and surgery to have

reviews that conclude that the quality of evidence for such treatments is “low” or “very

low” based on the rigid, limited definitions of “evidence” used by these reviewing

organizations, and based on the evidence available at a given point in history.

       51.    In fact, the Cochrane Database of Systematic Reviews on which Defendants’

experts rely as a reason not to provide hormonal treatments for adults with a diagnosis of

Gender Dysphoria has a number of reviews with similar qualities of evidence for treatments

and procedures that are nonetheless considered standard of care and are in routine practice

on a daily basis. For example:

              1. Rotator cuff surgery for documented tears with symptoms. This is a
                 common orthopedic surgery that about 460,000 Americans undergo
                 yearly for symptomatic tears of one or more of the muscles/tendons that
                 enable the shoulder to function normally (https://idataresearch.com/over
                 -460000-rotator-cuff-surgeries-per-year-reported-in-the-united-states-
                 by-idata-research/). A 2019 Cochrane review stated “we are uncertain
                 whether rotator cuff repair surgery provides clinically meaningful
                 benefits to people with symptomatic tears.” Further, similar to
                 Defendants’ experts’ complaints about standard treatments for Gender
                 Dysphoria, the report concluded that “trials included have methodology
                 concerns and none included a placebo control.” “There are nine trials
                 with 1007 participants through 2019.” (Cochrane Database, 2019.)

              2. Early versus delayed appendectomy for abscess. Appendectomy is
                 one of the most common surgical procedures completed on children in
                 the United States. Over 250,000 Americans are operated on for
                 appendicitis annually (https://www.medscape.com/answers/773895-
                 14426/what-is-the-incidence-of-appendicitis-in-the-us).        One might
                 expect that given all the important decisions regarding this common
                 procedure that has been done for at least 150 years (first reported in 1735)
                 there would be well-settled, high quality evidence supporting its efficacy.
                 That is not the case according to the Cochrane review, however. The
                 Cochrane review included evidence from 1950 through 2016, in all
                 languages. They found just two studies with 80 total patients deemed

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                  acceptable for their review. They concluded “it is unclear whether early
                  appendicectomy prevents complications compared to delayed
                  appendicectomy for people with appendiceal phlegmon or abscess.”
                  “Evidence is of very low quality.” They also noted “data are sparse.”
                  And finally, “further trials on this topic are urgently needed.” (Cochrane
                  Database, 2017.) Needless to say, clinical decisions regarding immediate
                  treatment of appendiceal abscesses are made on a daily basis in thousands
                  of patients with the intent to relieve suffering and mortality in those
                  emergently presenting for care with this condition, notwithstanding the
                  Cochrane’s review which criticizes such treatments as lacking
                  randomized controls and having “very low quality” evidence.

              3. Review of exercise-based cardiac rehabilitation for adults after a
                 heart valve surgery. (Cochrane Database, 2021.) It is common,
                 standard-of-care practice for patients who have undergone a variety of
                 cardiac procedures, including valve replacement, to be prescribed a
                 course of exercise-based cardiac rehabilitation. The 2021 Cochrane
                 review of evidence in support of this routine practice found six trials with
                 364 participants. The reviewers stated “due to lack of evidence and the
                 very low quality of available evidence, this updated review is uncertain
                 about the impact of exercise cardiac rehabilitation in this population . . .”

       52.    As these several examples (from dozens that are readily available) show,

there are many clinical practices that have been developed over years or decades that may

not have any randomized clinical trials or “high-quality” evidence to support their use as

determined by the reviewers of such procedures, but that are nonetheless in routine clinical

practice today (including those that also receive routine insurance coverage).            This

highlights the fact that there are many types of evidence, not just randomized clinical trials,

which are relevant in practicing standard-of-care medicine. These include cohort trials,

controlled comparison trials (e.g., van der Miesen, 2020, that showed “transgender

adolescents show poorer psychological well-being before treatment but show similar or

better psychological functioning compared with cisgender peers from the general


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population after the start of specialized transgender care involving puberty suppression.”),

retrospective studies based on medical records databases, case series, case reports, clinical

consensus reports from experts in a field, etc. The treatments described in the WPATH

SOC for adolescents and adults suffering from Gender Dysphoria have similar, or in some

cases better, evidence bases than other common treatments in routine clinical practice

today.

         53.    Next, Defendants’ experts erroneously apply the concept of “error rates” to

terminology, procedures, and the evidence cited in Plaintiffs’ expert reports. There are

eight types of error rates (Bayes, Bit, Per-Comparison, Residual, Soft, Human

performance, Viterbi, and Word), and none of them have validity when applied in the

manner used by Defendants’ experts.          Error rates are generally applied to repeated

observations and other nonmedical applications. Experts and practitioners in the field do

not apply this concept to terminology as Defendant’s experts attempt to do throughout their

declarations.

III.     Defense Experts Improperly Conflate Sex and Gender.

         54.    Defendants’ experts offer various opinions about the nature of sex, but to the

extent they suggest that sex is determined solely by “DNA” or other isolated

characteristics, they rely on outdated notions that do not reflect the scientific consensus.

         55.    In most cases, the sex assigned at birth to newborns on their birth certificate

is based solely on a cursory examination of their external genitalia. However, this method

of assigning sex amounts to nothing more than a “best guess”' of a child’s sex. It is true


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that this “best guess” is accurate the vast majority of the time, but not all of the time. At

birth, sex can usually be recorded as only “male” or “female” and, as such, is an

administrative binary terminology that does not take into account the complexity of human

experience. “Sex” is much more complicated, as it involves biological constructs that may

or may not be readily observed, and includes the important component of gender identity

(Richardson, 2013).

       56.    A person’s “sex” is not exclusively or solely defined by one’s anatomy or

ability to procreate as was often believed in the past (Ovesey & Person, 1973). “Biological

sex” is a broad and complex concept that consists of a number of variables that includes

gender identity, genital anatomy (internal and externally visible), secondary sexual

characteristics, brain anatomy, hormonal levels in the brain and body, and chromosomal

complement.

       57.    Primary sexual characteristics are a factor when determining a person’s sex.

Genital anatomy, which includes both internal (not observable) and external (observable)

components, is an example of a primary sexual characteristic. The appearance of the

observable external genitalia is usually the sole basis for determining whether a baby’s sex

is recorded on a birth certificate as either “male” or “female.” As a general category,

however, primary sexual characteristics include those features that are not subject to the

hormonal changes associated with puberty: e.g., testes, prostate, seminal vesicles, penis,

ovaries, vagina, uterus, fallopian tubes, clitoris, and labia.




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      58.    Secondary sexual characteristics are yet another factor in determining a

person’s sex. Secondary sexual characteristics are those physical features that develop

under the influence of rising levels of sex steroid hormones beginning at puberty.

Examples include breasts in women; “Adam’s Apple” (enlargement of the front part of the

laryngeal cartilage) in men; facial hair in men; widening of the pelvis in women; deepening

of the voice in men; and hip to waist measurement ratios that are higher in adult females,

on average, compared to adult males. The development of secondary sexual characteristics

is dependent on production of adequate amounts of estrogens in females and testosterone

in males.

      59.    Brain anatomy is another determinant of a person’s sex. As discussed in

greater detail below, many areas of the brain are different between males and females

(“sexually dimorphic” areas of the brain) due to genetics and the amounts of sex steroid

hormones present in the developing fetal brain (i.e., hormones from any source, including

from the woman carrying the fetus).

      60.    The relative levels of the hormones estrogen and testosterone (and their

metabolites, or what is left after they are processed by the body) present in the brain and

body are also factors that determine a person’s sex. Both the brain and the body have

receptors for estrogen and testosterone, which means that the brain and various organs in

the body are changed by the presence, or absence, of these two major hormone classes. For

example, both testosterone and estrogen are present in all people, but the relative amount

of estrogen compared to testosterone is typically far, far higher in female bodies than in

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male bodies, whereas the amount of testosterone is typically far greater in male bodies than

in female bodies.

       61.    Variability in the amount of these sex hormones, both before and after birth,

can have major consequences on the primary and secondary sexual characteristics and the

gender identity of people with these differences. Different, non-normative, prenatal sex

hormone production can result in ambiguously appearing genitalia at birth, or

misassignment of sex at birth (MacGillivray and Mazur 2005). For example, babies with

much higher levels of androgens early in life (e.g., congenital adrenal hyperplasia, a genetic

absence of an important sex steroid enzyme) may appear to have male genitalia at birth

even though they have typically female chromosomes (46XX; see below) and a female

gender identity. There are many such conditions, which collectively are referred to as

“intersex”' conditions, disorders/differences of sex development, or “atypical sexual

development” (Mazur et al., 2007).

       62.    Chromosomes are also a determinant of sex. Typically, most people have 46

total chromosomes, two of which are “sex chromosomes”' known as X and Y. Babies

assigned the female sex at birth based on the appearance of external genitalia typically have

a 46XX pattern; likewise, babies assigned the male sex at birth based on the appearance of

their external genitalia typically have a 46XY pattern. Uncommonly (but not rarely), there

are genetic abnormalities in the fertilized egg that lead to chromosome patterns that are

different from either 46XX or 46XY. Examples are numerous and can be found in Mazur

et al., 2007. Classic examples include Turner’s Syndrome, estimated at 1:2500 live births

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(46XO, where one sex chromosome is missing), and Klinefelter’s Syndrome, where extra

chromosomes are present (for example, 47XXY, 48XXYY). This nonheritable genetic

abnormality is present in 1:600 live births (Nielsen and Wohlert, 1991).

         63.   Some, but not all, disorders of the sex chromosomes are associated with

atypical sexual organ appearance and higher rates of homosexuality, bisexuality, or

asexuality (that is, little to no sexual attraction to anyone or interest in having sexual

relations). Some people with disorders of the sex chromosomes, but not all, may have

atypical gender identity and/or gender role development as well. The key point is that the

presence of a typical 46XX or 46XY chromosome pattern is relevant for determining a

person’s sex, but not sufficient, in and of itself, to determine a person’s sex (Richardson,

2013).

         64.   As I explained in my original report, gender identity is an internal sense of

oneself as a particular gender. From a medical perspective, gender identity is a critical

determinant of a person's sex. From a social perspective (which is also relevant when

considering the appropriate medical approach to these issues), the appropriate determinant

of sex is gender identity and associated gender expression/role, as that is the underlying

basis for how one presents oneself to others in society in ways that typically communicate

what sex one is in our culture. Dr. Hruz incorrectly states (paragraph 16) that “gender

identity” is controversial. It is not. The American Psychiatric Association (DSM-5, p. 451)

defines gender identity as a “category of social identity and refers to an individual’s

identification as male, female, or occasionally, some category other than male or female.”

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Standard definitions are well accepted in the relevant medical and psychiatric communities,

and gender identity falls within this category.

       65.    Dr. Hruz’s conception of gender and sex as inextricably related to

“reproductive purposes” is not rooted in current, appropriately nuanced understandings of

these concepts in medicine or science. He conflates sex and gender, and appears to treat

these concepts as the same in animals and humans. His use of a definition of gender that

relies on participation “in activities related to reproduction” is also not only incorrect but

fails to account for the diversity in procreative capacity among people. A notable segment

of the population chooses not to, or may be incapable of, reproducing, but this does not

determine their sex or gender identity.

       66.    Although the precise etiology of transgender phenomena is unknown (Ettner,

2007; Lev, 2004), most experts agree that there is likely a biological, rather than a

psychological, basis for gender identity in general, including transgender identity

(Korpaisarn & Safer, 2019, for a current review).

       67.    Much of the evidence in support of a biological basis for gender identity is

based on comparison studies of the brains of persons identified as transsexual1 using

imaging techniques with live subjects or measurements taken post-mortem (after death).

Such techniques were not possible a short time ago, but nonetheless, the concept of a

“critical period effect” during fetal brain development was espoused decades ago as an


1
  Although the terms “transsexual,” “MtF,” “FtM,” “transwoman,” and “transman” are no
longer widely used, I use those terms in this report where needed to accurately describe
the underlying literature.
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explanation for why some individuals experience gender nonconformity (Kimura 1992).

Although it is not possible to directly study the developing human brain before birth, it was

proposed that the hormones present in the bloodstream surrounding the developing brain

at certain, undetermined critical periods in brain sexual differentiation were altered to the

extent that the “brain sex” did not match the otherwise “normal” anatomic/genital sex at

birth. This theory more recently received support in a study of fetal testosterone exposure,

which showed that amniotic fluid levels of testosterone for “birth sex” male and female

fetuses correlated positively with male-typical play patterns in both “birth sex” male and

female children (Auyeung, et al, 2009).

       68.    It is well known that the brains of cisgender men and women differ in size in

many regions of the brain (Korpaisarn & Safer, 2019). These include specific parts of the

brain (called “sexually dimorphic”) that are visible on MRI studies, including the

hippocampus, caudate nucleus, and anterior cingulate gyrus, to name a few, that are larger

in “birth sex” women and the amygdala and gray matter volumes that are larger in “birth

sex” men. Most studies of gender-typical male and female brains also indicate that the

right hemisphere is larger in men than in women.

       69.    Zhou and others reported in 1995 that areas of the brain known to differ in

size between men and women generally could be studied in persons who had been

identified as transsexual. At least one of these sexually dimorphic brain regions in male-

to-female transsexual subjects was consistent with the size seen in “birth sex” females, and

not males.

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       70.    Additional support for a biological basis for gender identity was reported by

Luders and colleagues, who analyzed MRI data of 24 people identified as male-to-female

(MtF) transsexuals not yet treated with cross-sex hormones in order to determine whether

gray matter volumes in the brains of MtF transsexuals more closely resemble people who

share their “birth sex” (30 control men), or people who share their gender identity (30

control women). Results revealed that MtF transsexuals showed a significantly larger

volume of regional gray matter in the right putamen compared to the control group of non-

transsexual, “birth sex” men. These researchers concluded that their findings provided new

evidence that transsexualism is associated with a distinct cerebral pattern, which supports

the assumption that brain anatomy plays a role in gender identity.

       71.    Savic and Stefan (2011) studied the brains of persons identified as male-to-

female transsexuals compared to “birth sex” controls of the same sexual orientation. The

brains of the transgender female subjects differed from controls in several regions (e.g.,

smaller volumes in the putamen and thalamus in transgender women). They concluded:

“Gender dysphoria is suggested to be a consequence of sex atypical cerebral

differentiation.”

       72.    Additional studies in support of the hypothesis that gender dysphoria is

caused by sex atypical differentiation of parts of the brain before birth due to genetic and/or

an early organizational effect of testosterone levels during fetal brain development include:

Giedd J., Castellanos F., et al., 1997; Green R. and Keverne E., 2000; van Goozen S.,

Slabbekoorn D., et al., 2002; and Swaab D., 2007.

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       73.    Finally, several other studies have also found distinctive brain patterns in

subjects identified as transsexual that differ from what would be expected to be seen in

non-transsexual subjects of the same “birth sex” in post-mortem studies. See Kruijver F.,

Zhou J., et al., 2000; Berglund H., Lindstrom P., et al., 2008.

       74.    The evidence for gender identity arising from strictly, or mostly, postnatal

influences (such as family interactions, social factors, maternal/paternal rearing styles) is

not persuasive; for this reason, the suggestion by three of the Defendants’ experts that being

transgender is a result of “social contagion” or exposure to the Internet is wholly

unsupported by the science. “Social contagion” as defined by the American Psychological

Association (APA Dictionary, 2020) is “the spread of behaviors, attitudes, and affect

through crowds and other types of social aggregates from one member to another. Early

analyses of social contagion suggested that it resulted from the heightened suggestibility

of members and likened the process to the spread of contagious diseases.”

       75.    Dr. Hruz (¶¶ 41, 70) and the other defense experts proffer this untested theory

as the explanation for the decade or more increases in requests for transgender health

services. Dr. Hruz suggests that this social contagion is a result of nefarious Internet-based

influences promulgated by transgender activists seeking to increase their numbers. This is

an unproven concept that disregards what can readily be explained by objective, observed,

and well-known phenomenon.            Zucker (2019) lists four “likely interconnected”

explanations that may explain this observed increase in requests for care: (1) the increased

visibility given to transgender issues and print media, television, etc.; (2) access to Internet

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sites where anyone can read about gender dysphoria and transgender healthcare; (3) the

gradual reduction in stigma associated historically with gender dysphoria and transgender

identity; and (4) the increased availability of medical treatments for gender dysphoria,

including pubertal suppression. I served as the only psychiatrist on the early committees

within the Department of Veterans Affairs (2010-2016) that established a new benefits

package for transgender veterans with a diagnosis of Gender Dysphoria, an updated name

for that diagnosis which was adopted by the American Psychiatric Association in 2011. I

conducted research on the changes in prevalence and diagnoses of Gender Dysphoria and

tracked the predicted increases in this diagnosis in the years subsequent to 2011 (Blosnich,

et al, 2014). Once these treatments were made available nationally and this information

was publicized, eligible veterans reported to hospitals and clinics to access this care in

increasing numbers. None of these new patients were adolescents. The average age of

these “new” patients with a diagnosis of Gender Dysphoria ranged between 40 and 70

years. There was no “social contagion” involved in this predictable increase.

       76.    Indeed, Defendants’ experts all but acknowledge that their theories about

“social contagion” increasing the number of persons who experience gender dysphoria are

essentially speculation. They cite no scientific studies to support these opinions, and they

admit they do not know to what extent (if at all) this supposed phenomenon actually occurs.

(See, for example, Lappert Decl. at 40 (“A currently unknown percentage and/or number

of patients reporting gender dysphoria are being manipulated by a . . . social contagion and

social pressure process”) (emphasis added); McHugh Decl. ¶ 11 (same, verbatim); Hruz

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Decl. ¶ 29 (“Social medical ‘influencers’ are reportedly training patients to fabricate

symptoms to gain rapid access to ‘transition’ interventions”) (emphasis added).

IV.   Defendants’ Experts Ignore and Misconstrue Relevant Scientific Literature,
      and Their Opinions About Appropriate Treatment for Gender Dysphoria Is
      Far Outside of the Scientific Consensus.

      A.     Defendants’ Experts Misconstrue Scientific Literature.

      77.    The opinions offered by Defendants’ experts are not reliable for an additional

reason: they misconstrue the work of others in the field in substantive ways.             A

nonexhaustive list of examples includes the following:

             a)    misrepresentation of the conclusions of the three COHERE studies
             from Finland as noted above (Lappert Decl. at 2).

             b)      Dr. Lappert asserts that Plaintiffs’ experts have undisclosed conflicts
             of interest because their income is “derived from the experimental, unproven,
             potentially harmful methods and procedures of affirmation treatments.”
             (Lappert Decl. at 8). As a psychiatrist employed by the Department of
             Defense and the Department of Veterans Affairs for well over 30 years, none
             of my income was derived from the sources he alleges. Moreover, experts
             in the field naturally will include those who treat the population at issue,
             which is how practitioners develop clinical expertise.

             c)     Dr. Lappert misrepresents the 2013 sources about the alleged lack of
             support for DSM-5 by the National Institute of Mental Health (“NIMH”). As
             described further below, the actual primary source information shows that
             NIMH did not discontinue funding for research on the DSM-5, and in fact
             recognizes it as authoritative.

             d)    Drs. Levine (¶ 98) and Hruz (p. 18) misquote Exposito-Campos, et al.
             (2021) by stating that there are “60,000” detransitioners on an internet site,
             whereas the authors mention “16,000” in their publication, which is not
             necessarily a count of “detransitioners.” As described above, their discussion
             of this source reference significantly misrepresents our scientific
             understanding of the low rates of regret for treatment of Gender Dysphoria.




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       B.     Defendants’ Experts Ignore the Fact that Treatment for Gender
              Dysphoria Has Long Been Accepted as Appropriate and Medically
              Necessary.

       78.    Defendants’ experts       claim that treatments for Gender Dysphoria are

experimental and not medically necessary. These opinions are far out of step with

mainstream medicine and the standard approaches of most healthcare systems in the United

States. There is a wide availability of psychiatric, medical, and surgical treatments for

transgender people suffering from Gender Dysphoria.             Those treatments have been

recognized as medically necessary care by the largest healthcare systems in the United

States, and by being covered by the largest third-party insurance companies in the United

States. This further underscores that Defendants experts are out of step with the relevant

medical community and accepted standards of care for the treatment of Gender Dysphoria

in adolescents and adults.

       79.    Although no medical, surgical, or psychiatric treatments are without risks or

side effects, the treatments for adolescents and adults with diagnosed Gender Dysphoria

have been found to be generally safe and effective, with favorable outcomes on a variety

of outcome measures (Kuper, et al., 2019; Carmichael, et al., 2021; Bustos, et al., 2021;

van der Miesen, et al., 2020; Simonsen, et al., 2015; Murad, et al., 2010; Almazan and

Keuroghlian, 2021). Defendants’ experts criticize my opinions and the opinions of other

of Plaintiff’s experts for supposedly ignoring relevant scientific literature, but notably, they

fail to acknowledge these recent and highly relevant studies. These studies confirm what

experts in the field have long known: the widely accepted standard-of-care treatments for


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adolescents and adults diagnosed with Gender Dysphoria are medically necessary and

associated with a favorable risk/benefit ratio for most patients who are deemed appropriate

for these interventions.

       80.    Defendants’ witnesses further situate themselves outside the mainstream of

the medical field by rejecting well-accepted treatment protocols recognized by the major

medical and mental health professional associations in the United States. As set forth in

my original report, the World Professional Association of Transgender Health publishes

Standards of Care for treating Gender Dysphoria. WPATH is an internationally recognized

association comprising nearly 2,500 medical, surgical, mental health, and other

professionals who specialize in the evaluation and treatment of transgender and gender

non-conforming people. The WPATH Standards of Care, which are in their seventh

revision, represent the evidence-based consensus of experts in the field and have been

recognized as the authoritative treatment protocols by the major medical and mental health

associations in the United States, including the American Psychiatric Association, the

American Medical Association, the American Psychological Association, and the

American Academy of Pediatrics.

       81.    The Veterans Health Administration (“VHA”)—the largest integrated health

care system in the United States—treats transgender veterans largely based on the

guidelines set forth in the current version of the WPATH SOC, and references these

standards in their national training programs. I have been directly involved with the




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national VHA training program since its inception in 2011 and I co-wrote the national

formulary for medications used in the treatment of Gender Dysphoria in VHA.

       82.    The corporate policy of Blue Cross and Blue Shield also recognizes the

WPATH SOC, by not only providing insurance coverage for transgender health treatments

but by specifically referencing the SOC in their corporate benefits documentation. Blue

Cross Blue Shield of North Carolina, Corporate Medical Policy, Gender Affirmation

Surgery and Hormone Therapy (2021).

       C.     Defendants’ Experts Mischaracterize the WPATH and Its Functions.

       83.    Defendants’ experts also characterize WPATH as an advocacy organization

with a social and political agenda, as opposed to a professional medical association that

uses evidence-based standards. (See, for example, Hruz at para 56, page 54 (referring to

WPATH as “an advocacy-political, consensus seeking organization, whose positions are

based on voting and not a scientific, evidence-based process”); McHugh at para 11, page

14) (similarly referring to WPATH as an organization that relies on “consensus-seeking

methodologies including voting rather than careful, prudent, evidence-based”

methodologies).)

       84.    I am well familiar with the WPATH and the SOC that it publishes. I continue

to serve as a coauthor of the WPATH SOC, including on the evolving draft of Version 8,

likely to be released this year approximately 10 years after the release of Version 7.

       85.    Defendants’ characterizations of WPATH are incorrect.          WPATH is a

medical association in the same mold as every other medical association dedicated to the


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treatment of a particular condition—it creates a community of experts to share research

and clinical experience; it establishes best practices for treatment based on experts in the

field engaging in a robust review of the available evidence; and it supports policies that

enhance the well-being of its patient population. There is ample scientific evidence

supporting the WPATH SOC, which are in widespread use throughout the United States

and other countries. Any psychiatrist or other clinician trained in or with experience in this

field would be aware of this.

       D.     The Defendants’ Experts’ Criticisms of the DSM-5 Are Incorrect.

       86.    Defendants’ experts also criticize the DSM-5, supposedly because it is

created using a “political-voting process” and “controversial consensus seeking,” rather

than being the result of reliable science. (Hruz Decl. at 8 ¶ 13A; see also, for example,

McHugh Decl. at 7 ¶ 7 (similarly criticizing the DSM-5 for being “created using a

consensual, political process of committees and voting methodologies”); Levine Decl. at

15 ¶ 13 (opining that his criticisms of the DSM-5 are supposedly “generally accepted by

the relevant scientific community”).)

       87.    I disagree with these criticisms as well. Far from using some supposedly

unreliable methodology, as Defendants’ witnesses suggest, the DSM-5 is the authoritative

source for psychiatric diagnoses in the United States and many other countries. The

process of determining the diagnoses and diagnostic criteria included in the DSM involves

a robust review of available evidence by hundreds of experts with varying perspectives in

the relevant field over the course of many years of research, planning, field testing, and


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debate. There is no sound basis for concluding that its contents are politically-driven rather

than the product of scientific research and assessment. The process by which this 947-page

document was developed was well publicized, was interactive with thousands of clinicians

and researchers, and well described in the literature (DSM-5, pp. 5-10, 897-916).

       88.     I find Dr. Lappert’s critiques of the DSM-5 (Lappert at page 17) particularly

unavailing. Dr. Lappert is a plastic surgeon by training, with no specialized training or

expertise in either transgender health or psychiatry that I am aware of. He does not explain

what bases he has to criticize the DSM-5 or the process by which the DSM-5 was created.

       89.     Dr. Lappert also claims that in 2013, just prior to the publication of DSM-5,

the National Institute of Mental Health stopped funding projects that use the DSM-5. He

inaccurately cites Dr. Thomas Insel, director of the NIMH, as having made these

statements, and having rendered a supposed “deathblow” to DSM-5 in 2013 (which has

obviously never materialized to date). Other Defendants’ experts provide similar opinions.

(See, for example, Hruz Decl. at 30 ¶ 34(C) (“The DSM has become increasingly

controversial in recent years – including being ‘dumped’ by the National Institute of Mental

Health as a key basis for research funding”); McHugh Decl. at page 7-8 ¶ 7 (“In a

humiliating blow to the American Psychiatric Association,” Dr. Insel of the NIMH “made

clear the agency would no longer fund research projects that rely exclusively on DSM

criteria”).)

       90.     This is an inaccurate recitation of the facts. In fact, on May 14, 2013, Drs.

Insel and Lieberman (then President of the American Psychiatric Association, the publisher

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of DSM-5) issued a joint public statement stating “they acknowledged that along with the

International Classification of Diseases, DSM represents the best information currently

available for clinical diagnosis of mental disorders and that the two publications remain

the contemporary consensus standard on how mental disorders are diagnosed and treated.”

(See https://alert.psychnews.org/2013/05/lieberman-insel-issue-joint-statement.html and

https://dxrevisionwatch.files.wordpress.com/2013/05/13-37-joint-apa-and-nimh-

statement.pdf) (emphasis added). Moreover, this statement also made clear that the NIMH

was not discontinuing funding for DSM-5-based research, stating, “The National Institute

of Mental Health (NIMH) has not changed its position on DSM-5.” (T. Insel & J.

Lieberman,          DSM-5            and          RDoC:           Shared          Interests,

https://dxrevisionwatch.files.wordpress.com/2013/05/13-37-joint-apa-and-nimh-

statement.pdf). The statement from Defendants’ experts to the contrary are inaccurate, and

they do not provide any reasonable basis to reject the use of DSM-5 as a well-accepted and

authoritative source for psychiatric diagnoses.

       E.     Defendants’ Experts Ignore the Relevance of Patients’ Reporting of
              Symptoms for Many Psychiatric Conditions, Including Gender
              Dysphoria.

       91.    In some of their opinions, Defendants’ experts (particularly the non-

psychiatrists Dr. Hruz and Dr. Lappert) seem to question the entire field of psychiatry, the

normally-accepted bases for diagnoses in that field, and the standard techniques employed

by specialists in that field, such as evaluation of a patient’s reported symptoms. (See, for

example, Lappert Decl. at 53-54 ¶ 17; Hruz Decl. ¶ 27). Again, it is not clear on what basis


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Dr. Hruz and Dr. Lappert can offer these opinions, given their lack of training and

experience in this field.

       92.    Regardless, I disagree with these opinions.        For example, Dr. Lappert

considers the reports of patients and parents of their symptoms and lived experiences to be

worthless in the diagnosis of Gender Dysphoria, or potentially any other condition. (See

Lappert Decl. at 15 (criticizing reliance on “unverified self-reports (conversations) of often

disturbed patients).) Dr. Hruz provides similar opinions, opining about the supposed

“hazards of relying on unverified patient self-report data with no objective evidence.”

(Hruz Decl. at 18 ¶ 27.) Dr. Hruz in fact goes so far to describe patients’ accounts of their

own lives as “alleged memories.” (Hruz Decl. ¶ 28.)

       93.    These opinions are far afield of the scientific consensus in the field of

psychiatry. Indeed, it is stunning to me that a physician would discount the importance of

accurate history taking from patients and family members as a critical part of the diagnostic

assessment for all medical, psychiatric, and surgical conditions. We routinely teach our

medical students that gathering a detailed history is the single most important component

in developing a diagnosis in most conditions. Even in conditions where laboratory

assessment or imaging techniques may be of use, the history guides the selection, or the

lack of selection, of such ancillary diagnostic procedures.

       94.    Dr. Lappert also seems to suggest that mental health clinicians are charlatans

and that patients are essentially liars who cannot be trusted to give an accurate history of

their lived experience because they are somehow trying to scam clinicians to access

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treatment for gender dysphoria. These assumptions, again, are inconsistent with my

professional experience, and with well-accepted diagnostic techniques in the field of

psychiatry.   In addition to a detailed history, which may take place over multiple

appointments, the collection of collateral information from parents, when appropriate,

other family members, employers, coworkers, and spouses may all play an important role

in developing a differential diagnosis. The availability of past medical and psychiatric

records, clinical/objective observations of the patient, observing longitudinal behaviors

after the initial engagement in mental health care, and assessments for other psychiatric

comorbidities are all components of arriving at a diagnosis of Gender Dysphoria, or any

other psychiatric condition.

       95.    Nor is the diagnosis of Gender Dysphoria unique in this respect. For

instance, the diagnosis of chronic fatigue syndrome, PTSD, irritable bowel syndrome,

migraine headaches, and many other common maladies are approached with much the

same diagnostic procedures as utilized in the diagnosis of Gender Dysphoria.

V.     The Suggestion That the Only Appropriate Treatment for Gender Dysphoria
       is to Align Gender Identity with Birth Sex Falls Outside the Standards of Care
       and Medical Consensus.

       A.     Defendants’ Experts’ Opinions Are Inconsistent with the Standards of
              Care from the WPATH, the Endocrine Society, the American Academy
              of Pediatrics, and the Royal College of Psychiatrists Treatment
              Guidelines.

       96.    Defendants’ experts assert that the so-called “Gender Transition

Industry/Transgender Treatment Industry” and its treatments are not generally accepted by

the relevant scientific community.” (Hruz Decl. at 17 ¶ 26(E); see also Lappert Decl. at 5

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¶ 11 (opining that “affirmation treatments” are “not generally accepted by the relevant

scientific community”).) Again, I disagree. As described below and also in more detail in

my opening report, there is in fact broad scientific consensus about appropriate and

generally-accepted treatments for Gender Dysphoria. And the opinions of Defendants’

experts—who seem to suggest that rather than follow these professional standards,

clinicians who treat patients with Gender Dysphoria should try to help them change their

gender identity to align with their birth-assigned sex—place them well outside these well-

accepted norms.

       97.    The WPATH Standards of Care emphasize the importance of access to

medical care for transgender people with Gender Dysphoria, as does the American

Academy of Pediatrics (Rafferty, et al, AAP Position Statement, 2018) among other

mainstream medical organizations.

       98.    As I noted in my original report, attempts to try to help patients change their

gender identity to align with their birth-assigned sex this have been found to be ineffective,

and in fact are recognized as potentially harmful by professional associations (see Royal

College of Psychiatrists, 2018 as one example). I agree that psychotherapy (not in the form

of conversion or reparative therapy) should be included as a covered benefit for persons

with a diagnosis of Gender Dysphoria, which is consistent with the WPATH SOC. Such

psychotherapy, although not mandated, should be aimed at helping persons with Gender

Dysphoria understand their gendered self where there remains turmoil about that issue, as




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well as to support them on their individualized treatment plan, which may or may not

include any medical or surgical treatments.

       99.    From my review of the opinions of Defendants’ experts, however, it is

apparent that they have a different use of “psychotherapy” in mind. Specifically, rather

than using psychotherapy in addition to other treatment for Gender Dysphoria,

Defendants’ expert seem to suggest that psychotherapy should be used alone as an

“alternative” treatment for Gender Dysphoria. (See, for example, Lappert Decl. at 50

(criticizing use of “affirmation” treatments, instead of using “proven effective

psychotherapy (e.g. Cognitive Behavioral Therapy)”; Hruz Decl. 50 ¶ 52 (favoring

“neutral” approach that may “include the use of scientifically validated treatments (e.g.

CBT)”).)

       100.   These suggestions that psychotherapy can be used as an “alternative”

treatment, rather than a complementary treatment are dangerous, misguided, and

unsupported by any evidence. A statement from the Royal College of Psychiatrists (2018,

page 3) addresses this issue:

              “The term ‘conversion therapy’ has also been used to describe
              treatments for transgender people that aim to suppress or divert
              their gender identity – i.e. to make them cisgender – that is
              exclusively identified with the sex assigned to them at birth.
              Conversion therapies may draw from treatment principles
              established for other purposes, for example psychoanalytic or
              behaviour therapy. They may include barriers to gender-
              affirming medical and psychological treatments. There is no
              scientific support for use of treatments in such a way and such
              applications are widely regarded as unacceptable.”



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         101.   The only treatment approaches for a diagnosis of Gender Dysphoria in

adolescents and adults that are supported by evidence and, thus, represent the medical

consensus, are the protocols set forth in the WPATH Standards of Care and in the

Endocrine Society’s guidelines (as applied to the hormonal aspects of multimodal

treatment for this condition).

         102.   The Royal College of Psychiatrists treatment guidelines are substantially

similar, and they also reference the WPATH SOC. (Royal College of Psychiatrists, 2013;

2018.)

         103.   I note that Dr. Hruz is a member of the Endocrine Society, but his statements

about Gender Dysphoria place him completely out of step with his own professional society

in this regard. He is likewise not a member of any of the other national medical associations

that he criticizes as political and activist in nature, for example the American Medical

Association, the American Psychiatric Association, the American Psychological

Association, American Academy of Pediatrics, etc.

         104.   Dr. Hruz is, however, a member of the American College of Pediatricians.

That organization, established in 2002, was described by the Southern Poverty Law Center

as: “a fringe anti-LGBTQ hate group that masquerades as the premier U.S. association of

pediatricians to push anti-LGBTQ junk science, primarily via far-right conservative media

and filing amicus briefs in cases related to gay adoption and marriage equality.”

(https://www.splcenter.org/fighting-hate/extremist-files/group/american-college-




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Pediatricians). Indeed, leaders of this fringe “College” have made the following public

statements of relevance to this litigation:

              “Your public library may have a drag queen story hour where
              books like I am Jazz are read to children by trans activists eager
              to groom the next generation of victims.” (Andre Van Mol,
              co-chair of American College of Pediatricians’ Committee on
              Adolescent Sexuality, “Reinforcing Children’s Sexual
              Identity: A Review of Ellie Klipp’s ‘I Don’t Have to Choose,’
              Aug. 27, 2019)

and

              “The transgender movement is an opening for a totalitarian
              government.” (Michelle Cretella, American College of
              Pediatricians executive director, speaking at Illinois Family
              Institute Worldview Conference, Oct. 2019).

       105.   Given Dr. Hruz’ membership in such a fringe group (the American College

of Pediatricians only has a few hundred members, versus the mainstream American

Academy of Pediatrics, which has over 67,000 members), it is not surprising that the views

he has expressed in his declaration are far from mainstream.

       106.   Contrary to the dangerous, unscientific, and misguided statements

promulgated by the American College of Pediatricians, the mainstream American

Academy of Pediatrics has extensively published positions that are the exact opposite of

those from the American College of Pediatricians noted above. For example:

              “The AAP works toward all children and adolescents,
              regardless of gender identity or expression, receiving care to
              promote optimal physical, mental, and social wellbeing.”
              (Rafferty, et al, AAP Policy Statement, 2018, page 1)

and

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               “the AAP recommends the following: that insurance plans
               offer coverage for health care that is specific to the needs of
               youth who identify as TGD, including coverage for medical,
               psychological, and, when indicated, surgical gender affirming
               interventions.” (Rafferty, et al, AAP Policy Statement, 2018,
               page 10).

VI.    Defendants’ Experts Inappropriately Misgender Plaintiffs and Downplay the
       Pain and Challenges of Being Denied Care for Gender Dysphoria.

       107.    Defendants’ experts seem to assume that a transgender person’s gender

identity is not based in reality, and is related to mental health issues that can somehow be

ameliorated by psychotherapy to change their gender identity. Dr. Lappert, in particular,

appears to believe that patients who experience Gender Dysphoria are “disturbed” (Lappert

Decl. at 15), and he refuses to use pronouns consistent with Plaintiffs’ gender identity (i.e.,

misgendering). See, e.g., Lappert Decl. at 51 (referring to one of the male Plaintiffs as a

“girl,” and calling him “profoundly psychologically disturbed”).

       108.    Just as problematic, Dr. Levine dismisses the suffering of the Plaintiffs in

this matter as experiencing the “relatively minor pain of gender dysphoria.” (Levine Decl.

at 70 ¶ 81.)

       109.    These attitudes are inappropriate and further reflect Defendants’ experts’

lack of experience in working with transgender people. Anyone who works extensively

with transgender people should be well aware of the importance of consistent and

appropriate pronoun use, and the psychological pain and disrespect that most transgender

people report experiencing when pronouns consistent with their identity are repeatedly not

utilized (Brown, 1990; Lev, 2004).


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       110.    I find it troubling that Defendants’ experts do not appear to have palpable

concern or empathy for what patients with Gender Dysphoria diagnoses experience. Their

dismissal of the pain of patients with Gender Dysphoria who must struggle to access

affirming care, and their refusal to refer to Plaintiffs by the pronouns consistent with their

identity disregard basic clinical conventions and decency, and are likewise far outside the

clinical mainstream.

VII.   The Ad Hominem Attacks of Defendants’ Experts Are Improper.

       111.    Throughout their reports, Defendants’ experts also make various improper

ad hominem attacks on Plaintiffs’ experts, including myself. For example, Dr. Hruz argues

that “Plaintiffs’ Expert Dr. Brown’s Methodological Failures Should be Investigated,” and

he accuses me of “misconduct.” (Hruz Decl. at 40 ¶ 40.) Dr. Lappert similarly argues that

physicians who treat Gender Dysphoria “should be properly investigated as unethical,

misconduct, and an abuse of a vulnerable patient population.” (Lappert Decl. at 15.)

       112.    There is no basis for these inflammatory accusations. As explained in my

original report and in this rebuttal report, my opinions on appropriate clinical care for

adolescents and adults with a diagnosis of Gender Dysphoria are squarely within the

scientific mainstream, and are consistent with standards of care and treatment guidelines

from various organizations like WPATH. Dr. Hruz’s and Dr. Lappert’s own reports, on

the other hand, omit relevant and modern scientific literature related to the efficacy and

outcomes of such standard clinical care, and opine extensively about topics that are

irrelevant to this case.


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VIII. Additional Responses to the Opinions of Dr. Levine.

       113.   In addition to addressing several of Dr. Levine’s opinions above, I address

several of his other opinions more specifically here.

       114.   Dr. Levine opines that adolescents with Gender Dysphoria also have

psychiatric comorbidities at elevated rates. (Levine Decl. at 24-26.) While this may

possibly be the case, the presence of such conditions is unremarkable given the

discrimination and stigma they experience in society.       The availability of care for

adolescents and adults with Gender Dysphoria should not be denied or restricted on this

basis, but rather the treatments should be sequenced or individualized to the patient based

on the totality of their conditions. This is addressed in the WPATH SOC and also makes

good clinical sense. Clinicians and health care plans do not deny access to treatments for

diabetes, for example, just because the same patient has arthritis, hypothyroidism, or

depression.

       115.   Dr. Levine offers the false choice of “competing therapies” for Gender

Dysphoria: psychotherapy versus all other therapies currently utilized in the treatment of

Gender Dysphoria. (Levine Decl. at 29-34.) He offers no evidence, weak or otherwise,

that any form of psychotherapy in adolescents or adults, adequately treats Gender

Dysphoria in any, let alone a majority of such patients.

       116.   Like Dr. Levine (with whom I worked with side-by-side on the development

of the WPATH SOC Version 5 more than 20 years ago), I too offer and provide

psychotherapy (exploratory; psychodynamic) as part of my treatment armamentarium for


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adults with Gender Dysphoria. I am in support of psychotherapy being included as part of

an overall benefits package that also includes medically necessary medications and

surgeries for the treatment of Gender Dysphoria in late adolescents and adults. I do not,

however, view psychotherapy as an “alternative” therapy in the sense that Dr. Levine and

other defense witnesses suggest without evidence.

       117.   Dr. Levine also claims that treatment protocols for cross-sex hormones, also

known as gender-affirming hormones, are “not generally accepted by the relevant scientific

community.” (Levine Decl. at 27.) This is incorrect. The guidelines published by

WPATH, the Endocrine Society, UCSF Center of Excellence for Transgender Health (all

appreciably the same in the areas where they overlap) are in widespread use in the largest

health care systems in the United States (Department of Veterans Affairs, Kaiser

Permanente, Departments of Corrections, Federal Bureau of Prisons, Department of

Defense, etc.) and in dozens of academic medical center-based gender programs

nationwide, including Dr. McHugh’s Johns Hopkins Hospital, Dr. Hruz’s Washington

University hospital system, and Dr. Levine’s Case Western Reserve University

(https://case.edu/lgbt/resources/transgender-resources).

       118.   Dr. McHugh, Dr. Hruz, and Dr. Levine are each affiliated with major, well-

respected universities. (The fourth expert, Dr. Lappert, does not appear to be university-

affiliated in any way since 2002.) All of those universities offer transgender healthcare

following the WPATH SOC for adolescents and adults with a diagnosis of Gender

Dysphoria. This again shows that Defendants’ experts are out of step with their own

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institutions, as well as the larger medical community, in their misguided attempts to argue

that adolescents and adults with Gender Dysphoria should not have access to the same care

that their own institutions provide.

       119.   Dr. Levine misleadingly cites my original research work (as he has done with

others, including Djehne et al, 2011) when he states that treatments for Gender Dysphoria

are not associated with improved outcomes. (Levine Decl. ¶ 74.) That is not what my

research (which constitute some of the largest studies published to date on patients with a

diagnosis of Gender Dysphoria (Brown and Jones, 2015; 2016)) shows. To the contrary,

the negative health and mental health associations in our controlled studies of transgender

veterans compared to matched, non-transgender veterans were done in the context of the

vast majority of the gender dysphoric veterans not having had access to treatment(s) for

their gender dysphoria. Our studies were not a “pretreatment” and “posttreatment” study,

such as that conducted by van der Miesen (2020) which did, in fact, show a post-treatment

benefit for those who got hormonal treatments.

       120.   Next, Dr. Levine also argues in favor of transgender beneficiaries having

lifelong access to coverage for psychotherapy services. (Levine Decl. ¶ 93.) I could not

agree more. Just as any other beneficiaries of a health care plan with mental health parity,

beneficiaries who are either cisgender or transgender should have equal access to these

services over their lifetimes.

       121.   Dr. Levine also argues (without evidence) that “regret following transition is

not an infrequent phenomenon.” (Levine Decl. at 76.) All that he offers in support of this

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point are a couple of personal anecdotes from his 47 year long career as a psychiatrist. That

alone seems “infrequent” to me, based on his experience with gender dysphoric patients.

       122.      Moreover, there are publications that actually address this issue, and that are

remarkably convergent in their consistent conclusions that the frequency of regrets after

surgical transition is very low. Bustos et al (2021) summarized the literature on a pooled

analysis of 27 studies involving 7,928 patients who had undergone one or more gender

affirming surgical procedures (“GAS”). There were a total of 77 patients who reported

regretting having had GAS, which was about 1%. This is consistent with reports going

back as far as 30 years ago. The Swedish group (Djehne, 2011) has reported 2%. The

Dutch group reports less than 1% (Wiepjes, et al, 2018; 0.6% of transwomen, 0.3% of

transmen). Narayan (2021) reported “low regrets.” In summary, one need not rely on

clinical anecdotes to determine whether or not patients in large numbers have regretted

receiving medically necessary care for Gender Dysphoria when there are data that address

this question.

IX.    Lappert’s Summary Conclusions Based on a Review of Plaintiffs’ Medical
       Records are False and Misleading.

       123.      Dr. Lappert indicates that he reviewed the medical records of each Plaintiff

but did not interview any of them. Based on his assessment of their records, Dr. Lappert

condemns all clinicians involved in the care of Plaintiffs, including the mental health

clinicians, for supposedly providing or recommending medically unnecessary treatment.

He further concludes, again without having interviewed any of the Plaintiffs, that none of

them received medically necessary transgender health care.

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       124.   To start, given that Dr. Lappert is trained only as a Plastic/Cosmetic surgeon

and not as a mental health clinician, it is unclear what expertise or basis he has to criticize

the clinicians’ treating decisions and recommendations.

       125.   Dr. Lappert appears to take the position that no one (let alone Plaintiffs in

this case) can receive transgender health care that is medically necessary, because he does

not accept DSM-5 diagnoses or value the importance of obtaining a good patient history in

the development of a diagnosis. Dr. Lappert argues (paragraph 22) that since he believes

there is no “objective” basis for the diagnosis of Gender Dysphoria, it therefore follows (in

his view) that the medical care that Plaintiffs received must be inappropriate, experimental,

“cosmetic,” and not medically necessary. This reasoning is unsupported and illogical.

Following Dr. Lappert’s logic, patients suffering from Major Depressive Disorder (DSM-

5, page 160), Bipolar Disorder (DSM-5, page 123), Post-traumatic Stress Disorder (DSM-

5, page 271), and a host of other legitimate diagnoses could never receive medically

necessary care for their conditions, simply because there is no so-called “objective” basis

for those diagnoses either. This is simply incorrect and inconsistent with well-accepted

standards of treatment in this field.

       126.   [The following paragraph of this report is designated ATTORNEYS

EYES ONLY.]




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                  REDACTED TEXT SUBJECT TO MOTION TO SEAL




      I declare under penalty of perjury that the foregoing is true and correct. Executed

this 10th day of June, 2021.




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                            CERTIFICATE OF SERVICE
      I hereby certify that on June 11, 2021, I caused a copy of the foregoing document

and all attachments to be served upon the following parties via email:

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 Dee Jones; and N.C. State Health Plan
 for Teachers and State Employees

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amcinnes@ncdoj.gov

Counsel for Defendant State of North
Carolina, Department of Public Safety
                                           53


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Dated: June 11, 2021                    /s/ Amy E. Richardson
                                        Amy E. Richardson, N.C. SBN 28768
                                        HARRIS, WILTSHIRE & GRANNIS LLP
                                        1033 Wade Avenue, Suite 100
                                        Raleigh, NC 27605-1155
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                                        arichardson@hwglaw.com

                                        Counsel for Plaintiffs




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              Exhibit 23(e)




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                   Exhibit A




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                                      CURRICULUM VITAE


 GEORGE RICHARD BROWN, MD, DFAPA

 Professor of Psychiatry and
 Associate Chairman for Veterans Affairs
 Quillen College of Medicine, Department of Psychiatry
 East Tennessee State University

 Research, Teaching, and Consulting Psychiatrist
 James H. Quillen VAMC
 Mountain Home
 Johnson City, TN

 Email: BrownGR@etsu.edu

 Date of Preparation: June 1, 2021


 EDUCATION:

 Undergraduate: University of Rochester, Rochester, New York, 1975-1979;
 Bachelor of Science with Highest Honors and Distinction in Research, Summa Cum Laude.
 Double major, with BS in both biology and geology

 Medical School: University of Rochester School of Medicine, Early Acceptance Program
 (Rochester Plan), 1979-1983; Doctor of Medicine with Honors; Health Professions Scholarship
 Program.

 Internship: United States Air Force Medical Center, Wright-Patterson Air Force Base, Ohio,
 1983-1984.

 Residency: Wright State University - United States Air Force Integrated Residency in Psychiatry,
 Dayton, Ohio, 1984-1987.

 CREDENTIALS:

 FLEX, December, 1983 (Behavioral Sciences, 94%; Psychiatry, 93%).
 Full licensure to practice medicine, State of Ohio, December, 1983 to April, 2017; license
          #50119; allowed to expire in 2017 with no intent of practicing in Ohio.
 Full licensure to practice medicine, State of Texas, August, 1989 to present; license
          #H5847
 Full Licensure to practice medicine, Commonwealth of Kentucky, 1993 to 1995,
          #30100; allowed to expire with no intent of practicing in Kentucky.
 Full licensure to practice medicine, State of Tennessee, 1994-present, license #25192

 Psychiatry Resident In-Training Examinations;
 1986: 98th percentile - all U.S. residents, psychiatry.
 1985: 90th percentile - all U.S. residents, psychiatry.
 1984: 98th percentile - all U.S. residents, psychiatry.
 1983: 98th percentile - all U.S. residents, psychiatry.

 American Board of Psychiatry and Neurology, Part I, April 1988 (92nd percentile); Part II,
        June 1989; ABPN Certificate #31377.



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 Electroconvulsive Therapy Administration Certification,
         1985-1990.
 Courtesy Staff Privileges, Charter Real Hospital, San Antonio, Texas, 1990-1994.
 Courtesy Hospital Staff, Bexar County Hospital District, San Antonio, Texas, 1988-1994.
 Full Admitting Privileges, Wilford Hall Medical Center, San Antonio, Texas, 1987-1993.
 Full Admitting Privileges, James H. Quillen VAMC Hospital, Johnson City, TN, 1994-2016
 Basic Life Support Certification, renewed March 2017-2019.
 Research and Teaching Privileges, James H. Quillen VAMC Hospital, Johnson City, TN, 2016-
 present.
 World Professional Association for Transgender Health Certification (grandparenting by
 examination)


 PROFESSIONAL EXPERIENCE:

 Current Positions:

 Professor and Associate Chairman for Veterans Affairs, Department of Psychiatry and
 Behavioral Sciences, Quillen College of Medicine, East Tennessee State University. 1995-
 present. Advisory duties to the Chairman, signature authority in absence of the Chair,
 contributing to administrative, teaching, and research missions of the Department, liaison
 between the VAMC and ETSU psychiatry administrations.

 Research, Teaching, and Resident supervision appointment, James H. Quillen VAMC.
 February 1, 2016-present. Responsibilities include providing teaching, research services, clinical
 consultation, and resident supervision/mentoring in the Psychiatry Service.


 Past Positions:

 Clinical Professor of Psychiatry (Adjunct), University of North Texas Health Sciences
 Center. 2017-2019. Clinical privileges at Carswell Federal Correctional Institution in association
 with UNTHSC appointment. Responsibilities include teaching and consultation with UNTHSC
 and Federal Bureau of Prisons staff about transgender health issues.

 Staff Psychiatrist, Mental Health Outpatient Clinic, James H. Quillen VAMC. December,
 2014-January 31, 2016. Responsibilities included treating veterans with chronic, persistent,
 mental illnesses in an outpatient setting and providing consultation services to junior staff and
 residents in psychiatry. Direct supervision of third year psychiatry residents in the Mental Health
 Clinic.

 Transgender Health Care Facility Lead, Mountain Home Health Care System. 2014-January
 31, 2016. Responsibilities included providing direct patient care for transgender veterans,
 providing national training for VHA health care providers learning how to provide transgender
 health care, direct supervision of other health care providers in teaching evaluation and treatment
 techniques, leading a multidisciplinary team of health care providers assigned to provide
 transgender health care in our 70,000 patient health care system.



 Program Officer, Health Care Outcomes, Office of Health Equity (10A6), VA Central Office,
 Washington, D.C. December, 2012, to December, 2014. Responsibilities included researching
 medical and psychiatric health disparities in vulnerable populations of Veterans treated by the
 Veterans Health Administration, and assisting top officials in VHA in the development of policies
 that lead to elimination of health care outcome disparities in these subpopulations. Continued to
 see patients at Mountain Home VAMC throughout this appointment.



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 Chief of Psychiatry, James H. Quillen VAMC. November 22, 1995-December 16, 2012.
 Responsibilities included direct supervision of a staff of 34-42professional staff, including 24-28
 psychiatrists, 2 Clinical Nurse Specialists, and 9-12 psychiatric nurse practitioners. Represented
 the Department in all meetings requiring the input of the Chief of Service. Attended executive
 meetings in the Medical Center and University. Contributed to long range planning of services in
 the Medical Center.

 Research Appointment (WOC), VHA Center of Excellence for Suicide Prevention,
 Canandaigua, New York. 2011-2014. Responsibilities of this position included developing
 research protocols collaboratively with CoE staff that have national implications related to suicide
 in VHA.

 Director of Psychiatric Research, James H. Quillen VAMC Dept. of Psychiatry. 1994-2012.
 Responsibilities included creating a research program de novo and leading a research team at
 the VAMC, teaching resident seminars, didactics, research electives, providing direct patient
 care for inpatients on research protocols (usually those with severe mental disorders), traveling to
 conferences to present research findings and providing Grand Rounds to other institutions and
 medical schools. Major focus of research activities has been working with
 stigmatized/disenfranchised populations and addressing mental health care aspects and
 disparities in care.

 Staff psychiatrist, Another Chance Recovery Program, Morristown, Tennessee. March 1995-
 1996. This is an intensive outpatient drug and alcohol treatment program with a heavy emphasis
 on dual diagnosis patients, outpatient detoxification from chemical dependency, and a blend of
 the medical and 12-Step approaches to treatment of the chemically dependent patient. One
 evening clinic per week.

 Senior Research Scientist and Director of Psychiatric/Neuropsychiatric
 HIV Research, Wilford Hall Medical Center, Henry M. Jackson Foundation for the Advancement
 of Military Medicine, San Antonio, Texas. 1 July 1991 to 1 October 93. Responsibilities included
 hiring and then directing a team of approximately 15 civilian and military psychiatric researchers
 conducting HIV-related psychiatric research; Principal Investigator on longitudinal psychiatric
 natural history study of early HIV infection (males and females), 1989-1993; preparing
 manuscripts, presenting research findings at national and international meetings; designing and
 implementing new protocols; interviewing and assisting in the hiring of personnel; managing
 administrative and personnel issues.

 Private practice of adult psychiatry. 1991-November 1993. Part-time practice primarily focusing
 on sexuality and gender concerns, including endocrine care, and adult psychodynamic
 psychotherapy.

 Consulting Psychiatrist for Quality Assurance and Continuing Quality Improvement
 Programs:
 1) Charter Real Partial Hospitalization Program, San Antonio, Texas. 1990 to 12/93.
 Responsibilities of this part time position included designing and implementing a medical quality
 assurance program and assisting Utilization Review personnel with implementing efficient
 resource utilization procedures.
 2) Colonial Hills Hospital Inpatient Services and Adult Partial Hospitalization Program, San
 Antonio, Texas. 1992. Responsibilities of this part time position included custom designing a four
 part program to address QA/CQI concerns on all inpatient units, coordinating the implementation
 of the program with hospital QA/UR personnel, and quantifying/ databasing physician charting
 performance to analyze trends.




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 Staff Psychiatrist, Wilford Hall Medical Center, Lackland Air Force Base, San Antonio, Texas:

         1987-1989: Primary responsibility for inpatient ward of 25-33 patients, resident and
         medical student teaching, and professional presentations. 1040 admissions; average
         length of stay 13 days.

         1989-1991: Outpatient Clinic service, responsible for evaluations and treatment of adult
         outpatients; supervision of PGY-3 residents in psychiatry and other staff working in the
         clinic (social workers, psychologists, and mental health technicians). Medical support for
         comprehensive Smoking Cessation Clinic.

         1989-1991: Director of Psychiatric Research, half-time position; developed a research
         program primarily targeting psychiatric resident involvement with research and related
         activities, including presentations at regional and national professional meetings. Active
         in conducting research, reviewing and approving protocols, research design, editing
         publications submitted from the Department of Psychiatry, and organizing symposia;
         interviewing and selecting official for research personnel for multicenter collaborative HIV
         research grant.


 ACADEMIC APPOINTMENTS:

 Professor of Psychiatry (1998-present), East Tennessee State University, Quillen College of
 Medicine. VA Academic Faculty appointment.

 Clinical Professor of Psychiatry (Adjunct), University of North Texas Health Sciences Center, Fort
 Worth, Texas (2017-2020).

 Adjunct Professor of Psychology, University of Tennessee at Knoxville (1997). Served on
 doctoral dissertation committee as supervisor and mentor for doctoral candidate in clinical
 psychology.

 Associate Professor of Psychiatry (1994-1998), East Tennessee State University, Quillen College
 of Medicine. Full time geographic faculty appointment. Renewal of previously awarded academic
 ranking. Activities include serving on numerous committees (see below), teaching residents,
 providing electives, working collaboratively with staff to conduct new research projects,
 interviewing residency and faculty candidates.

 Clinical Associate Professor of Psychiatry (1992-1994), University of Texas Health Science
 Center at San Antonio, San Antonio, Texas. 1987 to 1994. Primary responsibility of this position
 was teaching medical students and residents in individual, group, and lecture settings; provision
 of psychodynamic psychotherapy supervision. Lectures and seminars include core material on
 sexual dysfunction, treatment of paraphilias, gender identity disorders, homosexuality, and
 psychiatric aspects of HIV infection.

 Clinical Associate Professor of Psychiatry (1992-1996), Uniformed Services University for the
 Health Sciences, School of Medicine, Bethesda, Maryland. Primary responsibility of this position
 was teaching medical students from the University who travel to San Antonio for clinical rotations
 in psychiatry and serving as a visiting lecturer for USUHS.

 Full time faculty, Department of Psychiatry, Wilford Hall Medical Center, Lackland Air Force Base,
 San Antonio, Texas, 1987 to 1991. Adjunct clinical faculty, Department of Psychiatry, 1991 to
 1993. Responsibilities included supervising psychiatric residents involved in research activities,
 sponsoring Distinguished Visiting Professors in conjunction with the Department, and teaching
 core didactic lectures and seminars.




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 Assistant Clinical Instructor, Wright State University School of Medicine, 1983-1987. Primary
 responsibility of this position was teaching medical students during clinical rotation in psychiatry.

 Chief Resident in Psychiatry, November, 1986 to March, 1987, with administrative, teaching, and
 research responsibilities.


 CONSULTATION EXPERIENCE:

 Psychiatric Liaison and Consultant to Oncology Unit, Good Samaritan Hospital, Dayton, Ohio,
          1985.
 Clinical Supervisor and Psychiatric Consultant to Montgomery County Juvenile Court
          Diversion Program, Dayton, Ohio, 1986-1987.
 Consultation/Liaison Rotation, Keesler AFB, MS, 1986.
 Psychiatric Consultant to the United States Air Force Child Abuse Task Force (convened by
          the Surgeon General of the Air Force), 1989-1991.
 Lorain Correctional Institution, psychiatric consultant for inmate mental health evaluations
          and treatment, July-August 1993.
 State of Tennessee Mental Health and Mental Retardation, appointed as consultant to develop
           Best Practice Guidelines for all State programs for Bipolar Disorder.
 Health Ed, The Patient Education Agency: consultant for development of patient education
          materials for chronic mental illnesses, 2006-2007.
 Consultant to Batavia Independent School District in assisting on-the-job gender transition for a
          transgender high school teacher, 2006.
 Consultant to Port Ewan/Kingston BOCES School Program in assisting on-the-job transition for a
          transgender principal, 2007.
 Consultant to the Federal Bureau of Prisons on policies relating to medical management of
           transgender inmates, 2009, 2014.
 Consultant to Department of Defense on policy and medical issues related to transgender service
          members, 2016-2018.
 Faculty consultant to Carswell Federal Correctional Institution, Fort Worth, Texas, on transgender
          health issues, 2017-present.
 Research Consultant to Michael Goodman, MD, Principal Investigator, PCORI Grant to study
          transgender health issues (STRONG protocol), Emory University, 2014-2016.
 Department of Justice, National Institute of Corrections, 2017-2018.
 Department of Veterans Affairs, LGBT Veterans Program, Washington, DC, 2016-present
 Consultant to the Idaho Department of Corrections, April 10, 2019.


 SPECIALIZED TRAINING EXPERIENCES:

 School of Aerospace Medicine, Course I, Brooks AFB, San Antonio, Texas, 1981.
 Administrative Course for Chief Residents, Tarrytown, New York, June, 1985.
 Combat Casualty Care Course, San Antonio, Texas, 1985.
 Consultation and Liaison Psychiatry, Keesler AFB, Biloxi, Mississippi, 1986.
 Center for the Treatment of Impotence, Case Western Reserve University, Cleveland, Ohio,
         July, 1986.
 Forensic Psychiatry Course and associated clinical work, 6 months, 1986-87; ongoing case work
         in forensic psychiatry as expert witness and legal consultant, 1987-present.
 Gender Identity Clinic, Case Western Reserve University, Cleveland, Ohio, July, 1986.
 Paraphilias Clinic, Case Western Reserve University, Cleveland, Ohio, July, 1986.
 Chemical Dependency Program, Samaritan Hall, Dayton, Ohio, August, 1986.
 Advanced Study of Gender and Sexual Disorders, Institute of Living, Hartford, Connecticut,
         April, 1987.
 Electroconvulsive Therapy Administration Training, Jan-June, 1985; June, 1987.
 SCID training seminar, September, 1989.



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 American Board of Psychiatry and Neurology Examiner, 1991-present.
 Administrative psychiatry and leadership training, James H. Quillen VAMC,1996 to 2012.
 Physician Executive Training, American College of Physician Executives, (PIM-I Course,
         31 hours; PIM-II Course, 31 hours, PIM-III Course, 31 hours), 1998-1999.
 Masters and Johnson workshop on trauma, sexual compulsivity/addiction treatment, 11 hours,
         December, 2003.
 Forensic Workshop on sex offenders, National Council on Sexual Addiction and Compulsivity,
         October, 2002
 Forensic workshops, including PREA implementation, managing hunger strikes, mental health
         issues in prison, sponsored by National Commission on Correctional Health Care, 2010,
         2012.
 Forensic workshops, including 3 hours of training on medical and legal aspects of providing
         health care for transgender inmates, sponsored by National Commission on Correctional
         Health Care, 2015.
 Lexipol Training Certificate, Managing Manipulation by Inmates, 10/17/19.


 COMMITTEE AND BOARD ACTIVITIES:

 Mohonasen Public School Board Member, Schenectady, New York, 1974-1975.
 Social Chairman, Wright State University Psychiatry Residency, 1984.
 Dayton Representative to the Member-in-Training Committee of the Ohio Psychiatric
         Association, 1984-1986.
 Chairman, Member-in-Training Committee, Ohio Psychiatric Association, 1986-1987.
 Chairman, Member-in-Training Committee, Dayton Psychiatric Society, 1985-1987.
 Peer Review Committee, Ohio Psychiatric Association, 1986-1988.
 Long Range Planning Committee, Ohio Psychiatric Association, 1986-1987.
 American Psychiatric Association, Area IV Resident Caucus, Ohio Representative, 1987.
 American Psychiatric Association, Committee of Residents of the Council on Medical
         Education and Career Development, Ohio Representative, 1986-1987.
 Ohio Psychiatrist's Political Action Committee, Board of Directors, 1987.
 Bexar County Psychiatric Society Committee on AIDS, 1990-1993.
 World Professional Association for Transgender Health (WPATH) Committee to Revise the
         Standards of Care, 1990-present; Cochairman of Standards of Care Revision Committee,
         2001-2005.
 Psychiatric Consultant to the Board of Directors, Boulton and Park Society, San Antonio, Texas,
         1988-1998.
 President-elect, Society of Air Force Psychiatrists, 1990-1991.
 Board of Directors, Alamo Area Resource Center (AIDS/HIV Service Organization), 1991- 1992.
 Board of Advisors, American Educational Gender Information Service (Atlanta, Georgia), 1992-
         1998.
 Quality Assurance Committee, Texas Society of Psychiatric Physicians, 1992-1993.
 Professional Standards Committee, Texas Society of Psychiatric Physicians, 1992-1993.
 Board of Directors, Harry Benjamin International Gender Dysphoria Association (WPAth), 1993-
         1997; 2001-2007
 Ethics Committee, Tennessee Psychiatric Association, 1994-present.
 Advisory Committee on Publications and Advertising, Southern Medical Association,
         1994-1996.
 Councilor to the Executive Committee, Tennessee Psychiatric Association, East Tennessee
         Region, 1995-2005.
 Vice-Chairman, Section on Neurology and Psychiatry, Southern Medical Association, 1995-
         1996.
 President, New Health Foundation, 2001-2003.
 Secretary of the Section on Neurology and Psychiatry, Southern Medical Association, 1997-
         2000.
 American Psychiatric Association PKSAP and Medical Education Committees, appointed by



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          Herb Sachs, M.D. and Harold Eist, M.D. (APA Presidents), 1997-2001.
 Scientific Affairs Committee, Southern Medical Association, 1997-1999.
 Consultant to the Joint Commission on Public Affairs, American Psychiatric Association,
          appointed by Rod Munoz, M.D. (APA President), 1998-1999.
 Scientific Program Committee, Southern Psychiatric Association, 1999-2000.
 Resident Award Committee, Southern Psychiatric Association, 1997-2009.
 Ethics Committee; HIV Committee; Harry Benjamin International Gender Dysphoria Association,
          1999-2005
 Board of Directors, New Health Foundation, Chicago, IL, 2000-present.
 Tennessee Department of Mental Health and Retardation Adult Committee on Best Practices
          (responsible for recommending guidelines for treatment of bipolar disorder),
          2000-2003.
 Associate Counselor for Tennessee, Southern Medical Association, 2000-2008.
 Resident Award Committee, Southern Psychiatric Association, 2003-2009.
 Board of Directors, James H. Quillen VAMC Research Corporation, 2003-2010.
 HBIGDA Biennial Symposium Scientific Meeting Committee, 2006-2007.
 Board of Regents, Southern Psychiatric Association, 2006.
 Southern Medical Association, Section Secretary for Psychiatry and Neurology, 2004-2008.
 Scientific Review Committee, World Professional Association for Transgender Health
          Symposium, 2007-2009; 2015-2018.
 Board of Regents, Second Year, Southern Psychiatric Association, 2007.
 Chairman, Board of Regents, Southern Psychiatric Association, 2009.
 WPATH Board of Directors, 3 terms totaling 13 years, with last term 2014 (mandatory rotation off
          the board).
 Secretary-Treasurer, World Professional Association of Transgender Health, 2007-2009.
 DSM-V workgroup on Gender Identity Disorders (WPATH advisory work group to American
          Psychiatric Association DSM-V GID task force), 2009.
 World Health Organization advisory committee for ICD-11 (gender identity disorders), 2011-
          present.
 Department of Veterans Affairs Transgender Directive Communication Plan Education Group,
           2011-2012.
 VHA Transgender Training Workgroup, Patient Care Services, 2012- present.
 Numerous VA Central Office national workgroups and committees, including the workgroup to
          add birth sex and gender identity data fields to all VA medical records, 2012-2019.
 Commissioner, Palm Center Commission on Transgender Military Service, Appointed by
          Joycelyn Elders, MD, 2013-2014.


 PROFESSIONAL ORGANIZATIONS:

 American Psychiatric Association (1983-2015); #044933, Fellow, 1998; Distinguished Fellow,
         2003
 Association for the Advancement of Psychotherapy (1985-1993)
 World Professional Association for Transgender Health (1986-present)
 Ohio Psychiatric Association (1983-1987)
 Texas Society of Psychiatric Physicians (1988-1994)
 Tennessee Psychiatric Association (1994-2015)
 American Medical Students Association (1977-1987)
 American Medical Association (1983-1988; 2015-2019)
 Ohio State Medical Association (1983-1987)
 Montgomery County Medical Society (1983-1987)
 Dayton Psychiatric Society (1983-1987)
 Society of United States Air Force Psychiatrists (1983-1991)
 Bexar County, Texas, Psychiatric Society (1987-1990)
 Southern Medical Association (1994-2010)
 Southern Psychiatric Association (1997-2009)



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 New Health Foundation (advocacy organization for transgendered health care;
        1996-present)
 American Psychological Association Society for the Psychological Study of Men and Masculinity,
        Division 51, 1996-2000.


 AWARDS AND SPECIAL RECOGNITION:

 Valedictorian, Mohonasen High School, Schenectady, New York, 1975.
 New York State Regents Scholarship, 1975-1979.
 Bausch and Lomb Science Award and Scholarship, 1975-1979.
 Phi Beta Kappa, junior year selection, 1977.
 Donald Charles Memorial Award for Research in Biology, 1978.
 Recognition for Highest Grade Point Average, Department of Biology-Geology, University
          of Rochester, 1979.
 Dean's Letters of Commendation for Academic Achievement, University of Rochester, 1975-
          1983.
 Letter of Commendation for Excellence in Pathology, University of Rochester, 1981.
 Alpha Omega Alpha Medical Honor Society, University of Rochester, 1983.
 Wright State University Department of Psychiatry selectee for fellowship in the Group for the
 Advancement of Psychiatry (GAP), 1984.
 Wright State University Department of Psychiatry nominee for Laughlin Fellowship of the
          American College of Psychiatrists, 1985, 1986.
 Physician's Recognition Award of the American Medical Association, 1986 to present.
 President's Award of the Ohio Psychiatric Association for outstanding service to the
          organization, 1987.
 Chairman's Recognition Award For Scholarship and Research, Wright State University
          Department of Psychiatry, 1987.
 Air Force Training Ribbon, 1980.
 Air Force Outstanding Unit Decoration, 1987; first oak leaf cluster additional award, 1990.
 Air Force Expert Marksman Ribbon, 1988.
 Air Force Achievement Medal for research accomplishments, 1990.
 1990 American Academy of Psychosomatic Medicine Dlin Fischer Award for Significant
          Achievement in Clinical Research; corecipient.
 Who's Who Among Human Services Professionals, 1990 to present.
 West's Who's Who in Health and Medical Services, 1991 to present.
 Marquis Who's Who of Board Certified Medical Specialists, 1992-present.
 Bexar County Medical Society Certificate of Appreciation, 1991.
 Air Force Meritorious Service Medal for distinguished clinical and research service to the
 Department of Psychiatry, Wilford Hall Medical Center, 1991.
 Air Force National Defense Ribbon, Desert Storm Campaign, 1991.
 Mohonasen High School Hall of Fame for Lifetime Achievement, 1992 inductee.
 Health Care Professional of the Year Award, Boulton and Park Society, San Antonio, Texas,
          1992-93.
 Special Citation Award, Society of Behavioral Medicine, with Coyle C, et al., for
          presentation at 1993 Society of Behavioral Medicine Annual Meeting, 1993.
 Institute for Legislative Action, 1995 Honor Role.
 Sterling Who's Who of Health Care Professionals, 1995.
 Southern Medical Association 1995 Award for Medical Excellence (Best Scientific Oral
          Presentation in Neurology and Psychiatry), $1,000 Scholarship prize, 1995.
 Janssen Clinical Scholar, 1995.
 Mountain Home VAMC Group Special Contribution Award, 1995, 1997.
 Marquis Who's Who in the South and Southwest, 1996-1998.
 Marquis Who's Who in Medicine and Healthcare, 1997-1998.
 Certificate of Appreciation, ETSU Psychiatry Residents, 1997, 1998, 1999.
 Fellow, American Psychiatric Association, 1998-2002.



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 Resident Special Recognition Award, June, 2000.
 Distinguished Fellow, American Psychiatric Association, January, 2003
 Special Group Contribution Award, VAMC, 2003
 Secretary of Defense Certificate of Recognition, Cold War Military Service, 2003
 VA Performance Award, 2005
 First Annual Irma Bland Award for Excellence in Teaching Residents, presented by the American
         Psychiatric Association, May, 2005
 Special Contribution Award, Mountain Home VAMC, for assisting in obtaining over 2.5 million in
         new program monies from VA Central Office RFP process, April 26, 2006
 Top Psychiatrists of 2006, Consumer Research Council selectee
 ETSU Resident Recognition Award for "dedication to the Resident's Journal Club", 2006
 Fellow, Southern Psychiatric Association, 2006
 ETSU Psychiatry Faculty Mentor of the Year Award, 2007
 Cambridge Who's Who, Executive and Professional Registry, 2007
 Southern Medical Association, Third Place Award for Scientific Poster Presentation, Dallas,
         Texas, December 5, 2009
 Twenty-five year U.S. Government service award, January 10, 2010
 Joint Commission recognition : “Top Performers on Key Quality Measures” (contributor), 2011
 Robert W. Carey Quality Performance Excellence Award (contributor), 2011; Department
         of Veterans Affairs award using Baldrige criteria
 James H. Quillen VAMC selected as VA to be featured in the Commonwealth Fund’s article
         on successful efforts to improve patient safety (contributor), 2011
 Gender Identity Research and Education Society (GIRES) 2011 award to the 34 members
         of the Standards of Care Revision Committee for their work on the WPATH Standards of
         Care, 7th Version.
 Robert W. Carey Quality Trophy Award, Mountain Home VAMC. This is the highest level
         of the Carey Award for those VAMC’s seeking performance excellence using the Baldrige
         Criteria. Awarded by the Secretary of the VA to the leadership team of which I was a
         Part, 2012.
 Recognized by LGBT Health journal in March, 2016 as having first-authored the #1 and #3 most
         read articles in that journal since its inception.
 Lifetime Achievement Award for Distinguished Research, awarded by the World Professional
         Association for Transgender Health for a lifetime of transgender research contributions,
         November 5, 2018.
 Southern Trans Health and Wellness Research Award, 2019, presented by the Mountain Area
         Health Education Center, Wake Forest University, NC, March 7, 2019.


 UNIVERSITY/VA COMMITTEE ACTIVITIES:

 Learning Resources Advisory Committee (ETSU), 1995-1996.
 Psychiatric Residency Training Committee /Educational Policy Committee (ETSU), 1993-2017.
 Peer Review Committee (VAMC), 1995-1996.
 Chairman and Founder, Psychiatric Grand Rounds and Visiting Professor Program (ETSU),
          1993-1997; 2003-2004.
 Clinical Executive Board (VAMC), 1995-2012.
 Research and Development Committee, Dean's Appointment (VAMC), 1996-1998.
 Chairman, VAMC Research and Development Committee, 1999-2000.
 Co-Chairman, Mental Health Council (VAMC), 1995-2009.
 Academic Partnership Committee (ETSU), member, 1995-2012.
 Facility Master Plan and Space Utilization Committee (VAMC), 1995-2010.
 Professional Standards Board (VAMC), 1995-2012.
 Safety Committee, Department of Psychiatry, Chairman (VAMC)
 ETSU Psychiatry Promotion and Tenure Committee, 1998-present.
 Resident Selection Committee, ETSU Psychiatry Program, 1998-2012.
 Chairman, VAMC Research and Development Committee, 2001-2002.



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 Veterans Health Affairs, VISN 9, Budget and Finance Committee, 2002-2004.
 Institutional Review Board (ETSU/VAMC), member, 1996-2003; served as acting chair as
           needed.
 Cameron University Department of Psychology, Dissertation Committee Consultant for Beth
           Ryan, Masters Thesis, 2004-2005 (gender identity disorder research).
 VISN 9 Mental Health Leadership Committee, 2002-2012.
 ETSU/VAMC Subcommittee on Graduate Medical Education, 2008-2012.
 Vanderbilt University Department of Nursing, Dissertation Committee member and consultant for
           Gerald Meredith, 2009-2010.
 VA Transgender Directive Education Workgroup; VACO workgroup to advise the Undersecretary,
           VHA, on how to educate and implement the 2011 and 2013 Directives on providing
            Healthcare to transgender and intersex Veterans, 2011-present.
 Office of Health Equity (VACO), Health Equity Coalition, 2013-2014.
 Numerous research committees and advisory panels for health equity research projects being
           conducted in VA, 2012-2015.
 Chairman, Educational Policy Committee (Residency Training Committee), East Tennessee State
            University Department of Psychiatry, 2015-2016.
 Self-Identified Gender Identity Data Field Training Workgroup (National VA work group to change
           electronic medical records data collection to include self-identified gender identity), 2012-
           present.
 Research Committee, East Tennessee State University Department of Psychiatry, 2015-
           2017.
 Promotion and Tenure Committee, East Tennessee State University, Quillen College
           of Medicine, Department of Psychiatry and Behavioral Sciences, 1999-present.
 WPATH International Awards Committee, 2020.


 FORENSIC PSYCHIATRY ACTIVITIES:

 1. Military court proceedings, two occasions as expert witness at trial; U.S. Air Force, U.S. Army,
           c.1990-1992.
 2. Military Physical Evaluation Board Proceedings, expert testimony, 2/8/02.
 3. Farmer v. Hawk, United States District Court for the District of Columbia, expert opinion
          by affidavit on behalf of plaintiff, 1999.
 4. Yolanda Burt v. Federal Bureau of Prisons/Moritsugu, United States District Court for the
          District of Columbia, deposition testimony on behalf of plaintiff, 2000.
 5. Kosilek v. Maloney, 221 F.Supp 2d 156,186 (D.Mass. 2002), expert witness by trial testimony
          on behalf of plaintiff, 2001.
 6. Family Court expert witness trial testimony, Missouri, (custody issues for transgendered
          parent),1993.
 7. Thompson v. Idaho Department of Corrections (prison medical care Issues), consultant on
           behalf of plaintiff, 2002 (citation: Linda Patricia Thompson v. Dave Paskett, et al., Case
          No. CV00-388-S-BLW).
 8. State of Missouri Medical Board, expert opinion by affidavit on behalf of physician, 10/2001.
 9. State of Tennessee Medical Board, expert opinion by affidavit on behalf of physician, 5/2002.
 10. Military Administrative Hearing, consultant, U.S. Army, December, 2002.
 11. Oiler v. Winn-Dixie Louisiana, Inc; USDC, Eastern District of Louisiana, No. 00-3114 “L” (3);
          consultant on behalf of defendant, 2001-2002.
 12. Moore v. State of Minnesota, consultant and expert opinion by deposition testimony on behalf
          of defendant, Attorney General's Office, State of Minnesota, 2003.
 13. Woods v. US Air Force, administrative discharge board, consultant, San Antonio, TX, 2003.
 14. Ophelia Azriel De’Lonta vs. Ronald Angelone and Prison Health Services, Inc. (Virginia
           Department of Corrections) United States District Court, Western District of Virginia, 330
          F.3d 630,635 (4th Cir 2003) expert opinion by deposition testimony on behalf of plaintiff,
          2003.
 15. Malpractice case, Tennessee, consultant for defendant (primary care physician), 2004-



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          2005.
 16. Josef v. Ontario Minister of Health, Attorney General of Ontario representing Her Majesty the
          Queen in Right of Ontario; Ontario Superior Court of Justice; expert opinion by affidavit
           and consultant on behalf of plaintiff, 2004-2007.
 17. Nubel v. New Jersey Board of Nursing, consultant and expert opinion by deposition testimony
          for defendant, 2004-2005.
 18. Malpractice case, Tennessee, consultant for defendant (psychiatrist), 2004-
          2005 .
 19. Malpractice case, Kentucky, consultant for defendants (psychiatrists), 2005-2006.
 20. Kosilek v. Mass. Department of Corrections/ Kathleen Dennehy, expert witness by trial
          testimony and consultant on behalf of plaintiff, 2005-2006 ( Kosilek v. Spencer, 889
          F.Supp.2d 190 (D. Mass. Sept. 4, 2012); "Kosilek II."
 21. Gammett v. Idaho Department of Corrections, expert opinion by affidavit and consultant for
          plaintiff, 2005-2007 (Gammett v. Idaho State Bd. of Corrections, No. CV05-257-S-MHW,
          2007 WL 2186896 (D. Idaho July 27, 2007).
 22. Isaak v. Idaho Department of Corrections, consultant, and expert opinion by deposition
          testimony on behalf of plaintiff, 2006-2008.
 23. May v. State of Tennessee and multiple codefendants; consultant on
          behalf of defendant, Attorney General's Office, State of Tennessee, 2006.
 24. Fields/Sundstrom v. Wisconsin Department of Corrections, consultant and expert opinion by
          deposition testimony on behalf of plaintiff, 2007 ( Fields v. Smith, 653 F.3d 550 (7th Cir.
          2011).
 25. Palmer v. State of TN; malpractice case; consultant and expert opinion by deposition
          testimony for defendant, Attorney General's Office, State of Tennessee 2007.
 26. Spray v. Temp Agency, consultant and expert opinion by affidavits on behalf of plaintiff, 2007.
 27. O'Donnabhain v. Internal Revenue Service/Department of the Treasury, expert witness by
          trial testimony on behalf of plaintiff, 2007 (O’Donnabhain v. Commissioner, 134 T.C. No.
           4 (Feb. 2, 2010).
 28. Battista v. Mass. Department of Corrections/Kathleen Dennehy, consultant and expert opinion
          by affidavit for plaintiff, 2008-2011.
 29. Plumley v. State of TN; malpractice case; consultant for defendant, 2009.
 30. Kolestani v. State of Idaho, capital murder case, consultant and expert opinion by affidavit for
          public defender's office, 2009.
 31. Smith v. St. Mary’s Medical Center, medical malpractice case, consultant for defendant,
          2009-2011, expert witness by jury trial testimony, 2011.
 32. Finch aka Destiny v. Idaho Department of Corrections, consultant for plaintiff, 2010-2011.
 33. Soneeya v. Clarke, Civil Action No. 07-12325 (NG), Massachusetts, consultant for plaintiff,
          2011. (see also Soneeya v. Spencer, 851 F.Supp.2d 228 (D. Mass. 2012)
 34. Hoyle v. Saha, malpractice case; consultant for defendant, 2011- 2014.
 35. Champouillon v. State of TN; malpractice case; consultant for defendant, 2012-2014.
 36. Equivel v. State of Oregon; access to transgender health care for Oregon State employees;
          consultant to Lamdba Legal, 2012.
 37. Kosilek v. MA DOC, consultant for plaintiff, 2012-2014.
 38. Binney v. South Carolina DOC, consultant and expert opinion by affidavit for plaintiff (death
          row case), 2013-2015.
 39. De’Lonta v. Harold W. Clarke et al. (Virginia Department of Corrections), consultant and
          expert opinion by affidavit for plaintiff, 2013-2014 (inmate paroled).
 40. U.S. and Tudor v. Southeastern Oklahoma State University, expert consultant for plaintiff and
           the Department of Justice (Title VII discrimination case), by declaration for plaintiff, 2015-
          2018. (Case decision 2018)
 41. Mott v. State of Kansas, consultant and expert opinion by affidavit for plaintiff (birth certificate
          change), 2015-2016.
 42. Fuller v. MA Department of Corrections; expert opinion by affidavit and deposition, for plaintiff,
          2015-2016.
 43. Franklin v. Hardy, et al. (Illinois Department of Corrections); expert opinion by affidavit, for
           plaintiff, 2015-2016.



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44. Dunn et al. v. Dunn et al. (Alabama Department of Corrections), expert consultant
         for plaintiff, 2016-2017.
45. Keohane v. Jones (Florida Department of Corrections), Case No.4:16-cv-511-
         MW-CAS, N. D. Fla, expert opinion by affidavit, deposition, and bench trial testimony for
         plaintiff, 2016-2017.(Case decision August, 2018)
46. Rodgers v. State of Florida, Case #1998CF274, expert opinion by affidavits for plaintiff (death
         row case) 2016-present.
47. U.S. v. State of North Carolina, North Carolina Department of Public Safety, & University of
         North Carolina (HB2); 1:16-CV-00425, expert opinion by affidavits, for plaintiff (DOJ, Civil
         Rights Division, and ACLU), 2016-2017. Case dropped by Attorney General Sessions.
48. Hicklin v. Lombardi, et al., File No. 3587.53, (Missouri Department of Corrections, Corizon),
         consultant for defendants (Corizon only), expert opinion by videotaped deposition, 2017-
         2018 (settled).
49. U.S. v. John Patrick Price, expert opinion by affidavit for defendant (Federal Public Defender,
         Western NC), 2017.
50. Jane Does 1-5 v. Donald J. Trump, James Mattis, et al, case number 17-cv-1597, District of
         Columbia, expert opinion by declarations and deposition for plaintiffs, 2017-present.
51. Stockman et al. v. Donald J. Trump, James Mattis, et al., case number 17-CV-6516, United
         States District Court, Central District of California, expert opinion by declarations and
         deposition for plaintiffs, 2017-present.
52. Karnoski, et al. v. Donald J. Trump, James Mattis, et al., case number 2:17-cv-01297-MJP,
         Unites States District Court, Western District of Washington, expert opinion by
         Declarations and depositions for plaintiffs, 2017-present.
53. Stone, et al. v. Donald J. Trump, James Mattis, et al., case number 1:17-cv-02459 (MJG),
         United States District Court, District of Maryland, expert opinion by declarations and
          deposition for plaintiffs, 2017-present.
54. Hampton v. Baldwin et al, CIVIL NO. 17-cv-936-DRH (S.D. Ill. Nov. 29, 2017), Illinois, expert
         opinion by deposition for plaintiff, 2017-present.
55. Roy Trost aka Daisy Meadows v. Brian Sandoval, et al, case number 3:14-cv-00611-MMD-
         WGC, United States District Court, Nevada, expert opinion for plaintiff, 2018-present.
56. Bruce v. South Dakota, case number 5:17-cv-05080-JLV, expert opinion by affidavit and
         deposition for plaintiff, 2018-2019 (death of plaintiff).
57. Edmo v. Idaho Department of Corrections, Corizon, Inc., et al; case number 1:17-cv-151-
         BLW, expert opinion by declaration for defendant, 2017-present.
58. Radan v. Colorado Department of Corrections, Rick Raemisch, and Darren Lish, case
         numbers 1:16-cv-01717-STV and 16-cv-01717-MSK-STV, expert
         opinion by declaration for defendants, 2017-2018 (settled).
59. EEOC v. A&E Tire, Inc, case number 1:17-cv-02362-RBJ, expert opinion by declaration on
         behalf of plaintiff, 2018-2019 (settled).
60. Jamison Rigby v. University of Michigan, et al; expert opinion by deposition (malpractice
          case), on behalf of plaintiff, 2018-present.
61. Monroe (aka Patterson) v. Baldwin, Illinois Department of Corrections et al, Case No. 1:19-cv-
         01060 consultant for plaintiff, 2019-present.
62. Tate (aka Ms. Tay Tay) v. Wexford Health Services, Baldwin, Illinois Department of
         Corrections, et al; Case 3:16-cv-00092-NJR-MAB; declarations on behalf of plaintiff,
         2019-present.
63. Janiah Monroe (aka Andre Patterson), Marilyn Melendez, et al v. Bruce Rauner, Bruce
         Baldwin, et al; Case No.3:18-cv-156; consultant for plaintiffs, class action suit, 2018-
         present.
64. Kadel v. Folwell, et al., Case No. 1:19-cv-00272-LCB-LPA (M.D.N.C.); consultant for plaintiffs
         (class action lawsuit), 2019-present.
65. Hoffner v. United States, consultant for plaintiff (death row case, Ohio), 2019-present.
66. State of TN v. Carlton Brown, Docket No. 114791, expert opinion by declaration on behalf of
         defendant, 2019-present.
67. Lt. Jane Doe v. Esper, Trump, et al. Consultant for plaintiff; declaration; 2020-present.
68. United States v. Anthony Eugene Long, DKT. 0649 2:19CR00030-001, consultant for Federal


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         Public Defender on behalf of defendant; expert opinion by declaration on behalf of
         defendant; 2020-present.
 69. Drain v. State of Ohio, consultant on behalf of plaintiff (death row case, Ohio), 2021-present.
 70. U.S. v. James David Rogers, LA CR 19-700-JAK, consultant on behalf of the defendant
          (Federal Public Defender, Los Angeles office), 2021-present.


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  1. Brown G R: Morphologic complexity and its relationship to taxonomic rates of
        evolution. J Undergrad Res, 3:139-168, 1978.
  2. Brown G R: Stadol dependence: another case. JAMA, 254(7):910, 1985.
  3. Brown G R: Letter to the Editor. Newsletter of the Ohio Psychiatric Association, 10(1):8,
        1986.
  4. Brown G R: Resident Rounds. Column for Newsletter of the Ohio Psychiatric
        Association. 10(2), 10(3), 11(1),11(2), 1986-1987.
  5. Brown G R: Anorexia nervosa complicated by Mycobacterium xenopi pulmonary
        infection. J Nerv Ment Dis, 175(10):629-632, 1987.
  6. Brown G R: Mycobacterium xenopi infection complicating anorexia nervosa. Proceedings of
        the 29th Annual Meeting of American College of Physicians (Air
        Force Regional Meeting), 22-25 March, 1987.
  7. Brown G R: Buspar, a new anxiolytic. Letter to the Editor, Journal of the Ohio State Medical
        Association, Spring, 1987.
  8. Brown G R: Transsexuals in the military: flight into hypermasculinity. Abstract.
        Proceedings of the 10th International Symposium on Gender Dysphoria
        (Amsterdam, The Netherlands) 7 June, 1987.
  8. Brown G R: Transsexuals in the military: flight into hypermasculinity. Arch Sex Behav,
        17(6):527-537, 1988.
 10. Brown G R: Therapeutic effect of silence: application to a case of borderline personality
        disorder. Current Issues in Psychoanalytic Practice, 4(3-4):123-131, 1988.
 11. Brown G R: Bioethical issues in the management of gender dysphoria. Jefferson J
        Psychiatry, 6(1):33-44, 1988.
 12. Brown G R, Rundell J R: Psychiatric disorders at all stages of HIV infection. Proceedings of
        the 1988 Annual Session of the Texas Medical Association (San Antonio, Texas), May,
        1988.
 13. Brown G R, Rundell J R: Suicidal tendencies in HIV-seropositive women. Am J Psychiatry,
        146(4):556-557, 1989.
 14. Brown G R, Collier L: Transvestites' women revisited: a nonpatient sample. Arch Sex Behav,
        18(1):73-83, 1989.
 15. Brown G R, Pace J: Hypoactive sexual desire disorder in HIV-seropositive individuals. JAMA,
        261(17):2305, 1989.
 16. Brown G R: Prospective study of psychiatric morbidity in HIV-seropositive women.
        Psychosom Med, 51:246-247, 1989.
 17. Brown G R: Current legal status of transsexualism in the military. (Letter) Arch Sex Behav,
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 18. Rundell J R, Brown G R: Use of home test kits for HIV is bad medicine. JAMA, 262(17):2385-
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 19. Rundell J R, Brown G R, Paolucci S L: Psychiatric diagnosis and attempted suicide in HIV-
        infected USAF personnel. Abstract. Proceedings of the Fifth International Conference on
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        the Eleventh Inter-national Symposium on Gender Dysphoria (Cleveland, Ohio),
        September, 1989.
 21. Brown G R: A review of clinical approaches to gender dysphoria. J Clin Psychiatry,
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         degrees of anxiety or depression in USAF personnel infected with HIV. J Nerv Ment Dis,
         178(6):392-395, 1990.
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         women without AIDS. Gen Hosp Psychiatry, 12:30-35, 1990.
 26. Brown G R: The transvestite husband. Med Aspects Human Sexuality, 24(6):35-42, 1990.
 27. Drexler K, Brown G R, Rundell J R: Psychoactive drug use and AIDS. JAMA, 263(3):371,
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         Proceedings of the 143rd Annual Meeting of the American Psychiatric Association, pages
          75-76 (New York, New York), May, 1990.
 29. Rundell J R, Ursano R, Brown G R: HIV infection and perception of social support.
         Proceedings of the 143rd Annual Meeting of the American Psychiatric Association, page
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         psychiatric findings in HIV-infected persons. Proceedings of the Sixth International
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         risk factors in HIV-seropositives and alcoholic controls. Proceedings of the Sixth
          International Conference on AIDS (San Francisco, California), June, 1990.
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         burnout. Acad Psychiatry, 14(4):224-229, 1990.
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         and Neuropsychological Complications of HIV Infection, page PSY-4 (Monterrey,
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         anxiety, and depression in HIV disease. Proceedings of the 1990 Update on
         Neurological and Neuropsychological Complications of HIV Infection, page PSY-5
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 35. Brown G R, Rundell J R, Temoshok L, et al: Psychiatric morbidity in HIV-seropositive
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         Meeting of the American Academy of Psychosomatic Medicine, 1990.
 36. Rundell J R, Brown G R, Kyle K, et al: Methods employed by and length of knowledge of
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 39. Brown G R, Anderson B: Psychiatric morbidity in adult inpatients with childhood histories of
         physical and sexual abuse. Amer J Psychiatry, 148(1):55-61, 1991.
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         psychiatric inpatients. Gen Hosp Psychiatry, 13:385-390, 1991.
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 44. Pace J, Brown G R: Factors associated with length of inpatient psychiatric hospitalization in a
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 "Neuropsychiatry of Alexithymia", Good Samaritan Hospital, Dayton, Ohio. October 14, 1986.
 "Penile Auto-Injection: New Treatment for Organic Impotence", Diversion Program,
          Dayton, Ohio. August 12, 1986.
 "Gender Identity Development in Children and Adolescents", Diversion Program,
          Dayton, Ohio. August 26, 1986.
 "Paraphilias", Good Samaritan Hospital Seminar, Dayton, Ohio. November 17, 1986.
 "Introduction to Gender Disorders", Good Samaritan Hospital, Dayton, Ohio. December
          15, 1986, January 5, 1987.
 "Strategic Psychotherapy, Part I", Wright State University, Department of Psychiatry,
          Dayton, Ohio. December 23, 1986.
 "Strategic Psychotherapy, Part II", Wright State University, Department of Psychiatry,
          Dayton, Ohio. December 30, 1986.
 "Transsexualism: Dilemmas in Diagnosis", Good Samaritan Hospital, Dayton, Ohio.
          January 19, 1987.
 "Transsexualism: Live Interview Presentation", Wright State University, Department of
          Psychiatry, Dayton, Ohio. January 20, 1987.
 "Anxiety Disorders: New Treatment Approaches", Wright State University, Department
          of Family Practice, Dayton, Ohio. January 29, 1987.
 "Gender Dysphoria", Wright State University Medical School, Dayton, Ohio. February
          10, 1987.
 "Bioethical Issues in Sex Reassignment", Good Samaritan Hospital, Dayton, Ohio.
          February 2, 1987.
 "Mycobacterium xenopi Pulmonary Infection Complicated by Anorexia Nervosa",
          presentation at the 29th Annual Meeting of the Society of Air Force
          Physicians, New Orleans, Louisiana. March 23, 1987.



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 "The Transsexual Flight into Hypermasculinity", presentation at the Tenth International
          Symposium on Gender Dysphoria, Amsterdam, The Netherlands. June 10, 1987.
 "Grand Rounds: Gender Disorders", Institute of Living, Hartford, Connecticut, April 30,
          1987.
 "Affective Disorders", three hour lecture series, Wilford Hall Medical Center, San
          Antonio, Texas, September, 1987.
 "Grand Rounds: Transsexualism", Maine Medical Center, Portland, Maine, November 4, 1987.
 "Opportunistic Infection in Anorexia Nervosa", 34th Annual Meeting of The Acadamy of
          Psychosomatic Medicine, Las Vegas, Nevada, November 14, 1987.
 "Grand Rounds: Gender Disorders, An Overview", Wilford Hall Medical Center, San
          Antonio, Texas, December 17, 1987.
 "Women Who Marry Transvestites", accepted for presentation at XXI Annual Meeting of
          AASECT, San Francisco, California, April 26, 1988 (no funding available).
 "Psychiatric Manifestations of HIV Infection", Texas Medical Association Annual
          Session, San Antonio, Texas, May 13, 1988.
 "Introduction to Gender Disorders", University of Texas Health Science Center, San
          Antonio, Grand Rounds, September 27, 1988.
 "Transsexualism and Gender Disorders", Bexar County Psychiatric Society, San
          Antonio, Texas, October 18, 1988.
 "Psychiatric Diagnoses in HIV-seropositive Air Force Personnel", Maine Medical Center,
          Portland, Maine, November 5, 1988.
 "Symposium on HIV-seropositivity and Psychiatry", Program Coordinator, Behavioral
          Health Sciences Symposium, Sheppard AFB, Wichita Falls, Texas,
          November 8, 1988.
 "Childhood Gender Disorders", Laurel Ridge Hospital, San Antonio, Texas, January 24,
          1989.
 "Prospective Study of Psychiatric Morbidity in HIV-seropositive Women", Annual Meeting of the
          American Psychosomatic Society, San Francisco, California, March 10, 1989.
 "Psychiatric Findings in HIV-seropositive Air Force Women", Walter Reed Army Institute of
          Research, Bethesda, Maryland, March 31, 1989.
 "Psychiatric findings in HIV-seropositive persons in a mandatory HIV screening
          program", (abstract and poster session, with J Rundell, S Paolucci), Fifth
          International Conference on AIDS, Montreal, Canada, June 5, 1989.
 "Alcohol Use and HIV-seropositivity", (poster presentation, with K Drexler, J Rundell),
          American Psychiatric Association Annual Meeting, San Francisco,
          California, May, 1989.
 "Current Legal Status of Transsexualism in the Military Setting", Eleventh International
          Symposium on Gender Dysphoria, Cleveland, Ohio, September, 1989.
 "Grand Rounds: Transsexualism in the Military", Wilford Hall Medical Center, December 14, 1989
          (videotape available on request).
 "Psychosexual and Gender Disorders", 6 session advanced seminar for psychiatric
          residents, University of Texas Health Science Center, San Antonio, January to February,
          1990.
 "Update on HIV Psychiatric Research in the USAF: 1990", Behavioral Health Sciences
          Symposium, Wichita Falls, Texas, 25 April, 1990.
 "Psychiatric Morbidity in HIV-seropositive Women without AIDS", 143rd Annual Meeting of the
          American Psychiatric Association, New York, May 14, 1990.
 "HIV Infection and Perception of Social Support", (Rundell, Ursano, Brown), 143rd
          Annual Meeting of the American Psychiatric Association, New York, May 14, 1990.
 "Relative Frequency of HIV Disease as a Cause of Mood Disorder in a General Hospital",
          (Rundell, Brown), Neurological and Neuropsychological Complications of HIV Infection
          Conference, Monterrey, California, June 17, 1990.
 "CSF Parameters, Immune Status, Serum Viral Titers, Anxiety, and Depression in HIV
          Disease", (Rundell, Praus, Brown), Neurological and Neuropsychological
          Complications of HIV Infection Conference, Monterrey, California,
          June 17, 1990.



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 "CSF Findings and Request for Psychiatric Examination in HIV-Infected Patients",
          (Rundell, Brown, et al.), poster presentation, Neurological and Neuropsychological
          Complications of HIV Infection Conference, Monterrey, California, June 17-19, 1990.
 "Methods Employed by and Length of Knowledge of HIV-Seropositivity of HIV-infected
          Suicide Attempters", (Rundell, Brown, Kyle, et al.), 37th Annual Meeting of
          the Academy of Psychosomatic Medicine, Phoenix, Arizona, November 18, 1990.
 "Psychiatric Morbidity in HIV-seropositive Women: Results of a Three Year Prospective
          Study", (Brown, Rundell, Temoshok, et al.), 37th Annual Meeting of the
          Academy of Psychosomatic Medicine, Phoenix, Arizona, November 16, 1990.
 "Psychiatric Issues in the Evaluation of Spouses of Cross-dressers," Fairfax Hospital,
          Falls Church, Virginia, November 30, 1990.
 "Measurement of Negative Affect in HIV-seropositive Individuals," (Jenkins, Carey,
          Temoshok, Brown, et al.), 12th Annual Meeting of The Society of Behavioral Medicine,
          Washington, D.C., March 20, 1991.
  "Psychiatric and Neuropsychiatric Morbidity in Early HIV Disease," Grand Rounds
          presentation with S. McManis, University of Texas Health Science Center,
          San Antonio, Texas, April 30, 1991.
 "Neuropsychiatric Impairment Early in the Course of HIV Infection," (McManis, Brown,
          Zachary, et al.), 7th International Conference on AIDS, Florence, Italy, June 17, 1991.
 Nine presentations/new research posters/symposia presented at the 144th Annual
          Meeting of the American Psychiatric Association, New Orleans, Louisiana,
          May 11-15, 1991 (see Publications section, #50-58, for titles).
 Two presentations at the 7th International Conference on AIDS, Florence, Italy, June
          15-17, 1991 (see Publications section, #59-60, for titles).
 "Methodological Advantages of Comprehensive Multidisciplinary Consultation-Liaison
          Psychiatry Research: HIV Research as a Model," (Rundell, Temoshok, Brown, et al.),
          Annual Meeting of the Academy of Psychosomatic Medicine, Atlanta, Georgia, October
          17, 1991.
 "HIV Psychiatric Research in the Air Force," Grand Rounds presentation, Mayo Clinic,
          Rochester, Minnesota, July 9, 1991.
 "Neuropsychiatric Morbidity in early HIV Disease: Implications for Military Occupational
          Function," (Brown, Rundell, McManis, Kendall), Aerospace Medicine
          Symposium on Allergic, Immunological, and Infectious Disease Problems
          in Aerospace Medicine, NATO Advisory Group for Aerospace Research and
          Development Conference, Rome, Italy, October, 1991; presented by J. Rundell in my
          absence due to lack of funding.
 Four oral presentations and two poster presentations at the First International Conference on the
          Biopsychosocial Aspects of HIV Infection, Amsterdam, The Netherlands, 22-25
          September, 1991 (see Publications section, #61- 66, for titles).
 "Biopsychosocial HIV Research in the U.S. Military," Invited Grand Rounds presentation,
          University of South Dakota School of Medicine, Sioux Falls, South Dakota, October 25,
          1991.
 "Biopsychosocial Issues in Treating HIV-seropositive Women," Fairfax Hospital Evening CME
          Lecture Series, Falls Church, Virginia, December 11, 1991.
 "Psychiatric Issues in Women with HIV," Fairfax County Health Department, Falls
          Church, Virginia, December 12, 1991.
 "Suicidality in Men with Early HIV Disease," American Psychosomatic Society 50th
          Annual Meeting, New York, New York, April 1, 1992.
 USAF HIV "Train-the-Trainer" Course; course organizer, presenter, and comprehensive course
          assessment (pretest, posttests), San Antonio, Texas, April 7-9, 1992.
 "Clinical Utility and Diagnostic Sensitivity of the Michigan Alcoholism Screening Test in
          Patients with HIV Disease," (Rundell, Brown), Annual Meeting of the
          Academy of Psychosomatic Medicine, San Diego, CA, October 31, 1992.
 "Longitudinal Neuropsychological Findings in HIV Positive Males," (Goethe, Richie,
          Brown, et al), 8th International AIDS Conference, Amsterdam, The
          Netherlands, July 20, 1992.



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 "HIV and Women: Challenge for the 90's," Grand Rounds presentation, Geisinger
          Medical Center, Danville, PA, August 6, 1992.
 "Psychosocial Dimensions of Depression in Early HIV Disease," (Jenkins R, Rundell J,
          Brown G, Law W, Temoshok L), Annual Meeting of the American
          Psychological Association, Washington, D.C., August 15, 1992.
 "Psychiatric Presentations of HIV Disease," AIDS and Mental Health Program sponsored by San
          Antonio VA and UTHSC-SA, Corpus Christi, TX, September 18, 1992.
 "Major Depression in HIV Disease Before AIDS: Clinical Features and Associated
          Factors," (Rundell J, Brown G, Jenkins R, Kendall S, Temoshok L), Annual Meeting of
          the Academy of Psychosomatic Medicine, San Diego, CA, 29 October, 1992.
 "HIV Risk Behavior Surveys in the U.S. Military -- What Have We Learned?," Wilford
          Hall Medical Center Scientific Group Meeting, San Antonio, TX, 16
          November 1992.
 "Biopsychosocial Aspects of Early HIV Disease in Women," Grand Rounds, Michigan
          State University/St. Lawrence Hospital, Lansing, MI, 18 December 1992.
 "Methodological Issues in Assessing Risk Behaviors in an HIV Sero-positive Military
          Sample," (Coyle C, Blake S, Brown GR, Ledsky R, Temoshok L), Special
          Citation Poster Presentation, Proceedings of the Fourteenth Annual Meeting of the
          Society of Behavioral Medicine, San Francisco, CA, March 10, 1993.
 "Gender differences in transmission risk behavior, affect, and social support in
          HIV-positive individuals," (Nannis E, Temoshok L, Jenkins R, Blake S, Sharp
          E,Jenkins P, Brown G, Patterson T, Coyle C, Brandt U, Johnson C),Proceedings
          of the Fourteenth Annual Meeting of The Society of Behavioral Medicine, San
          Francisco, CA, March 10, 1993.
 "Psychosocial stressors and vulnerability to psychiatric distress in early-stage HIV,"
          (Zachary R, Brown GR, Kendall S, Coyle C, McManis S), Proceedings of
          the Fourteenth Annual Meeting of The Society of Behavioral Medicine, San Francisco,
          CA, March 10, 1993.
 "Establishing databased research in an academic department of psychiatry," invited
          address to the Department of Psychiatry, Jefferson Medical College, College of
          Physicians, Philadelphia, PA, April 30, 1993.
 Two Workshops, three poster sessions, 1993 Annual Meeting of the American Psychiatric
          Association, San Francisco, CA, May 22-24, 1993.
 "Treating Depression in Early HIV Disease," Grand Rounds, Oklahoma University
          School of Medicine, Oklahoma City, OK, December 1, 1993.
 "Diagnosis and Treatment of Transvestism," Tulane University School of Medicine,
          Department of Psychiatry presentation, December 2, 1993.
 "Psychiatric Disorders in Early HIV Disease," Grand Rounds, Tulane University School
          of Medicine, New Orleans, LA, December 3, 1993.
 "Diagnosis and Treatment of Gender Identity Disorders," invited presentation at Keesler Air Force
          Base Medical Center, Biloxi, MS, January 13, 1994.
 "Personality Disorders in HIV-positive Persons: Association with Other Measures of
          Psychiatric Morbidity," poster presentation, (Richards J, McManis S, Brown G),
           Annual Meeting of the American Psychiatric Association, Philadelphia, PA, May
           23, 1994.
 "Psychiatric Issues in HIV/AIDS," invited presentation, Huntsville Mental Health
          Community, Huntsville Space and Science Center, Huntsville, AL, November
          12, 1994.
 "Diagnosis and Treatment of Gender Identity Disorders," Grand Rounds, Tulane
          University School of Medicine, New Orleans, LA, April 29, 1994.
 "Management of Depression in Early HIV Disease," Upper East Tennessee Psychiatric
          Association Meeting, Kingsport, TN, June 2, 1994.
 "Sertindole in the Treatment of Chronic Schizophrenia: a Phase III Controlled Trial,"
          Grand Rounds, East Tennessee State University, Johnson City, TN,
          September 30, 1994.
 "New Onset of Sexual Dysfunction in HIV-seropositive Women: Results of a Prospective Study,"



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         88th Annual Scientific Assembly of the Southern Medical Association, Orlando, Florida,
         November 3, 1994.
 "Gender Identity Disorders in the VAMC Setting," Grand Rounds, Atlanta VAMC,
         December 13, 1994.
 "Managing Depression in Early Stage HIV Disease," Grand Rounds, Salem VAMC,
         December 22, 1994.
 "Biopsychosocial Aspects of HIV Disease in Men," Invited Speaker, Mississippi Pharmacists
         Association MidWinter Meeting, Jackson, MS, February 12, 1995.
 "Biopsychosocial Aspects of HIV Disease in Men," Invited Speaker, Mississippi Pharmacists
         Association MidWinter Meeting, Oxford, MS, February 19, 1995.
 "Biopsychosocial Aspects of HIV Disease in Women," Grand Rounds, East Tennessee
         State University, Johnson City, TN, March 17, 1995.
 "Managing Insomnia," primary care provider educational meeting, Bristol, TN, May 22,
         1995.
 "Diagnosis and Treatment of Gender Identity Disorders: DSM-IV Approach," Grand
         Rounds, Geisinger Medical Center, Danville, PA, June 15, 1995.
 "Psychosocial Characteristics of 739 Transgendered Men," (Brooks G, Brown GR,
         Askew J), 41st Annual Meeting of the Southeastern Psychological Association,
         Savannah, GA, March 12, 1995.
 "Personality Characteristics and Sexual Functioning of 188 American Transgendered
         Men: Comparison of Patients with Nonpatients." 14th Harry Benjamin
         International Gender Dysphoria Symposium, Irsee/Ulm Germany, September 9,
         1995.
 "Sertindole HCl: A Novel Antipsychotic With a Favorable Side Effect Profile." 89th
         Scientific Assembly of the Southern Medical Association, Kansas City, Missouri,
         November 17, 1995.
 "Long term Safety of Treatment with Sertindole, a Novel Antipsychotic." (Radford M,
         Brown GR, Matthew H) poster, 89th Scientific Assembly of the Southern Medical
         Association, Kansas City, Missouri, November 17, 1995.
 "Diagnosis and Newer Treatments for Schizophrenia." Invited Presentation. Central
         Appalachia Services, Kingsport, TN, December 7, 1995.
 "Personality and Sexuality in Transvestism." Grand Rounds, University of Texas Health
         Sciences Center, San Antonio, Texas, December 12, 1995.
 "HIV/AIDS and Sexuality." Grand Rounds, Wilford Hall Medical Center, San Antonio,
         Texas, December 14, 1995.
 "How Research Can Enhance Your Career." Invited Presentation to Department of
         Psychiatry, Wilford Hall Medical Center, San Antonio, Texas, December 13, 1995.
 "Conducting Research With Stigmatized Populations." Journal Club Presentation,
         University of Texas Health Sciences Center, Department of Psychiatry, San
         Antonio, Texas, December 12, 1995.
 "Sexuality in HIV/AIDS." Grand Rounds, Bowman Gray Medical School, Department of
         Psychiatry, Wake Forest University, Winston-Salem, North Carolina, January 19, 1996.
 "Gender Identity Disorders." Grand Rounds, Lakeshore Mental Health Institute,
         Knoxville, Tennessee, February 14, 1996.
 "New Approaches to the Management of Schizophrenia," Helen Ross McNabb Center,
         Knoxville, Tennessee, February 14, 1996.
 "Diagnosis and Management of Gender Dysphoria," Grand Rounds, University of
         Alabama at Birmingham, March 5, 1996.
 "Depression and Primary Care," Morristown, TN Primary Care Provider's CE Group,
         Morristown, TN, June 27, 1996.
 "Personality and Sexuality in Transgendered Men," paper presentation, American
         Psychological Association, Toronto, Canada, August 13, 1996.
 "Gender Identity Disorders," paper presentation at Southern Psychiatric Association
         Annual Meeting, Santa Fe, New Mexico, September 25, 1996.
 "Sleep Disorders," Grand Rounds, Salisbury VAMC, Salisbury, North Carolina, August
         21, 1996.



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 "Depression in Primary Care Settings," Nurse Practitioner-Physician Assistant Association of
          Northeast Tennessee, Johnson City, Tennessee, September 11, 1996.
 Visiting Professorship, Menninger Clinic and Foundation; included Grand Rounds, case
          presentation and discussion, meetings with residents and staff; Topeka, KS, October
          10-11, 1996.
 "New Approaches to the Treatment of Schizophrenia," Grand Rounds, Lakeshore
          Mental Health Institute, Knoxville, Tennessee, October 30, 1996.
 "HIV Disease in Women: Sexual Manifestations," symposium presentation at Academy
          of Psychosomatic Medicine Annual Meeting, San Antonio, Texas,
          November 14, 1996.
 "HIV and Sexuality," Grand Rounds, Atlanta VAMC/Emery University, Atlanta, Georgia,
          December 3, 1996.
 "Santa Claus is a Cross-Dresser (and so are his little elves)," invited address for the
          Upper East Tennessee Psychiatric Association, a component of the Tennessee
          District Branch of the American Psychiatric Association, Johnson City, TN,
          December 9, 1996.
 "Depression and Sexuality," Tazewell County Medical Society, Richlands, Virginia,
          March 25, 1997.
 "Identifying and Treating Depression in Primary Care," Annual Meeting of the Nurse
          Practitioner's and Physician's Assistants of East Tennessee, Johnson City, TN, March
          25, 1997.
 "Managing Sexual Side Effects of Antidepressant Treatment," Harlan County Medical
          Society, Harlan, Kentucky, March 11, 1997.
 "Depression and Intimacy," Chatanooga Psychiatric Society, Chatanooga, TN, April 21,
          1997.
 “Depression and Sexuality,” Lakeshore Mental Health Institute Grand Rounds, Knoxville, TN,
          April 9, 1997.
 “Managing Sexual Side Effects of Antidepressants,” Southern Highlands Pharmacist’s
          Society, Abingdon, Virginia, April 29, 1997.
 “Transgendered Families,” Lakeshore Mental Health Institute Grand Rounds, Knoxville,
          TN, April 30, 1997.
 “Depression and Intimacy,” Buchanan County Medical Society, Grundy, VA, May 8, 1997.
 “Depression, Sexuality, and Treatment,” Highlands Psychiatric Society, Abingdon, VA,
          May 9, 1997.
 “Managing Sexual Side Effects of Antidepressants in Primary Care,” Chatanooga
          Family Practice Association, Chatanooga, TN, May 20, 1997.
 “Double Trouble: Depression and Anxiety in Primary Care,” LeFlore County Medical
          Center, Greenwood Mississippi, May 29, 1997.
 “HIV and Sexuality,” ETSU Medicine and Sexuality Symposium, Johnson City, TN, June
          13, 1997.
 “Depression and Sexuality,” ETSU Medicine and Sexuality Symposium, Johnson City,
          TN, June13, 1997.
 “Transgenderism,” Grand Rounds, Overlook Mental Health Center, Knoxville, TN, June
          25, 1997.
 “Managing Sexual Side Effects of Antidepressants in Primary Care,” Wise County
          Medical Society, Norton, Virginia, July 11, 1997.
 “APA Guideline on the Treatment of Schizophrenia,” Smoky Mountain Chapter of the
          Tennessee Psychiatric Association, Knoxville, TN, July 22, 1997.
 “Nicotine Dependence: Kicking the Habit,” August Monthly Meeting of the Tricities
          Nurse Practitioner-Physician Assistants Association, Johnson City, TN, August
          14, 1997.
 “Biopsychosocial Issues in Women with HIV Disease,” Monthly Meeting of OB-GYN
          Society of Tricities, Johnson City, TN, August 26, 1997.
 “Revision of the HBIGDA Standards of Care: Opportunities and Controversies,”
          Biannual Meeting of the Harry Benjamin International Gender Dysphoria Association,
          Vancouver, British Columbia, Canada, September 11, 1997.



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 “Anxiety and Depression in Primary Care: Double Trouble,” Primary Care Grand
           Rounds, Fort Campbell, KY, October 1, 1997.
 “Treatment Guidelines for Schizophrenia,” Psychiatry Grand Rounds, Lexington VAMC,
           Lexington, KY, September 17, 1997.
 “Gender Dysphoria in the Military Setting,” Grand Rounds, Wilford Hall Medical Center,
           San Antonio, TX, December 18, 1997.
 “Clinical Issues in Transgendered Families,” Grand Rounds, University of Texas Health
           Sciences Center, San Antonio, December 16, 1997.
 “Depression and Sexuality,” Southwest Virginia Counsel of Nurse Practitioners,
           Abingdon, Virginia, November 1, 1997.
 “Depression and Anxiety Disorders in Primary Care,” Annual Meeting of the Nurse
           Practitioner Physician Assistant Association of Northeast TN, Johnson City, TN, February
           23, 1998.
 “Differentiating SSRI’s in Clinical Practice,” Richmond Psychiatric Society Meeting,
           Richmond, VA, January 22, 1998.
 “Gender Identity Disorders,” Grand Rounds, University of VA, Roanoke, VA, February
           19, 1998.
 “Smoking Cessation: Modern Approaches,” Monthly Meeting of the East TN Hospital
           Pharmacists Association, Kingsport, TN, February 24, 1998.
 “Identification and Treatment of Gender Dysphoria Syndromes,” Grand Rounds,
           University of Mississippi, Jackson, MS, February 27, 1998.
 “Gender Dysphoria Syndromes in Primary Care,” Nurse Practitioner Physician
           Assistant Association of Northeast TN, Kingsport, TN, March 19, 1998.
 “Treatment Guidelines for Schizophrenia,” Grand Rounds, University of Kentucky,
           Louisville, KY, April 23, 1998.
 “Gender Identity Disorders,” Grand Rounds, University of Alabama at Huntsville,
           Huntsville, AL, May 21, 1998.
 “Nicotine Reduction Strategies,” Grand Rounds, Southwest Virginia Mental Health
           Institute, Marion, VA, May 27, 1998.
 “Depression and Anxiety Management in Primary Care,” East Tennessee State
           University Dept. of Psychiatry Symposium on “Psychiatry in the Trenches”,
           Johnson City, TN, June 12, 1998.
 “Managing Depression in Primary Care,” Grand Rounds, Internal Medicine Department,
           East Tennessee State University, Johnson City, TN, June 16, 1998.
 “Mood Disorders in Women,” Roanoke Psychiatric Society, Roanoke, VA, June 17,
           1998.
 “Gender Identity Disorders,” Grand Rounds, Loyola University Strich School of
           Medicine, Chicago, IL, June 18, 1998.
 “Standards of Care for Gender Identity Disorders,” Grand Rounds, University of
           Louisiana, Baton Rouge, LA, July 21, 1998.
 “Depression and Sexuality,” Fall Symposium of the Mental Health Association of
           Knoxville, September 11, 1998.
 “Pharmacotherapy of Agitation in the Elderly,” Kentucky Pharmacists’ Association,
           Lexington, Kentucky, September 20, 1998.
 “Women and Mood/Anxiety Disorders,” monthly meeting of the Nurse Practitioners-
           Physician Assistants, Johnson City, TN, October 1, 1998.
 “Killing the Bore: How to Give Effective Medical Presentations That Keep an Audience
           Awake,” Grand Rounds, ETSU Dept. of Psychiatry, Johnson City, TN, October
           16,1998.
 "Pharmacologic Management of Agitation in the Elderly," Detroit Psychiatric Society, Detroit,
           Michigan, December 22, 1998.
 "Nicotine Dependence: Kicking the "Habit," Wise County Medical Society, Wise, Virginia, January
           14, 1999.
 "Mood Disorders in Women," Chatanooga Psychiatric Society, Chatanooga, TN, January 18,
           1999.
 "From Menarche to Menopause: Mood and Anxiety Disorders in Women," Greene County



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          Medical Society, Greeneville, TN, February 2, 1999.
 "From Menarche to Menopause: Mood and Anxiety Disorders in Women," Annual Meeting of the
          TriCities Nurse Practitioner-Physician Assistant Association, Johnson City, TN, February
          23, 1999.
 "Comparison of Risperidone and Olanzapine: RIS-112 Study," Upper East TN Psychiatric
          Society, Johnson City, TN, March 4, 1999.
 "New Directions in Treating Schizophrenia," CME, Inc. sponsored faculty member, Los Angeles,
          California, March 27, 1999.
 "Pharmacologic Management of Agitation in Dementia," University of Alabama
          Pharmacotherapeutics Conference, Huntsville, AL, April 24, 1999.
 "Mood and Anxiety Disorders in Women," University of Alabama Pharmacotherapeutics
          Conference, Huntsville, AL, April 24, 1999.
 "Behavioral Problems in Dementia," Grand Rounds, Alvin York VAMC, Murfreesboro, TN, April
          29, 1999.
 Pharmacological Management of Agitation in Dementia," Grand Rounds, Lakeshore Mental
          Health Institute, Knoxville, TN, May 7, 1999.
 "Psychiatric Disorders in Women," Women's Health Symposium, University of Alabama,
          Huntsville, AL, May 14, 1999.
 "Loxitane: A New Look at an Old Drug," Lakeshore Mental Health Institute, Knoxville, TN, June 4,
          1999.
 "Psychiatric Disorders in Women," University of Tennessee at Knoxville, OB-GYN Grand Rounds,
          June 4, 1999.
 "Working With Transgendered Clients," workshop presented at A Search for New Understanding
          of Lesbian, Gay, and Bisexual Issues, East Tennessee State University, Johnson City,
          TN, September 24, 1999.
 "Optimizing Treatment for Schizophrenia", CME, Inc. Symposium, Cleveland, Ohio, September
          25, 1999.
 “Diagnosis and Treatment of Depression in Primary Care,” Grand Rounds, James H. Quillen VA
          Medical Center-ETSU Department of Medicine, Johnson City, TN, September 28, 1999
 “Gender Identity Disorder,” Annual Meeting of the Southern Psychiatric Association, Hot Springs,
          Virginia, September 30, 1999.
 “Management of Insomnia,” Annual Meeting of the Tennessee Association of Physicians’
           Assistants, Gatlinburg, TN, October 12, 1999.
 “Sexual Dysfunction in Primary Care Practice,” Behavioral Health in Primary Care Symposium,
          East Tennessee State University, Johnson City, TN, October 16, 1999.
 “Management of Insomnia: New Directions,” monthly meeting of the Upper East Tennessee
          Psychiatric Association, Bristol, TN, October 19, 1999.
 “Depression and Anxiety in Women Through the Life Cycle,” Johnson City Women’s Health
          Center Grand Rounds, Johnson City, TN, October 27, 1999.
 “Selecting Antidepressant Treatment,” invited presentation and panel discussion, New Orleans
           Academy of Internal Medicine, January 10, 2000.
 “Managing Insomnia in Primary Care,” Grand Rounds, Holston Valley Medical Center, Kingsport,
           TN, January 31, 2000.
 “Gender Identity Disorders.” Grand Rounds, University of Cincinnati, Cincinnati, OH, January 26,
          2000.
 “Selecting Antidepressants in Primary Care, “ Rural Health Cooperative, Kingsport, TN, February
          7, 2000.
 Visiting Professor, Loyola University Medical School, Chicago, IL (two presentations), February
          10, 2000.
 “Managing Insomnia in the New Millennium,” Annual Meeting of the East TN Nurse Practitioner’s
          and Physicians’ Assistants Association, Johnson City, TN, February 22, 2000.
 “Sexual Dysfunction in Primary Care,” Annual Meeting of the East TN Nurse Practitioner’s
          and Physicians’ Assistants Association, Johnson City, TN, February 22, 2000.
 “Depression and PTSD in Women,” Grand Rounds, Department of OB-GYN, University of
           Tennessee, Knoxville, March 17, 2000.
 “Depression and Anxiety in Primary Care Practice,” Grand Rounds, Department of Internal



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          Medicine, University of Tennessee, Knoxville, March 16, 2000.
 “Diabetes, Glucose Regulation, and Schizophrenia,” Upper East Tennessee Psychiatric Society,
          Johnson City, TN, April 13, 2000
 “Sexual Dysfunction in Primary Care Practice,” Annual Meeting of the Tennessee Osteopathic
          Medicine Association, Chatanooga, TN, May 7, 2000.
 “Diabetes, Weight Gain, and Schizophrenia,” Grand Rounds, Lakeshore Mental Health Institute,
          Knoxville, TN, July 20, 2000.
 “Bipolar Disorder: Monotherapy versus Combination Therapy”, national CME Category I lecture
          series sponsored by Medical Education Resources and Curry, Martin, and Schiavelli, to
          17 cities between May and November, 2000.
 “Managing Depression and Anxiety Disorders,” invited presentation to the Annual Meeting of the
          Tennessee Academy of Family Practice, Jackson, TN, August 19, 2000.
 “Managing Insomnia,” monthly meeting of the Tazwell County Medical Society, Richlands,
          Virginia, August 23, 2000.
 “Sexual Dysfunction,” Grand Rounds, ETSU Department of OB/GYN, Johnson City, TN,
          September 6, 2000.
 “Depression and Sexuality,” Grand Rounds, Holston Valley Hospital, Bristol, TN, September
          25, 2000.
 “Depression and Anxiety in Primary Care: Case Conference/Grand Rounds,” Southern Medical
          Association Annual Meeting, Orlando, Florida, November 2, 2000.
 “Depression in Primary Care Settings,” Hamblen County Medical Society, Morristown, TN,
          November 21, 2000.
 “Sleep Disorders,” Nurse Practitioners-Physicians Assistant Association Monthly Meeting,
          Johnson City, TN, December 7, 2000.
 “CD-ROM Workshop, Anxiety and Depression”, Annual Meeting of the Holston Valley Nurse
          Practitioners-Physicians Assistants Association, Johnson City, TN, February 26, 2001.
 “The Harry Benjamin Standards of Care in Prison: Benefits for Transsexual Healthcare,”
          International Foundation for Gender Education Annual Symposium, Chicago, Il, March
          24, 2001.
 “Why Internists Should Care About Treating Depression,” Grand Rounds, Department of Internal
           Medicine, ETSU, Johnson City, TN, April 3, 2001.
 “Antidepressants: Effective Side Effect Management,” Annual Meeting of the Tennessee
          Osteopathic Medicine Association, Memphis, TN, April 21, 2001.
 “Gender Identity Disorder: Management,” invited presentation, Smokey Mountain Chapter of the
          Tennessee Psychiatric Association, Knoxville, TN, April 24, 2001.
 “Gender Identity Disorder,” Grand Rounds, Department of Psychiatry, Memphis VAMC, May 24,
          2001.
 “Antipsychotic Efficacy Uncompromised by Side Effects,” Grand Rounds, Department of
          Psychiatry, UT Memphis, May 25, 2001.
 “Sexual Dysfunctions in Primary Care,” International Medical Update Symposium, Johnson City,
          TN, August 2, 2001.
 “Diagnosis and Treatment of Gender Dysphoria,” Grand Rounds, Department of Psychology,
          James H. Quillen VAMC, August 3, 2001.
 “Management of Bipolar Disorder,” Grand Rounds, Meharry Medical College, Nashville, TN,
          August 21, 2001.
 “Medical Treatment of Agitation in Dementia,” Fall Symposium of the Mental Health Association
          of Knoxville, September 13, Knoxville, TN.
 “Monotherapy vs. Combination Therapy in the Management of Mania,” Fall Symposium of the
           Mental Health Association of Knoxville, September 14, Knoxville, TN
 “Optimizing Treatment for Bipolar Disorder,” quarterly meeting of the Upper East Tennessee
          Psychiatric Association, Johnson City, TN, September 20, 2001.
 “Gender Identity Disorders: Diagnosis and Management,” Grand Rounds, Institute of
          Living/Hartford Hospital Departments of Psychiatry and Psychology, Hartford, CT,
          October 17, 2001.
 “Gender Identity Disorder Complicated by Dissociative Identity Disorder: Report of a Successful
          Case,” XVII Symposium of the Harry Benjamin International Gender Dysphoria



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           Association, Galveston, TX, November 3, 2001.
 “Mood Disorders in Women,” monthly meeting of the TriCities Nurse Practitioners Association,
           Johnson City, TN, December 10, 2001.
 “Substance Use Disorders Complicating Common Psychiatric Disorders,” Grand Rounds, Holston
           Valley Hospital, Bristol, TN, December 18, 2001.
 “Women’s Health Issues in Psychiatry,” OB-GYN Grand Rounds, East Tennessee State
           University, Johnson City, TN, May 8, 2002.
 “Matching the Neurotransmitter to the Patient,” ½ day CME presentation, World Medical
           Conferences, Jackson, Mississippi, May 18, 2002.
 “Matching the Neurotransmitter to the Patient,” ½ day CME presentation, World Medical
           Conferences, Albany, New York, June 1, 2002.
 “Killing the Bore: How to Give Effective Medical Presentations That Keep People Awake,” Grand
           Rounds, Dept. of Psychiatry, ETSU, Johnson City, TN, August 9, 2002.
 “Current Issues in Treatment of Dementia,” Roanoke Psychiatric Society, Roanoke, VA, June 26,
           2002.
 “Comfort Foods: Should We Just Surrender Now?,” Northeast Tennessee Nurse Practitioner’s
           Association Annual Meeting, Bristol, TN, September 14, 2002.
 “Gender Identity Disorders: Diagnosis and Management,” Psychiatry Grand Rounds, University of
           Florida, Gainesville, Florida, September 20, 2002.
 “Gender Identity Disorders: Diagnosis and Management,” Psychiatry Grand Rounds, Meharry
           Medical College, Nashville, TN, October 9, 2002.
 “New Issues in the Management of Bipolar Disorder,” Grand Rounds, Lakeshore Mental Health
           Institute, Knoxville, TN, October 5, 2002.
 “Pharmacological Management of Dementia,” Psychiatry Grand Rounds, Western State Hospital,
           Staunton, Virginia, March 19, 2003.
  “Appropriate Use of Antipsychotics in Primary Care Practice,” Tricounty Medical Society
           Meeting, Johnson City, TN, April 3, 2003.
 “Appropriate Use of Antipsychotics in Primary Care Practice,” 2003 Primary Care Conference,
           Johnson City, TN, April 1, 2003.
 “Pharmacological Management of Dementia,” Grand Rounds, Gaston Memorial Hospital,
           Gastonia, NC, May 13, 2003.
 “Brown G R, McBride L, Williford W, Bauer M: Impact of childhood sexual abuse on bipolar
           disorder. Proceedings of the 5th International Conference on Bipolar Disorders,
           Pittsburgh, PA, 2003 (poster presented by Dr. Bauer in my absence).
 “Aripiprazole Use in Psychiatry,” Grand Rounds, Lakeshore Mental Health Institute, Knoxville, TN,
           August 22, 2003.
 “Use of Anticonvulsants in Psychotic Disorders,” Tennessee Psychiatric Association, Smoky
           Mountain Chapter Meeting, Knoxville, TN, August 28, 2003.
 “Application of the Harry Benjamin International Gender Dysphoria Association’s Standards of
           Care to the Prison Setting: Recent Victories for Transgender Healthcare in the USA,” 18 th
           Biennial Symposium of the HBIGDA, Gent, Belgium, September 11, 2003.
 “Family and Systems Aggression Towards Therapists Working with Transgendered
           Clients,” 18th Biennial Symposium of the HBIGDA, Gent, Belgium, September 12, 2003.
 “Impact of Childhood Abuse on Disease Course in Veterans with Bipolar Disorder,” 97 th Annual
           Meeting of the Southern Medical Association, Atlanta, Georgia, November 8, 2003.
 “Gender Dysphoria: Diagnosis and Management,” Grand Rounds presentation, Marshall Medical
           School, Huntington, West Virginia, January 9, 2004.
 “Gender Dysphoria: Diagnosis and Management,” Grand Rounds presentation, Catawba State
           Hospital, Roanoke, Virginia, March 17, 2004.
 “Treatment Resistant Schizophrenia,” Grand Rounds presentation, Broughton State Hospital,
           Morganton, North Carolina, March 25, 2004.
 “Antipsychotic Use in Geriatric Populations,” Grand Rounds presentation, Tampa VAMC, Tampa,
           Florida, April 23, 2004.
 “Gender Identity Disorders,”, Grand Rounds presentation, University of TN College of Medicine,
           Memphis, TN, May 14, 2004.
 “Overcoming Barriers to Treatment Success in Chronic Mental Illnesses,” Grand Rounds,



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          Salisbury VAMC, Salisbury, NC, June 3, 2004.
 “Dissociative Identity Disorder Comorbid with Gender Identity Disorder: Review of the Literature
          and Long-term Case Presentation,” Southern Psychiatric Association, Savannah,
          Georgia, October 2, 2004.
 “Bipolar Disorder in Primary Care,” CME Cat 1 presentation, Knoxville, TN, December 1, 2004.
 “Bipolar Disorder and Impulsive Aggression in Primary Care Settings,” CME Cat 1 presentation to
          Tricities Nurse Practitioner Association, December 16, 2004.
 “Overcoming Barriers to Treatment in Chronic Mental Illnesses,” North Carolina Advanced
          Practice Nurses Association, Greensboro, NC, February 13, 2005.
 "Bipolar Disorder in the Primary Care Setting: What to do?," 9th Annual Update for Nurse
          Practitioners, Johnson City, TN, March 21, 2005.
 "Current Controversies in the Use of SSRI's," TriCounty Medical Society, Johnson City, TN, May
          5, 2005.
 "Transgender client aggression towards therapists," XIX Biennial Symposium of the Harry
          Benjamin International Gender Dysphoria Association, Bologna, Italy, April 9, 2005.
 "Gender identity disorder comorbid with dissociative identity disorder: review of the literature and
          7 year followup case presentation. XIX Biennial Symposium of the Harry Benjamin
          International Gender Dysphoria Association, Bologna, Italy, April 9, 2005.
 "Current Controversies in the Use of SSRI's," CME symposium, Southern Medical Association
          9th Annual Scientific Symposium, San Antonio, TX, November 12, 2005.
 "Gender Identity Disorder: Diagnosis and Management,", Grand Rounds, University of South
          Florida, Tampa, Florida, January 6, 2006 (Videotaped version of presentation available at
          www.TheCJC.com).
 "Gender Identity Disorders," East Tennessee State University Women's Health Program, CME
          Cat 1 symposium, Johnson City, TN, March 24, 2006.
 "Update on Bipolar Disorder," Millennium Center, CME Cat I program, Johnson City, TN, March
          31, 2006.
 "Dealing with Chronic Mental Illness: Barriers to Treatment Success," Southside Virginia
          Psychiatric Society Quarterly Meeting, Richmond, Virginia, April 3, 2006.
 "Management of Gender Identity Disorders," Intermountain Psychological Association, invited
          presentation, Johnson City, TN, June 8, 2006.
 "Transgender Health Issues," Emory and Henry Lyceum Series, Emory, Virginia, September 18,
          2006.
 "Impact of Childhood Abuse in Veterans with Bipolar Disorder," 65th Annual Scientific Meeting of
          the Southern Psychiatric Association, Baltimore, Maryland, September 29, 2006.
 "Appropriate Use of Antipsychotics in Primary Care Settings," 100 th Annual Meeting of the
          Southern Medical Association, Charlotte, NC, October 14, 2006.
 "Impact of Childhood Abuse on the Course of Bipolar Disorder," Keynote speaker, Perspectives
          In Health, Texas Department of State Health Services Annual CME Symposium, Austin,
          Texas, October 27, 2006.
 "Autocastration as Surgical Self-Treatment in Incarcerated Persons with Gender Identity
          Disorder," Southern Psychiatric Association Annual Meeting, Memphis, TN, August,
          2007.
 "Autocastration as Surgical Self-Treatment in Incarcerated Persons with Gender Identity
          Disorder," XX Biennial Symposium of the World Professional Association for
          Transgender Health, Chicago, Illinois, September, 2007.
 "Gender Identity Disorders in the Military and VA," Panel discussion and presentation. XX
          Biennial Symposium of the World Professional Association for Transgender Health,
          Chicago, Illinois, September, 2007.
 "Diagnosis and Treatment of Gender Identity Disorders," Mountain Update on Psychiatry, ETSU
          CME Symposium, October 19, 2007.
 "Voice Parameters That Result in Identification or Misidentification of Biological Gender in Male-
          to-Female Transgender Veterans," poster presentation at the First Annual Gender
          Spectrum Health Fair, Sponsored by the Alliance for Gender Awareness, Inc and Rutgers
          Office of Social Justice Education LGBT Communities Rutgers University College, New
          Brunswick, NJ, November 8, 2007 (with R King et al, coauthors).



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 "Voice Parameters That Result in Identification or Misidentification of Biological Gender in Male-
          to-Female Transgender Veterans," poster presentation at the XX Biennial Symposium of
          the World Professional Association for Transgender Health, Chicago, Illinois, September,
          2007 (with R King, et al, coauthors).
 "Voice Parameters That Result in Identification or Misidentification of Biological Gender in Male-
          to-Female Transgender Veterans," poster presentation at the Southern Medical
           Association Annual Scientific Meeting, Nashville, TN, September, 2008 (presented by E
          McDuffie on behalf of Brown, King, et al, coauthors).
 "Evaluation and Management of Gender Identity Disorders," Cat I, 1.5 hour CME program,
          Annual Meeting of the Alaska Psychiatric Association, Alyeska, Alaska, April 18, 2009.
 "Forensic Issues and Case Presentations on GID," Cat I, 1.5 hour CME program, Annual Meeting
          of the Alaska Psychiatric Association, Alyeska, Alaska, April 18, 2009.
 “70 Veterans with Gender Identity Disturbances: A Descriptive Study,” XXI Biennial Symposium
          of the World Professional Association for Transgender Health, Oslo, Norway, June 18,
          2009.
 “70 Veterans with Gender Identity Disturbances: A Descriptive Study”, Annual Scientific Meeting
          of the Southern Medical Association, Dallas , Texas, December 4, 2009.
 “Overview of Autocastration and Surgical Self Treatment in Prisons”, National Commission on
          Correctional Healthcare Annual Meeting, October 10, 2010, Las Vegas, Nevada (invited
          two hour CME CAT I program)
 “Autocastration- Overview and Case Series Presentation,” Grand Rounds, East Tennessee State
          University, Johnson City, TN, April 29, 2011.
 “Providing Healthcare for Transgender and Intersex Veterans,” Live Meeting Series broadcast
          nationally by VA Talent Management System. Co-Presenters Leonard Pogache, MD,
          Meri Mallard, RN; CME category I credit for each of 3 programs completed, November 22
          (2 programs) and November 30, 2011.
 “PBM Guidelines for Providing Care for Transgender and Intersex Veterans,” copresenter with
          Lisa Longo, Pharm.D, Live Meeting Series broadcast nationally by VA Talent
           Management System, May 10 and May 14, 2012.
 “Providing Culturally Competent Care for Transgender Veterans,” invited Keynote address at
          Houston VAMC for symposium (CEU accredited) on LGBT Veteran healthcare, Houston,
          TX, August 17, 2012.
 “Update on Version 7 of the WPATH Standards of Care,” invited Keynote address for Mountain
          Area Health Education Center’s Southeastern Summit on Transgender Healthcare,
          Category 1 CME accredited, Asheville, NC, August 24, 2012.
 “History of Transgender Healthcare in the Department of Veterans Affairs,” invited Keynote
          address for Mountain Area Health Education Center’s Southeastern Summit on
          Transgender Healthcare, Category 1 CME accredited, Asheville, NC, August 25, 2012.
 "Qualitative Analysis of Transgender Inmates’ Correspondence: Implications for health Services
          in Departments of Correction”, National Commission on Correctional Healthcare Annual
          Meeting, October 14, 2012, Las Vegas, Nevada (invited one hour CME CAT I program).
 “Cross Sex Hormonal Treatment for Transgender Veterans,” national Live Meeting for Women’s
          Health Program, Department of Veterans Affairs, July 16, 2013.
  “Transgender Health Care Training for VA Health Care Providers”, 3 hours Category 1 CME
          accredited , Minneapolis, MN, September 26, 2013.
 “Sex Reassignment Options”, national presentation to VA SCAN-ECHO and regional consultation
          teams responsible for VA transgender health consultations, July 2, 2013.
 “Access to Care for Gender Dysphoric Inmates: Issues and Cases,” Invited plenary speaker for
           the 21st Annual Forensic Rights and Treatment Conference, sponsored by Drexel
          University College of Medicine, Category 1 CME credit (1.5 hours), Harrisburg, PA,
          December 5, 2013.
 “Forensic Aspects of Transgender Health Care in Prison,” Grand Rounds, East Tennessee State
          University, Category 1 CME, March 7, 2014.
 “Health Disparities Research: Suicidality in Gender Minorities as a Research Model,” Grand
          Rounds, East Tennessee State University, Category 1 CME credit, May 20, 2014.
 “Sex reassignment surgeries: female-to-male,” national presentation to VA SCAN-ECHO and



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           regional consultation teams responsible for VA transgender health consultations, Cat I
           CME, June 24, 2014.
 “Sex reassignment surgeries: male-to-female,” national presentation to VA SCAN-ECHO and
           regional consultation teams responsible for VA transgender health consultations, Cat I
           CME, July 8, 2014.; December 2, 9, 16, 23, 2014; February 24, 20-15.
 “Medico-Legal Aspects of Providing Transgender Healthcare for Inmates,” invited 2.5
           hour presentation for national training program in LGBT healthcare for the
           Federal Bureau of Prisons, September 4, 2014.
 “Mental health and medical outcome disparities in 5,135 transgender veterans: a case-
           control study,” 32nd Annual Conference of the Gay and Lesbian Medical
           Association, Category 1 CME credit, Baltimore, MD, September 11, 2014.
 “Mental health and medical outcome disparities in 5,135 transgender veterans: a case-
           control study,” Vanderbilt University Grand Rounds, Department of Psychiatry,
           Cat 1 CME credit, Nashville, TN, September 26, 2014.
 “Mental health and medical outcome disparities in 5,135 transgender veterans: a case-
           control study,” Drexel University Grand Rounds, Department of Psychiatry, Cat 1
           CME credit, Philadelphia, PA, October 23, 2014.
 "Pharmacotherapy issues with gender dysphoria," College of Psychiatric and
           Neuropsychiatric Pharmacists, Annual Meeting, Cat I CME credit, Tampa, FL,
           April 19, 2015.
 “Lesbian, gay, bisexual, and transgender (LGBT) sociopolitical indicators and mental
           health diagnoses among transgender Veterans receiving VA care. Blosnich, J.R.,
            Marsiglio, M.C., Gao, S., Gordon, A.J., Shipherd, J.C., Kauth, M., Brown, G.R.,
           Fine, M.J. (2015, July). Department of Veterans Affairs Health Services Research &
 Development/Quality Enhancement Research Initiative National
           Conference, Philadelphia, PA, July, 2015.
 “Killing the Bore: How to Give Effective Medical Presentations,” East Tennessee State
            University Department of Psychiatry and Behavioral Sciences Grand Rounds
            (Cat I CME), May 1, 2015.
  “Sex reassignment surgeries: male-to-female,” national presentation to VA SCAN-
           ECHO and regional consultation teams responsible for VA transgender health
           consultations, Cat I CME, July 21, July 28, 2015
 “Sex reassignment surgeries: female-to-male,” national presentation to VA SCAN-
           ECHO and regional consultation teams responsible for VA transgender health
           consultations, Cat I CME, September 15, September 22, 2015.
 “Transgender military service: Moving past ignorance in DoD and VHA,” invited Keynote
           Address, Rush Medical University, Cat I CME credit, Chicago, IL, October 9,
           2015.
 “Health correlates of criminal justice involvement in 4,793 transgender veterans. Poster
           Presentation at the Annual National Conference on Correctional Health Care, Denver,
           CO, October 18, 2015.
 “Open Transgender Military Service: Health Considerations,” presentation to medical
           leadership of the USMC, Washington, DC, by videolink, January 27, 2016.
 “Sex reassignment surgeries; masculinizing and feminizing,” national presentations to
           VA SCAN-ECHO and regional consultation teams responsible for VA transgender health
           consultations, Cat I CME, June 7 and 28, 2016.
 “Orange is not the new black—yet,” Symposium on prison transgender mental health
           care and update on recent court cases supporting access to transgender health care in
           US prisons, 24th Biennial Scientific Symposium of the World Professional Association for
           Transgender Health, Amsterdam, The Netherlands, Cat I CME (1.5 hours), June 20,
           2016.
 “Harry Benjamin Plenary Lecture,” invited Keynote address for the 24th Biennial
           Scientific Symposium of the World Professional Association for Transgender Health,
           Amsterdam, The Netherlands, Cat 1 CME, June 18, 2016. Available at
           www.wpath2016.com, timer marker 4:20.
 “Health correlates of criminal justice involvement in 4,793 transgender veterans. Poster



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          Presentation at the 24th Biennial Scientific Symposium of the World Professional
          Association for Transgender Health, Amsterdam,The Netherlands, Cat I CME, June 18,
          2016.
 “Breast cancer in a cohort of 5,135 transgender veterans over time,” 24th
          Biennial Scientific Symposium of the World Professional Association for Transgender
          Health, Amsterdam, The Netherlands, Cat 1 CME, June 20, 2016.
 “Impact of social determinants of health on medical conditions among transgender
          Veteran,” Blosnich J, Marsiglio M, Dichter M., Gao S., Gordon M,
          Shipherd J, Kauth M, Brown G, Fine M. VA HSR&D Field-Based Meeting to
          Engage Diverse Stakeholders and Operational Partners in Advancing Health
          Equity in the VA Healthcare System. Philadelphia, PA, September, 2016
 “Current and past military context and overview of transgender military service,” Caring
          for Transgender Persons in a Changing Environment, Walter Reed National
          Military Medical Center and Uniformed Services University of the Health
          Sciences, Bethesda, MD, Cat I CME, 13 September, 2016.
 “State of the Science: Current VHA research findings, policies, and transgender health
          care delivery model,” Caring for Transgender Persons in a Changing
          Environment, Walter Reed National Military Medical Center and Uniformed
          Services University of the Health Sciences, Bethesda, MD, Cat I CME,
          September 13, 2016.
 "Social determinants of health and their associations with medical conditions among
          transgender veterans," presented by first author John Blosnich, Ph.D., Field-Based
          Meeting to Engage Diverse Stakeholders and Operational Partners in Advancing Health
          Equity in the VA Healthcare System, Philadelphia, PA, September 20, 2016.
 “Update on the Mountain Home Transgender Veteran Research Protocol,” Grand
          Rounds, East Tennessee State University, Johnson City, TN, Cat 1 CME,
          September 23, 2016.
 “History of transgender people in the military,” Southeastern Transgender Health Summit
          2016 Overcoming Barriers, Mountain Area Health Education Center, Asheville,
          NC, Cat 1 CME, September 25, 2016.
 “Update on VA care for transgender veterans and summary of research.” Southeastern
          Transgender Health Summit        2016 Overcoming Barriers, Mountain Area Health
          Education Center, Asheville, NC, Cat 1 CME, September 25, 2016.
 "Transgender inmates in prison: perspectives from expert witnesses," Symposium Chair and
          presenter, United States Professional Association for Transgender Health, First Scientific
          Meeting, Los Angeles, CA, Cat 1 CME (1.5 hours), February 3, 2017.
 "Changes in prescriptions of cross-sex hormones and psychotropic medications for 4,409
          transgender veterans receiving services at VHA facilities," United States
          Professional Association for Transgender Health, First Scientific Meeting, Los
          Angeles, CA, Cat 1 CME, February 3, 2017.
 “Sex reassignment surgeries; masculinizing and feminizing,” national presentations to
          VA SCAN-ECHO and regional consultation teams responsible for VA transgender health
          consultations, Cat I CME, 4 hours, February 21, 28; May 9, 16, 2017.
 “Transgender Health Care, Research, and Regulations in the Department of Defense,” 4
          hour/half day CME Cat I symposium (solo presenter), 2017 USMEPCOM Medical
          Leadership Training Seminar, San Antonio, TX, May 2, 2017.
 "Transgender Health Care, Research, and Regulations in the Department of Defense," 4 hour
          CME Cat I symposium (solo presenter), Department of the Army, Fort Knox, KY, July 25,
          2017.
 “Transgender Health in the Prison Setting: Medical and Legal Issues,” Oklahoma
          Department of Corrections statewide training workshop, Oklahoma City, OK,
          August 21, 2017.
 “Role of the Psychiatrist in the Death Penalty,” East Tennessee State University,
          Department of Psychiatry and Behavioral Sciences, Grand Rounds, Cat I CME, March
          30, 2018.
 “A Life of Translational Health Research: From Basements, Prison Cells, and Big Data to



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         the Courtroom “ (invited presentation), WPATH 25TH Scientific Symposium,
         Buenos Aires, Argentina, Cat I CME, November 5, 2018.
 “Nationwide Transgender Veteran E-Consultation,” WPATH 25th Scientific Symposium,
         Buenos Aires, Argentina, Cat I CME, November 5, 2018.
 “Overview of the Mountain Home/VHA Transgender Veteran Cohort” (invited Plenary
         Presentation), WPATH 25th Scientific Symposium, Buenos Aires, Argentina, Cat I
         CME, November 5, 2018.
 “Grand Rounds: Diagnosis and Management of Gender Dysphoria,” Ballad Health/Bristol
         Regional Medical Center (invited presentation), Bristol, TN, Cat I CME, February
         5, 2019.
 “Medico-Psychiatric-Legal Issues with Transgender Inmates in the Corrections
         Environment,” invited four hour CME workshop, Idaho Department of
         Corrections, Boise, Idaho, April 10, 2019.
 “Veterans and Gender Dysphoria,” invited presentation, Rotary Club of Johnson City, Johnson
         City, TN, August 12, 2019.
 “Gender Dysphoria: Forensic Psychiatry Issues,” invited Grand Rounds presentation, New York
         Medical College, Westchester, NY, Cat I CME, March 24, 2020.
 “Role of the Psychiatrist In The Death Penalty," Psychiatry Grand Rounds, East Tennessee State
         University, Johnson City, TN, Cat 1 CME, Aug 14, 2020


 SYMPOSIA ORGANIZED AND/OR MODERATED:

 1.      Psychosocial Aspects of HIV Disease in the Military, organizer/moderator/ presenter,
 Wichita Falls, Texas, 25 April, 1990.

 2.     Full Day Roundtable Symposium on Atypical Antipsychotics, organizer/moderator,
 Excerpta Medica, Asheville, North Carolina, 22 April, 1995.

 3.      Mountain Update on Anxiety Disorders, Course Director, East Tennessee State
 University, Blowing Rock, North Carolina, 28-29 April, 1995.

 4.     Medicine and Sexuality Course, Course Director, East Tennessee State University and
 James H. Quillen VAMC, Johnson City, TN, 13 June, 1997.

 5.      Half Day audiotaped symposium moderater/organizer on Innovative Uses of Atypical
 Antipsychotics, Excerpta Medica, Blackberry Inn, Townsend, TN, 16 November, 1997.

 6.     Novel Uses of Atypical Antipsychotics, Symposium Moderator, Marriot Griffin Resort,
 Janssen Research Foundation, Lexington, KY, 4 December, 1998.

 7.    Novel Uses of Atypical Antipsychotics, Symposium Moderator, Blackberry Inn,
 Townsend, TN, 10 April, 1999.

 8. Psychiatry and Neurology Poster Session Moderator for Southern Medical Association’s 97th
 Annual Scientific Assembly, Atlanta, Georgia, November 6, 2003.

 9. Moderator for East Tennessee State University Department of Psychiatry monthly Journal
 Club/Critical Evaluation of the Literature series, 2002-2011.

 10. Chairman’s Rounds Program, Mountain Home VA/ETSU Department of Psychiatry, monthly
     live patient interview series, 2014-present.




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 TELEVISED and TAPED MEDIA EVENTS:

 WKPT local television interview on sleep disorders, Johnson City, 1995.

 TNN (The Nashville Network), filmed winning an international revolver competition and then
 interviewed on silhouette handgun shooting, Oakridge, TN, 1998.

 CME, Inc. audiotaped faculty presentations as advertised in "Psychiatric Times," various cities
 and topics.

 Channel 5, London, England; documentary on psychiatric aspects of firearms, 2004.

 "Cruel and Unusual", documentary on transgender health care issues in the prison setting, 2005
 release, available from jbaus@aol.com; aired on Women’s Entertainment channel on July 2,
 2007

 ABC 20/20, "Becoming Diane" segment on gender identity disorders, October 12, 2005.

 The Carter Jenkins Center, www.thecjc.org, taped CME cat I lecture available on the internet,
 "Evaluation and Management of Gender Identity Disorder," January 6, 2006.

 CNN, Kosilek Trial testimony/interview, June 1, 2006.

 CNBC, "The Big Idea with Donny Deutsch," interview, June 6, 2006.

 PBS News Hour, Transgender Soldiers Gain Ground as US Military Transitions, May 9, 2016,
 http://www.pbs.org/newshour/bb/transgender-soldiers-gain-ground-as-u-s-military-transitions/

 Multiple Psychiatry Grand Rounds completed at ETSU, 2010-present, available on line at the
 ETSU CME Office website, www.etsu.edu/CME and on Youtube.

 RESEARCH PROJECTS AND GRANT SUPPORT:

 Principal Investigator, "Phase III Comparison of Two Doses of Risperidone For Acute
 Exacerbations of Chronic Schizophrenia." Inpatient setting, grant support from Janssen
 Pharmaceutica, approximately $50,000. Completed 1996.

 Principal Investigator, Sexual Functioning and Personality Characteristics of Transgendered Men
 in a Nonclinical Setting. Collaboration with Tom Wise, M.D. (Chair, Dept. of Psychiatry, Fairfax
 Hospital, Falls Church, VA), Peter Fagan, Ph.D. (Johns Hopkins Sexual Behaviors Consultation
 Unit), and Paul Costa, Ph.D. (NIMH). Completed 1990-1995.

 DSM-IV Reliability Field Trials, Site Coordinator, 10 investigators, completed in 1995.

 Principal Investigator, Psychosocial Adjustment of Spouses of Transgendered Men; study
 involving long-term support group work and nationwide questionnaire data collection from 1986 to
 1997. Completed. Private non-profit organization grant support received.

 Coinvestigator, International Study of 800 Transgender Men: The Boulton and Park Experience.
 1988-1992. This was the largest community based survey study of transgender people in the U.S.
 conducted to date. Completed.

 Principal Investigator, "A Double-Blind, Placebo-Controlled, Dose-Response Comparison of the
 Safety and Efficacy of Three Doses of Sertindole and Three Doses of Haloperidol in
 Schizophrenic Patients." Phase III trial, inpatient setting. Grant support by Abbott Laboratories,
 approximately $60,000 over one year. Completed 1994-1995. Contributed to FDA consideration



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 of Serlect for U.S. marketing, 1996-1997.

 Principal Investigator, "An Open Label, Long Term, Safety Study of Sertindole in Schizophrenic
 Patients." Phase II trial, outpatient setting. Grant support from Abbott Laboratories,
 approximately $50,000 over two years. Completed 1996.

 Principal Investigator, "Biopsychosocial Natural History Study of HIV Infection in the USAF." RO-
 1 equivalent grant from Henry M. Jackson Foundation for the Advancement of Military Medicine,
 approximately $2,000,000. Completed 1987-1993, including pilot data collection.

 Unrestricted Educational Grants, $19,000, for Mountain Update on Anxiety Disorders CME
 conference (SKB, Lilly, Mead-Johnson), 1995.

 Unrestricted Educational Grants totaling approximately $30,000 annually in support of the
 VAMC/ETSU Psychiatry Grand Rounds and Visiting Professor Program, 1994-2000; 2002-2006.
 Grant funding following CME guidelines and administered through the ETSU Office of Continuing
 Education.

 Principal Investigator, "Double-Blind Crossover Study of Zolpidem and Temazepam in Elderly,
 Hospitalized Patients." Funded through Psychiatry Research Fund, Mountain Home VAMC, and
 Chair of Excellence in Geriatrics, ETSU. Approved study, ultimately closed due to lack of
 appropriate subjects available for recruitment.

 Principal Investigator, "A Randomized, Double-Blind Placebo Controlled Study of Risperidone for
 Treatment of Behavioral Disturbances in Subjects with Dementia." Collaboration with R. Hamdy,
 Cecile Quillen Chair of Excellence in Geriatrics, approximately $100,000 at full recruitment, 1995-
 1997; completed.

 Associate Investigator, "Use of Nefazodone in Depressed Women with Premenstrual
 Amplification of Symptoms: a Pilot Study." Principal Investigator: Merry Miller, M.D. $5,000 pilot
 study grant, 1996-1999; completed.

 Associate Investigator, "Voice Characteristics Associated with Gender Misidentification: A Pilot
 Study." Principal Investigator: Robert King, M.A. Unfunded study in data analysis phase, 2001-
 2005; completed in 2007.

 Principal Investigator, Johnson City site, VA Cooperative Study #430, “Reducing the Efficacy-
 Effectiveness Gap in Bipolar Disorder.” Health services research conducted at 12 sites
 nationwide. Grant for this site’s operations total $435,000 over five years of study, 1997-2003;
 completed.

 Coinvestigator, “Treatment for Erectile Disorder with Viagra in a VA Population: Efficacy and
 Patient and Partner Satisfaction.” Principal Investigator: William Finger, Ph.D. Approximately
 $30,000 total grant over two year period, 2000-2001; study concluded.

 Principal Investigator, Johnson City site, “A Multicenter, Randomized, Double-Blind, Placebo
 Controlled Study of Three Fixed Doses of Aripiprazole in the Treatment of Institutionalized
 Patients with Psychosis Associated with Dementia of the Alzheimer’s Type.” Phase III clinical
 trial, sponsored by Bristol-Meyers Squibb, 2000-2001, $174,000 at full recruitment. Extension
 phase, 42 weeks, separate grant at maximum of $232,800. Approved April, 2000; completed.

 Coinvestigator, “Effects of zaleplon on postural stability in the elderly.“ Principal Investigator: Faith
 Akin, Ph.D. $1000 grant for subject recruitment expenses, 2000-2001.

 Principal Investigator, James H. Quillen VA site, “ZODIAK study; An International, Multicenter
 Large Simple Trial (LST) To Compare the Cardiovascular Safety of Ziprasidone and Olanzapine.”



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 Pfizer Pharmaceuticals, approximately $20,000 at full recruitment. Approved April, 2002,
 recruitment completed and closed in 2004. Results published: Strom B, Eng S, Faich G, et al:
 comparative mortality associated with ziprasidone and olanzapine in real-world use among
 18,154 patients with schizophrenia: The ziprasidone Observational Study of Cardiac Outcomes
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 Coinvestigator, “Survey of Family and Systems Aggression Against Therapists.”
 Unfunded study, completed between 2002 and 2003; Randi Ettner, Ph.D., Principle Investigator;
 completed.

 Coinvestigator, “Effect of Olanzapine on the Auditory Gating Deficit in Patients with
 Schizophrenia.” Principal Investigator: Barney Miller, Ph.D. Investigator-initiated study funded by
 Lilly, approximately $85,000. 2002. Study did not recruit subjects at ETSU and was closed 2003.

 Principal Investigator, multicenter study, “The SOURCE Study: Schizophrenia Outcomes,
 Utilization, Relapse, and Clinical Evaluation.” Janssen Research, $100,000 grant at full
 recruitment (two year open label follow-up study of risperidone Consta), 2005-2007; second
 highest recruitment of 43 centers in multicenter study. Completed. See publications from this
 study under the Publications section, numbers 128 and 129.

 Coauthor on grants to VA Central Office for program enhancements to mental health programs at
 Mountain Home VAMC; approximately $2,000,000 received for additional staff and support for
 residential treatment programs and PTSD clinic expansion, 2006-2007.

 Principal Investigator in conjunction with Herbert Meltzer, MD, Vanderbilt University,
 " High Dose Risperidone Consta for Patients with Schizophrenia with Unsatisfactory Response to
 Standard Dose Risperidone or Long-Acting Injectable." Phase IV study of outpatients with
 schizophrenia who are partially responsive to risperidone oral and/or long-acting injectable, using
 a double-blind methodology to study doses between 50 and 100 mg every two weeks. Site
 funding of approximately $100,000. 2008-2010. Approved by ETSU IRB but negotiations
 between sponsor and Department of Veterans Affairs were not completed on intellectual property
 rights. Study not initiated at Mountain Home VAMC.

 Principal Investigator (Everett McDuffie, MD, coinvestigator), "Descriptive study of veterans with
 gender identity disturbances: Characteristics and comorbidities, 1987-2007." Unfunded study
 that is first to characterize a population of 75 U.S. veterans with gender identity disturbances over
 a 20 year time frame. Completed 2009.

 Principal Investigator: “Analysis of State and Federal Prison Directives Related to Transgender
 Inmate Medical Care and Placement.” Unfunded review of existing prison policies through the
 end of 2007. Completed 2008.

 Principal Investigator: “Qualitative Analysis of Concerns of Transgender Inmates in the United
 States. Unfunded analysis of 129 letters from self-identified transgender inmates across the US.”
 Completed 2012.

 Coinvestigator, “Prevalence and Suicidality in Transgender Veterans”; coinvestigator with
 collaborators at the VA Center of Excellence for Suicide Prevention. 2011-2013. Completed;
 publication of results in October, 2013.

 Principal Investigator, “Assessing Health Outcomes, Health Care Utilization, and Health
 Disparities in Transgender Veterans Receiving Care in the Veterans Health Administration.”
 Approved by ETSU IRB 7/1/13; protocol remains open. Six manuscripts published; one in
 preparation.

 Consultant, Patient-Centered Outcomes Research Institute grant on transgender healthcare



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 present.

 Advisory Board Member, Health Outcomes and Health Care Use Among Transgender Veterans
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 2016 – 2021, total award: $863,394


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139. Medical records for the transgender plaintiffs in this matter.




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1                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
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3
            MAXWELL KADEL, et al.,                     :
4                                                      :
                                  Plaintiffs,          : No. 1:19-CV-272
5                                                      : LCB-LPA
                            vs.                        :
6                                                      :
            DALE FOLWELL, et al.,                      :
7                                                      :
                                  Defendants.          :
8
                                                 - - -
 9
10
                          DEPOSITION OF LOREN SCHECHTER, M.D.
11                             (Taken by the Defendants)
                                Morton Grove, Illinois
12                                  August 24, 2021
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19
                            Reported by:         Jackie J. Johnson
20                                               Court Reporter
                                                 Notary Public
21
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6                      and University of North Carolina at
                       Greensboro
7
8                                            - - -
9
10
                   Deposition of LOREN SCHECHTER, M.D., taken by the
11         Defendants in Chicago, Illinois, on the 24th day of
           August, 2021 at 10:27 a.m., before Jackie J. Johnson,
12         Court Reporter and Notary Public.
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6                 By Mr. McInnes............................132
7                 By Mr. Knepper............................142
8
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10         For the Defendants
11
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                                                                          Page 18

1             A.    It has.     It's been signed and executed, yes.

2             Q.    By you and Rush University; is that correct?

3             A.    That is correct.

4             Q.    Do you have possibly a copy of that contract,

5          Doctor Schechter?

6             A.    I'll have to look.         That may be under a

7          Confidentiality Agreement with the University.

8             Q.    Thank you.

9                   So I want to start with a couple of sort of

10         broader questions related to the medical treatment for

11         the Plaintiffs in this case.

12                  Doctor Schechter, what is gender dysphoria?

13            A.    Gender dysphoria relates to the distress

14         experienced by individuals, transgender individuals,

15         related to the incongruence between one's body, meaning

16         their physical anatomy, and their gender identity.

17            Q.    Is gender dysphoria a psychiatric diagnosis?

18            A.    It is a medical condition.

19            Q.    It's a medical condition.

20                  So are you testifying that it is not a

21         psychiatric illness?

22            A.    I'm testifying that it's a medical condition.

23            Q.    And what is a medical condition --

24            A.    A medical condition --

25            Q.    -- as the term's described by you?

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              Exhibit 24(a)




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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,                                No. 1:19-cv-00272-LCB-LPA

                             Plaintiffs,

                        v.

 DALE FOLWELL, et al.,

                             Defendants.



                         EXPERT DISCLOSURE REPORT OF
                           LOREN S. SCHECHTER, M.D.

I.      PRELIMINARY STATEMENT

        1.    I am a board-certified plastic surgeon. I specialize in performing gender

confirming surgeries (including chest reconstruction surgeries, genital reconstruction

surgeries, and other procedures to feminize or masculinize the face and body, as described

in more detail below), and I am a recognized expert in this field.

        2.    I have been retained by counsel for Plaintiffs in the above-captioned lawsuit

to provide an expert opinion on: 1) the standards of care for treating individuals diagnosed

with gender dysphoria; 2) the safety, efficacy, and cost of gender confirming surgeries as

treatment for gender dysphoria; 3) the similarities between surgical techniques to treat

gender dysphoria with those utilized for surgical treatment of other diagnoses; and 4)

whether the categorical exclusion of transition-related surgical care in the North Carolina

State Health Plan for Teachers and State Employees is consistent with the standards of




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care for treating transgender individuals diagnosed with gender dysphoria.

       3.     I refer to the family of procedures discussed in this report as “gender

confirmation,” “gender confirming surgeries,” or “gender affirming surgeries” because

they are one of the therapeutic tools used to enable people to be comfortable living in

accordance with their gender identities. Out of the myriad of labels I’ve heard for these

procedures—“sex reassignment surgery,” “gender reassignment surgery,” and “sex

change operation,” to name but a few—none is as accurate when it comes to describing

what is actually taking place as “gender confirmation” or “gender affirmation surgery.”

Most, if not all, of the other names used for these procedures suggest that a person is

making a choice to switch genders, or that there is a single “surgery” involved. From the

hundreds of discussions I have had with patients over the years, nothing could be further

from the truth. This is not about choice; it is about using one or more surgical procedures

as therapeutic tools to enable people to live authentically.

II.    BACKGROUND AND QUALIFICATIONS

       A.     Qualifications

       4.     The information provided regarding my professional background,

experiences, publications, and presentations are detailed in my curriculum vitae (“CV”).

A true and correct copy of my most up-to-date CV is attached as Exhibit A.

       5.     I received my medical degree from the University of Chicago, Pritzker

School of Medicine. I completed my residency and chief residency in plastic and

reconstructive surgery and a fellowship in reconstructive microsurgery at the University


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of Chicago Hospitals.

       6.      I am currently a Clinical Professor of Surgery at the University of Illinois at

Chicago and an attending surgeon at Rush University Medical Center, where I hold the

title of adjunct assistant professor surgery. I also maintain a clinical practice in plastic

surgery in Illinois where I treat patients from around the country, as well as from around

the world.

       7.      I have been performing gender confirming surgeries for nearly 25 years. For

at least the past five years, I have been performing approximately 150 gender

confirmation procedures every year. I have performed over 1,000 gender confirmation

surgeries during my medical career. Currently, approximately 90 percent of the patients in

my clinical practice are transgender individuals seeking gender confirmation surgeries.

       8.      I was a contributing author to the Seventh Version (current) of the World

Professional Association for Transgender Health’s (“WPATH”) Standards of Care for the

Health of Transsexual, Transgender, and Gender-Nonconforming People (“Standards of

Care”). In particular, I wrote the section focused on the relationship of the surgeon with

the treating mental health professional and the physician prescribing hormone therapy.

WPATH is in the midst of drafting the eighth version of the Standards of Care, and I am

the co-lead author of the surgical and postoperative care chapter.

       9.      The Standards of Care provide clinical guidance for health professionals

based on the best available science and expert professional consensus. The purpose of the

Standards of Care is to assist health providers in delivering medical care to transgender


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people in order to provide them with safe and effective pathways to achieving lasting

personal comfort with their gendered selves and to maximize their overall health,

psychological well-being, and self-fulfillment.

       10.    In addition, I have written a number of peer-reviewed journal articles and

chapters in professional textbooks about gender confirmation surgeries. In 2016, I

published Surgical Management of the Transgender Patient, the first surgical atlas (a

reference guide for surgeons on how to perform surgical procedures using safe, well-

established techniques) dedicated to gender confirming surgeries. In 2020, I published a

guide for surgeons entitled Gender Confirmation Surgery: Principles and Techniques for

an Emerging Field. A full and complete list of my publications is included in my CV.

       11.    I am a guest reviewer for several peer-reviewed medical journals, including

the Journal of Plastic and Reconstructive Surgery, the Journal of Reconstructive

Microsurgery, the Journal of the American College of Plastic Surgeons, the Journal of

Plastic and Reconstructive Surgery, The Journal of Plastic and Aesthetic Research, and

the Journal of Sexual Medicine. I also serve on the editorial board of both Transgender

Health and the International Journal of Transgender Health. Each of these publications is

a peer-reviewed medical journal. A full and complete list of my reviewerships and

editorial roles is included in my CV.

       12.    I am actively involved in training other surgeons to perform gender

confirmation surgeries. In 2017, I started the surgical fellowship in gender surgery, now

placed at Rush University Medical Center in Chicago. I am also the Medical Director of


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the Center for Gender Confirmation Surgery at Weiss Memorial Hospital. I am a co-

investigator on a study regarding uterine transplantation for transgender women.

       13.    I have given dozens of public addresses, seminars, and lectures on gender

confirming surgery, including many through the American Society of Plastic Surgeons. I

have also taught a number of courses through WPATH’s Global Education Initiative,

which provides training courses toward a member certification program in transgender

health for practitioners around the world. In addition, in 2018, I co-directed the first live

surgery course in gender confirming procedures at Mount Sinai Hospital in New York

City. In 2019, I directed the inaugural Gender Affirming Breast, Chest, and Body Master

Class for the American Society of Plastic Surgeons.

       14.    I am also a founding member and president of the American Society of

Gender Surgeons; a current member of the Executive Committee of the Board of

Directors of the World Professional Association for Transgender Health, where I serve as

treasurer; and a former member of the Board of Governors of the American College of

Surgeons. I have been an invited discussant at the Pentagon regarding transgender

servicemembers.

       B.     Compensation

       14.    I am being compensated at an hourly rate of $400/hour plus expenses for

my time spent preparing written testimony and reports, and providing local testimony

(including deposition or providing hearing testimony by telephone or video-

teleconference). I will be compensated a flat daily rate of $7,500 for any out-of-town


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deposition or hearing testimony. My compensation does not depend on the outcome of

this litigation, the opinions I express, or the testimony I may provide.

       C.     Previous Testimony

       15.    Over the past four years, I have given expert testimony at trial or by

deposition in the following cases:

   • Willis v. Flagg, Cook County, IL (trial)

   • Bruce v. South Dakota, D. S.D. (deposition)

   • Boyden v. State of Wisconsin, W.D. Wis. (deposition)

To the best of my recollection, I have not given expert testimony at a trial or at a

deposition in any other case during this period.

III.   BASIS FOR OPINIONS

       16.    My opinions contained in this report are based on all of the following: (1)

my clinical experience of nearly 25 years of caring for transgender individuals; (2) my

review and familiarity with relevant peer-reviewed literature;1 and (3) discussions with

colleagues and other experts in the field, including attendance and participation in various



1 I regularly and routinely perform literature searches as an educator, including in my

roles as clinical professor of surgery at the University of Illinois and attending surgeon at
Rush University, where I participate in fellow, resident, and student education; Director
of the Center for Gender Confirmation Surgery at Weiss Memorial Hospital; lecturer for
the Global Education Initiative for WPATH; invited lecturer at national and international
conferences; co-lead author of the surgery and post-operative care chapter of the
upcoming WPATH Standards of Care Version 8; an editor and reviewer for peer-
reviewed publications; and a course director for various educational opportunities for
WPATH, American Society of Plastic Surgeons, and other organizations.

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educational conferences both nationally and internationally. The research I relied on in

preparing this report is cited in the footnotes and detailed in the reference list attached as

Exhibit B to this report.

IV.     DISCUSSION

        A.    Background on Gender Identity and Gender Dysphoria

        17.   The term “transgender” is used to describe a diverse group of individuals

whose gender identity, or internal sense of gender, differs from the sex they were assigned

at birth.

        18.   Many transgender individuals experience gender dysphoria at some point in

their lives. Gender dysphoria is a serious medical condition, defined by the Diagnostic

and Statistical Manual of Mental Disorders (DSM-V) published by the American

Psychiatric Association as “a difference between one’s experienced/expressed gender and

assigned gender, and significant distress or problems functioning.” Gender dysphoria is

also recognized by the International Classification of Diseases-11 (ICD-11), under the

label of gender incongruence, and the International Classification of Diseases-10 (ICD-

10). Individuals diagnosed with gender dysphoria have an intense and persistent

discomfort with the primary and/or secondary sex characteristics of the sex they were

assigned at birth. Gender dysphoria can lead to debilitating anxiety and depression, as

well as serious incidents of self-harm, including self-mutilation, suicide attempts, and

suicide.

        19.   Appropriate medical care, including mental health services, hormone


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therapy, and gender confirmation surgeries can help alleviate gender dysphoria. Gender

confirmation surgeries, which bring a person’s body into better alignment with their

gender identity, have been shown to be an effective treatment for gender dysphoria.

       B.     Gender Confirming Surgeries are Standard, Medically Accepted, and
              Medically Necessary Treatments for Gender Dysphoria for Many
              Transgender People

       20.    It is my professional opinion, supported by the prevailing consensus of the

medical community, that procedures used to treat gender dysphoria are medically

necessary treatments for many transgender individuals; these procedures are properly

considered as medically necessary, and are not cosmetic in nature; and these procedures

are safe and effective treatments for gender dysphoria.

              1.     Applicable Standards of Care for Treating Gender Dysphoria

       21.    WPATH is a non-profit professional and educational organization devoted

to transgender health. WPATH’s mission is “to promote evidence-based care, education,

research, advocacy, public policy, and respect in transgender health.”2 WPATH publishes

the Standards of Care. The Standards of Care are based on the best available scientific

evidence and expert professional consensus. WPATH published the first version of the

Standards of Care in 1979. Since that time, the guidelines have been updated through

seven versions, reflecting the significant advances made in the understanding,

management, and care of transgender individuals. The Standards of Care are widely



2 WPATH, Mission and Vision, https://www.wpath.org/about/mission-and-vision.




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recognized guidelines for the clinical management of transgender individuals with gender

dysphoria. Most surgeons who regularly treat individuals experiencing gender dysphoria,

including myself, practice in accordance with the Standards of Care.

       22.    As indicated in the Standards of Care, effective treatment options for gender

dysphoria include mental health care, hormone therapy, and various surgical procedures

to align a person’s primary and/or secondary sex characteristics with the person’s gender

identity. (Standards of Care at 9-10). Surgery is often the last and most considered of the

treatment options for gender dysphoria in transgender individuals. Not every transgender

person wants, requires, or qualifies for every available surgical procedure. In fact, the

Standards of Care note that “[t]he number and sequence of surgical procedures may vary

from patient to patient, according to their clinical needs.” (Standards of Care at 58).

Evidence shows that while some transgender individuals do not require surgery, “for

many others surgery is essential and medically necessary to alleviate their gender

dysphoria. For the latter group, relief from gender dysphoria cannot be achieved without

modification of their primary and/or secondary sex characteristics to establish greater

congruence with their gender identity.” (Standards of Care at 54-55).

       23.    The Standards of Care set forth criteria for initiation of surgical treatment.

The Endocrine Society—the leading professional organization devoted to research on

hormones and the clinical practice of endocrinology—has also issued clinical guidelines




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for the treatment of transgender individuals.3 The guidelines indicate, that for many

transgender individuals, gender confirming surgeries are necessary and effective

treatments.4

       24.      The broader medical community, including the American Medical

Association, American Psychological Association, American Psychiatric Association,

American College of Obstetricians and Gynecologists, American Academy of Family

Physicians, and World Health Organization, recognizes that gender confirming surgeries

are standard, appropriate, and necessary treatments for many people with gender

dysphoria.

                2.     Surgical Treatments for Gender Dysphoria

       25.      For transgender women, surgical treatment options that are generally

accepted in the medical community and are consistent with the Standards of Care include,

but are not limited to:

             • Chest reconstruction surgery: augmentation mammoplasty (breast
               implants);
             • Genital reconstruction surgeries: penectomy (removal of the penis),
               orchiectomy (removal of the testes), vaginoplasty, clitoroplasty, and/or
               vulvoplasty (creation of female genitalia including the labia minora and
               majora);
             • Non-genital, non-breast surgical interventions: facial feminization surgery,
               liposuction, lipofilling, voice surgery, thyroid cartilage reduction, gluteal
               augmentation (implants/lipofilling), and hair reconstruction, among others.


3 Wylie C Hembree et al., Endocrine Treatment of Gender-Dysphoric/Gender-

Incongruent Persons: An Endocrine Society Clinical Practice Guideline, 102 J. Clin.
Endocrinology & Metabolism 3869 (2017).
4 Id.




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       26.      For transgender men, surgical treatment options that are generally accepted

in the medical community and are consistent with the Standards of Care include, but are

not limited to:

             • Chest reconstruction surgery: subcutaneous mastectomy, creation of a male
               chest;
             • Genital surgery: hysterectomy/oophorectomy, reconstruction of the urethra,
               which can be combined with a metoidioplasty or with a phalloplasty
               (employing a pedicled or free vascularized flap), vaginectomy, scrotoplasty,
               and implantation of erection and/or testicular prostheses;
             • Non-genital, non-breast surgical interventions: liposuction, lipofilling,
               pectoral implants, various aesthetic procedures, and sometimes voice
               surgery (rare).

                3.     Gender Confirmation Surgeries are Medically Necessary, Not
                       Cosmetic

       26.      The medical community and insurance providers recognize a distinction

between surgery which is medically necessary, and cosmetic surgery, which generally is

not. No particular procedure is inherently cosmetic or inherently medically necessary;

rather, the underlying diagnosis determines whether the procedure is considered cosmetic

or medically necessary.

       27.      With respect to surgical treatments for gender dysphoria, the medical

community generally consider those surgeries to be medically necessary. This is true

even though the same surgical procedures might be considered cosmetic when performed

on someone without a diagnosis of gender dysphoria. Gender confirming surgeries are

not cosmetic because, when performed in accordance with the Standards of Care, they are

clinically indicated to treat the underlying medical condition of gender dysphoria. Indeed,

as explained further below, the surgical procedures listed above to treat gender dysphoria

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are similar to surgical procedures performed for other diagnoses (e.g., breast cancer).

Because these medically necessary procedures help transgender individuals live and

present in a manner more consistent with their gender identity and therefore reduce and/or

treat their gender dysphoria, the professional medical consensus is that these are

appropriately categorized as medically necessary.

       28.    Certain surgical procedures are medically necessary when used to treat

gender dysphoria or another medical condition, but are cosmetic when they are used only

to alter one’s appearance without an underlying medical diagnosis (e.g., a non-

transgender woman obtaining a breast augmentation for aesthetic reasons). While the

procedures themselves are technically similar, the reasons for performing the procedures

are not.

       C.     Gender Confirming Surgeries are Safe, Effective, and Cost Efficient

       29.    The prevailing peer-reviewed clinical research, as well as my own clinical

expertise as a plastic surgeon specializing in gender confirmation surgeries, shows that

surgical procedures for gender dysphoria are safe, effective, and cost efficient; and that

many of these procedures are analogous to surgical procedures used to treat other medical

conditions.

              1.     Gender Confirming Surgeries are Safe

       30.    It is my professional opinion, based on my clinical experience and review

of available peer-reviewed research, that gender confirmation surgeries are safe. Notably,

when performing gender confirmation surgeries, surgeons use many of the same


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procedures that they use to treat other medical conditions. The fact that the medical

community deems these analogous procedures sufficiently safe to treat conditions other

than gender dysphoria is by itself more than sufficient to support the safety of those

surgeries to treat gender dysphoria. There is no medical basis to conclude that the same

surgical procedures are more or less safe simply because they are used to treat gender

dysphoria, versus other underlying medical conditions.

       31.     For example, surgeons regularly perform mastectomies and chest/breast

reconstruction, hysterectomies/salpingo-oophorectomies (which includes removal of the

fallopian tubes and ovaries), and orchiectomies to treat individuals with cancer, or a

genetic predisposition to cancer (BRCA 1, 2 genes in the case of prophylactic mastectomy

or oophorectomy). Similarly, surgeons perform procedures to reconstruct external

genitalia for individuals who have certain medical conditions (e.g., cancer) or who have

suffered traumatic injuries or disabling infections to their genitalia. This would include

procedures to correct conditions such as hypospadias (a disorder in which the urinary

opening is not in the typical location on the glans penis), epispadias (a condition where

the urethra is not properly developed), exstrophy (where the bladder develops outside the

fetus), fournier’s gangrene (where tissue dies because of an infection), penile webbing, or

buried penis (which can occur as a result of obesity, diabetes, or recurrent infections).

This would also include procedures to correct conditions such as congenital absence of

the vagina or reconstruction of the vagina/vulva following oncologic resection, traumatic

injury, or infection.


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              2.     Gender Confirmation Surgeries Effectively Treat Gender
                     Dysphoria

       32.    It is my professional opinion, based on decades of clinical experience, as

well as a substantial body of peer-reviewed research, that standard medical surgical

treatments for gender dysphoria are effective when performed in accordance with the

Standards of Care.

       33.    Peer-reviewed studies find that transgender women who undergo one or

more gender confirmation surgeries report positive health outcomes. For example, a peer-

reviewed study of transgender women found that those who underwent breast

reconstruction surgeries experienced statistically significant improvements in their

psychosocial well-being.5 Another peer-reviewed study of transgender women who had

vaginoplasty found that study participants’ mean improvement in quality of life after

surgery was 7.9 on a scale from one to ten.6 Another study of transgender women found

that surgical interventions were highly correlated with alleviating gender dysphoria.7 A

recent literature review concluded that in appropriately selected individuals, gender


5 Weigert, R., Frison, E., Sessiecq, Q., Mutairi, K. A., & Casoli, V. (2013). Patient

Satisfaction with Breasts and Psychosocial, Sexual, and Physical Well-Being after Breast
Augmentation in Male-to-Female Transsexuals. Plastic and Reconstructive Surgery,
132(6), 1421-1429. doi:10.1097/01.prs.0000434415.70711.49.
6 Horbach, S. E. R., Bouman, M., Smit, J. M., Ozer, M., Buncamper, M. & Mullender, M.

G. (2015). Outcome of Vaginoplasty in Male-to-Female Transgenders: A Systematic
Review of Surgical Techniques.
7 Hess, J., Neto, R., Panic, L., Rubben, H. & Senf, W. (2014). Satisfaction with Male-to-

Female Gender Reassignment Surgery. (Among survey respondents, the majority
(90.2%) said that that their expectations for life as a woman were fulfilled after surgery.
A similarly high percentage (85.4%) saw themselves as women.)

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confirmation surgery is effective at improving quality of life, overall happiness, and

sexual functioning in transgender women who are diagnosed with gender dysphoria.8

Another recent post-operative and six-month follow-up survey of transgender female

patients found improvements in quality of life in a significant majority of patients.9

       34.    The available peer-reviewed literature likewise concludes that when

performed in accordance with the prevailing standards of care, male chest reconstruction

surgery is safe and effective in alleviating gender dysphoria. For example, one study

found that transgender men who received chest reconstruction experienced few clinical

complications and were overwhelmingly satisfied with their surgical outcomes.10 Another

peer-reviewed study of transgender men who received chest reconstruction found that the

procedure improved psychosocial well-being and physical well-being among




8 Hadj-Moussa, M.,et al. Feminizing Genital Gender-Confirmation Surgery, 2018, 1-14.

2018 Jul;6(3):457-468.e2. doi: 10.1016.
9 Papadopulos, N.A., et al. Male-to-Female Sex Reassignment Surgery Using the

Combined Technique Leads to Increase Quality of Life in a Prospective Study. Plast
Reconstr Surg. 2017 Aug;140(2):286-294. doi: 10.1097.
10 Frederick, M. et al., (2017), Chest Surgery in Female to Male Transgender Individuals,

Annals of Plastic Surgery, 78(3), 249-253.

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participants.11 Numerous other studies have reached similar conclusions.12 These findings

extend to adolescents; for example, a recent study in JAMA Pediatrics concluded that:

“Chest dysphoria was high among presurgical transmasculine youth, and surgical

intervention positively affected both minors and young adults.”13

       35.    The overwhelming majority of patients who obtain gender confirmation

surgery in a manner consistent with the Standards of Care are both satisfied and

experience a reduction of gender dysphoria. For the vast majority of transgender people

who seek such surgery, the surgery is successful at treating gender dysphoria and

alleviating a lifelong struggle to find peace of mind and comfort with their bodies.

              3.     Gender Confirmation Surgeries are Cost Efficient

       36.    When billing insurers for reimbursement, health care providers use Current

Procedural Terminology (CPT) codes, which are developed and maintained by the

American Medical Association. The same code or codes may apply to a particular



11 Agarwal, C. et al., (2018). Quality of life improvement after chest wall masculinization

in female-to-male transgender patients: A prospective study using the BREAST-Q and
Body Uneasiness Test, 71, 651-657.
12 E.g., Olson-Kennedy, J. et al., (2018), Chest Reconstruction and Chest Dysphoria in

Transmasculine Minors and Young Adults, JAMA Pediatrics, 172(5), 431-436; Van de
Grift, T., et al., (2017), Surgical Indications and Outcomes of Mastectomy in Transmen:
A Prospective Study of Technical and Self-Reported Measures. Plastic and
Reconstructive Surgery, 140(3), 415e-424e. doi:10.1097/PRS.0000000000003607; Berry,
M.G. et al., (2012), Female-to-male transgender chest reconstruction: A large
consecutive, single-surgeon experience. Journal of Plastic, Reconstructive & Aesthetic
Surgery 65, 711-719.
13 Olson-Kennedy, J. supra at n. 12. Additionally, Frederick et al., supra at n. 10,

included adolescents aged 15-17, as well as adults.

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procedure regardless of whether the procedure is performed on a transgender patient or a

non-transgender patient. For example, vaginoplasty may be performed for a non-

transgender woman as treatment for congenital absence of the vagina or for a transgender

woman with gender dysphoria. The same CPT code(s) may be used for both procedures.

The same is true for a subcutaneous mastectomy, which may be performed for a non-

transgender woman to reduce her risk of breast cancer or for a transgender man with

gender dysphoria.

       37.    Researchers affiliated with the Johns Hopkins Bloomberg School of Public

Health, the Commonwealth of Massachusetts Group Insurance Commission, and the

University of Colorado, found access to gender confirmation surgeries through insurance

to be a likely cost-effective treatment long-term.14 Gender confirmation surgery typically

results in, at a minimum, a significant reduction of gender dysphoria. Transgender people

with gender dysphoria who, for lack of insurance access, are unable to obtain gender

confirmation surgeries tend to have higher rates of negative health outcomes such as

depression, HIV, drug abuse, and suicidality. These researchers found that the one-time

costs of gender confirmation surgeries coupled with standard post-operative care, primary

and maintenance care, were overall less expensive at 5- and 10-year marks, as compared

to the long-term treatment of the negative health outcomes associated with lack of


14 William V Padula, Shiona Heru & Jonathan D Campbell, Societal Implications of

Health Insurance Coverage for Medically Necessary Services in the U.S. Transgender
Population: A Cost-Effectiveness Analysis, J Gen Intern Med, 31(4), 394–401 (2015).
doi: 10.1007/s11606-015-3529-6.

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insurance and resulting healthcare access.15 Similarly, a RAND Corporation study

reported findings that due to discrimination, lack of insurance, and problematic

interactions with providers, transgender people often avoid seeking treatment for gender

dysphoria and other more common health issues. This avoidance resulted in negative

healthcare outcomes and greater potential costs related to treating to those outcomes in the

long-term.16 Additionally, this research confirms that coverage for gender confirmation

surgeries is affordable and a nominal percentage of the care offered through group health

plans.

V.       SUMMARY OF OPINIONS AND CONCLUSIONS

         38.     Based on nearly 25 years of clinical experience performing gender

confirmation procedures and caring for transgender individuals, my knowledge of the

standards of care and relevant peer-reviewed literature, and my discussions and

interactions with experts throughout the world, it is my professional opinion that gender

confirmation surgeries are a safe, effective, and medically necessary treatments for gender

dysphoria in many transgender individuals. In my experience, the overwhelming number

of individuals who undergo gender confirmation procedures describe relief and/or

reduction of their gender dysphoria and improvement in their quality of life and overall



15 Id. at 398.
16 Schaefer, Agnes Gereben, Radha Iyengar Plumb, Srikanth Kadiyala, Jennifer

Kavanagh, Charles C. Engel, Kayla M. Williams, and Amii M. Kress, The Implications
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CA: RAND Corporation, 2016. https://www.rand.org/pubs/research_briefs/RB9909.html.

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functioning.

       39.     Furthermore, based on my clinical and professional experience and my

ongoing review of the literature, it is my professional opinion that the denial of necessary

medical care is likely to perpetuate gender dysphoria and create or exacerbate other

medical issues, such as depression and anxiety, leading to an increased possibility of self-

harm, negative health outcomes, and even suicide.

       40.     In conclusion, it is my professional opinion that the categorical exclusion of

transition-related surgical care in the North Carolina State Health Plan for Teachers and

State Employees is 1) inconsistent with the Standards of Care for treating transgender

individuals diagnosed with gender dysphoria, 2) inconsistent with the peer-reviewed

scientific and medical research demonstrating that gender confirmation surgeries are safe,

effective, and more cost efficient treatments for gender dysphoria over the long-term, 3)

and inconsistent with expert medical and surgical consensus. To the extent the exclusion

is premised on the assumption that gender confirmation surgical care is not medically

necessary, that assumption is wrong. The Standards of Care confirm, based on clinical

evidence, that gender confirmation surgeries are medically necessary to help people

alleviate the often serious and life-threatening symptoms of gender dysphoria.




       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct. Executed this _______ day of February, 2021.
                                                   28th




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                                            Loren S. Schechter, M.D.




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                            CERTIFICATE OF SERVICE
      I hereby certify that on March 1, 2021, I caused a copy of the foregoing document

and all attachments to be served upon the following parties via email:

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        Ask me anything!, Reddit.com, July 27, 2017 05:14,
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              Exhibit 24(b)




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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,                               No. 1:19-cv-00272-LCB-LPA

                             Plaintiffs,

                        v.

 DALE FOLWELL, et al.,

                             Defendants.



                         EXPERT REBUTTAL REPORT OF
                           LOREN S. SCHECHTER, M.D.

I, Loren S. Schechter, M.D., declare as follows:

       1.     I have been retained by counsel for Plaintiffs as an expert in connection

with the above-captioned litigation.

       2.     I previously submitted an expert witness report in this case (“Schechter

Report”). I submit this report to respond to points raised in the declarations of Patrick W.

Lappert, M.D. (“Lappert Decl.”), Stephen B. Levine, M.D. (“Levine Decl.”), Paul W.

Hruz M.D. (“Hruz Decl.”), and Paul R. McHugh, M.D. (“McHugh Decl.”) which

defendants provided.

       3.     My background, qualifications, and compensation for my services in this

case, and the bases for my opinions in this case are described in my original report. In

preparing this report, I was provided with and reviewed the declarations from defendants

described above and the accompanying exhibits.
                                             1


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       4.     My opinions contained in this report are based on my professional

background as described in my updated curriculum vitae (attached as Exhibit A); my

clinical experience of nearly 25 years of caring for transgender individuals; my review

and familiarity with relevant peer-reviewed literature, including my own research;1 and

discussions with colleagues and other experts in the field, including attendance and

participation in various educational conferences both nationally and internationally. The

research I relied on in preparing this report is cited in my curriculum vitae, my original

expert report, and the sources cited herein and my bibliography.2

       5.     Since the disclosure of my original declaration on February 28, 2021, there

have been several relevant peer reviewed articles published, including some which I have

co-authored. An updated bibliography including these new references and others that are

relevant to the opinions below is attached as Exhibit B to this report.




1
  As mentioned in my original report, I regularly and routinely perform literature searches
in my academic roles at the University of Illinois, Chicago and Rush University; and as
Director of the Center for Gender Confirmation Surgery at Weiss Memorial Hospital;
lecturer for the Global Education Initiative for WPATH; invited lecturer at national and
international conferences; co-lead author of the surgery and post-operative care chapter
of the upcoming WPATH Standards of Care Version 8; an editor and reviewer for peer-
reviewed publications; and a course director for various educational opportunities for
WPATH, American Society of Plastic Surgeons, and other organizations.
2
  Dr. Lappert’s suggestion that the sources cited in my original report deal only with
technical issues, and not the medical necessity of gender-affirming care, is incorrect.
Lappert Decl. at 9, 39. Based on the substantial body of literature in this area, including
the literature cited in my reports in this case, professional organizations such as The
American Society of Plastic Surgeons recognize gender-confirming care as
reconstructive, meaning that it is medically necessary.
                                              2


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        6.    I have personal knowledge of the matters stated in this report. I may

further supplement these opinions in response to information produced by Defendants in

discovery and in response to additional information from Defendants’ experts.

I.      QUALIFICATIONS OF DEFENDANTS’ WITNESSES

        7.    Based on the disclosures in Dr. Lappert’s report, he appears to lack the

requisite qualifications to offer his opinions. Dr. Lappert’s board certification with the

American Board of Plastic Surgery is expired. Dr. Lappert is neither board-certified in

plastic surgery, nor does he appear to hold any board-certification from a member board

of The American Board of Medical Specialties.

        8.    Dr. Lappert is not a member of The American Society of Plastic Surgeons

(ASPS), despite its role as the largest plastic surgery specialty organization in the world.

ASPS represents 93% of all board-certified plastic surgeons in the United States, and

more than 8,000 plastic surgeons worldwide. See plasticsurgery.org (website of ASPS).

Dr. Lappert does not appear to be a member of any other major or relevant surgical

organization, such as The American College of Surgeons.

        9.    Dr. Lappert lists no current hospital affiliations, nor does he appear to

perform surgical procedures any longer. Dr. Lappert has no recent or relevant scientific

publications pertaining to the field of gender-affirming surgery.3 Dr. Lappert references



3
  As explained further in my original report, I typically use the terms “gender
confirmation” and “gender affirmation” as the terms that most accurately describe the
therapeutic tools used to treat gender dysphoria, and I use those terms interchangeably
herein. Schechter Report ¶ 3.
                                              3


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having performed an unspecified number of surgeries for patients who previously

identified as transgender, however, he does not disclose any experience in treating

individuals in a manner consistent with World Professional Association for Transgender

Health’s (“WPATH”) Standards of Care for the Health of Transsexual, Transgender, and

Gender-Nonconforming People (“Standards of Care”).4

       10.    Drs. Levine, Hruz, and McHugh opine on surgical interventions pertaining

to gender dysphoria. None of these individuals provide evidence as to training or

experience in a surgical discipline. Additionally, none of Drs. Lappert, Levine, Hruz, or

McHugh appear to be members of WPATH, which is recognized by the mainstream

medical consensus as the authoritative entity that has established comprehensive

Standards of Care in this field.

II.    THE OPINIONS OF DR. LAPPERT AND THE OTHERS ARE
       INCONSISTENT WITH THE MAINSTREAM MEDICAL CONSENSUS

       A.     Gender-Confirming Surgery is Safe and Effective

       11.    As discussed in my original report, the research, as well as my own clinical



4
  There are other indications of Dr. Lappert’s lack of expertise in this field. Dr. Lappert
incorrectly claims that “much” of the support for gender-affirming care comes from
anecdotal data, and analogizes this treatment to “bleeding and leeching.” Lappert Decl.
pp. 13-14. This not only ignores the large body of peer-reviewed literature supporting
gender-affirming care, but to the extent Dr. Lappert attempts to disparage it with
comparisons to use of leeches, reveals gaps in his knowledge. Despite claiming to be an
expert in microvascular surgery, Dr. Lappert fails to note the substantial volume of
scientific literature regarding the beneficial use of medicinal leeches in microsurgery.
See, e.g., Iris Seitz et al., Successful Tongue Replantation Following Segmental
Autoamputation Using Supermicrosurgical Technique, 02 Journal of Reconstructive
Microsurgery Open e132-e135 (2017).
                                             4


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expertise, show that surgical procedures for gender dysphoria are safe and effective, and

that many of these procedures are analogous to surgical procedures used to treat other

medical conditions. The fact that the medical community deems these analogous

procedures sufficiently safe to treat conditions other than gender dysphoria is by itself

more than sufficient to support the safety of those surgeries to treat gender dysphoria,

since nothing about the safety of these procedures varies when they are used to treat

gender dysphoria. Notably, Dr. Lappert concedes that chest reconstructive surgery in the

form of a mastectomy is “very safe, and typically performed in the outpatient setting.”

Lappert Decl. at 37-38. Dr. Lappert also concedes that “[s]urgical enhancement

procedures are exactly the same in both men and women.” Id. at 38.

       12.    Dr. Lappert suggests that gender-confirming surgeries have a high rate of

complications, Lappert Decl. ¶ 18, but when compared with analogous procedures for

other conditions, gender-confirming surgeries do not have a particularly high rate of

complications. For example, a recent study of 7,905 persons with gender dysphoria, of

whom 1,047 underwent surgery between 2009-2015, revealed an overall complication

rates for all surgical procedures on persons with gender dysphoria of only 5.8%.5

       13.    Looking specifically at the complication rates for chest surgeries

(subcutaneous mastectomy and chest wall contouring), two recent studies reveal a




5
 Megan Lane et al., Trends in Gender-affirming Surgery in Insured Patients in the
United States, 6 Plastic and Reconstructive Surgery - Global Open e1738 (2018).
                                             5


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complication rate among transgender men of between 11% -12%,6 in comparison to the

complication rate of 43% for cisgender women undergoing breast reduction shown in a

2005 study. 7 Likewise, in a systematic review of cisgender women undergoing nipple-

sparing mastectomy and immediate breast reconstruction using breast implants and

acellular dermal matrix the complication rates include: 11% skin necrosis, 5% nipple

necrosis, 12% infection, 1% hematoma, 5% seroma, 4% explantation, and 9% unplanned

return to the operating room. 8 Similarly, in a study which queried the American College

of Surgeons National Surgical Quality Improvement database from 2006-2017 regarding

augmentation mammaplasty in 1,360 cisgender and transgender individuals, “the rates of

all-cause complications were low in both cohorts, and differences were not significant”

(1.6% for transgender women versus 1.8% for cosmetic breast augmentation).9




6
  M.G. Berry et al., Female-To-Male Transgender Chest Reconstruction: A Large
Consecutive, Single-Surgeon Experience, 65 Journal of Plastic, Reconstructive &
Aesthetic Surgery 711-719 (2012).; Cori A. Agarwal et al., Quality of Life Improvement
After Chest Wall Masculinization in Female-To-Male Transgender Patients: A
Prospective Study Using the BREAST-Q and Body Uneasiness Test, 71 Journal of Plastic,
Reconstructive & Aesthetic Surgery 651-657 (2018).
7
  Bruce L. Cunningham et al., Analysis of Breast Reduction Complications Derived from
the BRAVO Study, 115 Plastic and Reconstructive Surgery 1597-1604 (2005).
8
  Lene Nyhøj Heidemann et al., Complications following Nipple-Sparing Mastectomy and
Immediate Acellular Dermal Matrix Implant-based Breast Reconstruction—A Systematic
Review and Meta-analysis, 6 Plastic and Reconstructive Surgery - Global Open e1625
(2018).
9
  Nicholas G. Cuccolo et al., Epidemiologic Characteristics and Postoperative
Complications following Augmentation Mammaplasty: Comparison of Transgender and
Cisgender Females, 7 Plastic and Reconstructive Surgery - Global Open e2461 (2019).
                                            6


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        14.   Additionally, complication rates for vaginoplasties in transgender women

are commensurate to rates of complications for cisgender women undergoing vaginal or

vulvar reconstruction for medical conditions (e.g., cancer). 10

        15.   Dr. Lappert asserts that distinguishing “cosmetic breast surgery from

‘medically indicated’ surgery is based upon the diagnosis of the underlying pathology.”

Lappert. Decl. at 38. Dr. Lappert fails to acknowledge that breast augmentation or




10
   For example, a 2018 study looking at complications and patient reported outcomes in
3716 cases of male-to-female vaginoplasty found complications rates of 2% fistula, 14%
stenosis and strictures, 1% tissue necrosis, and 4% prolapse with patient-reported
satisfaction of 93% (overall results). See Oscar J. Manrique et al., Complications and
Patient-Reported Outcomes in Male-to-Female Vaginoplasty—Where We Are Today, 80
Annals of Plastic Surgery 684-691 (2018). An additional 2018 study published in the
Journal of Urology evaluated 330 patients presenting for primary vaginoplasty. The
overall complication rate in this study was 28.7%. Thomas W. Gaither et al.,
Postoperative Complications following Primary Penile Inversion Vaginoplasty Among
330 Male-to-Female Transgender Patients, 199 Journal of Urology 760-765 (2018). In
comparison, studies examining complication rates in cisgender women undergoing
vaginal and vulvar reconstruction demonstrate complication rates ranging as high as 61%.
Melissa A. Crosby et al., Outcomes of Partial Vaginal Reconstruction with Pedicled
Flaps following Oncologic Resection, 127 Plastic and Reconstructive Surgery 663-669
(2011). And additional studies demonstrate complication rates for cisgender women of
22.3%-26.7% for flap-related complications and between 7%-22% for donor site and
flap-related complications. See Violante Di Donato et al., Vulvovagional Reconstruction
After Radical Excision From Treatment of Vulvar Cancer: Evaluation of Feasibility and
Morbidity of Different Surgical Techniques, 26 Surgical Oncology 511-521 (2017). (flap-
related complications); Adrian McArdle et al., Vaginal Reconstruction Following Radical
Surgery for Colorectal Malignancies: A Systematic Review of the Literature, 19 Annals
of Surgical Oncology 3933-3942 (2012).(donor site and flap-related complications).
Additional studies reviewing reconstruction of congenital deformities found complication
rates as high as 57%. H. P. Versteegh et al., Postoperative Complications After
Reconstructive Surgery for Cloacal Malformations: A Systematic Review, 19 Techniques
in Coloproctology 201-207 (2015).
                                              7


     Case 1:19-cv-00272-LCB-LPA Document 181-1 Filed 12/20/21 Page 218 of 590
mastectomy may be medically indicated for the treatment of gender dysphoria. 11 The

medical community and insurance providers recognize a distinction between plastic

surgery that is cosmetic and reconstructive plastic surgery that is medically necessary.

No particular surgery is inherently cosmetic or inherently reconstructive; rather, the

underlying diagnosis determines whether the procedure is considered cosmetic or

reconstructive. Gender-confirming surgeries are not cosmetic surgeries because, when

performed in accordance with the Standards of Care, they are clinically indicated to treat

the medical condition of gender dysphoria. The professional medical consensus

recognizes that these are appropriately categorized as reconstructive procedures. In a

study published in 2019 by Miller, et al., 100% of transgender women who underwent

breast augmentation reported improvement in their gender dysphoria and “would undergo

the operation again.” 12

        16.   Dr. Lappert appears to argue that gender-confirming surgery cannot be

considered medically necessary because it operates on physiologically healthy tissue and

because it promotes a patient’s psychological wellbeing. Lappert Decl. at 35. But

neither of those things is unique to gender-confirming surgery. Surgeons can operate on

physiologically healthy tissue in order to prevent disease. The most obvious example is

prophylactic mastectomy for cisgender women who are carriers of one of the BRCA


11
   Dr. Lappert incorrectly refers to breast growth in transgender women as
“gynecomastia.” Gynecomastia refers to enlargement of the male breast, not to breast
growth in transgender women.
12
   Travis J. Miller et al., Breast Augmentation in Male-to-Female Transgender Patients:
Technical Considerations and Outcomes, 21 JPRAS Open 63-74 (2019).
                                             8


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genes. Women may choose to undergo elective removal of their breasts (presumably

normal and non-cancerous) so as to reduce their risk of developing cancer. For the same

reason, women with a genetic or hereditary disposition to ovarian cancer may similarly

choose to undergo prophylactic oophorectomy, which is sterilizing.

        17.   Dr. Lappert misunderstands that gender dysphoria is a medical condition

for which there are medical and surgical treatments. While plastic surgeons may

encounter individuals with mental health conditions, such as body dysmorphic disorder,

surgery for this condition is highly ineffective. This is in contrast to surgery as treatment

for gender dysphoria; where medically indicated, surgical procedures for gender

dysphoria are both safe and medically effective.

        18.   Additionally, reconstructive surgery often has the additional benefit of

promoting and improving a patient’s quality of life and well-being; which is often a

component of medically necessary care. Indeed, aside from the primary purpose of

alleviating or reducing a patient’s gender dysphoria, gender confirmation surgery also has

been demonstrated to have other salutary effects, such as improving quality of life and

reducing negative health outcomes. In a prospective study utilizing a validated quality of

life assessment tool, Alcon, et al. demonstrated significant improvements in quality of

life up to 1 year following chest surgery.13 The authors indicated that “the effect sizes



13
  Loren S. Schechter, Discussion: Quantifying the Psychosocial Benefits of
Masculinizing Mastectomy in Trans Male Patients with Patient-Reported Outcomes: The
University of California, San Francisco, Gender Quality of Life Survey, 147 Plastic &
Reconstructive Surgery 741e-742e (2021).
                                              9


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were large and…exhibited excellent internal validity.” The authors report that “every

patient surveyed at 1 year reported that gender-affirming surgery changed their life for

the better” and that, “every patient surveyed after surgery said they would choose it

(surgery) again knowing what they know.” In addition, in a 2006 study published in

Quality of Life Research, Newfield, et al. found that, “Chest reconstruction not only

enhances the FTM transgender identity, increases self-esteem, and improves body image,

but provides some security and safety for those who remove their shirts in public areas,

such as gyms or beaches. Those who had received top surgery reported higher QOL

(quality of life) scores than those who had not received surgery, statistically significant

findings (p<0.01) for the General Health, Social Functioning, and all three mental health

concepts.” 14

        19.     The overwhelming majority of patients who obtain gender confirmation

surgery in a manner consistent with the Standards of Care are both satisfied and

experience a reduction of gender dysphoria. For the vast majority of transgender people

who seek such surgery, the surgery is successful at alleviating and/or reducing gender

dysphoria and alleviating a lifelong struggle to find peace of mind and comfort with their

bodies.

        B.      Medically Necessary Care to Treat Gender Dysphoria is Not
                Experimental

        20.     It is my professional medical opinion that the contention of Drs. Lappert,


14
  Emily Newfield et al., Female-to-Male Transgender Quality of Life, 15 Quality of Life
Research 1447-1457 (2006).
                                              10


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Levine, Hruz, and McHugh that gender-confirming surgeries are experimental is

unsupported by the professional medical consensus and prevailing standards of care for

treating gender dysphoria, and is inconsistent with mainstream medical standards. To the

contrary, the prevailing consensus of the medical community recognizes that procedures

used to treat gender dysphoria are reconstructive, not experimental, and are medically

necessary.

       21.    Surgical care is not considered experimental when it uses accepted

techniques and has demonstrative benefits. The techniques used in gender-affirming care

are employed in other surgeries and are well-established. For example, urethroplasties,

orchiectomies, skin grafts, and mastectomies are all accepted techniques for congenital,

oncological, and traumatic conditions. They are not experimental simply because they

are applied to the well-established diagnosis of gender dysphoria.

       22.    Gender-affirming surgery has been performed for decades, utilizes accepted

surgical techniques, and yields demonstrated benefits for patients. In addition, gender-

affirming surgeries are: 1) part of the core curriculum in plastic surgery resident

education; and 2) a component of both the written and oral board exams in plastic

surgery. I have given presentations at multiple professional societies, and none of them

consider gender-affirming surgery experimental. In the disclosures required to give

presentations of this kind there is no requirement that they be called experimental. It is




                                             11


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widely accepted by professional surgical societies that gender-affirming surgeries are not

experimental. 15

        23.   Finally, Dr. Lappert also discusses that the use of hormone therapy to treat

transgender patients has not yet been approved by the FDA. Lappert Decl. at 20. But

this also says nothing about surgical care, since the FDA does not regulate surgery.

        C.    Quality of Evidence

        24.   The quality of the evidence supporting gender-affirming surgeries is

comparable to that supporting many surgeries and clinical procedures. While

prospective, randomized, double-blind, placebo-controlled studies are the gold standard,

they cannot be used to evaluate many clinical procedures. There are simply inherent

limitations to our ability to conduct such studies in clinical medicine. First, it is unethical

to withhold medically necessary care. As such, in many situations, clinicians cannot

conduct a study that uses a control group who is deprived of the treatment being studied.

Practice guidelines published in 2013 by the Royal College of Psychiatrists indicated that

a randomized controlled study to evaluate feminizing vaginoplasty would be “impossible

to carry out.” 16 For these reasons, and the fact that we do not perform gender-affirming

surgery on children, it is particularly unsurprising that “[n]o studies show that affirmation

of children (or anyone else) reduces suicide, prevents suicidal ideation, or improves long-


15
   Also, in his assertion that “affirmation treatments are currently experimental,” Dr.
Lappert erroneously refers to HIV infection as a “psychosocial” condition rather than a
medical condition.
16
   Good Practice Guidelines for the Assessment and Treatment of Adults with Gender
Dysphoria, Royal College of Psychiatrists 1-59 (2013).
                                              12


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term outcomes, as compared to either a ‘watchful waiting’ or a psychotherapeutic model

of response.” Levine Decl. ¶ 75; see also Lappert Decl. ¶ 14. The withholding of

medically necessary care that would be required for such a comparison would be

considered unethical.

       25.    It is not possible to perform a double-blind study of surgeries that modify

body parts, nor is there a placebo that can mimic such a surgery – unlike studies that use

placebo drug regimens, for example, people will know if they have had an operation or

not. For relatively uncommon conditions like gender dysphoria, sample sizes of

individuals with the condition who are available to participate in a clinical study tend to

be small. This is especially true where treatment for a condition has not been covered by

insurance programs and plans, and where additional barriers (such as ongoing

stigmatization) prevent patients from accessing care. That very lack of access to the

procedure results in there being fewer people who have received treatment and who can

participate in a prospective study of that treatment’s effect.

       26.    Put simply, the scientific literature pertaining to gender-affirming surgical

interventions is similar to that of other accepted plastic surgery procedures. The

recommendation for ongoing research is a standard recommendation in many, if not most

or all clinical scenarios. This recommendation for ongoing study in a particular clinical

area does not mean that surgical care is withheld.




                                             13


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       D.     Misrepresentation of the Literature on Medical Necessity, Safety, and
              Effectiveness

       27.    The overwhelming weight of the scientific and medical literature supports

the benefits of gender-affirming surgical interventions. Gender-affirming interventions

have been performed for decades, and the safety and efficacy of these procedures have

been reported by multiple surgeons practicing at different institutions in different

countries and continents. Dr. Lappert fails to acknowledge this literature, referencing

instead several non-scientific sources to support his opinions. As a few representative

examples, he relies on an article published in The New Atlantis (Lappert Decl. at 12-13),

a journal whose own website specifically says that it is “not an academic journal”; and a

Canadian website (https://genderreport.ca) which does not represent a professional

medical or scientific organization.

       28.    Drs. Lappert, Levine, and Hruz all cite a study by Dhejne, et al. to imply

that because individuals who received gender confirming surgeries had higher morbidity

and mortality rates compared to the general population, the surgeries are not effective.

Lappert Decl. ¶ 20; Levine Decl. ¶ 74; Hruz Decl. ¶ 58. They appear to misunderstand

that study. First, the study itself clearly states that it is not intended to evaluate whether

gender-affirming surgeries are “an effective treatment or not.” Second, those who

receive medically necessary surgery generally have reduced morbidity and mortality

compared to those with the same condition who do not, even if morbidity and mortality

for both groups is higher than average. Third, the study includes patients who had


                                              14


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surgery prior to the development of the current standards of care. Finally, the fact that

gender confirming surgeries do not entirely resolve all possible causes of morbidity and

mortality among transgender individuals is completely unsurprising. While surgery can

treat gender dysphoria by aligning transgender people’s bodies with their gender identity,

surgery alone cannot fully eliminate the stigma and discrimination that transgender

people face. Moreover, it is rare for any surgery to eliminate morbidity and mortality.

For example, people who have surgery to remove a cancerous tumor may still experience

higher rates of morbidity and mortality than the general population, but that does not

mean that they should not undergo the surgery. In addition, individuals suffering from

other medical conditions (including chronic conditions and traumatic injuries such as

burns) are also at elevated risk of suicide. The increased risk of suicide does not preclude

treatment of burn patients. 17

        29.   For instance, one study cited by Dr. Levine concluded that gender-

affirming surgeries “may reduce psychological morbidity for some individuals while

increasing it for others.” 18 The fact that surgery does not always reduce morbidity for

everyone who receives it does not mean that the surgery is not safe or effective,

particularly given the number of potential confounding factors that can impact morbidity.

Similarly, the continued existence of elevated morbidity and mortality rates, compared to


17
   Sheera F Lerman et al., Suicidality After Burn Injuries: A Systematic Review, 42
Journal of Burn Care & Research 357-364 (2021).
18
   Rikke Kildevæld Simonsen et al., Long-Term Follow-up of Individuals Undergoing
Sex Reassignment Surgery: Psychiatric Morbidity and Mortality, 70 Nordic Journal of
Psychiatry 241-247 (2016).
                                             15


     Case 1:19-cv-00272-LCB-LPA Document 181-1 Filed 12/20/21 Page 226 of 590
the population at large, say nothing about whether a treatment is a safe and effective way

to treat a particular condition. Similarly, in a study regarding “quality of life and patient

satisfaction in adults treated for a cleft lip and palate,” Kappen, et al. found that although

some study participants “had accepted their diagnosis they were not entirely satisfied

with their treatment outcome. These participants were still thinking about a possible

correction in the future, occasionally inquired about new treatment options, and/or had to

weigh the risk of complications or adverse outcomes against the (minor) benefits of

surgery.” The authors also state that, “Two patients … still had difficulties coping …

Both were psychologically affected at the time of interview: one was coping with

depression, while the other was experiencing a mild form of generalized anxiety.”

Additionally, four patients sought “professional psychological help …”19 But that does

not suggest that withholding medically necessary care is appropriate for those patients,

any more than it is for transgender people.

        30.   Dr. Lappert conflates various treatments options (i.e., pubertal suppression

in adolescents, hormone therapy, gender-affirming surgeries) in a wide range of clinical

scenarios (i.e., treatment of children, treatment of adolescents, treatment of adults, etc.).

As with many areas of medicine, treatment options may differ depending upon the unique

circumstances of the individual seeking care. The Center for Study of Inequality at

Cornell University conducted a systematic review of all peer-reviewed articles published


19
  Isabelle F. P. M. Kappen et al., Quality of Life and Patient Satisfaction in Adults
Treated for a Cleft Lip and Palate: A Qualitative Analysis, 56 The Cleft Palate-
Craniofacial Journal 1171-1180 (2019).
                                              16


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in English between 1991 and June 2017. 20 93% of the studies “found that gender

transition improves the overall well-being of transgender people…” Only 7% of the

studies reported “mixed or null findings.” In addition, no studies concluded that gender

transition causes overall harm.

        E.    Informed Consent

        31.   Dr. Lappert asserts that “informed consent is not yet possible” for surgical

treatments to treat gender dysphoria because of the purported insufficiency of the

evidence supporting this care. Lappert Decl. at 18. Gender-affirming surgical

procedures, however, have been shown beneficial by multiple surgeons, in multiple

countries, over decades. The risks of gender-affirming surgical procedures are well-

known and well-described in the literature. 21 Additionally, because analogous surgical

techniques have long been used to treat other underlying diagnoses, the risks of these

techniques are well-understood.

        32.   The Standards of Care specifically discuss the obligation of the surgeon to

obtain informed consent and recommend mental health assessments prior to these gender-

affirming surgical interventions. The options, including the potential complications, and



20
   What does the scholarly research say about the effect of gender transition on
transgender well-being? What We Know (2021),
https://whatweknow.inequality.cornell.edu/topics/lgbt-equality/what-does-the-scholarly-
research-say-about-the-well-being-of-transgender-people/.
21
   See, e.g., Loren S. Schechter, The Surgeon's Relationship with the Physician
Prescribing Hormones and the Mental Health Professional: Review for Version 7 of the
World Professional Association for Transgender Health's Standards of Care, 11
International Journal of Transgenderism 222-225 (2009).
                                            17


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risks and benefits of each, are discussed with patients. For adolescents, these discussions

include the caregiver or parents who must consent as well.

       33.    The process of securing informed consent is done in a multidisciplinary

way. One component of the preoperative mental health evaluation is an assessment of

the individual’s ability to provide informed consent. This represents a clinical standard

which exceeds the threshold to perform many other types of surgical interventions,

including those that are sterilizing.

       34.    Dr. Lappert also suggests that informed consent is ineffective because it

does not involve discussion of effects of the surgery on, for example, relationships with

others. Lappert Decl. at 28. Setting aside Dr. Lappert’s disparaging suggestion that

transgender people who have received care will experience an “inability to form healthy

romantic relationships and attract a desirable mate” (id.), the fact that surgery can affect

multiple domains of a person’s life is not unique to gender-affirming surgery. For

example, an oophorectomy may cause hot flashes and mood swings and affect one’s

romantic life, but there is no requirement that cisgender women see a mental health

professional before obtaining that care. In contrast, transgender people are subject to a

higher standard because they are required to seek mental health care before accessing the

same kinds of surgical procedures.

              1.      Fertility Counseling

       35.    As discussed in the Standards of Care, individuals are counseled as to

fertility-preserving options prior to undergoing sterilizing procedures. Individuals make

                                             18


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decisions regarding interventions that affect fertility in a variety of clinical circumstances.

These include procedures such as vasectomy, tubal ligation, and oophorectomy (whether

for cancer or as a risk-reduction strategy). In the case of gender-affirming surgery, not

only does the surgeon discuss the issue of fertility prior to surgery, individuals typically

address this with their medical and/or mental health professionals as well. Once again,

individuals seeking gender-affirming surgical interventions must meet a higher standard

as compared to individuals undergoing sterilizing procedures for diagnoses or reasons

other than gender dysphoria.

              2.     Co-Occurring Diagnoses

       36.    Dr. Lappert suggests that patients with co-occurring mental illness “cannot

be considered competent to consent for any form of surgery.” Lappert Decl. at 51. That

position is not supported by any evidence. Co-occurring mental health conditions are not

uncommon in patients who need surgery, including patients with gender dysphoria,

which the Standards of Care recognize. The Standards of Care specifically indicate the

importance of mental health assessments prior to surgery, as well as the importance of a

multi-disciplinary and collaborative approach between surgeons, mental health

professionals, and primary care providers. See Standards of Care at 56-57. Working in

this interdisciplinary way, surgeons determine if a patient has any medical or mental

health conditions that could affect their suitability for surgery or complicate their

recovery after surgery. See Standards of Care at 59.




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       37.    Patients with co-occurring mental health conditions, such as depression,

anxiety, substance use disorder, and post-traumatic stress disorder, regularly and

appropriately assent to surgical care. Generally, these conditions do not prevent patients

from understanding the procedure, the risks and complications of the procedure, and the

benefits that they can reasonably expect to achieve from surgery.

       38.    With regard to gender-affirming surgical interventions, not only does the

surgeon assess the ability of the individual to provide informed consent, but the

individual also undergoes a preoperative assessment by a mental health professional. As

mentioned above, this actually requires those seeking gender-affirming surgical

interventions to meet a higher standard as compared to individuals seeking surgical

interventions for diagnoses other than gender dysphoria.

       39.    Dr. Lappert also ignores the health risks and complications that can arise

from withholding surgical care, including worsening gender dysphoria; anxiety;

depression; and self-harm, suicide attempts, and suicide.

       F.     “Error Rates”

       40.    The term “error rate” used by Drs. Lappert, Levine, Hruz, and McHugh is

not a term typically used in medical science. Lappert Decl. at 22; Levine Decl. ¶ 65;

Hruz ¶ 82; McHugh at 14. To the extent Dr. Lappert intends to refer to rates of

complications or regret, rates of complications are regularly discussed in medical




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literature on treatments for gender dysphoria. Rates of regret for procedures among

individuals with gender dysphoria remain extremely low. 22

        41.   Dr. Lappert expresses concerns that transgender patients may suffer

“desistance or regret.” Lappert Decl. at 21. To demonstrate that transgender patients

experience regret from gender confirming surgery, Dr. Lappert cites the work of Dr.

Miroslav Djordjevic regarding his experience with patients seeking “reversal of their sex

reassignment surgeries.” But those patients all received surgery without following the

Standards of Care. Dr. Lappert’s cites other sources, such as an unspecified “online

community of young women who have desisted” and a YouTube source (Lappert Decl. at

22), but those are not medical or scientific sources. In fact, all available scientific

research indicates that reports of regret are extremely low when gender confirming

surgery is provided in accordance with the Standards of Care. 23

        42.   Drs. Lappert, Levine, and Hruz suggest that gender confirming surgery is

not safe and effective because some patients could later regret their transition and the

procedure. See, e.g., Lappert Decl. at 21-22; Levine Decl. at 76-77; Hruz Decl. at 86.

Dr. Lappert offers only anecdotal support for his opinion and cites the anonymous social

media site, Reddit. See Lappert Decl. at 21-22. Dr. Levine points to his own experience



22
   Sasha Karan Narayan et al., Guiding the Conversation—Types of Regret After Gender-
Affirming Surgery and Their Associated Etiologies, 9 Annals of Translational Medicine
605-616 (2021).
23
   Chantal M. Wiepjes et al., The Amsterdam Cohort of Gender Dysphoria Study (1972–
2015): Trends in Prevalence, Treatment, and Regrets, 15 The Journal of Sexual Medicine
582-590 (2018).
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working with “multiple individuals who have abandoned trans female identity after living

in that identity for years,” Levine Decl. ¶ 95, and vague references to stories on the

internet. That Dr. Levine states that he has seen this happen several times in almost 40

years does not mean that it is a common occurrence among transgender individuals

generally or among those who have received gender confirming surgery. All available

research—as well as my own clinical experience—indicates that very few patients

experience regret when gender confirming surgery is provided in accordance with the

WPATH SOC and by a qualified surgeon. Regret of any kind is rare (0.6% in

transgender women and 0.3% in transgender men), 24 but “true regrets,” as opposed to

regrets due to lack of social or familial acceptance, comprise an even smaller percentage

(approximately half this group, roughly 0.3% in transgender women and 0.15% in

transgender men). 25 Having performed gender confirming surgeries for over 20 years, I

have never had a patient request a reversal of male chest reconstruction.

        43.   In a recent study I co-authored regarding regret following gender-affirming

surgery, Narayan, et al. queried 154 surgeons surgically treating between 18,125 to




24
  Id.
25
  Id. at 585, 587 (researchers classified “social regrets” as those experienced by
individuals who still identified as transgender women, but reported feeling “ignored by
surroundings” or regretted loss of relatives,” and classified “true regrets” as those
experienced by individuals who “thought gender affirming treatment would be a
‘solution’ for, for example, homosexuality or [lack of] personal acceptance, but, in
retrospect, regretted the diagnosis and treatment”).
                                             22


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27,325 individuals. 26 The rate of regret was found to be between 0.2-0.3%, consistent

with previous literature.

        44.      Moreover, issues pertaining to regret following surgical procedures are not

limited to gender-affirming surgical interventions.27 Some cisgender women experience

regret following breast reconstruction (40%), some cisgender women (6%) expressed

regret following prophylactic mastectomy and prophylactic oophorectomy (7%).

              G. Patient Self-Reporting

        45.      Dr. Lappert claims that gender-confirming surgeries are based on “nothing

more than unverified self-reports.” Lappert Decl. at 15. Dr. Lappert misrepresents the

preoperative process and multidisciplinary assessment that occurs prior to gender-

affirming surgical interventions.28

        46.      Dr. Lappert’s statements demonstrate a lack of familiarity with both the

process of diagnosis done by mental health professionals before the transgender patient is



26
   Sasha Karan Narayan et al., Guiding the Conversation—Types of Regret After Gender-
Affirming Surgery and Their Associated Etiologies, 9 Annals of Translational Medicine
605-616 (2021).
27
   Toni Zhong et al., Decision Regret Following Breast Reconstruction: The Role of Self-
Efficacy and Satisfaction With Information in the Preoperative Period, 132 Plastic and
Reconstructive Surgery 724e-734e (2013).; Leslie L. Montgomery et al., Issues of Regret
in Women With Contralateral Prophylactic Mastectomies, 6 Annals of Surgical
Oncology 546-552 (1999).; Elizabeth M. Swisher et al., Prophylactic Oophorectomy and
Ovarian Cancer Surveillance, 46 The Journal of Reproductive Medicine 87-94 (2001).
28
   See the Standards of Care; Loren S. Schechter, The Surgeon's Relationship with the
Physician Prescribing Hormones and the Mental Health Professional: Review for
Version 7 of the World Professional Association for Transgender Health's Standards of
Care, 11 International Journal of Transgenderism 222-225 (2009).(now International
Journal of Transgender Health).
                                               23


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eligible for surgery, and also the role and responsibility of the surgeon in providing this

care.

        47.   The surgeon receives in writing one or more assessments of the patient’s

diagnosis and medical necessity of the care by one or more mental health professionals,

as required for the relevant procedure under the Standards of Care. But that is only one

step in the assessment for surgical interventions. Contrary to Dr. Lappert’s suggestions,

the surgeon remains ultimately responsible for deciding whether a particular surgical

intervention is medically indicated. The surgeon evaluates the patient and makes the

final decision about whether it is safe and medically indicated to proceed. This includes

an evaluation of the patient’s understanding of the condition, their self-awareness, and

their goals and expectations for the intervention. The surgeon also evaluates other factors

that would affect the patient’s fitness for the surgery, such as obesity or smoking, and

determines whether additional studies might be required, such as x-rays or laboratory

work. The surgeon also typically obtains an assessment from their primary care

physician about their overall health. In my own clinical practice, I have had occasion to

decline to perform a requested intervention based on my exercise of professional

judgment.

III.    MEDICAL ASSOCIATIONS

        A.    WPATH is a Professional Medical Association

        48.   Drs. Lappert, Levine, and Hruz all attempt to discount the broad medical

consensus that gender confirming surgeries are medically necessary by claiming that

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WPATH is an “advocacy organization” and not a professional one. See Lappert Decl. at

41; Levine Decl. ¶ 47; Hruz Decl. at 100. First, most medical associations and societies

engage in advocacy on behalf of health care professionals, their patients, and their

medical specialty generally. For example, the Endocrine Society – of which Dr. Hruz is a

member – describes itself as devoted to “advocating on behalf of the global

endocrinology community,” including patients with endocrine conditions. Endocrine

Soc’y, Who We Are, https://www.endocrine.org/about-us; see also Endocrine Soc’y,

Advocacy, https://www.endocrine.org/advocacy, Endocrine Soc’y, Shaping Healthcare

and Research Policy, https://www.endocrine.org/our-community/shaping-healthcare-and-

research-policy. Similarly, the American Society of Plastic Surgeons uses advocacy “to

support its members in the provision of excellent patient care.” Am. Soc’y of Plastic

Surgeons, About ASPS, https://www.plasticsurgery.org/about-asps. Far from being

unique, engaging in advocacy is the norm among professional medical associations. See,

e.g., Am. Medical Ass’n, Health Care Advocacy, https://www.ama-assn.org/health-care-

advocacy; Am. Psychiatric Ass’n, Make a Difference Through APA Advocacy,

https://www.psychiatry.org/psychiatrists/advocacy; Am, Acad. of Pediatrics, Advocacy,

https://services.aap.org/en/advocacy/.

       49.    Drs. Lappert, Hruz, Levine, and McHugh also mischaracterize the role of

voting in professionals societies. See, e.g., Lappert Decl. at 10-11, Hruz Decl. at 26-27,

Levine Decl. at 47, McHugh Decl. at 14. As described above, voting on a society’s

position regarding a medical issue is typically done after a review of the medical

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literature. Votes allow members to express their medical and scientific opinions –

promoting robust debate, and ensuring that these societies’ positions are reflective of a

broad range of scientific views, rather than a top-down decision by a single person.

       50.    WPATH has transgender members who are licensed professionals in the

wide range of specialties associated with transgender health as well as transgender

members who bring the voice of the community into the organization. This is analogous

to other professional societies, such as The American Burn Association, in which

firefighters may be members. See https://ameriburn.org/ (The American Burn

Association website).

       51.    The presence and participation of transgender people in WPATH in no way

restricts “honest, methodologically competent scientific debate” among professionals.

Cf. Levine Decl. ¶ 47. To the contrary, it enriches the discussion of important topics, just

as the participation of patients and patient support groups does during discussions at

conferences for other professional societies to which I belong. Having transgender

members is vital to WPATH and the development of the Standards of Care, but notably,

voting privileges are limited to members who are professionals. Thus, the implication

that the participation of transgender members degrades WPATH’s scientific integrity or

impartiality has no merit. Moreover, in conjunction with WPATH’s biennial conference,

it hosts a meeting that is limited to surgeons and healthcare professionals directly

involved in surgical care (a meeting that I started at the 2007 WPATH Biennial meeting

in Chicago and continue to organize and participate in at each of the subsequent

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meetings). During the meeting, surgeons openly discuss a wide range of issues, including

surgical techniques and ethical questions.

       B.     Every Major Medical Organization Supports the Current Standards of
              Care

       52.    Drs. Lappert, Levine, Hruz, and McHugh ignore that every relevant

medical and behavioral health association agrees that gender-confirming care is a

medically necessary treatment for individuals with gender dysphoria. See, e.g., Schechter

Report ¶ 24 (noting that the American Medical Association, American Psychological

Association, American Psychiatric Association, American College of Obstetricians and

Gynecologists, American Academy of Family Physicians, and World Health

Organization recognize gender confirming surgeries as standard, appropriate, and

necessary treatments for gender dysphoria); see also Am. Psychological Ass’n,

Guidelines for Psychological Practice With Transgender and Gender Nonconforming

People (2015), https://www.apa.org/practice/guidelines/transgender.pdf; Am. Psychiatric

Ass’n, A Guide for Working With Transgender and Gender Nonconforming Patients

(2017), https://www.psychiatry.org/psychiatrists/cultural-competency/education/

transgender-and-gender-nonconforming-patients.

       53.    The complaints by Drs. Lappert, Levine, Hruz, and McHugh that

WPATH’s Standards of Care are developed through a consensus process among its

members are curious, at best. WPATH members have dedicated a significant portion of,

if not their entire professional careers, to advancing the health and wellbeing of


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transgender people. That level of expertise is essential in creating a standard-setting

document.

       C.     Clinical Guidelines are Typically Determined Through Literature
              Review and Expert Testimony

       54.    Based on my review of Dr. Lappert’s declaration, it appears that he has

fundamental and severe misunderstanding of how the standards of care are developed. I

have served as chairman on prior committees that have drafted clinical guidance. In

2011, I helped to co-write the reduction mammaplasty clinical guidelines. The

establishment of clinical guidelines process involves:

       x Careful evaluation of the relevant medical and scientific peer-reviewed
         literature.
       x Testimony from experts in the relevant field.
       x Disclosure of conflicts of interest.

       55.    Contrary to Dr. Lappert’s assertions, the Standards of Care are the result of

careful and deliberate reviews of the relevant medical and scientific literature and expert

testimony. Experts in the field often serve as author or co-author on practice guidelines –

including, for example, practice guidelines in other areas of plastic surgery, such as for

reduction mammaplasty – and that poses no inherent conflict of interest. To the contrary,

it would make no sense to exclude the providers who actually perform the care for which

the guidelines are developed. Professional societies and organizations have mechanisms

to address and mitigate potential or perceived conflicts. It is unreasonable to assume that

individuals without expertise in a field of study would be asked to author professional

guidelines.

                                             28


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        56.   Review of guidelines is a constant revision process based on the latest

available evidence. 29 There is no area of medicine where there is complete and absolute

knowledge where no further research is needed.

        I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

        Executed this 29th day of May, 2021.




                                                        Loren S. Schechter, M.D.




29
  Indeed, in keeping with that sentiment and years after Dr. McHugh forced the closure
of the transgender clinic at John Hopkins University, John Hopkins has now established a
new Center for Transgender Health that “offers comprehensive, evidence-based and
affirming care for transgender youth and adults that is in line with the standards of care
set by the World Professional Association for Transgender Health (WPATH).” The care
offered is interdisciplinary and includes gender-affirming surgeries, hormone treatment,
and mental health.
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                            CERTIFICATE OF SERVICE
      I hereby certify that on June 1, 2021, I caused a copy of the foregoing document

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                   Exhibit %




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      Sexual Medicine, from the Karolinska University Hospital in Sweden. I’m here to
      talk about transgender health, suicide rates, and my often misinterpreted study.
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58.   What does the scholarly research say about the effect of gender transition on
      transgender well-being? What We Know (2021),
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      American Society of Plastic Surgeons 269-271 (2019).

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      (1972–2015): Trends in Prevalence, Treatment, and Regrets, 15 The Journal of
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      https://www.wpath.org/about/mission-and-vision.

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      Self-Efficacy and Satisfaction With Information in the Preoperative Period, 132
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              Exhibit 24(c)




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                              Curriculum Vitae


 NAME:                  LOREN SLONE SCHECHTER, MD, FACS

 OFFICE:                4700 Marine Dr.
                        Suite 515
                        Chicago, Il 60640
                        Tel: 847.967.5122
                        Fax: 847.967.5125

 E-MAIL:                lss@univplastics.com
 WEB SITE:              www.univplastics.com
                        www.plasticsurgery.org/md/DRLOREN.htm

 BIRTHDATE:             August 14, 1968
 BIRTHPLACE:            Galveston, Texas
 MARITAL STATUS:        Married
 SPOUSE:                Rebecca Brown Schechter, MD
 CHILDREN:              Owen Slone Schechter
                        Miles Slone Schechter

 CERTIFICATION:         The American Board of Plastic Surgery         2001
                        Certificate Number 6271
                        Date Issued: September 2001
                        Maintenance of Certification:                 2011

 EDUCATION:
 1986-1990              The University of Michigan                    BS, 1990
 1990-1994              The University of Chicago                     MD, 1994
                        Pritzker School of Medicine

 POSTGRADUATE TRAINING:
 Residency:          The University of Chicago Hospitals              1994-1999
                     Coordinated Training Program in
                     Plastic and Reconstructive Surgery
 Chief Resident:     The University of Chicago Hospitals              1998-1999
                     Section of Plastic and Reconstructive
                     Surgery
 Fellowship:         Reconstructive Microsurgery                      1999-2000
                     The University of Chicago Hospitals
                     Section of Plastic and Reconstructive
                     Surgery

 TEACHING APPOINTMENT:



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                        Professor of Surgery, Chief Section of Gender-
                        Affirmation Surgery, Rush University Medical
                        Center-In Process

                        Clinical Professor of Surgery, The University of
                        Illinois at Chicago-resigned to accept position
                        at Rush University

                        Adjunct Assistant Professor, Dept. of Surgery,
                        Rush University Medical Center

                        Associate Professor, Physician Assistant Program,
                        College of Health Professionals, Rosalind
                        Franklin University

 LICENSURE:             Illinois
                        Illinois Controlled Substance
                        DEA

 STAFF APPOINTMENTS:
                        University of Illinois at Chicago Hospital
                        Rush University Medical Center
                        Advocate Lutheran General Hospital
                        Louis A. Weiss Memorial Hospital
                        Illinois Sports Medicine and Orthopedic Surgery Cente

 HONORS AND AWARDS:
 2020                   The University of Minnesota Program in Human
                        Sexuality, recipient of 50 Distinguished Sexual
                        and Gender Health Revolutionaries
 2017-2020              Castle Connolly Top Doctor (Chicago)
 2017                   Chicago Consumer Checkbook Top Doctor
 2015                   University of Minnesota Program in Human
                        Sexuality Leadership Council
 2014-2015              Rosalind Franklin University of Medicine and
                        Science Chicago Medical School Honors and
                        recognizes for dedication and commitment to
                        teaching
 2014                   National Center for Lesbian Rights honored guest
 2013                   Illinois State Bar Association Award for
                        Community Leadership
 2010                   Advocate Lutheran General 2009 Physicians
                        Philanthropy Leadership Committee-Outstanding
                        Leadership
 2009                   Advocate Lutheran General Hospital Value Leader
                        (received for compassion)
 1994                   Doctor of Medicine with Honors
 1994                   University of Chicago Department of
                        Surgery Award for Outstanding
                        Performance in the Field of Surgery
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 1994                   Catherine Dobson Prize for the Best Oral
                        Presentation Given at the 48th
                        Annual Senior Scientific Session in
                        The Area of Clinical Investigation
 1993                   Alpha Omega Alpha
 1991                   University of Chicago National Institutes
                        Of Health Summer Research Award
 1990                   Bachelor of Science with High Distinction
                        And Honors in Economics
 1990                   James B. Angell Award for Academic Distinction
 1989                   Omicron Delta Epsilon-National Economic Honor
                        Society
 1988                   College Honors Program Sophomore Honors Award
                        For Academic Distinction
 1988                   Class Honors (Dean’s List)

 MEMBERSHIPS:
 2018-                  The American Association of Plastic Surgeons
 2016-                  The American Society for Gender Surgeons
                        (founding member and president-elect)
 2010-                  World Society for Reconstructive Microsurgery
 2005-                  The University of Chicago Plastic Surgery Alumni
                        Association
 2005-                  The Chicago Surgical Society
 2004-                  The American Society for Reconstructive
                        Microsurgery
 2003-                  The American College of Surgeons
 2002-                  The American Society of Plastic Surgeons
 2001-                  Illinois Society of Plastic Surgeons (formerly,
                        Chicago Society of Plastic Surgeons)
 2001-                  The American Society of Maxillofacial Surgeons
 2001-                  American Burn Association
 2001-                  Midwest Association of Plastic Surgeons
 2001-                  WPATH
 1994-                  The University of Chicago Surgical Society
 1994-                  The University of Chicago Alumni Association
 1992-                  American Medical Association
 1992-                  Illinois State Medical Society
 1992-                  Chicago Medical Society
 1990-                  The University of Michigan Alumni Association

 CURRENT HOSPITAL COMMITTEES:
                     Director, Center for Gender Confirmation Surgery,
                     Louis A. Weiss Memorial Hospital

 PROFESSIONAL SOCIETY COMMITTEES:
                     WPATH Executive Committee

                        Treasurer, The World Professional Association for
                        Transgender Health
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                        Chair, Finance and Investment Committee, The
                        American Society of Plastic Surgeons

                        WPATH 2020 Biennial Meeting Steering Committee

                        American Society of Breast Surgeons Research
                        Committee, ASPS representative

                        American Board of Plastic Surgery, Guest Oral
                        Board Examiner

                        WPATH Ethics Committee

                        American   College   of  Radiology   Committee   on
                        Appropriateness    Criteria   Transgender    Breast
                        Imaging Topic, Expert Panel on Breast Imaging:
                        Transgender Breast Cancer Screening Expert Panel
                        on Breast Imaging


                        American Society of Plastic Surgeons, Finance and
                        Investment Committee

                        Board of Directors, at-large, The World
                        Professional Association for Transgender Health

                        PlastyPac, Board of Governors

                        Medicare Carrier Advisory Committee

 OTHER:
                        Guest Reviewer, Pain Management

                        Guest Reviewer, Plastic and Aesthetic Research

                        Guest Reviewer, European Medical Journal

                        Guest Reviewer, Open Forum Infectious Diseases

                        Guest Reviewer, The        Journal    of   The     American
                        College of Surgeons

                        Guest Book Reviewer, Plastic and Reconstructive
                        Surgery

                        Editorial Board, Transgender Health

                        Editorial Board (Associate Editor), International
                        Journal of Transgenderism
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                        Fellow of the Maliniac Circle

                        Guest   Reviewer,        Journal    of          Reconstructive
                        Microsurgery

                        Guest   Reviewer,    Journal          of        Plastic    and
                        Reconstructive Surgery

                        Guest Reviewer, Journal of Sexual Medicine

                        Guest   Editor,   Clinics  in   Plastic   Surgery,
                        Transgender Surgery (Elsevier Publishing)

                        Guest Reviewer, The         Journal        of    Plastic   and
                        Reconstructive Surgery

 PREVIOUS EDITORIAL ROLE:
                     Guest Reviewer, EPlasty, online Journal

                        Module Editor for Patient Safety, Plastic Surgery
                        Hyperguide

                        Editorial     Advisory     Board,      Plastic        Surgery
                        Practice

                        Guest    Reviewer,       International           Journal    of
                        Transgenderism

                        Guest Reviewer, Pediatrics


 PREVIOUS ACADEMIC APPOINTMENT:
                     Visiting Clinical Professor in Surgery, The
                     University of Illinois at Chicago

                        Chief, Division of Plastic and Reconstructive
                        Surgery, Chicago Medical School, Rosalind
                        Franklin University of Medicine and Science

                        Associate Professor of Surgery, The College of
                        Health Professionals, Rosalind Franklin
                        University

                        Clinical Associate in Surgery, The University of
                        Chicago


 PREVIOUS HOSPITAL COMMITTEES:

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                        Division Director, Plastic Surgery, Lutheran
                        General Hospital

                        Division Director, Plastic Surgery, St. Francis
                        Hospital

                        Medical Staff Executive Committee, Secretary,
                        Advocate Lutheran General Hospital

                        Credentials Committee, Lutheran General Hospital

                        Pharmacy and Therapeutics Committee Lutheran
                        General Hospital

                        Operating Room Committee, St. Francis Hospital

                        Cancer Committee, Lutheran General Hospital
                                            -Director of Quality Control

                        Risk and Safety Assessment Committee, Lutheran
                        General Hospital

                        Nominating    Committee,   Rush   North   Shore    Medical
                        Center

                        Surgical Advisory Committee, Rush North Shore
                        Medical Center

                        Section Director, Plastic Surgery, Rush North
                        Shore Medical Center

 PREVIOUS SOCIETY COMMITTEES:
                     PlastyPac, Chair, Board of Governors

                        Chair of the Metro Chicago District #2 Committee
                        on Applicants, American College of Surgeons

                        American Society of Plastic Surgery, Health
                        Policy Committee

                        American Society of Plastic Surgery, Patient
                        Safety Committee

                        American Society of Plastic Surgeons, Coding and
                        Payment Policy Committee

                        American Society of Plastic Surgeons, Practice
                        Management Education Committee


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                        Board of Governors, Governor-at-large, The
                        American College of Surgeons

                        American College of Surgeons, International
                        Relations Committee

                        Chair, Government Affairs Committee, American
                        Society of Plastic Surgeons

                        President, The Metropolitan Chicago Chapter of
                        The American College of Surgeons

                        2012 Nominating Committee, American Society of
                        Plastic Surgeons

                        Program Committee, The World Society for
                        Reconstructive Microsurgery, 2013 Bi-Annual
                        Meeting

                        President, Illinois Society of Plastic Surgeons

                        Vice-President, The Illinois Society of Plastic
                        Surgeons (formerly the Chicago Society of Plastic
                        Surgery)

                        Vice-President, The Metropolitan Chapter of the
                        American College of Surgeons

                        American Society of Plastic Surgery, Chairman,
                        Patient Safety Committee

                        2006-2007 Pathways to Leadership, The American
                        Society of Plastic Surgery

                        2005 & 2006 President, The University of Chicago
                        Plastic Surgery Alumni Association

                        2003 Leadership Tomorrow Program, The American
                        Society of Plastic Surgery

                        Senior Residents Mentoring Program, The American
                        Society of Plastic Surgery

                        American Society of Maxillofacial Surgery,
                        Education Committee

                        Alternate Councilor, Chicago Medical Society

                        American Society of Aesthetic Plastic Surgery,
                        Electronic Communications Committee
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                        American Society of Aesthetic Plastic Surgery,
                        Intranet Steering Committee

                        American Society of Aesthetic Plastic Surgery,
                        International Committee

                        Membership Coordinator, The Chicago Society of
                        Plastic Surgeons
                        The Illinois State Medical Society, Governmental
                        Affairs Council

                        The Illinois State Medical Society, Council on
                        Economics

                        Chicago Medical Society, Physician Review
                        Committee
                             -Subcomittee on Fee Mediation

                        Chairman, Chicago Medical Society, Healthcare
                        Economics Committee

                        Secretary/Treasurer, The Metropolitan Chicago
                        Chapter of the American College of Surgeons

                        Scientific Committee, 2007 XX Biennial Symposium
                        WPATH

                        Local Organizing Committee 2007 WPATH

                        Secretary, The Chicago Society of Plastic
                        Surgeons

                        Treasurer, The Chicago Society of Plastic
                        Surgeons

                        Council Member, The Metropolitan Chicago Chapter
                        of the American College of Surgeons

 INTERNATIONAL MEDICAL SERVICE:
                     Northwest Medical Teams
                     Manos de Ayuda (Oaxaca, Mexico)

                        Hospital de Los Ninos (San Juan, Puerto Rico)

 COMMUNITY SERVICE:
                        Alumni Council, The University of Chicago Medical
                        and Biological Sciences Alumni Association


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                        The University of Minnesota Presidents Club
                        Chancellors Society

                        Board of Directors, Chicago Plastic Surgery
                        Research Foundation

                        National Center for Gender Spectrum Health
                        Advisory Council

 PREVIOUS COMMUNITY SERVICE:

                        Board of Directors, Committee on Jewish Genetic
                        Diseases, Jewish United Fund, Chicago, Illinois

                        Governing Council, Lutheran General Hospital,
                        Park Ridge, Il

                        Lutheran General Hospital Development Council,
                        Park Ridge, Il

                        Lutheran General Hospital Men’s Association, Park
                        Ridge, Il

                        Advisory Board, Committee on Jewish Genetic
                        Diseases, Cancer Genetics Subcommittee, Jewish
                        United Fund, Chicago, Illinois

                        Health Care Advisory Board, Congressman Mark
                        Kirk, 10th Congressional District, Illinois

                        Major Gifts Committee, Saint Francis Hospital
                        Development Council, Evanston, Il

 Visiting Professor:
    1. University of Utah, Division of Plastic Surgery, November 6-8,
         2014.

    2. Northwestern University, Division of Plastic Surgery, April 21-
        22, 2016.

    3. The University of North Carolina, Division of Plastic Surgery,
        March 28-29, 2017

    4. Georgetown University, Department of Plastic Surgery, May 17-
        18, 2017

    5. The University of Basel, Basel, Switzerland, August 31-
        September 1, 2018


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    6. The Ochsner Health System, New Orleans, LA January 28-January
        30, 2019

    7. The University of Toronto, Toronto, Ontario, Canada, February
        21-22, 2019

    8.    The University of Michigan, October3-4, 2019, Ann Arbor, MI,

 Invited Discussant:
   1. Department of Defense, Military service by people who are
 transgender, Invitation from Terry Adirim, M.D., M.P.H.Deputy
 Assistant Secretary of Defense for Health Services Policy &
 Oversight, The Pentagon, November 9, 2017

 2. Aesthetic Surgery Journal, Invited Discussant May 7, 2019,
 Journal Club. “What is “Nonbinary” and What Do I need to Know?             A
 Primer for Surgeons Providing Chest Surgery for Transgender
 Patients.”


 Research Interests:

 1. Role of Omental Stem Cells in Wound Healing (Grant:            Tawani
 Foundation)

 2. Robotic-Assisted Bilateral Prophylatic Nipple Sparing Mastectomy
 with Immediate Tissue Expander/Implant Reconstruction (Pending
 submission to the FDA for Investigational Device Exemption in
 association with Intuitive Surgical)

 3. Transgender Health and Medicine Research Conference, National
 Institutes of Health, Bethesda, MD May 7-8, 2015

 4. Uterine Transplantation, Rush University Medical Center (IRB
 pending)

 5. Gender Affirmation Surgery Prospective Surveys (Rush University-
 IRB approved)

 6. National Network for Gender Affirming Surgeries: Canadian
 Institute of Health Research, Training Grant – LGBQT 2S Stigma
 Reduction & Life Course Mental Wellness (application in process)

 BIBLIOGRAPHY:
 PEER REVIEWED ARTICLES:
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 Charles G. Winans, Robert Lohman, and J. Michael Millis, Advances in
 Pediatric Liver Transplantation: Continuous Monitoring of Portal
 Venous and Hepatic Artery Flow with an Implantable Doppler Probe.
 Transplantation 74(6):887-889, 2002.

 3.   Robert F. Lohman, Loren S. Schechter, Lawrence S. Zachary,
 Solomon Aronson: Evaluation of Changes in Skeletal Muscle Blood Flow
 in the Dog with Contrast Ultrasonography Revisited: Has the
 Technique Been Useful, and Where are We Headed Now? The Journal of
 Plastic and Reconstructive Surgery 111(4):1477-1480, 2003.

 4. Alvin B. Cohn, Eric Odessey, Francis Casper, Loren S. Schechter:
 Hereditary Gingival Fibromatosis: Aggressive Two-Stage Surgical
 Resection in Lieu of Traditional Therapy, The Annals of Plastic
 Surgery Vol 57, Number 5, November 2006.

 5. Eric Odessey, Al Cohn, Kenneth Beaman, and Loren Schechter:
 Mucormycosis of the Maxillary Sinus: Extensive Destruction with an
 Indolent Presentation, Surgical Infections, Vol. 9, Number 1, 2008

 6. Iris A. Seitz, MD, David Tojo, MD, Loren S. Schechter, MD Anatomy
 of a Medication Error: Inadvertent Intranasal Injection of
 Neosynephrine During Nasal Surgery – A Case Report and Review of The
 Literature Plast Reconstr Surg. 2010 Mar;125(3):113e-4e. doi:
 10.1097/PRS.0b013e3181cb68f9

 7. Iris Seitz, MD Craig Williams, MD, Thomas Weidrich, MD, John
 Seiler, MD, Ginard Henry, MD, and Loren S. Schechter, MD: Omental
 Free Tissue Transfer for Coverage of Complex Upper Extremity Defects:
 The Forgotten Flap (N Y). 2009 Dec;4(4):397-405. doi: 10.1007/s11552-
 009-9187-6. Epub 2009 Mar 25.

 8.   Michael Salvino and Loren S. Schechter: Microvascular
 Reconstruction of Iatrogenic Femoral Artery Thrombus in an Infant:        A
 Case Report and Review of the Literature ePlasty Volume 9 ISSN:
 19357-5719, E-location ID: e20

 9.    Phillip C. Haeck, MD, Jennifer A. Swanson, BS, Med, Ronald E.
 Iverson, MD., Loren S. Schechter, MD, Robert Singer, MD, Bob Basu,
 MD, MPH, Lynn A. Damitz, MD, Scott Bradley Bradley Glasberg, MD,
 Lawrence S. Glasman, MD, Michael F. McGuire, MD, and the ASPS Patient
 Safety Committee: Evidence-Based Patient Safety Advisory: Patient
 Selection and Procedures in Ambulatory Surgery, Supplement to Plastic
 and Reconstructive Surgery, Volume 124, Number 4s, October Supplement
 2009.

 10. Philip C. Haeck, MD, Jennifer A. Swanson, BS, Med, Loren S.
 Schechter, MD, Elizabeth J. Hall-Findlay, MD, Noel B. McDevitt, MD,
 Gary Smotrich, MD, Neal R. Reisman, MD, JD, Scot Bradley Glasberg,
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 MD, and the ASPS Patient Safety Committee: Evidence-Based Patient
 Safety Advisory: Blood Dyscrasias, Patient Selection and Procedures
 in Ambulatory Surgery, Supplement to Plastic and Reconstructive
 Surgery, Volume 124, Number 4s, October Supplement 2009.

 11. Loren S. Schechter, MD, The Surgeon’s Relationship with The
 Physician Prescribing Hormones and the Mental Health Professional:
 Review for Version 7 of the World Professional Association of
 Transgender Health’s Standards of Care International Journal of
 Transgenderism 11 (4), p.222-225 Oct-Dec 2009

 12. Iris A Seitz, MD, PhD, Craig Williams, MD, Loren S. Schechter,
 MD, Facilitating Harvest of the Serratus Fascial Flap With Ultrasonic
 Dissection, Eplasty 2010 Feb 23;10:e18

 13. Seitz, I, Friedewald SM, Rimler, J, Schechter, LS, Breast MRI
 helps define the blood supply to the nipple-areolar complex,
 Plastische Chirurgie, Supplement 1, 10. Jahrgang, September 2010, p.
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 14. Iris A. Seitz, Sally Friedwald, MD; Jonathon Rimler, Loren S.
 Schechter, Breast MRI to Define The Blood Supply to The Nipple-
 Areolar Complex. Plast Recon Surg Suppl 126 (26) p. 27 Oct 2010

 15. Kalliainen LK; ASPS Health Policy Committee Evidence-Based
 Clinical Practice Guidelines: Reduction Mammaplasty, The American
 Society of Plastic Surgeons Plast Reconstr Surg. 2012 Oct;130(4):785-
 9 Loren S. Schechter (member and contributor, ASPS Health Policy
 Committee)

 16. Eli Coleman, Walter Bockting, Marsha Botzer, Peggy Cohen-
 Kettenis, Griet DeCuypere, Jamie Feldman, Lin Fraser, Jamison Green,
 Gail Knudson, Walter J. Meyer, Stan Monstrey, Richard K. Adler,
 George R. Brown, Aaron H. Devor, Randall Ehrbar, Randi Ettner, Evan
 Eyler, Rob Garofalo, Dan H. Karasic, Arlene Istar Lev, Gal Mayer,
 Heino Meyer-Bahlburg, Blaine Paxton Hall, Friedmann PfäfÀLQ
 Katherine Rachlin, Bean Robinson, Loren S. Schechter, Vin Tangpricha,
 Mick van Trotsenburg, Anne Vitale, Sam Winter, Stephen Whittle, Kevan
 R. Wylie & Ken Zucker, Standards of Care for the Health of
 Transsexual, Transgender, and Gender-Nonconforming People, Version 7,
 International Journal of Transgenderism, 13 (4) p. 165-232, August
 2012.

 17. Jonathan Bank, M.D., Lucio A. Pavone, M.D., Iris A. Seitz, M.D.,
 Ph.D., Michelle C. Roughton M.D., Loren S. Schechter M.D. Case Report
 and Review of the Literature - Deep Inferior Epigastric Perforator
 Flap for Breast Reconstruction after Abdominal Recontouring, eplasty
 Ref.: Ms. No. EPLASTY-D-12-00050R1


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 Upper and Lower Limb Salvage with Omental Free Flaps: A Long-Term
 Functional Outcome Analysis, Plast Reconst Surg. 2014; 134 (4 Suppl
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 19. Seitz IA, Friedewald S, Schechter LS, “NACsomes”: A
 Classification system of the blood sypply to the nipple areola
 complex (NAC) based on diagnostic breast MRI exams, accepted for
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 A New Frontier in Plastic Surgery Education, Journal of Plastic and
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 23. Seitz, I.A., Lee, J.C., Sulo, S, Shah, V, Shah, M, Jimenez, M,
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 outcomes in acute lower-extremity trauma reconstruction, The European
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 Kocjancic, Karel Claes, Stan Monstrey, Gender Confirmation Surgery:
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 28. Randi Ettner, Fred Ettner, Tanya Freise, Loren Schechter, Tonya
 White, “Tomboys Revisited: A retrospective comparison of childhood
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 29. Editor: Loren S. Schechter, Bauback Safa, Gender Confirmation
 Surgery, Clinics in Plastic Surgery, Vol. 45 (3), July 2018

 30. Loren S. Schechter, Bauback Safa, Preface: Gender Surgery: A
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 Solution for a Difficult Problem”
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 38. Metropolitan Chicago Chapter of the American College of
 Surgeons, 2008 Annual Meeting, March 15, 2008 “ER Call: Who’s Job is
 it Anyway”

 39. The 10th Annual Chicago Trauma Symposium, August 7-10, 2008,
 Chicago, Il “Management of Complex Injuries”

 40. 23nd Annual Clinical Symposium on Advances in Skin & Wound Care:
 The Conference for Prevention and Healing October 26-30, 2008, Las
 Vegas, Nevada,poster presentation “Use of Dual Therapies Consisting
 of Negative Pressure Wound Therapy (NPWT) and Small Intestine Mucosa
 (SIS) on a Complex Degloving Injury With an Expose Achilles Tendon:
 A Case Report.”

 41. The American Society of Plastic Surgeons Annual Meeting, October
 31-November 3, 2008, Chicago, Il “Panel: Fresh Faces, Real Cases”

 42. The American Association for Hand Surgery Annual Meeting,
 January 7-13, 2009, Maui, Hawaii, poster session: “Omental Free
 Tissue Transfer for Coverage of Complex Upper Extremity and Hand
 Defects-The Forgotten Flap.”

 43. Plastic Surgery At The Red Sea Symposium, March 24-28, 2009
 Eilat, Israel, “Omental Free Tissue Transfer for Coverage of Complex
 Upper Extremity and Hand Defects-The Forgotten Flap.”

 44. ASPS/IQUAM Transatlantic Innovations Meeting, April 4-7, 2009
 Miason de la Chimie, Paris, France, “Advertising in Plastic Surgery?”

 45. ASPS/IQUAM Transatlantic Innovations Meeting, April 4-7, 2009
 Miason de la Chimie, Paris, France, “Cost-Effectiveness of Physician
 Extenders in Plastic Surgery”

 46. Midwestern Association of Plastic Surgeons, 47th Annual Meeting,
 April 18-19, 2009, Chicago, Il, “Microvascular Reconstruction of
 Iatrogenic Femoral Artery Injury in a Neonate”

 47. Midwestern Association of Plastic Surgeons, 47th Annual Meeting,
 April 18-19, 2009, Chicago, Il,”Two Birds, One Stone: Combining
 Abdominoplasty with Intra-Abdominal Procedures”

 48. The 11th Annual Chicago Trauma Symposium, August 1, 2009,
 Chicago, Il “Management of Complex Injuries”

 49. Societa Italiana Di Microchirurgia, XXIII Congresso Nazionale
 della Societa Italiana di Microchirurgia, First Atlanto-Pacific
 Microsurgery Conference, Modena, Italy, October 1-3, 2009, “Omental
 Free Tissue Transfer for Coverage of Complex Extremity Defects: The
 Forgotten Flap.”
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 50. Societa Italiana Di Microchirurgia, XXIII Congresso Nazionale
 della Societa Italiana di Microchirurgia, First Atlanto-Pacific
 Microsurgery Conference, Modena, Italy, October 1-3, 2009,
 “Challenging Cases.”

 51. American Society of Plastic Surgeons Annual Meeting, October 23-
 27, 2009, Seattle, WA, “President’s Panel: The Future of the Solo
 Practice-Can We, Should We Survive?”

 52. The 12th Annual Chicago Trauma Symposium, August 5-8, 2010,
 Chicago, Il “Management of Complex Injuries”

 53. Breast MRI to Define The Blood Supply to the Nipple-Areolar
 Complex. German Society of Plastic, Reconstructive and Aesthetic
 Surgery (DGPRAEC), Dresden, Germany, September 2010

 54. Roundtable Discussion: Electronic Health Records-Implications
 for Plastic Surgeons, The American Society of Plastic Surgeons Annual
 Meeting, October 3, 2010, Toronto, CA

 55. Breast MRI Helps Define the Blood Supply to the Nipple-Areolar
 Complex, The American Society of Plastic Surgeons Annual Meeting,
 October 3, 2010, Toronto, CA.

 56. ASPS/ASPSN Joint Patient Safety Panel: Patient Selection and
 Managing Patient Expectations, The American Society of Plastic
 Surgeons Annual Meeting, October 4, 2010, Toronto, CA

 57. Lunch and Learn:    Prevention of VTE in Plastic Surgery
 Patients, The American Society of Plastic Surgeons Annual Meeting,
 October 5, 2010, Toronto, CA

 58. Breast MRI Helps Define the Blood Supply to the Nipple-Areolar
 Complex, 16th Congress of The International Confederation for Plastic
 Reconstructive and Aesthetic Surgery, May 22-27, 2011, Vancouver,
 Canada

 59. Breast MRI Helps Define the Blood Supply to the Nipple-Areolar
 Complex, The 6th Congress of The World Society for Reconstructive
 Microsurgery, WSRM 2011, 29 June-2 July, 2011, Helsinki, Finland

 60. Applications of the Omentum for Limb Salvage: The Largest
 Reported Series, The 6th Congress of The World Society for
 Reconstructive Microsurgery, WSRM 2011, 29 June-2 July, 2011,
 Helsinki, Finland

 61. Successful Tongue Replantation Following Auto-Amputation Using
 Supermicrosurgical Technique, Poster Session, The 6th Congress of The

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 World Society for Reconstructive Microsurgery, WSRM 2011, 29 June-2
 July, 2011, Helsinki, Finland

 62. The 13th Annual Chicago Trauma Symposium, August 25-28, 2011,
 Chicago, Il “Soft Tissue Defects-Getting Coverage”

 63. WPATH: Pre-conference Symposium, September 24, 2011, Atlanta,
 GA “Surgical Options and Decision-Making”

 64. American Society of Plastic Surgeons Annual Meeting, September
 27, 2011, Denver, CO Closing Session Lunch and Learn: Pathways to
 Prevention-Avoiding Adverse Events, Part I: Patient Selection and
 Preventing Adverse Events in the Ambulatory Surgical Setting

 65. American Society of Plastic Surgeons Annual Meeting, September
 27, 2011, Denver, CO Closing Session Lunch and Learn: Pathways to
 Prevention-Avoiding Adverse Events, Part III: Preventing VTE

 66. XXIV Congresso Nazionale della Societa Italiana di Microchirugia
 congiunto con la American Society for Reconstructive Microsurgery,
 October 20-22, 2011, Palermo, Sicily: 3 Step Approach to Lower
 Extremity Trauma

 67. XXIV Congresso Nazionale della Societa Italiana Microchirugia
 congiunto con la American Society for Reconstructive Microsurgery,
 October 20-22, 2011, Palermo, Sicily: Applications of the Omentum
 for Limb Salvage: The Largest Reported Series

 68. American Society for Reconstructive Microsurgery, Poster
 Presentation, January 14-17, 2012, Las Vegas, NV: Neonatal Limb
 Salvage: When Conservative Management is Surgical Intervention

 69. The 14th Annual Chicago Trauma Symposium, August 2-5, 2012,
 Chicago, Il “Soft Tissue Defects-Getting Coverage”

 70. The Annual Meeting of The American Society of Plastic Surgeons,
 October 25th-30, 2012, New Orleans, LA “Reimbursement in Breast
 Reconstruction”

 71. The Annual Meeting of The American Society of Plastic Surgeons,
 October 25th-30, 2012, New Orleans, LA “Thriving in a New Economic
 Reality: Business Relationships and Integration in the Marketplace”

 72. The 15th Annual Chicago Trauma Symposium, August 2-5, 2013,
 Chicago, Il “Soft Tissue Defects-Getting Coverage”

 73. 2014 WPATH Symposium, Tansgender Health from Global Perspectives,
 February 14-18, 2014, “Short Scar Chest Surgery.”


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 74. 2014 WPATH Symposium, Transgender Health from Global
 Perspectives, February 14-18, 2014, “Intestinal Vaginoplasty with
 Right and Left Colon.”

 75. 24th Annual Southern Comfort Conference, September 3-7, 2014,
 Atlanta, Georgia, “Gender Confirmation Surgery: State of the Art.”

 76. The 15th Annual Chicago Trauma Symposium, September 4-7, 2014,
 Chicago, Il “Soft Tissue Defects-Getting Coverage”

 77. The Midwest Association of Plastic Surgeons, May 30, 2015,
 Chicago, Il “Gender Confirmation Surgery: A Single-Surgeon’s
 Experience”

 78. The Midwest Association of Plastic Surgeons, May 30, 2015,
 Chicago, Il, Moderator, Gender Reassignment.

 79. the American Society of Plastic Surgeons 2015 Professional
 Liability Insurance and Patient Safety Committee Meeting, July 17,
 2015, “Gender Confirmation Surgery.”

 80. The American Society of Plastic Surgeons, October 16-20, 2015,
 Boston, MA. From Fee-for-Service to Bundled Payments

 81. The American Society of Plastic Surgeons, October 16-20, 2015,
 Boston, MA. Moderator, Transgender Surgery

 82. The American Society of Plastic Surgeons, October 16-20, 2015,
 Boston, MA. Efficient Use of Physician Assistants in Plastic Surgery.

 83. The American Society of Plastic Surgeons, October 16-20, 2015,
 Boston, MA. Patient Safety: Prevention of VTE

 84. The World Professional Association for Transgender Health,
 Objective Quality Parameters for Gender Confirmation Surgery, June
 18-22, 2016, Amsterdam, Netherlands

 85. The World Professional Association for Transgender Health,
 Resident Education Curriculum for Gender Confirmation Surgery, June
 18-22, 2016, Amsterdam, Netherlands

 86. The World Professional Association for Transgender Health,
 Urologic Management of a Reconstructed Urethra(Poster session #195),
 June 18-22, 2016, Amsterdam, Netherlands

 87. The World Professional Association for Transgender Health,
 Construction of a neovagina for male-to-female gender reassignment
 surgery using a modified intestinal vaginoplasty technique, poster
 session (Poster session #198), June 18-22, 2016, Amsterdam,
 Netherlands
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 88. Aesthetica Super Symposium, The American Society of Plastic
 Surgeons, Genital Aesthetics: What are we trying to achieve?,
 Washington, DC June 23-25, 2016

 89. Aesthetica Super Symposium, The American Society of Plastic
 Surgeons, Female to Male Gender Reassignment, Washington, DC June 23-
 25, 2016

 90. Aesthetica Super Symposium, The American Society of Plastic
 Surgeons, The journal of retractions, what I no longer do,
 Washington, DC June 23-25, 2016

 91. Aesthetica Super Symposium, The American Society of Plastic
 Surgeons, The three minute drill, tips and tricks, Washington, DC
 June 23-25, 2016

 92. Aesthetica Super Symposium, The American Society of Plastic
 Surgeons, Moderator, Mini master class: Male genital plastic
 surgery, Washington, DC June 23-25, 2016

 93. The 16th Annual Chicago Trauma Symposium, August 18-21, 2016,
 Chicago, Il “Soft Tissue Defects-Getting Coverage”

 94.   USPATH Poster Session, Feb 2-5, 2017, Los Angeles, CA, Partial
 Flap Failure Five Weeks Following Radial Forearm Phalloplasty: Case
 Report and Review of the Literature

 95. USPATH Poster Session, Feb 2-5, 2017, Los Angeles, CA,
 Urethroplasty for Stricture after Phalloplasty in Transmen Surgery for
 Urethral Stricture Disease after Radial Forearm Flap Phalloplasty–
 Management Options in Gender Confirmation Surgery

 96. USPATH, Feb 2-5, 2017, Los Angeles, CA, Patient Evaluation and
 Chest Surgery in Transmen: A Pre-operative Classification

 97. USPATH, Feb 2-5, 2017, Los Angeles, CA Single Stage Urethral
 Reconstruction in Flap Phalloplasty: Modification of Technique for
 Construction of Proximal Urethra

 98. USPATH, Feb 2-5, 2017, Los Angeles, CA, Use of Bilayer Wound
 Matrix on Forearm Donor Site Following Phalloplasty

 99. USPATH, Feb 2-5, 2017, Los Angeles, CA, Vaginoplasty: Surgical
 Techniques

 100. USPATH, Feb 2-5, 2017, Los Angeles, CA, Positioning of a Penile
 Prosthesis with an Acellular Dermal Matrix Wrap following Radial
 Forearm Phalloplasty

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 101. USPATH, Feb 2-5, 2017, Los Angeles, CA, Principles for a
 Gender Surgery Program

 102. USPATH, Feb 2-5, 2017, Los Angeles, CA, Construction of a
 Neovagina Using a Modified Intestinal Vaginoplasty Technique

 103. The 18th Annual Chicago Orthopedic Symposium, July 6-9, 2017,
 Chicago, Il “Soft Tissue Defects-Getting Coverage”

 104. The American Society of Plastic Surgeons Annual meeting,
 October 6-10, 2017, Orlando, FL, Moderator: Genital Surgery Trends
 for Women

 105. The American Society of Plastic Surgeons Annual meeting,
 October 6-10, 2017, Orlando, FL, Adding Transgender Surgery to Your
 Practice, Moderator and Speaker

 106. The American Society of Plastic Surgeons Annual meeting,
 October 6-10, 2017, Orlando, FL, Transbottom Surgery

 107. 14th Congress of The European Federation of Societies for
 Microsurgery, Belgrade, May 5-8, 2018 A Novel Approach to IPP
 Implantation Post Phalloplasty: The Chicago Experience

 108. 14th Congress of The European Federation of Societies for
 Microsurgery, Belgrade, May 5-8, 2018, A Novel Approach for Neovagina
 Configuration During Vaginoplasty for Gender Confirmation Surgery

 109. 14th Congress of The European Federation of Societies for
 Microsurgery, Belgrade, May 5-8, 2018 Developlment of a Pelvic Floor
 Physical Therapy Protocol for Patients Undergoing Vaginoplasty for
 Gender Confirmation

 110. 14th Congress of The European Federation of Societies for
 Microsurgery, Belgrade, May 5-8, 2018 Establishing Guidelines for
 Gender Confirmation Surgery: The Perioperative Risk of Asymptomatic
 Deep Venous Thrombosis for Vaginoplasty

 111. The 19th Annual Chicago Trauma Symposium, August 16-19, 2018,
 Chicago, Il “Soft Tissue Defects-Getting Coverage”

 112. Midwest LGBTQ Health Symposium, September 14-15, 2018, Chicago,
 Il ”Quality Parameters in Gender Confirmation Surgery”

 113. 25th WPATH Symposium, November 2-6, 2018, Buenos Aires,
 Argentina, Poster Session, Proposed Guidelines for Medical Tattoo
 Following Phalloplasty; An Interdisciplinary Approach



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 114. 25th WPATH Symposium, November 2-6, 2018, Buenos Aires,
 Argentina, Establishment of the First Gender Confirmation Surgery
 Fellowship

 115. 25th WPATH Symposium, November 2-6, 2018, Buenos Aires,
 Argentina, ISSM Lecture, The Importance of Surgical Training

 116. 25th WPATH Symposium, November 2-6, 2018, Buenos Aires,
 Argentina, Tracking Patient-Reported Outcomes in Gender Confirmation
 Surgery

 117. “Theorizing the Phantom Penis,” The Psychotherapy Center for
 Gender and Sexuality’s 6th Biannual Conference, Transformations, March
 29-March 30, 2019, NY, NY

 INSTRUCTIONAL COURSES:
 1. Emory University and WPATH: Contemporary Management of
 Transgender Patients: Surgical Options and Decision-Making, September
 5, 2007 Chicago, Il

 2. Craniomaxillofacial Trauma Surgery: An Interdisciplinary
 Approach, February 16-17, 2008, Burr Ridge, Il

 3. Societa Italiana Di Microchirurgia, XXIII Congresso Nazionale
 della Societa Italiana di Microchirurgia, First Atlanto-Pacific
 Microsurgery Conference, Modena, Italy, October 1-3, 2009, Moderator:
 Free Papers, Lower Extremity

 4. American Society of Plastic Surgeons Annual Meeting, October 23-
 27, 2009, Seattle, WA, Moderator: ASPS/ASPSN Patient Panel:
 Effective Communication-A Key to Patient Safety and Prevention of
 Malpractice Claims

 5.   American Society of Plastic Surgeons Annual Meeting, October 23-
 27, 2009, Seattle, WA, Instructional Course: Strategies to Identify
 and Prevent Errors and Near Misses in Your Practice

 6.   American Society of Plastic Surgeons Annual Meeting, October 23-
 27, 2009, Seattle, WA, Roundtable Discussion: Electronic Health
 Records-Implications for Plastic Surgeons

 7. 10th Congress of The European Federation of Societies for
 Microsurgery, May 2—22, 2010, Genoa, Italy, “The Mangled Lower
 Extremities: An Algorithm for Soft Tissue Reconstruction.”

 8. Mulitspecialty Course for Operating Room Personnel-
 Craniomaxillofacial, Orthopaedics, and Spine, A Team Approach, AO
 North American, June 26-27, 2010, The Westin Lombard Yorktown Center.


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 9. Management of Emergency Cases in the Operating Room, The American
 Society of Plastic Surgeons Annual Meeting, October 4, 2010, Toronto,
 CA.

 10. Surgical Approaches and Techniques in Craniomaxillofacial
 Trauma, November 6, 2010, Burr Ridge, Il.

 11. The Business of Reconstructive Microsurgery: Maximizing
 Economic value (Chair)The American Society for Reconstructive
 Microsurgery, January 14-17, 2012, Las Vegas, Nevada.

 12. Strategies to Identify and Prevent Errors and Near Misses in
 Your Practice, The Annual Meeting of The American Society of Plastic
 Surgeons, October 25th-30th, 2012, New Orleans, LA

 13. Strategies to Identify and Prevent Errors and Near Misses in Your
 Practice, The Annual Meeting of The American Society of Plastic
 Surgeons, October 11th-15th, 2013, San Diego, CA

 14. Mythbusters: Microsurgical Breast Reconstruction in Private
 Practice, The Annual Meeting of The American Society of Plastic
 Surgeons, October 11th-15th, 2013, San Diego, CA

 15. Minimizing Complications in Perioperative Care, The American
 Society for Reconstructive Microsurgery, January 11-14, 2014, Kauai,
 Hawaii

 16. Genitourinary and Perineal Reconstruction, The American Society
 for Reconstructive Microsurgery, January 11-14, 2014, Kauai, Hawaii

 17. Transgender Breast Surgery, The American Society of Plastic
 Surgeons, October 16-20, 2015, Boston, MA

 18. Gender Confirmation Surgery, The School of the Art Institute
 (recipient of American College Health Fund’s Gallagher Koster
 Innovative Practices in College Health Award), October 27, 2015,
 Chicago, Il

 19. Transgender Health: Best Practices in Medical and Mental Health
 Care. A WPATH Certified Training Course, November 5-7, 2015,
 Chicago, Il Overview of Surgical Treatment Options

 20. Transgender Health: Best Practices in Medical and Mental Health
 Care. A WPATH Certified Training Course, November 5-7, 2015 Chicago,
 Il Surgical Procedures

 21. Transgender Health: Best Practices in Medical and Mental Health
 Care. A WPATH Certified Training Course, November 5-7, 2015,
 Chicago, Il Surgical Complications

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 22. Transgender Health: Best Practices in Medical and Mental Health
 Care. A WPATH Certified Training Course, November 5-7, 2015,
 Chicago, Il Post-operative Care

 23. Transgender Health: Best Practices in Medical and Mental Health
 Care. A WPATH Certified Training Course, November 5-7, 2015,
 Chicago, Il Case Discussions: The Multidisciplinary Team

 24. Transgender Health: Best Practices in Medical and Mental Health
 Care. A WPATH Certified Training Course, January 20-23,2016,
 Atlanta, GA Overview of Surgical Treatment Options

 25. Transgender Health: Best Practices in Medical and Mental Health
 Care. A WPATH Certified Training Course, January 20-23, 2016,
 Atlanta, GA Surgical Treatment Options

 26. Transgender Health: Best Practices in Medical and Mental Health
 Care. A WPATH Certified Training Course, March 30-April 1, 2016,
 Springfield, MO, Surgical Treatment Options.

 27. Transgender Health: Best Practices in Medical and Mental Health
 Care. A WPATH Certified Training Course, March 30-April 1, 2016,
 Springfield, MO, Multi-disciplinary Case Discussion.

 28. Introduction to Transgender Surgery, ASPS Breast Surgery and
 Body Contouring Symposium, Santa Fe, NM, August 25-27, 2016

 29. Transgender Health: Best Practices in Medical and Mental Health
 Care. A WPATH Global Education Initiative Advanced Training Course,
 September 28, 2016, Ft. Lauderdale, FL.

 30. Cirugias de Confirmacion de Sexo Paso a Paso, XXXV Congreso
 Confederacion Americana de Urologia (CAU), Panama City, Panama,
 October 4-8, 2016.

 31. Transgender Health: Best Practices in Medical and Mental Health
 Care. A WPATH Global Education Initiative Advanced Training Course,
 December 3, 2016, Arlington, VA.

 32. PSEN (sponsored by ASPS and endorsed by WPATH), Transgender 101
 for Surgeons, January 2017-March 2017

 33. Surgical Anatomy and Surgical Approaches to M-to-F Genital
 Gender Affirming Surgery and the Management of the Patient Before,
 During and After Surgery: A Human Cadaver Based Course, Orange
 County, CA, Feb. 1, 2017

 34. Gender Confirmation Surgery, ALAPP, 2 Congreso Internacional de
 la Asociacion Latinoamericana de Piso Pelvico, Sao Paulo, Brasil, 9-
 11 de marzo de 2017
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 35. Transgender Health: Best Practices in Medical and Mental Health
 Care. A WPATH Global Education Initiative Foundations Training
 Course, Overview of Surgical Treatment, March 31-April 2, 2017,
 Minneapolois Minnesota.

 36. Transgender Health: Best Practices in Medical and Mental Health
 Care. A WPATH Global Education Initiative Foundations Training
 Course, The Multi-Disciplinary Team Case Discussions, March 31-April
 2, 2017, Minneapolois Minnesota.

 37.    Transfeminine Cadaver Course, WPATH, May 19-20, 2017, Chicago,
 Il

 38. Transgender/Penile Reconstruction-Penile Reconstruction: Radial
 Forearm Flap Vs. Anterolateral Thigh Flap, Moderator and Presenter,
 The World Society for Reconstructive Microsurgery, June 14-17, 2017,
 Seoul, Korea

 39. Primer of Transgender Breast Surgery, ASPS Breast Surgery and
 Body Contouring Symposium, San Diego, CA, August 10-12, 2017

 40. Confirmation Surgery in Gender Dysphoria: current state and
 future developments, International Continence Society, Florence,
 Italy, September 12-15, 2017

 41. The American Society of Plastic Surgeons Annual meeting, October
 6-10, 2017, Orlando, FL, ASPS/WPATH Joint Session, Session Planner
 and Moderator

 42.Transgender Health: Best Practices in Medical and Mental Health
 Care. A WPATH Global Education Initiative Foundations Training
 Course: Overview of Surgical Treatment, Columbus, OH, October 20-21,
 2017

 43. Transgender Health: Best Practices in Medical and Mental Health
 Care. A WPATH Global Education Initiative Advanced Training Course:
 Medical Care in the Perioperative Period, Aftercare: Identifying
 Potential Complications, Columbus, OH, October 20-21, 2017

 44. Webinar: Gender Affirming Surgeries 101: Explore The Latest
 Topics in Gender Affirmation Surgery, PSEN, April 18, 2018

 45. Course Director: MT. Sinai/WPATH Live Surgery Training Course
 for Gender Affirmation Procedures, April 26-28, 2018, New York, NY

 46. Philadelphia Trans Wellness Conference, Perioperative Care of
 the Transgender Woman Undergoing Vaginoplasty (Workshop),
 Philadelphia, PA, August 3, 2018

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 47. Philadelphia Trans Wellness Conference, Gender Confirmation
 Surgery (Workshop), Philadelphia, PA, August 3, 2018

 48. Gender Confirmation Surgery, 2018 Oral and Written Board
 Preparation Course, The American Society of Plastic Surgeons, August
 16-18, 2018, Rosemont, Il

 49. Confirmation Surgery in Gender Dysphoria: Current State and
 Future Developments, The International Continence Society,
 Philadelphia, PA August 28, 2018

 50. WPATH Global Education Initiative, Foundations Training Course,
 “Overview of Surgical Treatment,” Cincinnati, OH, September 14-15,
 2018

 51. WPATH Global Education Initiative, Foundations Training Course,
 “The Multi-Disciplinary Team: Case Discussions,” Cincinnati, OH,
 September 14-15, 2018

 52. WPATH Global Education Initiative, Advanced Training Course,
 “Medical Care in the Perioperative Period After Care: Identifying
 Potential Complications,” Cincinnati, OH, September 14-15, 2018

 53. 25th WPATH Symposium, Surgeons Conference, November 1, 2018,
 Buenos Aires, Argentina, Moderator

 54. 25th WPATH Symposium, November 2-6, 2018, Buenos Aires,
 Argentina, Global Education Initiative (GEI): Surgery and Ethics

 55. WPATH GEI: Best Practices in Medical and Mental Health Care,
 Foundations in Surgery, New Orleans, March 22, 2019

 56. WPATH GEI: Best Practices in Medical and Mental Health Care,
 Advanced Surgery, New Orleans, March 22, 2019

 57. Program Chair: ASPS/WPATH GEI Inaugural Gender-Affirming
 Breast, Chest, and Body Master Class, Miami, Fl, July 20, 2019

 58. Overview of Surgical Management and The Standards of Care
 (WPATH, v. 7) ASPS/WPATH GEI Inaugural Gender-Affirming Breast,
 Chest, and Body Master Class, Miami, Fl, July 20, 2019

 59. Program Director, Gender Affirming Breast,Chest, and Body Master
 Class, The American Society of Plastic Surgeons, Miami, Fl, July 20,
 2019

 60. Gender Confirmation Surgery, The American Society of Plastic
 Surgeons Oral and Written Board Preparation Course, August 15, 2019,
 Rosemont, Il

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 61. Upper Surgeries (chest surgery & breast augmentation), WPATH,
 Global Education Initiative, September 4-5, 2019, Washington, DC

 62. Preparing for Upper Surgeries-Case Based (chest surgery & breast
 augmentation), WPATH, Global Education Initiative, September 4-5,
 2019, Washington, DC

 63. Preparing for Feminizing Lower Surgeries-Case Based
 (vaginoplasty), WPATH, Global Education Initiative, September 4-5,
 2019, Washington, DC

 64. Lower Surgeries-Masculinizing (phalloplasty & metoidioplasty),
 WPATH, Global Education Initiative, September 4-5, 2019, Washington,
 DC

 65. Preparing for Masculinizing Lower Surgeries-Case Based
 (phalloplasty & metoidioplasty), WPATH, Global Education Initiative,
 September 4-5, 2019, Washington, DC

 66. Panel Discussion about Ethics in Surgery and Interdisciplinary
 Care, WPATH, Global Education Initiative, September 4-5, 2019,
 Washington, DC

 67. Discussion about Ethics and Tensions in Child and Adolescent
 Care, WPATH, Global Education Initiative, September 4-5, 2019,
 Washington, DC

 68. Transgender Health: Best Practices in Medical and Mental Health
 Care Foundation Training Courses, Hanoi, Viet Nam, Jan 14-17, 2020
 (Foundations in Surgery, Advanced Medical-surgery and complicated
 case studies), Planning & Documentation (upper surgeries-chest
 surgery and breast augmentation, preparing for upper surgeries-case
 based (chest surgery and breast augmentation), lower surgeries
 (feminizing-vaginoplasty), preparing for feminizing lower surgeries-
 case based, lower surgeries-masculinizing (phalloplasty and
 metoidioplasty), preparing for masculinizing lower surgeries-case-
 based (phalloplasty and metoidioplasty), Ethics-panel discussion
 about ethics in surgery and interdisciplinary care)

 69. WPATH GEI Panel Cases Discussion, via Webinar, May 29, 30, 31,
 2020

 70. WPATH GEI: Illinois Dept. of Corrections, Foundations in
 Surgery, November 20, 2020

 71. WPATH GEI: Illinois Dept. of Corrections, Ethical
 Considerations in Transgender Healthcare, November 20, 2020

 72. WPATH GEI: Illinois Dept. of Corrections, Foundations in
 Surgery, February 26, 2021
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 73. WPATH GEI: Illinois Dept. of Corrections, Ethical Considerations
 in Transgender Healthcare, February 26, 2021.

 74. Current Concepts in Gender Affirming Surgery for Women in
 Transition, March 11-12, 2021 (online event), Moderator, Transgender
 Health.

 75.    GEI Foundations Course, Live Q&A, March 21, 2021

 76. GEI Foundations Course, Live Case Panel Discussion, March 23,
 2021

 77. GEI Advanced Ethics Workshop; Surgical and Interdisciplinary
 care ethics panel, May 1, 2021 (virtual)

 78. Wpath GEI Foundations course for the Illinois Dept of
 Corrections, Foundations in Surgery, May 21, 2021

 79. Wpath GEI, Foundations course for the Illinois Dept of
 Corrections, Ethical considerations in Transgender Healthcare, May
 21, 2021

 SYMPOSIA:

 1. Program Director, 2011 Chicago Breast Symposium, October 15,
 2011, The Chicago Plastic Surgery Research Foundation and The Chicago
 Medical School at Rosalind Franklin University, North Chicago, IL,

 2. Fundamentals of Evidence-Based Medicine & How to Incorporate it
 Into Your Practice, Challenging Complications in Plastic Surgery:
 Successful Management Strategies, The American Society of Plastic
 Surgeons, July 13-14, 2012 Washington, DC

 3. Understanding Outcome Measures in Breast & Body Contouring
 Surgery, Challenging Complications in Plastic Surgery: Successful
 Management Strategies, The American Society of Plastic Surgeons, July
 13-14, 2012 Washington, DC

 4. Benchmarking Complications: What We Know About Body Contouring
 Complication Rates from Established Databases, Challenging
 Complications in Plastic Surgery: Successful Management Strategies,
 The American Society of Plastic Surgeons, July 13-14, 2012
 Washington, DC

 5. Special Lecture: VTE Prophylaxis for Plastic Surgery in 2011,
 Challenging Complications in Plastic Surgery: Successful Management
 Strategies, The American Society of Plastic Surgeons, July 13-14,
 2012 Washington, DC

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 6. Nipple Sparing Mastectomy: Unexpected Outcomes, Challenging
 Complications in Plastic Surgery: Successful Management Strategies,
 The American Society of Plastic Surgeons, July 13-14, 2012
 Washington, DC

 7. Program Director, 2011 Chicago Breast Symposium, October 13-14,
 2012, The Chicago Plastic Surgery Research Foundation and The Chicago
 Medical School at Rosalind Franklin University, North Chicago, Il

 8. Practice Strategies in a Changing Healthcare Environment,
 Moderator, Midwestern Association of Plastic Surgeons, April 27-28,
 2013, Chicago, Il

 9. Moderator: Breast Scientific Paper Session, The Annual Meeting
 of The American Society of Plastic Surgery, October 12, 2014,
 Chicago, Il.

 10. Moderator: The World Professional Association for Transgender
 Health, Tuesday, June 21, Surgical Session (0945-1045), June 18-22,
 2016, Amsterdam, Netherlands

 11. Course Director: Transmale Genital Surgery: WPATH Gender
 Education Initiative, October 21-22, 2016 Chicago, Il

 12. Co-Chair and Moderator: Surgeon’s Only Session, USPATH, Los
 Angeles, CA, Feb. 2, 2017

 13. Vascular Anastomosis: Options for Lengthening Vascular Pedicle,
 Surgeon’s Only Session, USPATH, Los Angeles, CA, Feb. 2, 2017

 14. Transgender Healthcare Mini-Symposium, Chicago Medical School of
 Rosalind Franklin University, North Chicago, Il March 10, 2017.

 15. Moderator: Penile Transplant: Genito-urinary trauma/penile
 cancer, The European Association of Urologists, Meeting of the EAU
 Section of Genito-Urinary Reconstructive Surgeons (ESGURS), London,
 United Kingdom, March 23-26, 2017

 16: 25th WPATH Symposium, November 2-6, 2018, Buenos Aires,
 Argentina, Mini-Symposium: A Comprehensive Approach to Gender
 Confirming Surgery

 17. Program Director, 2nd Annual Live Surgery Conference for Gender
 Affirmation Procedures, Ichan School of Medicine at Mt. Sinai, NY, NY
 February 28, 2019-March 2, 2019.

 18. Moderator, “Genital Reassignment for Adolescents:
 Considerations and Conundrums,” Discussions on gender affirmation:
 surgery and beyond, Dignity Health Saint Francis Memorial Hospital
 and WPATH GEI, San Francisco, CA, May 30-June 1, 2019
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 19. Moderator, “Reconstructive Urology and Genitourinary Options in
 Gender Affirming Surgery,” Discussions on gender affirmation:
 surgery and beyond, Dignity Health Saint Francis Memorial Hospital
 and WPATH GEI, San Francisco, CA, May 30-June 1, 2019

 20. Moderator, “Complications in Masculinizing Genital
 Reconstruction Surgery,” Dignity Health Saint Francis Memorial
 Hospital and WPATH GEI, San Francisco, CA, May 30-June 1, 2019

 21. Moderator, “Preparing for Surgery and Recovery,” Dignity Health
 Saint Francis Memorial Hospital and WPATH GEI, San Francisco, CA, May
 30-June 1, 2019

 22. Discussant, “WPATH Standards of Care Version 8 Preview,” Dignity
 Health Saint Francis Memorial Hospital and WPATH GEI, San Francisco,
 CA, May 30-June 1, 2019

 23. Program Coordinator, Surgeon’s Only Course, USPATH, September 5,
 2019, Washington, DC

 24. Master Series in Transgender Surgery 2020: Vaginoplasty and Top
 Surgery, course co-director, Mayo Clinic, Rochester, MN, August 7-8,
 2020

 25. WPATH 2020 Surgeons’ Program, Co-Chair, November 6-7, 2020,
 Virtual Symposium (due to covid-19 cancellation of Hong Kong meeting)


 FACULTY SPONSORED RESEARCH:
 1. Societa Italiana Di Microchirurgia, XXIII Congresso Nazionale
 della Societa Italiana di Microchirurgia, First Atlanto-Pacific
 Microsurgery Conference, Modena, Italy, October 1-3, 2009, “Free
 Tissue Transfer in the Treatment of Zygomycosis.” Presented by
 Michelle Roughton, MD

 2. Hines/North Chicago VA Research Day, Edward Hines, Jr., VA
 Hospital, Maywood, Il, April 29, 2010, “Breast MRI Helps to Define
 the Blood Supply to the Nipple-Areolar Complex.” Presented by Iris
 A. Seitz, MD, PhD.

 3. Advocate Research Forum, Advocate Lutheran General Hospital, May
 5, 2010, “Breast MRI Helps to Define the Blood Supply to the Nipple-
 Areolar Complex.” Presented by Iris A. Seitz, MD, PhD.


 4. Advocate Research Forum, Advocate Lutheran General Hospital, May
 5, 2010, “Achieving Soft Tissue Coverage of Complex Upper and Lower
 Extremity Defects with Omental Free Tissue Transfer.” Presented by
 Iris A. Seitz, MD, PhD.
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 5. Advocate Research Forum, Advocate Lutheran General Hospital, May
 5, 2010, “Facilitating Harvest of the Serratus Fascial Flap with
 Ultrasonic Dissection.” Presented by Iris A. Seitz, MD, PhD.

 6. Advocate Research Forum, Advocate Lutheran General Hospital, May
 5, 2010,”Patient Safety: Abdominoplasty and Intra-Abdominal
 Procedures.” Presented by Michelle Roughton, MD

 7. The Midwestern Association of Plastic Surgeons, 49th Annual
 Scientific Meeting, May 15th, 2010, “Breast MRI Helps Define The Blood
 Supply to the Nipple-Areolar Complex.” Presented by Iris A. Seitz,
 MD, PhD.

 8. Jonathan M. Hagedorn, BA, Loren S. Schechter, MD, FACS, Dr. Manoj
 R. Shah, MD, FACS, Matthew L. Jimenez, MD, Justine Lee, MD, PhD,
 Varun Shah. Re-examining the Indications for Limb Salvage, 2011 All
 School Research Consortium at Rosalind Franklin University. Chicago
 Medical School of Rosalind Franklin University, 3/16/11.


 9. Jonathan Bank, MD, Lucio A. Pavone, MD, Iris A. Seitz, Michelle
 C. Roughton, MD, Loren S. Schechter, MD Deep Inferior Epigastric
 Perforator Flap for Breast Reconstruction after Abdominoplasty The
 Midwestern Association of Plastic Surgeons, 51st Annual Educational
 Meeting, April 21-22, 2012, Northwestern Memorial Hospital, Chicago,
 Illinois

 10. Samuel Lake, Iris A. Seitz, MD, Phd, Loren S. Schechter, MD,
 Daniel Peterson, Phd Omentum and Subcutaneous Fat Derived Cell
 Populations Contain hMSCs Comparable to Bone Marrow-Derived
 hMSCsFirst Place, Rosalind Franklin University Summer Research Poster
 Session

 11. J. Siwinski, MS II, Iris A. Seitz, MD PhD, Dana Rioux Forker,
 MD, Lucio A. Pavone, MD, Loren S Schechter, MD FACS. Upper and Lower
 Limb Salvage With Omental Free Flaps: A Long-Term Functional Outcome
 Analysis. Annual Dr. Kenneth A. Suarez Research Day, Midwestern
 University, Downers Grove, IL, May 2014

 12. Whitehead DM, Kocjancic E, Iacovelli V, Morgantini LA, Schechter
 LS. A Case Report: Penile Prosthesis With an Alloderm Wrap Positioned
 After Radial Forearm Phalloplasty. Poster session presented at:
 American Society for Reconstructive Microsurgery Annual Meeting, 2018
 Jan 13-16; Phoenix, AZ.

 13. Whitehead DM, Kocjancic E, Iacovelli V, Morgantini LA, Schechter
 LS. An Innovative Technique: Single Stage Urethral Reconstruction in
 Female-to-Male Patients. Poster session presented at: American

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 Society for Reconstructive Microsurgery Annual Meeting, 2018 Jan 13-
 16; Phoenix, AZ.

 14. Whitehead, DM Inflatable Penile Prosthesis Implantation Post
 Phalloplasty: Surgical Technique, Challenges, and Outcomes, MAPS
 2018 Annual Scientific Meeting, April 14, 2018, Chicago, Il

 15. Whitehead, DM, Inverted Penile Skin With Scrotal Graft And
 Omission of Sacrospinal Fixation: Our Novel Vaginoplasty Technique
 MAPS 2018 Annual Scientific Meeting, April 14, 2018, Chicago, Il

 16. S. Marecik, J. Singh. L. Schechter, M. Abdulhai, K. Kochar, J.
 Park, Robotic Repair of a Recto-Neovaginal Fistula in a Transgender
 Patient Utilizing Intestinal Vaginoplasty, The American College of
 Surgeons Clinical Congress 2020, October 7, 20

 Keynote Address:

 1. University of Utah, Gender Confirmation Surgery, Transgender
 Provider Summit, November 8, 2014

 INVITED LECTURES:
 1. Management of Soft Tissue Injuries of the Face, Grand Rounds,
 Emergency Medicine, The University of Chicago, August, 1999

 2. Case Report: Excision of a Giant Neurofibroma, Operating Room
 Staff Lecture Series, Continuing Education Series, St. Francis
 Hospital, Evanston, Il March 2000

 3.   Wounds, Lincolnwood Family Practice, Lincolnwood, Il April 2000

 4. The Junior Attending, Grand Rounds, Plastic and Reconstructive
 Surgery, The University of Chicago, June 2000

 5. Case Report: Excision of a Giant Neurofibroma, Department of
 Medicine Grand Rounds, St. Francis Hospital, Evanston, Il June 2000

 6. Facial Trauma, Resurrection          Medical   Center   Emergency      Medicine
 Residency, September 2000

 7. Plastic Surgery of the Breast and Abdomen, Grand Rounds, Dept. of
 Obstetrics and Gynecology, Evanston Hospital, September, 2000

 8. Change of Face; Is Cosmetic Surgery for You?, Adult Education
 Series, Rush North Shore Medical Center, October, 2000

 9. Reconstructive Surgery of the Breast, Professional Lecture Series
 on Breast Cancer, St. Francis Hospital, October, 2000


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 10. Plastic Surgery of the Breast and Abdomen, Grand Rounds, Dept.
 of Obstetrics and Gynecology, Lutheran General Hospital, December,
 2000

 11. Change of Face; Is Cosmetic Surgery for You?, Adult Education
 Series, Lutheran General Hospital and The Arlington Heights Public
 Library, December, 2000

 12. Updates in Breast Reconstruction, The Breast Center, Lutheran
 General Hospital, January 2001

 13. Abdominal Wall Reconstruction, Trauma Conference, Lutheran
 General Hospital, February 2001

 14.    Wound Care, Rush North Shore Medical Center, March 2001

 15. Breast Reconstruction, Diagnosis and Treatment Updates on Breast
 Cancer, Lutheran General Hospital, April 2001

 16. Wound Care and V.A.C. Therapy, Double Tree Hotel, Skokie, Il
 October 2001

 17. The Role of the V.A.C. in        Reconstructive Surgery, LaCrosse, WI
 November 2001

 18. Dressing for Success: The Role of the V.A.C. in Reconstructive
 Surgery, Grand Rounds, The University of Minnesota Section of Plastic
 and Reconstructive, Minneapolis, MN January, 2002

 19. The Vacuum Assisted Closure Device in the Management of Complex
 Soft Tissue Defects, Eau Claire, WI February, 2002

 20. The Vacuum Assisted Closure Device in Acute & Traumatic Soft
 Tissue Injuries, Orland Park, Il March, 2002

 21. Body Contouring After Weight Loss, The Gurnee Weight Loss
 Support Group, Gurnee, Il April, 2002

 22. An Algorithm to Complex Soft Tissue Reconstruction With Negative
 Pressure Therapy, Owensboro Mercy Medical Center, Owensboro, Ky,
 April, 2002

 23. Breast and Body Contouring, St. Francis Hospital Weight Loss
 Support Group, Evanston, Il April, 2002

 24. The Wound Closure Ladder vs. The Reconstructive Elevator,
 Surgical Grand Rounds, Lutheran General Hospital, Park Ridge, Il,
 May, 2002.


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 25. An Algorithm for Complex Soft Tissue Reconstruction with the
 Vacuum Assisted Closure Device, The Field Museum, Chicago,Il, May,
 2002

 26. The Role of Negative Pressure Wound Therapy in Reconstructive
 Surgery, Kinetic Concepts, Inc. San Antonio, Texas, July 31, 2002

 27. Management of Complex Soft Tissue Injuries of the Lower
 Extremity, Chicago Trauma Symposium, August 2-5, 2002, Chicago,
 Illinois:

 28. Wound Bed Preparation, Smith Nephew, Oak Brook, Il, August 6,
 2002

 29. Getting Under Your Skin...Is Cosmetic Surgery for You?, Rush
 North Shore Adult Continuing Education Series, Skokie, Il August 28,
 2002.

 30. The Role of Negative Pressure Therapy in Complex Soft Tissue
 Wounds, Columbia/St. Mary's Wound, Ostomy, and Continence Nurse
 Program, Milwaukee, Wi, September 17, 2002

 31. A Systematic Approach to Functional Restoration, Grand Rounds,
 Dept. of Physical Therapy and Rehabilitation Medicine, Lutheran
 General Hospital, September 19, 2002

 32. The Role of Negative Pressure Wound Therapy in Reconstructive
 Surgery, Ann Arbor, Mi September 26, 2002

 33. Dressing for Success: The Role of the Vaccuum Assisted Closure
 Device in Plastic Surgery, Indianopolis, In November 11, 2002

 34. The Wound Closure Ladder Versus the Reconstructive Elevator,
 Crystal Lake, Il November 21, 2002

 35. A Systematic Approach to Functional Restoration, Grand Rounds,
 Dept. of Physical Therapy, Evanston Northwestern Healthcare,
 Evanston, Il February 13, 2003

 36. Case Studies in Traumatic Wound Reconstruction, American
 Association of Critical Care Nurses, Northwest Chicago Area Chapter,
 Park Ridge, Il February 19, 2003

 37. Reconstruction of Complex Soft Tissue Injuries of the Lower
 Extremity, Podiatry Lecture Series, Rush North Shore Medical Center,
 Skokie, Il March 5, 2003

 38. The Use of Negative Pressure Wound Therapy in Reconstructive
 Surgery, Kalamazoo, Mi March 19, 2003

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 39. Updates in Breast Reconstruction, The Midwest Clinical
 Conference, The Chicago Medical Society, Chicago, Il March 21, 2003

 40. Updates of Vacuum Assisted Closure, Grand Rounds, The Medical
 College of Wisconsin, Department of Plastic Surgery, Milwaukee, Wi
 March 26, 2003

 41. Breast Reconstruction, Surgical Grand Rounds, Lutheran General
 Hospital, Park Ridge, Il March 27, 2003

 42. Decision-Making in Breast Reconstruction: Plastic Surgeons as
 Members of a Multi-Disciplinary Team, 1st Annual Advocate Lutheran
 General Hospital Breast Cancer Symposium, Rosemont, Il, April 11,
 2003

 43. The Wound Closure Ladder Versus The Reconstructive Elevator,
 Duluth, Mn, April 24, 2003

 44. Dressing For Successs: The Role of The Wound VAC in
 Reconstructive Surgery, Detroit, Mi, May 9, 2003

 45. Plastic Surgery Pearls, Grand Rounds Orthopedic Surgery
 Physician Assistants Lutheran General Hospital and Finch University
 of Health Sciences, Park Ridge, Il, June 5, 2003

 46. A Systematic Approach to Complex Reconstruction, 12th Annual
 Vendor Fair “Surgical Innovations,” October 18, 2003, Lutheran
 General Hospital, Park Ridge, Il 2003

 47. Dressing For Success: The Role of the Wound VAC in
 Reconstructive Surgery, American Society of Plastic Surgery, October
 26, 2003, San Diego, CA

 48. Beautiful You: From Botox to Weekend Surgeries, 21st Century
 Cosmetic Considerations, March 21, 2004 Hadassah Women’s Health
 Symposium, Skokie, Il

 49. Updates in Breast Reconstruction, The 2nd Annual Breast Cancer
 Symposium, Advocate Lutheran General, Hyatt Rosemont, April 2, 2004

 50. Head and Neck Reconstruction, Grand Rounds, The University of
 Illinois Metropolitan Group Hospitals Residency in General Surgery,
 Advocate Lutheran General Hospital, May 6, 2004

 51. Abdominal Wall Reconstruction, Surgeons Forum, LifeCell
 Corporation, May 15, 2004, Chicago, Il

 52. 4th Annual Chicagoland Day of Sharing for Breast Cancer
 Awareness, Saturday, October 2, 2004, Hoffman Estates, Il

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 53. Abdominal Wall Reconstruction, University of Illinois
 Metropolitan Group Hospitals Residency in General Surgery, November
 19, 2004, Skokie, Il

 54. Advances in Wound Care, Wound and Skin Care Survival Skills,
 Advocate Good Samaritan Hospital, Tuesday, February 8, 2005, Downer’s
 Grove, Il

 55. Plastic Surgery: A Five Year Perspective in Practice, Grand
 Rounds, The University of Chicago, May 18, 2005, Chicago, Il

 56. New Techniques in Breast Reconstruction, The Cancer Wellness
 Center, October 11, 2005 Northbrook, Il

 57. Principles of Plastic Surgery; Soft Tissue Reconstruction of
 the Hand, Rehab Connections, Inc., Hand, Wrist, and Elbow Forum,
 October 28, 2005, Homer Glen, Il

 58. Principles of Plastic Surgery, Lutheran General Hospital
 Quarterly Trauma Conference, November 9, 2005, Park Ridge, Il

 59. Principles of Plastic Surgery, Continuing Medical Education, St.
 Francis Hospital, November 15, 2005, Evanston, Il

 60. Dressing for Success: A Seven Year Experience with Negative
 Pressure Wound Therapy, Kinetic Concepts Inc, November 30, 2005,
 Glenview, Il.

 61. Breast Reconstruction: The Next Generation, Breast Tumor
 Conference, Lutheran General Hospital, May 9, 2006.

 62. Complex Wound Care: Skin Grafts, Flaps, and Reconstruction, The
 Elizabeth D. Wick Symposium on Wound Care, Current Concepts in
 Advanced Healing: An Update, Rush North Shore Medical Center,
 November 4, 2006.

 63. An Approach to Maxillofacial Trauma: Grand Rounds, Lutheran
 General Hospital/Univ. of Illinois Metropolitan Group Hospital
 Residency in General Surgery, November 9, 2006.

 64. “From Paris to Park Ridge”, Northern Trust and Advocate Lutheran
 General Hospital, Northern Trust Bank, June 7, 2007.

 65. “Private Practice Plastic Surgery: A Seven Year Perspective,”
 Grand Rounds, The University of Chicago, Section of Plastic Surgery.

 66. “Meet the Experts on Breast Cancer,”          7th Annual Chicagoland Day
 of Sharing, Sunday, April 13th, 2008


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 67. Gender Confirmation Surgey: Surgical Options and Decision-
 Making, The University of Minnesota, Division of Human Sexuality, May
 10, 2008, Minneapolis, Minnesota.

 68. “Private Practice Plastic Surgery: A Seven Year Perspective,”
 Grand Rounds, Loyola University, 2008 Section of Plastic Surgery.

 69. “Management of Lower Extremity Trauma,” Grand Rounds, The
 University of Chicago, Section of Plastic Surgery, October, 8, 2008.

 70. “Concepts in Plastic Surgery: A Multi-Disciplinary Approach,”
 Frontline Surgical Advancements, Lutheran General Hospital, November
 1, 2008

 71. “Surgical Techniques-New Surgical Techniques/Plastic
 Surgery/Prosthetics,” Caldwell Breast Center CME Series, Advocate
 Lutheran General Hospital, November 12, 2008

 72. “Genetics: A Family Affair” Panel Discussion: Predictive
 Genetic Testing, 23rd Annual Illinois Department of Public Health
 Conference, Oak Brook Hills Marriott Resort, Oak Brook, Il, March 18,
 2009

 73. “Gender Confirmation Surgery” Minnesota TransHealth and Wellness
 Conference, May 15, 2009, Metropolitan State University, Saint Paul,
 MN.

 74. “The Role of Plastic Surgery in Wound Care, “ Practical Wound
 Care A Multidisciplinary Approach, Advocate Lutheran General
 Hospital, October 9-10, 2009, Park Ridge, Il.

 75. “In The Family,” Panel, General Session III, 2009 Illinois
 Women’s Health Conference, Illinois Dept. of Health, Office of
 Women’s Health October 28-29, 2009, Oak Brook, Il.

 76. “Patient Safety in Plastic Surgery,” The University of Chicago,
 Section of Plastic Surgery, Grand Rounds, November 18, 2009.

 77. “Compartment Syndrome,” 6th Annual Advocate Injury Institute
 Symposium, Trauma 2009: Yes We Can!, November 19-20, 2009.

 78. “Maxillofacial Trauma,” 6th Annual Advocate Injury Institute
 Symposium, Trauma 2009: Yes We Can!, November 19-20, 2009.

 79. “Management of Complex Lower Extremity Injuries,” Grand Rounds,
 The Section of Plastic Surgery, The University of Chicago, December
 16, 2009, Chicago, Il.



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 80. “Gender-Confirming MTF Surgery: Indications and Techniques,”
 Working Group on Gender, New York State Psychiatric Institute, March
 12, 2010

 81. “Gender-Confirmation Surgery,” Minnesota Trans Health and
 Wellness Conference, Metropolitan State University, St. Paul Campus,
 May 14th, 2010

 82. “Physical Injuries and Impairments,” Heroes Welcome Home The
 Chicago Association of Realtors, Rosemont, Illinois, May 25th, 2010.

 83. “Genetics and Your Health,” Hadassah Heals: Healing Mind,
 Body, & Soul, Wellness Fair, 2010, August 29, 2010, Wilmette,
 Illinois.

 84. “GCS,” Southern Comfort Conference 2010, September 6-11, 2010,
 Atlanta, GA.

 85. “Gender Confirming Surgery,” The Center, The LGBT Community
 Center, October 22, 2010 New York, NY.

 86. “Gender Confirming Surgery,” the Center, The LGBT Community
 Center, May 20, 2011, New York, NY.

 87. “Gender Confirming Surgery,”        Roosevelt-St. Lukes Hospital, May
 20, 2011, New York, NY

 88. “Principles of Plastic Surgery,” Learn about Ortho, Lutheran
 General Hospital, May 25, 2011, Park Ridge, Il.

 89. “Forging Multidisciplinary Relationships in Private Practice,”
 Chicago Breast Reconstruction Symposium 2011, September 9, 2011,
 Chicago, Il

 90. “Gender Confirming Surgery,” Minnesota TransHealth and Wellness
 Conference, Diverse Families: Health Through Community, September
 10, 2011, Minneapolis, Minnesota

 91. “Gender Confirming Surgery,” University of Chicago, Pritzker
 School of Medicine, Anatomy Class, September 16, 2011, Chicago, Il

 92. “Facial Trauma,” 8th Annual Advocate Injury Institute Symposium,
 Trauma 2011: 40 years in the Making, Wyndham Lisle-Chicago, November
 9-10, 2011

 93. “Establishing a Community-Based Microsurgical Practice,”              QMP
 Reconstructive Symposium, November 18-20, 2011, Chicago, Il



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 94. “Surgery for Gender Identity Disorder,” Grand Rounds, Dept. of
 Obstetrics and Gynecology, Northshore University Health System,
 December 7, 2011

 95. “Managing Facial Fractures,” Trauma Grand Rounds, Lutheran
 General Hospital, Park Ridge, Il July 17, 2012

 96. “Principles of Transgender Medicine,” The University of Chicago
 Pritzker School of Medicine, Chicago, Il, September 7, 2012

 97. “State of the art breast reconstruction,” Advocate Health Care,
 11th Breast Imaging Symposium, January 26, 2013, Park Ridge, Il.

 98. “State of the art breast reconstruction,” Grand Rounds, Dept.
 of Surgery, Mount Sinai Hospital, April 25, 2013, Chicago, Il.

 99. “Getting under your skin: is cosmetic surgery right for you?”
 Lutheran General Hospital community lecture series, May 7, 2013, Park
 Ridge, Il.

 100. “Gender Confirming Surgery,” University of Chicago, Pritzker
 School of Medicine, Anatomy Class, September 27, 2013, Chicago, Il

 101. “State of the Art Breast Reconstruction,” Edward Cancer Center,
 Edward Hospital, October 22, 2013, Naperville, Il

 102. “Transgender Medicine and Ministry,” Pastoral Voice, Advocate
 Lutheran General Hospital, October 23, 2013, Park Ridge, Il

 103. “Principles of Transgender Medicine and Surgery,” The
 University of Illinois at Chicago College of Medicine, January 28,
 2014, Chicago, Il

 104. “Principles of Transgender Medicine and Surgery,” Latest
 Surgical Innovations and Considerations, 22nd Annual Educational
 Workshop, Advocate Lutheran General Hospital, March 1, 2014, Park
 Ridge, Il.

 105. “Principles of Transgender Medicine: Gender Confirming
 Surgery,” Loyola University Medical Center, March 12, 2014.

 106. “Principles of Plastic Surgery,” Grand Rounds, Dept. of
 Obstetrics and Gynecology, Lutheran General Hospital, September 12,
 2014.

 107. “Gender Confirmation Surgery,” The University of Chicago,
 Pritzker School of Medicine, October 3, 2014



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 108. “Private Practice: Is There a Future?” The Annual Meeting of
 The American Society of Plastic Surgical Administrators/The American
 Society of Plastic Surgery Assistants, Chicago, Il, October 11, 2014.

 109. “Private Practice: Is There a Future?” The Annual Meeting of
 The American Society of Plastic Surgery Nurses, Chicago, Il, October
 12, 2014.

 110. “Gender Confirmation Surgery” Grand Rounds, The University of
 Minnesota, Dept. of Plastic Surgery, Minneapolis, MN, October 29,
 2014.

 111. “Body Contour After Massive Weight Loss,” The Bariatric Support
 Group, Advocate Lutheran General Hospital, February 5, 2015, Lutheran
 General Hospital, Park Ridge, Il.

 112. “Gender Confirmation Surgery,” The School of the Art Institute
 of Chicago, February 1, 2015, Chicago, Il.

 113. “Gender Confirmation Surgery,” The Community Kinship Life/Bronx
 Lebanon Department of Family Medicine, Bronx, NY, March 6, 2015

 114. “Gender Confirmation Surgery,” Educational Inservice, Lutheran
 General Hospital, Park Ridge, Il, April 20, 2015

 115. “Principles of Plastic Surgery, “ Surgical Trends, Lutheran
 General Hospital, Park Ridge, Il, May 16, 2015

 116. “Updates on Gender Confirmation Surgery, “ Surgical Trends,
 Lutheran General Hospital, Park Ridge, Il, May 16, 2015

 117. “Gender Confirmation Surgery,” Lurie Childrens’ Hospital,
 Chicago, Il, May 18, 2015,Chicago, Il 2015.

 118. “Gender Confirmation Surgery,” TransClinical Care and
 Management Track Philadelphia Trans-Health Conference, June 5, 2015,
 Philadelphia, Pa.

 119. “Gender Confirmation Surgery: A Fifteen Year Experience,”
 Grand Rounds, The University of Minnesota, Plastic and Reconstructive
 Surgery and the Program in Human Sexuality, July 30, 2015,
 Minneapolis, Mn

 120. “Gender Confirmation Surgery,” Grand Rounds, Tel Aviv Medical
 Center, Tel Aviv, Israel, August 13, 2015

 121. “Gender Confirmation Surgery,” Grand Rounds, University of
 Illinois, Dept of Family Medicine, September 2, 2015


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 122. “Principles of Plastic Surgery,” Grand Rounds, St. Francis
 Hospital, Evanston, Il September 18, 2015

 123. “Gender Confirmation Surgery,” Midwest LGBTQ Health Symposium,
 Chicago, Il, October 2, 2015

 124. “Gender Confirmation Surgery,” Southern Comfort Conference,
 Weston, Fl, October 3, 2015

 125. “Surgical Transitions for Transgender Patients,” Transgender
 Health Training Institute, Rush University Medical Center,
 Chicago,Il, October 8, 2015

 126. “Gender Confirmation Surgery,” The Transgender Health Education
 Peach State Conference, Atlanta, GA, October 30, 2015

 127. “Gender Confirmation Surgery,”         Weiss Memorial Medical Center,
 November 4, 2015, Chicago, Il

 128. “Gender Confirmation Surgery,” University of Illinois at
 Chicago, Operating Room Staff Inservice, November 18, 2015, Chicago,
 Il

 129. “Gender Confirmation Surgery,” University of Illinois at
 Chicago, Plastic Surgery and Urology Inservice, November 18, 2015,
 Chicago, Il

 130. “Gender Confirmation Surgery,”         Weiss Memorial Medical Center,
 November 19, 2015, Chicago, Il

 131. “Gender Confirmation Surgery,” Section of Plastic Surgery, The
 University of Illinois at Chicago, January 13, 2016, Chicago, Il

 132. “Gender Confirmation Surgery,” Dept. of Medicine, Louis A.
 Weiss Memorial Hospital, February 18, 2016, Chicago, Il

 133. “Gender Confirmation Surgery,” BCBSIL Managed Care Roundtable
 March 2, 2016 Chicago, Il

 134. “Gender Confirmation Surgery-MtF,” Keystone Conference, March
 10, 2016, Harrisburg, PA

 135. “Gender Confirmation Surgery-FtM,” Keystone Conference, March
 10, 2016, Harrisburg, PA

 136. “Gender Confirmation Surgery,” Grand Rounds, Dept. of Ob-Gyn,
 March 25, 2016, Lutheran General Hospital, Park Ridge, Il 60068



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 137. “Surgical Management of the Transgender Patient,” Spring
 Meeting, The New York Regional Society of Plastic Surgeons, April 16,
 2016, New York, NY

 138. “A Three Step Approach to Complex Lower Extremity Trauma,”
 University of Illinois at Chicago, April 27, 2016, Chicago, Il.

 139. “Gender Confirmation Surgery,” Howard Brown Health Center, July
 12, 2016, Chicago, Il

 140. “Creating the Transgender Breast M-F; F-M”, ASPS Breast surgery
 and Body Contouring Symposium, Santa Fe, NM, August 25-27, 2016

 141. “Overview of Transgender Breast Surgery,” ASPS Breast surgery
 and Body Contouring Symposium, Santa Fe, NM, August 25-27, 2016

 142. “VTE Chemoprophylaxis in Cosmetic Breast and Body Surgery:
 Science or Myth”, ASPS Breast surgery and Body Contouring Symposium,
 Santa Fe, NM, August 25-27, 2016

 143. “Gender Confirmation Surgery,” Gender Program, Lurie
 Childrens’, Parent Group, September 20, 201, 467 W. Deming, Chicago,
 Il

 144. “Gender Confirmation Surgery,” The American Society of Plastic
 Surgeons Expo, September 24, 2016, Los Angeles, CA

 145. Transgender Surgery, Management of the Transgender Patient,
 Female to Male Surgery, Overview and Phalloplasty, The American
 College of Surgeons, Clinical Congress 2016 October 16-20,2016
 Washington, DC

 146. “Gender Confirmation Surgery,” The Department of Anesthesia,
 The University of Illinois at Chicago, November 9, 2016

 147. “Gender Confirmation Surgery,” The Division of Plastic Surgery,
 The University of Illinois at Chicago, December 14, 2016

 148. “Gender Confirmation Surgery,” Nursing Education, The
 University of Illinois at Chicago, January 10, 2017

 149. “F2M-Radial Forearm Total Phalloplasty: Plastic Surgeon’s
 Point of View,” The European Association of Urologists, Meeting of
 the EAU Section of Genito-Urinary Reconstructive Surgeons (ESGURS),
 London, United Kingdom, March 23-26, 2017

 150. “Gender Confirmation Surgery,” Grand Rounds, The Department of
 Surgery, The University of North Carolina, March 29, 2017.


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 151. “Transgender Facial Surgery,” The Aesthetic Meeting 2017 – 50
 Years of Aesthetics - in San Diego, California April 27– May 2, 2017.

 152. “Gender Confirmation Surgery: A New Surgical Frontier,” 15th
 Annual Morristown Surgical Symposium Gender and Surgery, Morristown,
 NJ, May 5, 2017.

 153. “Gender Confirmation Surgery: A New Surgical Frontier,” Dept.
 of Obstetrics and Gynecology, The Medical College of Wisconsin, May
 24, 2017

 154. “Gender Confirmation Surgery: A New Surgical Frontier,” Dept.
 of Obstetrics and Gynecology, Howard Brown Health Center, August 8,
 2017

 155. “Current State of the Art: Gynecomastia,” ASPS Breast Surgery
 and Body Contouring Symposium, San Diego, CA, August 10-12, 2017

 156. “Gender Confirmation Surgery-An Overview,” ASPS Breast Surgery
 and Body Contouring Symposium, San Diego, CA, August 10-12, 2017

 157. “Gender Confirmation Surgery,” Grand Rounds, Dept. of
 Obstetrics and Gynecology, The University of Chicago, August 25, 2017

 158. “Gender Confirmation Surgery,” Wake Forest School of Medicine,
 Transgender Health Conference, Winston-Salem, NC, September 28-29,
 2017

 159. “Phalloplasty,” Brazilian Professional Association for
 Transgender Health, Teatro Marcos Lindenberg, Universidade Federal de
 São Paulo (Unifesp), November 1-4, 2017

 160. “Gender Confirmation Surgery,” Brazlian Professional
 Association for Transgender Health/WPATH Session, Teatro Marcos
 Lindenberg, Universidade Federal de São Paulo (Unifesp), November 1-
 4, 2017

 161. “Gender Confirmation Surgery,” The Division of Plastic Surgery,
 The University of Illinois at Chicago, December 13, 2017, Chicago, Il

 162. “Gender Confirmation Surgery,” Gender and Sex Development
 Program, Ann and Robert H. Lurie Children’s Hospital of Chicago,
 December 18, 2017, Chicago, Il

 163. “Transgender Breast Augmentation,” 34th Annual Atlanta Breast
 Surgery Symposium, January 19-21, 2018, Atlanta, GA

 164. “Top Surgery: Transmasculine Chest Contouring,” 34th Annual
 Atlanta Breast Surgery Symposium, January 19-21, 2018, Atlanta, GA

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 165. “Gender Confirmation Surgery,” The 17th International Congress
 of Plastic and Reconstructive Surgery in Shanghai, March 18-25, 2018,
 Shanghai, China

 166. “Gender Confirmation Surgery: Facial Feminization and
 Metoidioplasty,” 97th Meeting of the American Association of Plastic
 Surgeons, Reconstructive Symposium, April 7-10, 2018, Seattle, WA

 167. Moderator: “Gender Confirmation Surgery: Top Surgery”, The
 Annual Meeting of The American Society of Aesthetic Plastic Surgery,
 April 26-May 1, 2018, New York, NY

 168. “Gender Confirmation Surgery,” Econsult monthly meeting, Dept.
 of Veterans’ Affaris, May 24, 2018

 169. “Gender Confirmation Surgery,” Transgender Care Conference:
 Improving Care Across the Lifespan, Moses Cone Hospital, Greensboro,
 NC, June 8, 2018

 170. “WPATH State of the Art,” 1st Swiss Consensus Meeting on the
 Standardization of Sex Reassignment Surgery, The University of Basel,
 August 31, 2018-September 1, 2018
 171. “Facial Feminiztion Surgery: The New Frontier?” 1st Swiss
 Consensus Meeting on the Standardization of Sex Reassignment Surgery,
 The University of Basel, August 31, 2018-September 1, 2018

 172. “Current Techniques and Results in Mastectomies,” 1st Swiss
 Consensus Meeting on the Standardization of Sex Reassignment Surgery,
 The University of Basel, August 31, 2018-September 1, 2018

 173. “Gender Confirmation Surgery,” The University of Chicago,
 Pritzker School of Medicine, September 7, 2018, Chicago, Il.

 174. The Business End: Incorporating Gender Confirmation Surgery,
 Plastic Surgery The Meeting, Annual Meeting of The American Society
 of Plastic Surgeons, September 29, 2018, Chicago, Il

 175. Body Contouring in Men, Gynecomastia, Plastic Surgery The
 Meeting, Annual Meeting of The American Society of Plastic Surgeons,
 September 30, 2018, Chicago, Il

 176. Moderator: Breast Augmentation and Chest Surgery in Gender
 Diverse Individuals, Plastic Surgery The Meeting, Annual Meeting of
 The American Society of Plastic Surgeons, October 1, 2018, Chicago,
 Il

 177. Moderator: Aesthetic Surgery of The Male Genitalia, Plastic
 Surgery The Meeting, Annual Meeting of The American Society of
 Plastic Surgeons, October 1, 2018, Chicago, Il

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 178. Moderator: Gender Confirmation Surgeries: The Standards of
 Care and Development of Gender Identity, Plastic Surgery The Meeting,
 Annual Meeting of The American Society of Plastic Surgeons, October
 1, 2018, Chicago, Il

 179. The Center for Gender Confirmation Surgery Lecture Series,
 “Introduction to Gender Confirmation Surgery,” Weiss Memorial
 Hospital, October 17, 2018, Chicago, Il

 180. Institute 3: Gender Dysphoria Across Development:
 Multidisciplinary Perspectives on the Evidence, Ethics, and Efficacy
 of Gender Transition, Gender Confirming Care in Adolescence:
 Evidence, Timing, Options, and Outcomes, The American Academy of
 Child and Adolescent Psychiatry, 65th Annual Meeting, October 22-27,
 2018, Seattle, WA

 181. Gender Confirmation Surgery, Combined Endocrine Grand Rounds,
 The University of Illinois at Chicago, Rush University, Cook County
 Hospital, January 8, 2019

 182. Gender Confirmation Surgery: An Update, Division of Plastic
 Surgery, The University of Illinois at Chicago, January 23, 2019

 183. Gender Confirmation Surgery from Top to Bottom: A 20 Year
 Experience, Grand Rounds, The Department of Surgery, Ochsner Health
 System, January 30, 2019, New Orleans, LA

 184. Master Series of Microsurgery: Battle of the Masters
 One Reconstructive Problem – Two Masters with Two Different
 Approaches, Gender Affirmation, Male-to-Female Vaginoplasty:
 Intestinal Vaginoplasty, The American Society for Reconstructive
 Microsurgery, Palm Desert, California, February 2, 2019

 185. Gender Confirmation Surgery: From Top to Bottom, The
 University of Toronto, Toronto, Canada, February 21, 2019

 186. Gender Confirmation Surgery: Where are We, The University of
 Toronto, Toronto, Canada, February 21, 2019

 187. Professors’ Rounds: Gender Confirmation Surgery: A Twenty
 Year Experience, Princess Margaret Hospital, Toronto, Canada,
 February 22, 2019

 188. A 3 Step Approach to Lower Extremity Trauma, Plastic Surgery at
 The Red Sea, Eilat, Israel, March 6-9, 2019.

 189. Gender Surgery: Where are We Now?, Plastic Surgery at The Red
 Sea, Eilat, Israel, March 6-9, 2019.


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 190. Gender Confirmation Surgery, A Single Surgeon’s 20 Year
 Experience, Plastic Surgery at The Red Sea, Eilat, Israel, March 6-9,
 2019.

 191. Gender Confirmation Surgery: Where We Have Been and Where We
 Are Going, Grand Rounds, The University of Chicago, Section of
 Plastic Surgery, March 13, 2019

 192. Gender Confirmation Surgery: From Top To Bottom, Resident Core
 Curriculum Conference, The University of Chicago, Section of Plastic
 Surgery, March 13, 2019.

 193. “Gender Confirmation Surgery,” WPATH/AMSA Medical School Trans
 Health Elective, Webinar, March 13, 2019

 194. Robotic Vaginoplasty: An Alternative to Penile Inversion
 Vaginoplasty in Cases of Insufficient Skin, Vaginal Stenosis, and
 Rectovaginal Fistula. The European Professional Association for
 Transgender Health, April 9-13, Rome, Italy

 195. Current State of Gender-Affirming Surgery in the US and Beyond,
 Gender-affirming genital surgery presented by the American Urologic
 Association in collaboration with the Society for Genitourinary
 Reconstructive Surgeons (GURS), May 2, 2019, Chicago, Il

 196. Surgical Training-How Can I get it, The Aesthetic Meeting 2019,
 New Orleans, LA, May 20, 2019

 197. What is the Standard of Care in This New Frontier, The
 Aesthetic Meeting 2019, New Orleans, LA, May 20, 2019

 198. The 20th Annual Chicago Orthopedic Symposium, August 15-18, 2019,
 Chicago, Il “Soft Tissue Defects-Getting Coverage”

 199. Gender Confirmation Sugery, The Potocsnak Family Division of
 Adolescent and Young Adult Medicine, Ann & Robert H. Lurie Children’s
 Hospital of Chicago, August 19, 2019

 200. Anatomy, Embryology, and Surgery, The University of Chicago,
 First Year Medical Student Anatomy Lecture, September 9, 2019, The
 University of Chicago, Chicago, Il.

 201. Gender Confirmation Surgery, Howard Brown Health Center Gender
 Affirming Learning Series, September 13, 2019, Chicago, Il.

 202. Moderator, Patient Selection in Gender Affirming Survey
 Surgery, 88th Annual Meeting of The American Society of Plastic
 Surgeons, September 20-23, 2019, San Diego, CA


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 203. Breast Augmentation in Transwomen: Optimizing Aesthetics and
 Avoiding Revisions, 88th Annual Meeting of The American Society of
 Plastic Surgeons, September 20-23, 2019, San Diego, CA

 204. Breast Reconstruction, State of the Art, NYU-Langone Health,
 NYU School of Medicine, Standards of Care and Insurance Coverage,
 Saturday, November 23, 2019, New York, NY.

 205. ASRM Masters Series in Microsurgery: Think Big, Act Small:
 The Building Blocks for Success, “Building a Microsurgery Private
 Practice from the Ground Up”, 2020 ASRM Annual Meeting, Ft.
 Lauderdale, Florida, January 10-14, 2020

 206. ASPS/ASRM Combined Panel II: Gender Affirmation Surgery:
 Reconstruction Challenges of Function and Sensation, 2020 ASRM Annual
 Meeting, Ft. Lauderdale, Florida, January 10-14, 2020

 207. Rush University Medical Center, Division of Urology, Grand
 Rounds, “Gender Confirmation Surgery: A Single Surgeon’s
 Experience,” January 22, 2020

 208. Rush University Medical Center, Department of General Surgery,
 Grand Rounds, “Gender Confirmation Surgery: A Single Surgeon’s
 Experience,” February 5, 2020.

 209. WPATH/AMSA (American Medical Association) Gender Scholar
 Course, Webinar, March 11, 2020

 210. Rush University Medical Center, Division of Plastic Surgery,
 Weekly Presentation, Gender Confirmation Surgery: Can a Surgeon
 Provide Informed Consent?, April 29, 2020

 211. Legal Issues Faced by the Transgender Community, ISBA Standing
 Committee on Women and The Law and the ISBA Standing Committee on
 Sexual Orientation and Gender Identity, Co-Sponsored by the National
 Association of Women Judges District 8, Live Webinar, May 28, 2020

 212. Principles of Transgender Surgery, National Association of
 Women’s Judges, District 8, Webinar, June 4, 2020

 213. Gender-Affirming Surgery, National Association of Women’s
 Judges, District 8, Webinar, July 8, 2020

 214. Gender-Affirming Surgery, The University of Chicago, Pritzker
 School of Medicine, 1st year Anatomy, September 15, 2020

 215. Gender-Affirming Surgery, Rush University Medical School, 2nd
 year Genitourinary Anatomy, September 16, 2020.


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 216. Surgical Management of the Transgender Patient, Rosalind
 Franklin University, The Chicago Medical School, Plastic Surgery
 Interest Group, October 7, 2020

 217. Breast Augmentation in Transgender Individuals, The American
 Society of Plastic Surgeons Spring Meeting, March 20, 2021

 218. International Continence Society Institute of Physiotherapy
 Podcast 5-Pelvic Floor Most Common Disorders and Transgender Patients
 (recorded April 30, 2021)

 219. The American Association of Plastic Surgeons Annual Meeting,
 Reconstructive Symposium, Gender Affirmation Panel, Complications of
 GCS, Miami, FL, May 15, 2021 (presented virtually)




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                  Exhibit 




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                                                                        Page 1

1                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
2
3
4         MAXWELL KADEL, et al.,                             )
                                                             )
5                    Plaintiffs,                             )
                                                             )
6                    -vs-                                    ) Civil Action No.
                                                             )   1:19-cv-00272
7         DALE FOLWELL, in his official                      )
          capacity as State Treasurer of                     )
8         North Carolina, et al.,                            )
                                                             )
9                    Defendants.                             )
10
11
12
13                       The videotaped videoconference deposition
14       of RANDI C. ETTNER, Ph.D., reported remotely by
15       JUNE M. FUNKHOUSER, CSR, RMR, and Notary Public,
16       pursuant to the Federal Rules of Civil Procedure
17       for the United States District Courts pertaining to
18       the taking of depositions, commencing at 9:35 a.m.
19       on October 15, 2021.
20
21
22
23
24

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                                                                    Page 2

1                  There were present via videoconference at
2        the taking of this deposition the following counsel:
3
                MCDERMOTT WILL & EMERY, LLP by
4               MR. MICHAEL W. WEAVER
                444 West Lake Street
5               Chicago, Illinois 60606
                312.984.5820 | 312.984.7700 (fax)
6               mweaver@mwe.com
7                    and
8               LAMBDA LEGAL DEFENSE AND EDUCATION
                FUND, INC. by
9               MR. OMAR GONZALEZ-PAGAN
                120 Wall Street, 19th Floor
10              New York, New York 10005
                212.809.8585 | 212.809.0055 (fax)
11              ogonzalez-pagan@lambdalegal.org
12                   on behalf of the Plaintiffs;
13              LAW OFFICE OF JOHN G. KNEPPER, LLC by
                MR. JOHN G. KNEPPER
14              P.O. Box 1512
                Cheyenne, Wyoming 82003
15              307.632.2842 | 307.432.0310 (fax)
                john@knepperllc.com
16
                           and
17
                BELL DAVIS & PITT, P.A. by
18              MR. KEVIN G. WILLIAMS
                100 North Cherry Street, Suite 600
19              Winston-Salem, North Carolina 27101
                336.722.3700 | 336.722.8153 (fax)
20              kwilliams@belldavispitt.com
21                   on behalf of Defendants Treasurer Dale
                     Folwell, Administrator Dee Jones, and the
22                   North Carolina State Health Plan for
                     Teachers and State Employees.
23
         ALSO PRESENT:       Mr. Dave Young, Videographer.
24

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1                                       I N D E X
2        Witness:                                                        Page
3        RANDI C. ETTNER, Ph.D.
4        Examination by Mr. Knepper                                        7
         Examination by Mr. Gonzalez-Pagan                               183
5        Further Examination by Mr. Knepper                              188
6
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7                                                                        Page
         EXHIBIT 1                                                         14
8             Expert Rebuttal Report of
              Dr. Randi C. Ettner, Ph.D.
9
         EXHIBIT 2                                                           14
10            Exhibit A (Curriculum Vitae) to
              Expert Rebuttal Report of
11            Dr. Randi C. Ettner, Ph.D.
12       EXHIBIT 3                                                           14
              Exhibit B (Bibliography)to
13            Expert Rebuttal Report of
              Dr. Randi C. Ettner, Ph.D.
14
         EXHIBIT 4                                                           70
15            Washington Post Article, 8/31/17
16       EXHIBIT 5                                                           87
              Specialty Guidelines for Forensic
17            Psychology, January 2013, American
              Psychologist
18
         EXHIBIT 6                                                        106
19            WPATH Standards of Care, Version 7
20       EXHIBIT 7                                                        125
              Article by Tracey, Wampold,
21            Lichtenberg, and Goodyear, April 2014,
              American Psychologist
22
         EXHIBIT 8                                     135
23            Article by Bränström-Pachankis, American
              Journal of Psychiatry 177:8, August 2020
24

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                                                                   Page 17

1        provide you with facts or data that you were to
2        consider in forming your opinions in this case?
3               A        No.
4               Q        Did they present assumptions to you that
5        you were to rely upon in forming your opinions in
6        this case?
7               A        No.
8               Q        Does your expert reportal -- expert
9        report, rather, contain all of the opinions you
10       wish to present to the Court in this matter?
11              A        At this time, yes.
12              Q        Are there any changes you wish to make to
13       the opinions expressed in your report?
14              A        No.
15              Q        Are there any additions you wish to make
16       to the opinions expressed in your report?
17              A        No.
18              Q        Dr. Ettner, what is gender dysphoria?
19              A        Gender dysphoria is a condition that can
20       result from an individual's distress at having a
21       gender identity that doesn't align with the sex
22       they're assigned at birth.
23              Q        Is that a psychiatric diagnosis?
24              A        No.   It's a serious medical condition.


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1               Q        Do you -- so when -- do you treat
2        individuals with gender dysphoria?
3               A        Yes.
4               Q        Okay.     Do you diagnose individuals with
5        gender dysphoria?
6               A        Yes.
7               Q        Are there codes you use to diagnose
8        individuals with gender dysphoria?
9               A        By codes are you referring to the codes
10       in the ICD or the DSM-5?
11              Q        I'm asking if you use codes and then I'm
12       going to follow up with which codes, yes.
13              A        Occasionally I use codes if I need to
14       interface with insurance companies.
15              Q        And which codes do you use when you
16       interface with insurance companies?
17              A        That would depend on the individual and
18       what conditions they're experiencing.
19              Q        So your -- do you use the DSM-5 in
20       diagnosing individuals with gender dysphoria?
21                       MR. GONZALEZ-PAGAN:             Objection; form.
22                              You may answer.
23                       THE WITNESS:        I use the DSM-5 codes if I
24       need to document gender dysphoria for insurance


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                                                                   Page 99

1               Q        And when did you step down as -- and
2        assume the role of immediate past secretary of
3        WPATH?
4               A        That -- that position ended in November
5        of last year.
6                              I believe it's a two-year term, so I
7        believe I would have served four years in that
8        position.
9               Q        What is the purpose of the WPATH Version
10       7 Standards of Care?
11              A        The WPATH Standards of Care translated
12       into 18 languages are the guidelines that inform
13       care throughout the world and are accepted by major
14       medical associations and most -- many insurance
15       companies and even some state and federal prisons.
16              Q        Dr. Ettner, are you familiar with the
17       National Guidelines Clearinghouse?
18              A        No.
19              Q        Were the WPATH Version 7 Standards of
20       Care ever submitted for approval as clinical
21       practice guidelines to the National Guidelines
22       Clearinghouse?
23              A        I don't know.
24              Q        You mentioned that you have a role in the


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              Exhibit 25(a)




Case 1:19-cv-00272-LCB-LPA Document 181-1 Filed 12/20/21 Page 316 of 590
                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,

                      Plaintiffs,

                        v.                            No. 1:19-cv-00272-LCB-LPA

 DALE FOLWELL, et al.,

                      Defendants.



       EXPERT REBUTTAL REPORT OF DR. RANDI C. ETTNER, PH.D.

       1.     My name is Randi C. Ettner. I have been retained by counsel for plaintiffs

Maxwell Kadel, Jason Fleck, Connor Thonen-Fleck, Julia Mckeown, Michael D. Bunting,

Jr., C.B., Sam Silvaine, and Dana Caraway (collectively, “Plaintiffs”) as an expert in

connection with the above-captioned litigation.

       2.     I have been asked by Plaintiffs’ counsel to provide my expert opinion on

gender identity, the treatment and diagnosis of gender dysphoria, and more specifically, to

respond to, rebut, and provide my expert opinion regarding the reports by Dr. Stephen R.

Levine, Dr. Paul R. McHugh, Dr. Paul W. Hruz, and Dr. Patrick W. Lappert in this case.

       3.     I have actual knowledge of the matters stated herein. If called to testify in

this matter, I would testify truthfully and based on my expert opinion.




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   I.        BACKGROUND AND QUALIFICATIONS

        4.     I am a licensed clinical and forensic psychologist with expertise concerning

the diagnosis and treatment of gender dysphoria. I received my doctorate in psychology

from Northwestern University in 1979. I was the chief psychologist at the Chicago Gender

Center from 2005 to 2016, when it moved to the Weiss Memorial Hospital. Since that

time, I have been a consultant to the Center for Gender Confirmation Surgery at Weiss

Memorial Hospital and a member of the Medical Staff. The center specializes in the

treatment of individuals with gender dysphoria. I have been involved in the treatment of

patients with gender dysphoria since 1977, when I was an intern at Cook County Hospital

in Chicago.

        5.     I am a Fellow and Diplomate in Clinical Evaluation of the American Board

of Psychological Specialties, and a Fellow and Diplomate in Trauma/Posttraumatic Stress

Disorder (PTSD).

        6.     During the course of my career, I have evaluated and/or treated over 3,000

individuals with gender dysphoria and mental health issues related to gender variance.

        7.     I have published four books related to the treatment of individuals with

gender dysphoria, including the medical text entitled Principles of Transgender Medicine

and Surgery (Ettner, Monstrey & Eyler, 2007) and the second edition (Ettner, Monstrey &

Coleman, 2016). I also have authored numerous articles in peer-reviewed journals




                                               2

EXPERT REBUTTAL REPORT OF DR. RANDI C. ETTNER, Ph.D.
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regarding the provision of care to this population. I serve as a member of the editorial

boards for the International Journal of Transgenderism and Transgender Health.

       8.     I am the immediate past Secretary of the World Professional Association for

Transgender Health (“WPATH”) (formerly the Harry Benjamin Gender Dysphoria

Association), as well as a member of the Board of Directors for 12 years. I am an author

of the WPATH Standards of Care for the Health of Transsexual, Transgender and Gender-

nonconforming People (7th version), published in 2011. The WPATH promulgated

Standards of Care (“Standards of Care”) are the internationally recognized guidelines for

the treatment of persons with gender dysphoria and serve to inform medical treatment in

the United States and throughout the world.

       9.     I have lectured throughout North America, South America, Europe, and Asia

on topics related to gender dysphoria, and on numerous occasions I have presented grand

rounds on gender dysphoria at medical hospitals.

       10.    I am the honoree of the externally-funded Randi and Fred Ettner Fellowship

in Transgender Health at the University of Minnesota. I have been an invited guest at the

National Institute of Health to participate in developing a strategic research plan to advance

the health of sexual and gender minorities, and in November 2017 was invited to address

the Director of the Office of Civil Rights of the United States Department of Health and

Human Services regarding the medical treatment of gender dysphoria. I received a




                                               3

EXPERT REBUTTAL REPORT OF DR. RANDI C. ETTNER, Ph.D.
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commendation from the United States House of Representatives on February 5, 2019

recognizing my work for WPATH and on the treatment of gender dysphoria in Illinois.

       11.    I have treated hundreds of PTSD patients who experience the long-term

psychological effects of trauma. As a forensic psychologist, I have been retained as an

expert and testified in numerous cases about the harm that befalls victims of criminal

victimization, natural catastrophes, and exposure to extremely stressful events.

       12.    I have been retained as an expert regarding gender dysphoria and its

treatment in multiple court cases in both state and federal courts, as well as administrative

proceedings, and have repeatedly qualified as an expert. I have also been a consultant to

policy makers regarding appropriate care for transgender inmates and for the Centers for

Medicare and Medicaid in the state of Illinois.

       13.    In preparing this report, I have relied on my training and years of research

and clinical experience, as set out in my curriculum vitae, and on the materials listed

therein. A true and accurate copy of my curriculum vitae is attached hereto as Exhibit A.

It documents my education, training, research, and years of experience in this field and

includes a list of my publications.

       14.    I have also reviewed the materials listed in the attached bibliography (Exhibit

B). The sources cited therein are authoritative, scientific peer-reviewed publications. I

generally rely on these materials when I provide expert testimony, and they include the




                                               4

EXPERT REBUTTAL REPORT OF DR. RANDI C. ETTNER, Ph.D.
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documents specifically cited as supportive examples in particular sections of this

declaration.

       15.     In addition, I have reviewed the Amended Complaint in this case and the

reports by Dr. Levine, Dr. McHugh, Dr. Hruz, and Dr. Lappert, as well as the reports by

Dr. George Brown, Dr. Loren Schechter, Dr. Dan Karasic, and Dr. Johanna Olson-

Kennedy. I may rely on these documents, as well as those cited in curriculum vitae and

the attached bibliography, as additional support for my opinions.

       16.     The materials I have relied upon in preparing this report are the same types

of materials that experts in my field of study regularly rely upon when forming opinions

on the subject. I reserve the right to revise and supplement the opinions expressed in this

report or the bases for them if any new information becomes available in the future,

including as a result of new scientific research or publications or in response to statements

and issues that may arise in my area of expertise.

       Prior Testimony

       17.     In the last four years, I have testified as an expert at trial or by deposition in

the following cases: Singer v. Univ. of Tennessee Health Sciences Ctr., No. 2:19-cv-02431-

JPM-cgc (W.D. Tenn. 2021); Morrow v. Tyson Fresh Meats, Inc., No. 6:20-cv-02033

(N.D. Iowa 2021); Claire v. Fla. Dep’t of Mgmt. Servs., No. 4:20-cv-00020-MW-MAF

(N.D. Fla. 2020); Williams v. Allegheny Cty., No. 2:17-cv-01556-MJH (W.D. Pa. 2020);

Gore v. Lee, No. 3:19-CV-00328 (M.D. Tenn. 2020); Eller v. Prince George’s Cty. Public


                                               5

EXPERT REBUTTAL REPORT OF DR. RANDI C. ETTNER, Ph.D.
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Sch., No. 8:18-cv-03649-TDC (D. Md. 2020); Monroe v. Baldwin, No. 18-CV-00156-NJR-

MAB (S.D. Ill. 2020); Ray v. Acton, No. 2:18-cv-00272 (S.D. Ohio 2019); Soneeya v.

Turco, No. 07-12325-DPW (D. Mass. 2019); Edmo v. Idaho Dep’t of Correction, No. 1:17-

CV-00151-BLW, 2018 WL 2745898 (D. Idaho 2018); Carillo v U.S. Dep’t of Justice Exec.

Office of Immig. Rev. (2017).

         Compensation

         18.     I am being compensated for my work on this matter at a rate of $375.00 per

hour for preparation of declarations and expert reports. I will be compensated $500.00 per

hour for any pre-deposition and/or pre-trial preparation and any deposition testimony or

trial testimony. I will receive a flat fee of $2,500.00 for any travel time to attend deposition

or trial, and will be reimbursed for reasonable out-of-pocket travel expenses incurred for

the purpose of providing expert testimony in this matter. My compensation does not

depend on the outcome of this litigation, the opinions I express, or the testimony I may

provide.

   II.         EXPERT OPINIONS

         19.     Drs. Levine, McHugh, Hruz, and Lappert all show a lack of familiarity with

the nature, diagnosis, and treatment of gender dysphoria. Not only are all of them outside

the mainstream of transgender health, but they largely have limited to no experience with

the diagnosis and treatment of gender dysphoria.




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       20.    Thus, before setting forth some more specific critiques of their reports, in

subsections A-C, I provide some necessary context in the form of an overview of the nature

of gender identity, gender dysphoria and its treatments, as well as the benefits of treatment

and harms that flow from the denial of such treatment.

       21.    In addition, the specific critiques in subsections D-G below may apply to

more than one expert report.

   A. Sex and Gender Identity

       22.    At birth, infants are assigned a sex, typically male or female, based solely on

the appearance of their external genitalia. For most people, that assignment turns out to be

accurate, and their birth-assigned sex matches that person’s actual sex. However, for

transgender people, the sex assigned at birth does not align with the individual’s genuine,

experienced sex, resulting in the clinical distress that characterizes the condition of gender

dysphoria.

       23.    Research has identified that determination of sex is far more complex than

what is seen as part of a genital exam.            Instead, a number of factors go into the

determination of a person’s sex. Among the factors that comprise a person’s sex are their

chromosomal composition (detectible through karyotyping); gonads and internal

reproductive organs (detectible by ultrasound, and occasionally by a physical pelvic exam);

external genitalia (which are visible at birth); fetal hormones (production of sex hormones

by the fetus or exogenous exposure of sex hormones to the developing fetus); pubertal


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hormones (the change in hormonal milieu that results in the development of secondary

sexual characteristics, such as facial hair and deep voice for those assigned male at birth,

or breasts and menstrual cycles for those assigned female at birth); sexual differentiations

in brain development and structure (detectible by functional magnetic resonance imaging

studies and autopsy); and gender identity.

       24.    Gender identity is a person’s inner sense of belonging to a particular sex,

such as male or female. It is a deeply felt and core component of human identity, and is a

well established concept in science and medicine. Every person has a gender identity. Like

non-transgender people (also known as cisgender people), transgender people do not

simply have a “preference” to act or behave consistently with each one’s gender identity.

       25.    The only difference between transgender people and cisgender people is that

the latter have gender identities that are consistent with their birth-assigned sex whereas

the former do not. A transgender man cannot simply turn off his gender identity like a

switch, any more than anyone else could.

       26.    In other words, transgender men are men and transgender women are women.

       27.    A growing assemblage of research documents that gender identity is

immutable and biologically based. Efforts to change an individual’s gender identity are

therefore both futile and unethical.

       28.    The evidence demonstrating that gender identity cannot be altered, either for

transgender or for non-transgender individuals, further underscores the innate and


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immutable nature of gender identity. Past attempts to “cure” transgender individuals by

means of psychotherapy, aversion treatments or electroshock therapy, in order to change

their gender identity to match their birth-assigned sex, have proven ineffective and caused

extreme psychological damage. All major associations of medical and mental health

providers, such as the American Medical Association, the American Psychiatric

Association, the American Psychological Association, and WPATH’s Standards of Care,

consider such efforts unethical.

   B. Gender Dysphoria and Its Treatment

       29.      Gender dysphoria is the clinically significant distress or impairment of

functioning that can result from the incongruence between a person’s gender identity and

the sex assigned to them at birth. Gender dysphoria is a serious medical condition

associated with severe and unremitting distress that results from the incongruity between

various aspects of one’s sex. It is codified in the International Classification of Diseases

(11th revision: World Health Organization), the diagnostic and coding compendia for

mental health and medical professionals, and the American Psychiatric Association’s

Diagnostic and Statistical Manual of Mental Disorders, Fifth Edition (DSM-5). People

diagnosed with gender dysphoria have an intense and persistent discomfort with their

assigned sex.

       30.      In 1980, the American Psychiatric Association introduced the diagnostic

term gender identity disorder (GID) in the third edition of the Diagnostic and Statistical


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Manual of Mental Disorders (DSM-III). The diagnosis of GID was maintained in a revised

version of DSM, known as DSM-III-R (1987), as well as in the DSM-IV, which was issued

in 1994. The gender identity disorder diagnosis presupposed that a person’s identity was

disordered, and was therefore a permanent condition.

       31.    In 2013, the American Psychiatric Association removed the GID diagnosis

and replaced it with a fundamentally different diagnosis, gender dysphoria. The change

was not merely a name change but was based on the evolving scientific understanding that

gender incongruence is not a mental illness, but rather a serious, treatable medical condition

that creates significant distress. This new diagnostic term, gender dysphoria, is an

acknowledgment that gender incongruence, in and of itself, does not constitute a mental

disorder. Nor is an individual’s identity disordered. Rather, the diagnosis is based on the

distress or dysphoria that some transgender people experience as a result of the

incongruence between the sex assigned at birth and gender identity, and the social problems

that ensue. The critical element of the gender dysphoria diagnosis is the presence of

symptoms that meet the threshold of clinical impairment. The American Psychiatric

Association changed the name and diagnostic criteria to be “more descriptive than the

previous DSM-IV term gender identity disorder and focus[] on dysphoria as the clinical

problem, not identity per se.” DSM-5 at 451.




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           32.          “Gender Dysphoria” is the name of the diagnosis, and “gender dysphoria” is

also the psychiatric term for the severe and unremitting distress that the condition gives

rise to.

           33.          Children as young as three years of age may display gender non-conforming

behavior and be diagnosed with “Gender Dysphoria in Childhood” (DSM-5). As these

youngsters develop the ability to verbalize their discomfort with their assigned sex and

anatomy, they often express the distress as “being trapped in the wrong body.”

           34.          The diagnostic criteria for gender dysphoria in Adolescents and Adults are

as follows:

           a. A marked incongruence between one’s experienced/expressed gender and

                 assigned gender, of at least six months’ duration, as manifested by at least two

                 of the following:

                   i.      A marked incongruence between one’s experienced/expressed gender

                           and primary and/or secondary sex characteristics (or in young

                           adolescents, the anticipated secondary sex characteristics).

                  ii.      A strong desire to be rid of one’s primary and/or secondary sex

                           characteristics because of a marked incongruence with one’s

                           experienced/expressed gender (or in young adolescents, a desire to

                           prevent the development of the anticipated sex characteristics).




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             iii.      A strong desire for the primary and/or secondary sex characteristics of

                       the other gender.

             iv.       A strong desire to be of the other gender (or some alternative gender

                       different from one’s assigned gender).

              v.       A strong desire to be treated as the other gender (or some alternative

                       gender different from one’s assigned gender).

             vi.       A strong conviction that one has the typical feelings and reactions of the

                       other gender (or some alternative gender different from one’s assigned

                       gender).

       b. The condition is associated with clinically significant distress or impairment in

             social, occupational or other important areas of functioning.

       35.          Once a diagnosis of gender dysphoria is established, individualized treatment

should be initiated. Without treatment, individuals with gender dysphoria experience

anxiety, depression, suicidality, and other attendant mental health issues and are often

unable to adequately function in occupational, social, or other areas of life.

       36.          The medically accepted standards of care for treatment of gender dysphoria

are set forth in the WPATH Standards of Care (7th version, 2011), first published in 1979.

The WPATH-promulgated Standards of Care are the internationally recognized guidelines

for the treatment of persons with gender dysphoria and inform medical treatment

throughout the world.


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       37.    The American Medical Association, the Endocrine Society, the American

Psychological Association, the American Psychiatric Association, the World Health

Organization, the American Academy of Family Physicians, the National Commission of

Correctional Health Care, the American Public Health Association, the National

Association of Social Workers, the American College of Obstetrics and Gynecology, the

American Society of Plastic Surgeons, and The American Society of Gender Surgeons all

endorse protocols in accordance with the WPATH standards. (See, e.g., AMA, 2019;

American Psychological Association, 2015; Drescher, et al., 2018 (American Psychiatric

Association); Hembree, et al., 2017 (Endocrine Society); ACOG, 2021; NCCHC, 2009).

       38.    The Standards of Care identify the following treatment protocols for treating

individuals with gender dysphoria, which should be tailored to the patient’s individual

medical needs:

              x Changes in gender expression and role, also known as social transition

                  (which involves living in the gender role consistent with one’s gender

                  identity);

              x Hormone therapy to feminize or masculinize the body in order to reduce

                  the distress caused by the discordance between one’s gender identity and

                  sex assigned at birth;

              x Surgery to change primary and/or secondary sex characteristics; and




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              x Psychotherapy (individual, couple, family, or group) for purposes such as

                  exploring gender identity, role, and expression; addressing the negative

                  impact of gender dysphoria and stigma on mental health; alleviating

                  internalized transphobia; enhancing social and peer support; improving

                  body image; and promoting resilience.

       39.    The ability to live in a manner consistent with one’s gender identity is critical

to a person’s health and well-being and is a key aspect in the treatment of gender dysphoria.

The process by which transgender people come to live in a manner consistent with their

gender identity, rather than the sex they were assigned at birth, is known as transition. The

steps that each transgender person takes to transition are not identical.

       40.    Once a diagnosis is established, a treatment plan should be developed based

on the individualized assessment of the medical needs of the patient. In other words,

whether any particular treatment is medically necessary or even appropriate depends on

the medical needs of the individual.

       41.    Psychotherapy: Psychotherapy can provide support and help with many

issues that arise in tandem with gender dysphoria. However, psychotherapy alone is not a

substitute for medical intervention when medical interventions are required, nor is it a

precondition for medically indicated treatment. By analogy, counseling can be useful for

patients with diabetes by providing psychoeducation about living with chronic illness and

nutritional information, but counseling does not obviate the need for insulin.


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       42.    Hormone Therapy: For individuals with persistent, well-documented

gender dysphoria, hormone therapy is an essential, medically indicated treatment to

alleviate the distress of the condition. Cross sex hormone administration is a well-

established and effective treatment modality for gender dysphoria. The American Medical

Association, the Endocrine Society, the American Psychiatric Association, and the

American Psychological Association all concur that hormone therapy, provided in

accordance with the WPATH Standards of Care, is the medically necessary, evidence-

based, best practice care for most patients with gender dysphoria.

       43.    The goals of hormone therapy are (1) to significantly reduce hormone

production associated with the person’s birth sex, causing the unwanted secondary sex

characteristics to recede, and (2) to replace the natal, circulating sex hormones with either

feminizing or masculinizing hormones, using the principles of hormone replacement

treatment developed for hypogonadal patients (i.e., those born with insufficient sex steroid

hormones).

       44.    The therapeutic effects of hormone therapy are twofold.            First, with

endocrine treatment, the patient acquires secondary sex characteristics congruent with their

gender identity. For transgender women, this means, inter alia, breast development,

redistribution of body fat, cessation of male pattern baldness, and reduction of body hair.

For transgender men, this means, inter alia, the voice deepens, growth of facial and body

hair, redistribution of body fat, and overall increase in muscle mass. Second, hormones act


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directly on the brain, via receptor sites, attenuating the dysphoria and attendant psychiatric

symptoms, and promoting a sense of well-being.

       45.     Surgical Treatment: For individuals with severe gender dysphoria,

hormone therapy alone is insufficient. In these cases, dysphoria does not abate without

surgical intervention.

       46.    For many transgender women patients, hormones alone will not provide

sufficient breast development to approximate the female torso. For these patients, breast

augmentation has a dramatic, irreplaceable, and permanent effect on reducing gender

dysphoria, and thus unquestionable therapeutic results. Conversely, for many transgender

men, hormones alone do not reduce breast tissue and they therefore require surgical

intervention, such as a mastectomy and male chest contouring, to eliminate this most

obvious typically female sex characteristic.

       47.    For transgender women, genital confirmation surgery has two therapeutic

purposes. First, removal of the testicles eliminates the major source of testosterone in the

body. Second, the patient attains body congruence resulting from the normal appearing

and functioning female uro-genital structures. Both outcomes are crucial in attenuating or

eliminating gender dysphoria. Additionally, breast augmentation procedures play the

critical role in treatment mentioned in the paragraph immediately above.

       48.    For many transgender men, gender confirmation surgery in the form of a

hysterectomy—the removal of female reproductive organs, such as the uterus, ovaries,


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fallopian tubes and cervix—is a medically necessary procedure for the treatment of gender

dysphoria. A hysterectomy confers three therapeutic benefits: First, it eliminates a source

of estrogen and preexisting conditions of tumors, cysts, fibroids or endometriosis. Second,

it removes the increased risk of ovarian cancer (thought to originate in the fallopian tubes)

and other typically female cancers associated with atrophied organs.              Finally, a

hysterectomy eliminates the need for routine gynecological exams and significantly

attenuates gender dysphoria.

       49.    Decades of methodologically sound and rigorous scientific research have

demonstrated that gender confirmation surgery is a safe and effective treatment for severe

gender dysphoria and, indeed, for many, it is the only effective treatment. The American

Medical Association, the Endocrine Society, the American College of Obstetricians and

Gynecologists, the American Psychological Association, and the American Psychiatric

Association all endorse surgical therapy, in accordance with the WPATH Standards of

Care, as medically necessary treatment for individuals with severe gender dysphoria.

       50.    Surgeries are considered “effective” from a medical perspective, if they

“have a therapeutic effect” (Monstrey, et al., 2007). More than three decades of research

confirms that gender confirmation surgery is therapeutic and therefore an effective

treatment for gender dysphoria. Indeed, for many patients with severe gender dysphoria,

gender confirmation surgery is the only effective treatment.




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       51.    In a 1998 meta-analysis, Pfafflin and Junge reviewed data from 80 studies,

from 12 countries, spanning 30 years. They concluded that “reassignment procedures were

effective in relieving gender dysphoria. There were few negative consequences and all

aspects of the reassignment process contributed to overwhelmingly positive outcomes”

(Pfafflin & Junge, 1998).

       52.    Numerous subsequent studies confirm this conclusion. Researchers reporting

on a large-scale prospective study of 325 individuals in the Netherlands concluded that

after surgery there was “a virtual absence of gender dysphoria” in the cohort and “results

substantiate previous conclusions that sex reassignment is effective” (Smith, et al., 2005).

Indeed, the authors of the study concluded that the surgery “appeared therapeutic and

beneficial” across a wide spectrum of factors and “[t]he main symptom for which the

patients had requested treatment, gender dysphoria, had decreased to such a degree that it

had disappeared.”

       53.    As a general matter, patient satisfaction is a relevant measure of effective

treatment. Achieving functional and normal physical appearance consistent with gender

identity alleviates the suffering of gender dysphoria and enables the patient to function in

everyday life. Studies have shown that by alleviating the suffering and dysfunction caused

by severe gender dysphoria, gender confirmation surgery improves virtually every facet of

a patient’s life. This includes satisfaction with interpersonal relationships and improved

social functioning (Rehman, et al., 1999; Johansson, et al., 2010; Hepp, et al.; 2002;


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Ainsworth & Spiegel, 2010; Smith, et al., 2005); improvement in self-image and

satisfaction with body and physical appearance (Lawrence, 2003; Smith, et al., 2005;

Weyers, et al., 2009); and greater acceptance and integration into the family (Lobato, et al.,

2006).

         54.   Studies have also shown that surgery improves patients’ abilities to initiate

and maintain intimate relationships (Lobato, et al., 2006; Lawrence, 2005; Lawrence, 2006;

Imbimbo, et al., 2009; Klein & Gorzalka, 2009; Jarolim, et al., 2009; Smith, et al., 2005;

Rehman, et al., 1999; DeCuypere, et al., 2005).

         55.   Given the decades of extensive experience and research supporting the

effectiveness of gender confirmation surgery, it is clear that reconstructive surgery is a

medically necessary, not experimental, treatment for gender dysphoria. Therefore, decades

of peer-reviewed research and a medical consensus support the inclusion of gender

confirmation surgery as a medically necessary treatment in the WPATH Standards of Care.

   C. Harms Resulting from the Denial of Care

         56.   The overarching goal of treatment for gender dysphoria is to eliminate

clinically significant distress by aligning an individual patient’s body and presentation with

their internal sense of self, thereby consolidating identity. Developing and integrating a

positive sense of self-identity formation is a fundamental undertaking for all human beings.

Denial of medically indicated care to transgender people signals that such people are

“inferior” or “unworthy,” and triggers shame.


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       57.    Denying gender affirming care not only frustrates those treatment goals but

exacerbates gender dysphoria and its associated depression and suicidality. Conversely,

Bauer et al. found a 62% reduction in risk of suicide ideation with the completion of

medical transition. That corresponds to a potential prevention of 240 suicide attempts per

1,000 per year. Studies have also shown that gender confirmation surgery has been linked

with a reduction in psychological distress and suicidal ideation for transgender patients

(Almazan, et al., 2021). Withholding this care results in serious negative health outcomes

for transgender patients.

       58.    More broadly, the negative effects of discrimination impact transgender

people throughout their lives. A wealth of research establishes that transgender people

suffer from discrimination, stigma, and shame from those external forces. The “minority

stress model” explains that the negative impact of the stress attached to being stigmatized

is socially based. The stress process can be both external—i.e., actual experiences of

rejection and discrimination (enacted stigma)—and because of such experiences,

internal—i.e., perceived rejection and the expectation of being rejected or discriminated

against (felt stigma). A 2015 survey of 28,000 transgender and gender nonconforming

individuals found that 30% reported being fired, discriminated against, or otherwise

experiencing mistreatment in the workplace (James, et al., 2016).

       59.    Experiencing discrimination, including in health care settings, has negative

impacts on patients’ mental health and well-being. A 2012 study of transgender adults


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found fear of discrimination increased the risk of developing hypertension by 100%, owing

to the intersectionality of shame and cardiovascular reactivity. Another 2012 study of

discrimination and implications for health concluded that “living in states with

discriminatory policies … was associated with a statistically significant increase in the

number of psychiatric disorder diagnoses.” And a 2019 study found that experiencing

discrimination in health care settings posed a unique risk factor for heightened suicidality

among transgender individuals, a population already at heightened risk compared with the

general population (Herman, et al., 2019).

       60.    Until recently, it was not fully understood that these experiences of shame

and discrimination could have serious and enduring consequences. But it is now known

that marginalization, stigmatization, and victimization are some of the most powerful

predictors of current and future mental health problems, including the development of

psychiatric disorders. The social problems that young transgender people face actually

create the blueprint for future mental health, life satisfaction, and even physical health. A

recent study of 245 gender nonconforming adults found that stress and victimization during

childhood and adolescence was associated with a greater risk for post-traumatic stress

disorder, depression, life dissatisfaction, anxiety, and suicidality in adulthood (Toomey, et

al., 2010). A 2011 Institute of Medicine (IOM) report concurs: “the marginalization of

transgender people from society is having a devastating effect on their physical and mental

health.” And the American Journal of Public Health recently reported that more than half


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of transgender women “struggle with depression from the stigma, shame and isolation

caused by how others treat them.”

         61.   While a growing body of research documents that structural forms of stigma

(namely, policies sanctioning discrimination) harm the health of transgender people, a 2010

study was the first to show that structural stigma is associated with all-cause mortality (i.e.,

deaths from any cause). In other words, stigma—a chronic source of psychological stress—

disrupts physiological pathways, increasing disease vulnerability, and leading to premature

death.

         62.   Adding to the corpus of research in this area is a relatively new approach to

the investigation of the relationship between discrimination and health. Neuroscientists

have discovered that, in addition to causing serious emotional difficulties and physical

harms, discrimination, harassment, and verbal abuse permanently alter the architecture of

the brain. Deviations in the myelin sheathing of the corpus callosum and damage to the

hippocampus cause cognitive difficulties in individuals who have been routinely subjected

to humiliation and ostracism (Nickel, 2018; Ohashi, et al., 2017; Teicher, et al., 2010).

   D. Dr. Levine’s Report

         63.   As an expert in this field, I am familiar with Dr. Levine’s opinions on gender

confirming treatments. His opinions depart substantially in concerning ways from well-

established standards of care for treatment of gender dysphoria and medical and scientific

research, and are based largely on his personal views and “reflections.”


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       64.    Dr. Levine utilizes a “kitchen sink approach,” proffering over one hundred

pages of commentary aimed at discrediting the scientific and medical consensus regarding

transgender healthcare. He makes a number of inaccurate assertions that I will address

only briefly, as they do not seem to bear on what I understand to be the subject matter of

this case, which is the categorical denial of insurance coverage for care.

       65.    Dr. Levine implicates several theoretical social factors (social contagion,

trauma, anorexia, YouTube, etc.) as influencing the development of gender incongruity.

He gives no data to support these, while ignoring the scientific studies indicating that

gender identity and gender incongruity have a biological basis, including through genetic

and prenatal hormonal influences. Dr. Levine ignores data from several scientific

investigations that demonstrate that gender identity has biological underpinnings, such as

studies involving endocrine disruption, prenatal hormonal influences, genetic

contributions, and neurodevelopmental cortical studies.

       66.    For example, studies show that prenatal sex hormones have a lasting impact,

affecting sexual dimorphism both pre-and-postnatally (Galis, et al., 2010). And follow-

up studies have established that decreased prenatal androgen exposure is implicated in the

development of gender incongruity in transgender women (Schneider, et al., 2006).

       67.    In addition, multiple studies of twins demonstrate genetic heritability, and

researchers have directly examined gene alleles that influence gender formation. Indeed,

several landmark studies have been undertaken to directly assess the role of specific genes


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on the androgen and estrogen receptors. For example, Henningsson et al. (2005) found

that transgender women differed from controls with respect to the mean length of the

estrogen receptor beta (ERb) repeat polymorphism, suggesting lesser effective function of

the ER receptor. And Bentz et al. (2008) found transgender men to differ from non-

transgender controls in a specific allele distribution pattern, and to display an allele

distribution akin to male controls. The identified gene, CYP17, is associated with gender

incongruity, as is the loss of the female-specific genotype distribution. In addition, Hare

et al. (2009) looked at polymorphisms in genes involved in steroid genesis. Specifically,

they examined repeat length variants in the androgen receptor (AR), the estrogen receptor

beta (ERb), and aromatase (CYP19) genes. They found a significant association between

gender incongruity in birth-assigned males and the AR gene. Fernandez et al. (2014a)

looked at a Spanish sample of 442 transgender women and found no significant

association with AR, ER or CYP 19. However, in a subsequent study the same group

found an association of the ERb gene and transmasculinity (2014b).

       68.    Furthermore, the advent of sophisticated brain imagery techniques enabled

researchers to study large numbers of brains in vivo, overcoming the limitation of small

sample size in post-mortem studies. Studies pre- and post-hormone treatment reveal that

transgender women, transgender men, non-transgender women and non-transgender men

present clear and distinct phenotypes, with respect to the gray and white matter of the

brain (e.g., Mueller, et al., 2021). For example, transgender people differ from non-


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transgender people in the microstructure of the brain bundles that connect the regions of

the brain. Transgender women show demasculinization of these bundles (Rametti, et al.,

2011a), while transgender men show a masculinization in some bundles (Rametti, et al.,

2011b).

       69.    Thus, while the specific biological genesis of gender incongruity is still a

matter of study, scientific study and data point to the inescapable conclusion that gender

identity and gender incongruity have biological underpinnings and are not a matter of

choice. As a recent review of scientific studies from 1948 to 2019 concluded: “gender

identity is one of the most sex-specific human trait[s], and many studies show how brain

sexually dimorphic structures are often in line with gender identity rather than with sex

assigned at birth.” (Risoti, et al., 2020). The theories set forth by Dr. Levine, on the other

hand, have no scientific support.

       70.    Dr. Levine states that reproductive function cannot be altered, and that at best

transgender people “can pass as the opposite gender.” The goal of treatment is not to

provide reproductive capacity, it is to alleviate the distress of gender dysphoria. Dr.

Levine has further stated that individuals who lack the ability to reproduce are not “really”

men or women, and that alterations are only superficial. Dr. Levine dismisses the bedrock

importance of identity, opining that due to the inability to “produce sperm,” a transgender

person taking testosterone is not “really” male, and “in critical respects, the change is only

skin deep.” If this is true, it follows that those men who lack sperm (azoospermia) due to


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testicular damage, dysfunction, or disease, are not “complete” men. Conversely, a lack of

reproductive organs resulting from hysterectomy, disease or infertility in women reduces

their womanhood to the level of being “only skin deep.”

       71.    Dr. Levine states that the diagnosis of gender dysphoria encompasses “a

diverse array of conditions … with widely different pathways.” As noted above, the

diagnosis of gender dysphoria is codified in the DSM-5; published by the American

Psychiatric Association, with attendant criteria. However, Dr. Levine doesn’t believe in

the legitimacy of the DSM-5 (nor the ICD), an opinion that is eccentric, to say the least,

and certainly not in keeping with the overwhelming medical consensus. In rejecting the

codified nosology of the DSM and ICD, Dr. Levine has substituted his own theories or

“pathways’’ of development of the condition, and frequently references his own writings

to support his theories.

       72.    Dr. Levine further challenges the scientific and medical consensus: that

gender identity is biologically based and has a physiological origin. He erroneously states

that there is no difference in brain structure in transgender people.    As noted above,

differences in brain structure have been documented repeatedly in studies using functional

magnetic resonance, differences in smelling odorous steroids, and other means

(Guillamon, et al., 2012; Rametti, et al., 2011; Rametti, et al., 2012; Zubiarurre, et al.,

2013). Our brains are a network of functionally linked regions. Recent studies display

images depicting regional connectivity differences in the functional networks of


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transgender and non-transgender individuals’ brains. This is yet another of a plethora of

studies demonstrating that gender dysphoria is a biologically based condition (Uribe, et

al., 2020). Furthermore, brain structure is only one of several indicators of biological

evidence.

       73.    Dr. Levine, whose views are at odds with WPATH, withdrew from WPATH

in 2001 (two decades ago), and attempts to discredit the organization by characterizing it

as an advocacy—not a professional—association. Preposterously, he states “in my

experience most current members have little experience with the mentally ill…” Given

that there are more than 2,500 current WPATH members spread throughout the world,

this is a patently absurd assertion. In fact, his assertion that there are “competing views”

among professionals pits him against the members of the American Medical Association,

the Endocrine Society, the European Endocrine Society, the American Psychological

Association, the American Psychiatric Association, the World Health Organization, the

American Academy of Family Physicians, the American Public Health Association, the

National Association of Social Workers, and the American College of Obstetrics and

Gynecology, all which support the treatment of gender dysphoria in accordance with the

WPATH Standards of Care.

       74.    Regarding Dr. Levine’s extensive discussion of gender dysphoria in children,

the Standards of Care do not recommend medical or surgical interventions for

prepubescent children. No medical care is initiated until after the onset of puberty.


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       75.    Dr. Levine further states that many people detransition or regret their “bodily

transformations.” The authority for this is his own experience and vague references to

reports on the Internet. All available research, and my own clinical experience indicate

that detransition is a rare event and rates of regret range from no more than 0.3% to 0.6%

(Wiepjes, et al., 2018; Danker, et al., 2018; Narayan, et al., 2021).

       76.    Dr. Levine references a “Transgender Treatment Industry” (TTI) which he

claims is providing misleading information to the public. A search of all extant data bases

finds no reference to the aforementioned industry. Similarly, Dr. Levine blames the

increased prevalence of adolescent gender non-conformity on “rapid onset gender

dysphoria,” which was coined by Dr. Lisa Littman in an article. An article in the Journal

of Clinical Endocrinology & Metabolism debunks this concept stating “major

methodological concerns have been raised ... including the facts that only parents and none

of the youth participated in the study and that parents were recruited from web sites, most

of which were not supportive … In fact, a correction was published in the same journal.”

(Rosenthal, et al., 2019).

       77.    Dr. Levine peppers his report with claims that treatment for gender dysphoria

is experimental. In 2014, the U.S. Department of Health and Human Services, after

reviewing expert testimony and research studies, determined that surgery is an appropriate

treatment for gender dysphoria. The Department concluded that “[s]urgical procedures …

are not experimental and, indeed, constitute medically-indicated treatment in appropriate


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cases,” and removed an exclusion of such treatment by Medicare. (NCD 140.3

Transsexual Surgery, Docket No A-13-87, Decision No. 2576).

       78.    Dr. Levine further states that treatment does not improve quality of life,

increases suicidality and leads to numerous negative outcomes, such as the inability to

form romantic relationships.        However, in 2017, Cornell University conducted a

systematic review of all peer-reviewed articles between 1991 and 2017, to assess the effect

of medical transition on the overall well-being of transgender people. They identified 59

studies of which 93% found improved quality of life. No studies found that surgical

treatment was harmful. They concluded: “Among the positive outcomes … are improved

quality of life, greater relationship satisfaction, higher self-esteem and confidence, and

reductions in anxiety, depression, suicidality, and substance abuse.”

       79.    Two recent studies add to the body of literature substantiating the health

outcomes and benefits of gender affirming surgery. In a 2021 study published in JAMA

Surgery researchers compared transgender individuals who underwent gender affirming

surgeries during the prior two years with a reference group that desired surgery but had not

yet undergone any gender affirming surgery. The respondents drawn from across all 50

states, (n= 27,715) comprise the largest existing data set containing information on the

benefits of gender affirming surgery. Of the 27,715 participants, 3,559 had undergone one

or more gender affirming surgery in the two years prior, while 16,401 who desired to

undergo one or more surgery, had not. After controlling for sociodemographic factors,


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those who had undergone surgery had significantly less psychological distress, tobacco

use, and suicidal ideation compared to those with no history of surgery. The authors

conclude “These findings support the provision of gender affirming surgeries for TGD

(transgender and gender diverse) people who seek them.”

         80.   Similarly, a 2018 study compared transmasculine people who underwent

chest reconstruction to a reference group that desired, but had not undergone chest surgery.

The cohort that received surgery was a mean of 2.5 years post-surgery, and had a significant

decrease in dysphoria, compared to the non-operated group which evidenced an increase

in chest dysphoria by 0.33% per month (Olson-Kennedy, et al., 2018).

         81.   Finally, a systematic meta-analysis on publications performed by German

researchers included 1,101 participants post-surgery, suitable for inclusion. Seven different

measures of quality of life were employed. The researchers concluded that gender surgery

positively affects well-being, sexuality and quality of life, in general (Weinforth, et al.,

2019).

         82.   Denying gender affirming care, however, exacerbates gender dysphoria and

its associated depression and suicidality. Bauer et al. (2015) found a 62% reduction in

risk of suicide ideation with the completion of medical transition. That corresponds to a

potential prevention of 240 suicide attempts per 1,000 per year.

         83.   Dr. Levine cites Cecilia Dhejne’s 2011 Swedish study, to bolster his opinions

on suicidality, but mischaracterizes her work. The study itself warns against drawing any


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conclusions regarding the effectiveness of surgery as a treatment for gender dysphoria.

Ms. Dhejne has publicly disavowed Dr. Levine’s mischaracterization of her investigation,

stating “recent studies conclude that WPATH Standards of Care compliant treatment

decrease gender dysphoria and improve mental health.” I have a professional relationship

with Ms. Dhejne, and she has informed me that her study should not be interpreted to

mean that gender confirmation surgery leads to an increase in suicide. Any observed trend

in suicide rates following gender confirmation surgery cannot be held as evidence that

surgery is risky or leads to increased rates of suicide, without a comparison to rates of

suicide pre-surgery, which is generally not studied due to the ethical issues of intentionally

withholding treatment for the purposes of research. To be clear, Ms. Dhejne’s study states

“For the purpose of evaluating whether sex reassignment is an effective treatment for

gender dysphoria, it is reasonable to compare reported gender dysphoria pre and post

treatment. Such studies have been conducted either prospectively or retrospectively, and

suggest that sex reassignment of transsexual persons improves quality of life and gender

dysphoria.”

       84.    Dr. Levine’s assertions that the evidence base for treatment for gender

dysphoria is “low scientific quality” belies his lack of knowledge of research

methodology. The gold standard in research is randomized clinical trials. Yet, as

previously indicated, it is unethical to withhold treatment in the way that would be

necessary to conduct randomized clinical trials. The Endocrine Society Guidelines were


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constructed in tandem with evidence-based review by the Mayo Clinic. When Dr. Levine

denounces transgender treatment as “low quality evidence” it should be pointed out that

that is also true for the evidence for Vitamin D, for example. Most medical guidelines

have “low quality” evidence.

       85.    Regarding Dr. Levine’s comments about the complications of surgery, a

recent study found that 5.8%-5.9% of 1,047 patients who underwent gender confirming

surgeries suffered complications (Lane, et al., 2018). By comparison, women who

underwent the common procedure of breast reduction had a complication rate of 43%

(Salim & Poh, 2018).

       86.    Perhaps most concerning is Dr. Levine’s generalizations about those who

provide care to transgender patients and those who receive care. He accuses mental health

providers of “recommending” social transition. He states that transgender people cannot

form relationships. Specifically, Dr. Levine says that, “When a trans person does not pass

well, he discovers that the pool of those interested consists largely of individuals looking

for exotic sexual experiences rather than genuinely loving relationships.” I have seen over

3,000 transgender patients and the local primary care clinic in Chicago treats 500 patients

a year. The majority of these patients are married or partnered. Most have remained in

these relationships before, during and after gender affirming treatments.

       87.    Many of the critiques outlined herein regarding Dr. Levine’s report apply

with equal measure to Dr. McHugh’s report, as well as those by Dr. Hruz and Dr. Lappert.


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   E. Dr. McHugh’s Report

       88.    Dr. McHugh’s report begins with a summary of his 1992 essay “Psychiatric

Misadventures.”     He provides a lengthy synopsis of lobotomy, repressed memory

syndrome, and multiple personality disorder, referring to these discarded theories and

interventions as “industries.” This irrelevant preamble is provided as a cautionary tale, as

Dr. McHugh warns that transgender care is just the latest “disaster,” “a newly proscribed

treatment to life’s complex problems,” and one where patients are “sent down the road

towards potential sterility or other damages.”

       89.    To justify his rejection, in entirety, of the expansive body of scientific and

medical literature confirming the efficacy of treatment for gender conditions, he denounces

the American Psychiatric Association’s publication of the DSM-5. He compares the DSM-

5 to a “field guide for amateur birders to identify birds.” In fact, the DSM-5 is the handbook

used by health care professionals in much of the world, and is regarded as the authoritative

guide to the diagnosis of mental disorders.            It establishes, as does its companion

publication, the International Classification of Diseases, a common language to facilitate

communication among professionals, aid in research, and study criteria for future revisions.

The DSM-5 was preceded by a decade of research evaluation that included 13 scientific

conferences, supported by the National Institutes of Health. The Task Force and Work

Groups reviewed literature, and a Scientific Committee provided guidance of the strength

of evidence of any proposed change from the DSM-IV. It is compatible with HIPAA


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approved coding systems used by insurance companies, which update their claim forms to

accommodate the DSM-5. Aside from the defendants’ experts in this case, I have not

encountered a single health care provider who holds these outlier positions regarding the

utility of the DSM.

       90.    In a study published in the non-peer reviewed journal The New Atlantis

(which he co-authored with Dr. Hruz), Dr. McHugh issued his objection to scientific

evidence that homosexuality and gender diversity are biologically based. According to the

Scientific American, this view, reminiscent of stigmatizing and inaccurate views dating

back to the 1990’s and earlier, is a result of The New Atlantis’ dedication to “applying

Judeo-Christian moral tradition to critical issues of public policy.” In response to the

publication, Johns Hopkins’ faculty members and 600 researchers and clinicians signed a

letter disavowing Dr. McHugh’s views, stating that Dr. McHugh “mischaracterizes the

current state of science on gender and sexuality.” One signatory, geneticist Dean Hamer,

condemned Dr. McHugh’s misrepresentation of Hamer’s own genetic research.

       91.    Finally, Dr. McHugh concludes his report with eleven opinions referencing

the “Transgender Treatment Industry,” and even dismisses the American Medical

Association, the American Pediatric Association, and the Endocrine Society as not relevant

to the discourse.     Dr. McHugh cites no scientific basis, citations, or peer-reviewed

publications to support any of these opinions, other than his own tenaciously held beliefs.




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       92.    Dr. McHugh has positioned himself as a prognosticator of disastrous

treatments, declaring, “An important part of my career has been engaged in observing and

warning the public and mental health professions about Psychiatric Misadventures.”

Ironically, Johns Hopkins has ignored these “warnings” and disavowed their former faculty

member, Dr. McHugh. Instead, the Johns Hopkins Center for Transgender Health has

committed to: “providing high-quality, compassionate care that’s in line with the standards

of care set by the World Professional Association for Transgender Health.”

       93.    Dr. McHugh asserts that mental health professionals simply believe what

patients tell them. Mental health practitioners are trained to understand human behavior

and to determine the meaning of the patient’s experience. The fact that they consider the

patient’s reported symptoms, while applying their professional expertise to evaluate and

assess the patient, is common in the fields of behavioral health and medicine. Every mental

condition, and many physical conditions rely on the patient’s self-expressed disclosure of

phenomenology. For example, how would a mental health practitioner verify that an

individual often ruminates about suicide? How would a physician verify a report of

migraine headache in a patient? Should auditory hallucinations be ignored because the

provider does not hear them? All of these things are self-reported and taken into account

by a trained mental health professional, who also exercises independent judgment, in order

to make a diagnosis.




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   F. Dr. Hruz’s Report

       94.     I have reviewed Dr. Hruz’s credentials. It is my understanding that Dr. Hruz

is not a mental health professional nor does he have experience with the diagnosis or

treatment of gender dysphoria.

       95.     In fact, Dr. Hruz is no longer the Division Chief for Endocrinology and

Diabetes at Washington University in St. Louis (“WUSTL”) as of 2017. And since then,

WUSTL has established a transgender center that provides care for adults and minors. See,

https://physicians.wustl.edu/specialties/lgbtq-health/washington-university-transgender-

center/.     “In 2017, the Washington University School of Medicine’s Division of

Endocrinology and Division of Adolescent Medicine came together to form the

Transgender     Center    to   better   address    the   needs   of   transgender    patients.”

https://www.stlouischildrens.org/conditions-treatments/transgender-center.

       96.     In his report, Dr. Hruz propounds at length that sex is binary and conditions

of sexual differentiation are not a “third sex.” This simplistic view, however, ignores that

there is great variance among the multiple sex-related characteristics that a person

possesses, including gender identity, and that such variance is a natural phenomenon with

biological underpinnings.

       97.     While conditions of sexual differentiation (i.e., intersex conditions) are not a

“third sex,” they are indicative of the natural variance regarding certain sex-related

characteristics. These are rare conditions with an estimated aggregate incidence of 0.1-


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0.5% of live births (Arboleda, et al., 2013). In mammals, gonads are controlled by the

presence of XX or XY chromosomes, and gonadal secretions in turn regulate formation of

female or male reproductive tissues, and characteristics that differ in typical males or

females. These characteristics include external genitalia, uterus and oviducts, sperm ducts,

and secondary sexual characteristics such as facial hair and pitch of voice. However, many

people cannot make either eggs or sperm, yet are recognized as female or male based on

other sex-related characteristics.

         98.   In addition, according to scientists at Los Alamos National Laboratory, the

intrauterine environment has profound effects on the embryo, pre- and post-implantation.

Epigenetic programming contributes to sex differentiation and estrogen and progesterone

receptors are epigenetically programmed. The researchers have been investigating the

etiology of gender identity, from DNA to brain differences, and conclude that there is a

multitude of karyotypes, that there are many sex differences in the brain, and that

epigenetics permanently program DNA, including brain development. As such, there are

indications that gender identity results from a complex interplay between karyotype,

genetics, epigenetics, hormone signaling, the womb and the placenta (McCarthy & Arnold,

2011).

         99.   Dr. Hruz makes reference to an article that purportedly identified 60,000

people who had detransitioned worldwide. However, the claim that 60,000 people have

detransitioned worldwide is not only wrong based on the article cited (the actual number


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appears to be 16,000), it is also inconsistent with methodologically sound studies of regret

and points to the questionable means of identifying “detransitioners” via the internet. Take

for example that an estimated 0.6% of adults, about 1.4 million, identify as transgender in

the United States (Williams Institute, 2016) and that the world population is over 7.7 billion

(https://www.census.gov/popclock/).       Based on those numbers, it could be roughly

estimated that the transgender population worldwide is around 46,200,000 (i.e. 0.6% of the

world population). The identification of 60,000 detransitioners worldwide based on

internet reports is therefore unremarkable, as it would still represent 0.1% of the very

roughly estimated world transgender population.         Of course, this exercise does not

represent the appropriate way to estimate the total number of transgender people worldwide

or of purported detransitioners, but it illustrates that the number of 60,000 detransitioners

worldwide based on internet reports that is propounded by Dr. Hruz would still show that

detransition is an incredibly rare phenomenon, as actual scientific studies and clinical

experience demonstrate.

       100.      Additionally, there are multiple and complicated reasons that may lead a

person to detransition, as acknowledged by the very article Dr. Hruz relies on (Expósito-

Campos, et al., 2021). Turban et al. (2021) report that people who detransitioned were

primarily driven by external pressures, and that these patients may seek gender affirmation

in the future.




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       101.   Cognitive behavioral therapy (CBT) is a form of psychological treatment that

has been demonstrated to be effective for a range of problems including depression, anxiety

disorders, alcoholism, sleep problems and eating disorders. It involves the skillful

assistance of guiding a client in cognitive reappraisal. Dr. Hruz wonders why CBT is not

used to change gender identity, apparently confusing CBT with conversion therapy. The

formulation of this argument buttresses the fact that he is not a mental health professional,

and should avoid opining on mental health treatments or the scientific literacy of mental

health professionals. CBT cannot be used to change a patient’s gender identity because

gender identity is innate and not subject to voluntary change. Moreover, efforts to change

a person’s gender identity have been shown to be unsuccessful and harmful, and are

considered to be unethical. Psychiatrists and psychologists hold advanced degrees in

medicine or behavioral science, and maligning an entire profession does not bolster Dr.

Hruz’s credibility.

   G. Dr. Lappert’s Report

       102.   Dr. Lappert has no experience in transgender health, nor does he have

experience in mental health and making diagnoses using the DSM-5.

       103.   The critiques outlined above regarding the reports by Dr. Levine, Hruz, and

McHugh apply in equal measure to Dr. Lappert’s report.

       104.   However, I briefly address Dr. Lappert’s clear misunderstanding of how

DSM-5 diagnoses are made. Psychiatrists, psychologists, and other mental health


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professionals take histories from patients and use their years of training to make diagnoses.

DSM-5 diagnoses are the basis of the medical treatment of depression, anxiety,

schizophrenia, and other mental disorders, and well as for psychotherapy treatments.

       105.   In addition, the provision of gender affirming care occurs in interdisciplinary

settings, as recommended by the WPATH Standards of Care (Coleman, et al., 2012). The

various health providers involved, from different fields, are well trained to conduct clinical

interviews and to assess a patient’s report to determine whether they meet the diagnostic

criteria for gender dysphoria, and to determine what care is medically indicated for the

patient.

   III.    CONCLUSION

       106.   The overwhelming medical and scientific consensus is that gender affirming

care is medically necessary, non-experimental, and beneficial for transgender people with

gender dysphoria, while the denial of gender affirming care is harmful to transgender

people, as it exacerbates gender dysphoria and leads to negative health outcomes.

       107.   By contrast, the views expressed by Drs. Levine, McHugh, Hruz, and

Lappert are outside the mainstream of the medical and scientific community. Unlike their

misguided views suggesting that transgender people are disordered and should be

counseled to live in accordance with the sex assigned at birth, gender identity has a strong

biological basis and cannot be voluntarily changed. Indeed, efforts to do so are ineffective,

harmful, and unethical.


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      I hereby certify that on June 11, 2021, I caused a copy of the foregoing document

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                                        Counsel for Plaintiffs




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              Exhibit 25(b)




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                                 Exhibit A
 Curriculum vitae of Dr. Randi C. Ettner, Ph.D.




EXPERT REBUTTAL REPORT OF DR. RANDI C. ETTNER, Ph.D.
Kadel v. Folwell, No. 1:19-cv-00272-LCB-LPA


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                                   RANDI ETTNER, PHD
                                    1214 Lake Street
                                 Evanston, Illinois 60201
                                     847-328-3433
POSITIONS HELD

Clinical Psychologist
Forensic Psychologist
Fellow and Diplomate in Clinical Evaluation, American Board of
     Psychological Specialties
Fellow and Diplomate in Trauma/PTSD
President, New Health Foundation Worldwide
Secretary, World Professional Association for Transgender Health
     (WPATH)
Chair, Committee for Institutionalized Persons, WPATH
Global Education Initiative Committee, WPATH
University of Minnesota Medical Foundation: Leadership Council
Psychologist, Center for Gender Confirmation Surgery, Weiss Memorial
     Hospital
Adjunct Faculty, Prescott College
Editorial Board, International Journal of Transgender Health
Editorial Board, Transgender Health
Television and radio guest (more than 100 national and international
     appearances)
Internationally syndicated columnist on women’s health issues
Private practitioner
Medical staff; Department of Medicine: Weiss Memorial Hospital, Chicago,
     IL
Advisory Council, National Center for Gender Spectrum Health


EDUCATION

 PhD, 1979          Northwestern University (with honors) Evanston, Illinois

 MA, 1976           Roosevelt University (with honors) Chicago, Illinois

 BA, 1969-73        Indiana University
                    Bloomington, Indiana
                    Cum Laude
                    Major: Clinical Psychology; Minor: Sociology

 1972               Moray College of Education
                    Edinburgh, Scotland
                    International Education Program

 1970               Harvard University
                    Cambridge, Massachusetts Social Relations Undergraduate
                    Summer Study Program in Group Dynamics and Processes

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CLINICAL AND PROFESSIONAL EXPERIENCE

  2016-present   Psychologist: Weiss Memorial Hospital Center for Gender Confirmation
                 Surgery

                 Consultant: Walgreens; Tawani Enterprises

                 Private practitioner

  2011           Instructor, Prescott College: Gender-A multidimensional approach

  2000           Instructor, Illinois School of Professional Psychology

  1995-present   Supervision of clinicians in counseling gender non-conforming clients

  1993           Post-doctoral continuing education with Dr. James Butcher in MMPI-2
                 Interpretation, University of Minnesota

  1992           Continuing advanced tutorial with Dr. Leah Schaefer in psychotherapy

  1983-1984      Staff psychologist, Women’s Health Center, St. Francis Hospital, Evanston,
                 Illinois

  1981-1984      Instructor, Roosevelt University, Department of Psychology: Psychology of
                 Women, Tests and Measurements, Clinical Psychology, Personal Growth,
                 Personality Theories, Abnormal Psychology

  1976-1978      Research Associate, Cook County Hospital, Chicago, Illinois, Department of
                 Psychiatry

  1975-1977      Clinical Internship, Cook County Hospital, Chicago, Illinois, Department of
                 Psychiatry

  1971           Research Associate, Department of Psychology, Indiana University

  1970-1972      Teaching Assistant in Experimental and Introductory Psychology
                 Department of Psychology, Indiana University

  1969-1971      Experimental Psychology Laboratory Assistant, Department of Psychology,
                 Indiana University


INVITED PRESENTATIONS AND HOSPITAL GRAND ROUNDS

Care of the Older Transgender Patient, Weiss Memorial Hospital, Chicago, IL, 2021



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Working with Medical Experts, The National LGBT Law Association, webinar presentation,
2020

Legal Issues Facing the Transgender Community, Illinois State Bar Association, Chicago, IL,
2020

Providing Gender Affirming Care to Transgender Patients, American Medical Student
Association, webinar presentation, 2020

Foundations in Mental Health for Working with Transgender Clients; Advanced Mental
Health Issues, Ethical Issues in the Delivery of Care, Center for Supporting Community
Development Initiatives, Vietduc University Hospital, Hanoi, Vietnam, 2020

The Transgender Surgical Patient, American Society of Plastic Surgeons, Miami, FL 2019

Mental health issues in transgender health care, American Medical Student Association,
webinar presentation, 2019

Sticks and stones: Childhood bullying experiences in lesbian women and transmen, Buenos
Aires, 2018

Gender identity and the Standards of Care, American College of Surgeons, Boston, MA, 2018

The mental health professional in the multi-disciplinary team, pre-operative evaluation and
assessment for gender confirmation surgery, American Society of Plastic Surgeons, Chicago,
IL, 2018; Buenos Aires, 2018

Navigating Transference and countertransference issues, WPATH Global Education
Initiative, Portland, OR; 2018

Psychological aspects of gender confirmation surgery International Continence Society,
Philadelphia, PA 2018

The role of the mental health professional in gender confirmation surgeries, Mt. Sinai
Hospital, New York City, NY, 2018

Mental health evaluation for gender confirmation surgery, Gender Confirmation Surgical
Team, Weiss Memorial Hospital, Chicago, IL 2018

Transitioning; Bathrooms are only the beginning, American College of Legal Medicine,
Charleston, SC, 2018

Gender Dysphoria: A medical perspective, Department of Health and Human Services, Office
for Civil Rights, Washington, D.C, 2017




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Multi-disciplinary health care for transgender patients, James A. Lovell Federal Health Care
Center, North Chicago, IL, 2017

Psychological and Social Issues in the Aging Transgender Person, Weiss Memorial Hospital,
Chicago, IL, 2017.

Psychiatric and Legal Issues for Transgender Inmates, USPATH, Los Angeles, CA, 2017

Transgender 101 for Surgeons, American Society of Plastic Surgeons, Chicago, IL, 2017.

Healthcare for transgender inmates in the US, Erasmus Medical Center, Rotterdam,
Netherlands, 2016.

Tomboys Revisited: Replication and Implication; Orange Isn’t the New Black Yet- WPATH
symposium, Amsterdam, Netherlands, 2016.

Can two wrongs make a right? Expanding models of care beyond the divide, Amsterdam,
Netherlands, 2016.

Foundations in mental health; role of the mental health professional in legal and policy
issues, healthcare for transgender inmates; children of transgender parents; transfeminine
genital surgery assessment: WPATH Global Education Initiative, Chicago, IL, 2015; Atlanta,
GA, 2016; Columbia, MO, 2016; Ft. Lauderdale, FL, 2016; Washington, D.C., 2016, Los
Angeles, CA, 2017, Minneapolis, MN, 2017, Chicago, IL, 2017; Columbus, Ohio, 2017;
Portland, OR, 2018; Cincinnati, OH, 2018, Buenos Aires, 2018

Pre-operative evaluation in gender-affirming surgery-American Society of Plastic Surgeons,
Boston, MA, 2015

Gender affirming psychotherapy; Assessment and referrals for surgery-Standards of Care-
Fenway Health Clinic, Boston, 2015

Transgender surgery- Midwestern Association of Plastic Surgeons, Chicago, 2015

Adult development and quality of life in transgender healthcare- Eunice Kennedy Shriver
National Institute of Child Health and Human Development, 2015

Healthcare for transgender inmates- American Academy of Psychiatry and the Law, Chicago,
2014

Supporting transgender students: best school practices for success- American Civil Liberties
Union of Illinois and Illinois Safe School Alliance, 2014

Addressing the needs of transgender students on campus- Prescott College, 2014




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The role of the behavioral psychologist in transgender healthcare – Gay and Lesbian Medical
Association, 2013

Understanding transgender- Nielsen Corporation, Chicago, 2013

Role of the forensic psychologist in transgender care; Care of the aging transgender patient
University of California San Francisco, Center for Excellence, 2013

Grand Rounds: Evidence-based care of transgender patients- North Shore University Health
Systems, University of Chicago, Illinois, 2011

Grand Rounds: Evidence-based care of transgender patients Roosevelt-St. Vincent Hospital,
New York, 2011

Grand Rounds: Evidence-based care of transgender patients Columbia Presbyterian Hospital,
Columbia University, New York, 2011

Hypertension: Pathophysiology of a secret. Atlanta, GA, 2011

Exploring the Clinical Utility of Transsexual Typologies Oslo, Norway, 2009

Children of Transsexuals-International Association of Sex Researchers, Ottawa, Canada, 2005

Children of Transsexuals Chicago School of Professional Psychology, Chicago, 2005

Gender and the Law- DePaul University College of Law, Chicago, Illinois, 2003; American
Bar Association annual meeting, New York, 2000

Gender Identity, Gender Dysphoria and Clinical Issues –WPATH Symposium, Bangkok,
Thailand, 2014; Argosy College, Chicago, Illinois, 2010; Cultural Impact Conference,
Chicago, Illinois, 2005; Weiss Hospital, Department of Surgery, Chicago, Illinois, 2005;
Resurrection Hospital Ethics Committee, Evanston, Illinois, 2005; Wisconsin Public Schools,
Sheboygan, Wisconsin, 2004, 2006, 2009; Rush North Shore Hospital, Skokie, Illinois, 2004;
Nine Circles Community Health Centre, University of Winnipeg, Winnipeg, Canada, 2003;
James H. Quillen VA Medical Center, East Tennessee State University, Johnson City,
Tennessee, 2002; Sixth European Federation of Sexology, Cyprus, 2002; Fifteenth World
Congress of Sexology, Paris, France, 2001; Illinois School of Professional Psychology,
Chicago, Illinois 2001; Lesbian Community Cancer Project, Chicago, Illinois 2000; Emory
University Student Residence Hall, Atlanta, Georgia, 1999; Parents, Families and Friends of
Lesbians and Gays National Convention, Chicago, Illinois, 1998; In the Family
Psychotherapy Network National Convention, San Francisco, California, 1998; Evanston City
Council, Evanston, Illinois 1997; Howard Brown Community Center, Chicago, Illinois, 1995;
YWCA Women’s Shelter, Evanston, Illinois, 1995; Center for Addictive Problems, Chicago,
1994




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Psychosocial Assessment of Risk and Intervention Strategies in Prenatal Patients- St. Francis
Hospital, Center for Women’s Health, Evanston, Illinois, 1984; Purdue University School of
Nursing, West Layette, Indiana, 1980

Psychonueroimmunology and Cancer Treatment- St. Francis Hospital, Evanston, Illinois,
1984

Psychosexual Factors in Women’s Health- St. Francis Hospital, Center for Women’s Health,
Evanston, Illinois, 1984.

Grand Rounds: Sexual Dysfunction in Medical Practice- St. Francis Hospital, Dept. of
OB/GYN, Evanston, Illinois, 1980

Sleep Apnea - St. Francis Hospital, Evanston, Illinois, 1996; Lincolnwood Public Library,
Lincolnwood, Illinois, 1996


The Role of Denial in Dialysis Patients - Cook County Hospital, Department of Psychiatry,
Chicago, Illinois, 1977

PUBLICATIONS

Narayan, S., Danker, S Esmonde, N., Guerriero, J., Carter, A., Dugi III, D., Ettner, R., Radix
A., Bluebond-Langner, R., Schechter, L., Berli, J. (2021) Guiding the conversation: Types of
regret after gender-affirming surgery and their associated etiologies. Annals of Translational
Medicine.

Ettner, R., White, T., Ettner, F., Friese, T., Schechter, L. (2018) Tomboys revisited: A
retrospective comparison of childhood behaviors in lesbians and transmen. Journal of Child
and Adolescent Psychiatry.

Ettner, R. Mental health evaluation. Clinics in Plastic Surgery. (2018) Elsevier, 45(3): 307-
311.

Ettner, R. Etiology of gender dysphoria in Schechter (Ed.) Gender Confirmation Surgery:
Principles and Techniques for an Emerging Field. Elsevier, 2017.

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Transgender Patient. Elsevier, 2017.

Berli, J., Kudnson, G., Fraser, L., Tangpricha, V., Ettner, R., et al. Gender Confirmation
Surgery: what surgeons need to know when providing care for transgender individuals. JAMA
Surgery; 2017.

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influencing the selection of a gender affirmation surgeon. Transgender Health, 1(1), 2016.


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Transgender Medicine and Surgery. Ettner, Monstrey & Coleman (Eds.), 2nd edition;
Routledge, June, 2016.

Ettner, R., Monstrey, S, & Coleman, E. (Eds.) Principles of Transgender Medicine and
Surgery, 2nd edition; Routledge, June, 2016.

Bockting, W, Coleman, E., Deutsch, M., Guillamon, A., Meyer, I., Meyer, W., Reisner, S.,
Sevelius, J. & Ettner, R. Adult development and quality of life of transgender and gender
nonconforming people. Current Opinion in Endocrinology and Diabetes, 2016.

Ettner, R. Children with transgender parents in Sage Encyclopedia of Psychology and Gender.
Nadal (Ed.) Sage Publications, 2017

Ettner, R. Surgical treatments for the transgender population in Lesbian, Gay, Bisexual,
Transgender, and Intersex Healthcare: A Clinical Guide to Preventative, Primary, and
Specialist Care. Ehrenfeld & Eckstrand, (Eds.) Springer: MA, 2016.

Ettner, R. Etiopathogenetic hypothesis on transsexualism in Management of Gender Identity
Dysphoria: A Multidisciplinary Approach to Transsexualism. Trombetta, Liguori, Bertolotto,
(Eds.) Springer: Italy, 2015.

Ettner, R. Care of the elderly transgender patient. Current Opinion in Endocrinology and
Diabetes, 2013, Vol. 20(6), 580-584.

Ettner, R., and Wylie, K. Psychological and social adjustment in older transsexual people.
Maturitas, March, 2013, Vol. 74, (3), 226-229.

Ettner, R., Ettner, F. and White, T. Secrecy and the pathophysiology of hypertension.
International Journal of Family Medicine 2012, Vol. 2012.

Ettner, R. Psychotherapy in Voice and Communication Therapy for the
Transgender/Transsexual Client: A Comprehensive Clinical Guide. Adler, Hirsch, Mordaunt,
(Eds.) Plural Press, 2012.

Coleman, E., Bockting, W., Botzer, M., Cohen-Kettenis, P., DeCuypere, G., Feldman, J.,
Fraser, L., Green, J., Knudson, G., Meyer, W., Monstrey, S., Adler, R., Brown, G., Devor, A.,
Ehrbar, R., Ettner, R., et.al. Standards of Care for the health of transsexual, transgender, and
gender-nonconforming people. World Professional Association for Transgender Health
(WPATH). 2012.

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International Journal of Transgenderism, Vol. 12, 2010.

Ettner, R. The etiology of transsexualism in Principles of Transgenger Medicine and Surgery,
Ettner, R., Monstrey, S., and Eyler, E. (Eds.). Routledge Press, 2007.

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Routledge Press, 2007.

Monstrey, S. De Cuypere, G. and Ettner, R. Surgery: General principles in Principles of
Transgender Medicine and Surgery, Ettner, R., Monstrey, S., and Eyler, E. (Eds.) Routledge
Press, 2007.

Schechter, L., Boffa, J., Ettner, R., and Ettner, F. Revision vaginoplasty with sigmoid
interposition: A reliable solution for a difficult problem. The World Professional Association
for Transgender Health (WPATH), 2007, XX Biennial Symposium, 31-32.

Ettner, R. Transsexual Couples: A qualitative evaluation of atypical partner preferences.
International Journal of Transgenderism, Vol. 10, 2007.

White, T. and Ettner, R. Adaptation and adjustment in children of transsexual parents.
European Journal of Child and Adolescent Psychiatry, 2007: 16(4)215-221.

Ettner, R. Sexual and gender identity disorders in Diseases and Disorders, Vol. 3, Brown
Reference, London, 2006.

Ettner, R., White, T., Brown, G., and Shah, B. Client aggression towards therapists: Is it more
or less likely with transgendered clients? International Journal of Transgenderism, Vol. 9(2),
2006.

Ettner, R. and White, T. in Transgender Subjectives: A Clinician’s Guide
Haworth Medical Press, Leli (Ed.) 2004.

White, T. and Ettner, R. Disclosure, risks, and protective factors for children whose parents
are undergoing a gender transition. Journal of Gay and Lesbian Psychotherapy, Vol. 8, 2004.

Witten, T., Benestad, L., Berger, L., Ekins, R., Ettner, R., Harima, K. Transgender and
Transsexuality. Encyclopeida of Sex and Gender. Springer, Ember, & Ember (Eds.)
Stonewall, Scotland, 2004.

Ettner, R. Book reviews. Archives of Sexual Behavior, April, 2002.

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2000.

“Social and Psychological Issues of Aging in Transsexuals,” proceedings, Harry Benjamin
International Gender Dysphoria Association, Bologna, Italy, 2005.

“The Role of Psychological Tests in Forensic Settings,” Chicago Daily Law Bulletin, 1997.




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Confessions of a Gender Defender: A Psychologist’s Reflections on Life amongst the
Transgender. Chicago Spectrum Press. 1996.

“Post-traumatic Stress Disorder,” Chicago Daily Law Bulletin, 1995.

“Compensation for Mental Injury," Chicago Daily Law Bulletin, 1994.

“Workshop Model for the Inclusion and Treatment of the Families of Transsexuals,”
Proceedings of the Harry Benjamin International Gender Dysphoria Symposium; Bavaria,
Germany, 1995.

“Transsexualism- The Phenotypic Variable,” Proceedings of the XV Harry Benjamin
International Gender Dysphoria Association Symposium; Vancouver, Canada, 1997.

“The Work of Worrying: Emotional Preparation for Labor,” Pregnancy as Healing. A Holistic
Philosophy for Prenatal Care, Peterson, G. and Mehl, L. Vol. II. Chapter 13, Mindbody Press,
1985.


PROFESSIONAL AFFILIATIONS

University of Minnesota Medical School–Leadership Council
American College of Forensic Psychologists
World Professional Association for Transgender Health
World Health Organization (WHO) Global Access Practice Network
TransNet national network for transgender research
American Psychological Association
American College of Forensic Examiners
Society for the Scientific Study of Sexuality
Screenwriters and Actors Guild
Phi Beta Kappa

AWARDS AND HONORS

University of Minnesota, Program of Human Sexuality 50 Distinguished Sex and Gender
Revolutionary award, 2021
Letter of commendation from United States Congress for contributions to public health in
Illinois, 2019
WPATH Distinguished Education and Advocacy Award, 2018
The Randi and Fred Ettner Transgender Health Fellowship-Program in Human Sexuality,
University of Minnesota, 2016
Phi Beta Kappa, 1972
Indiana University Women’s Honor Society, 1970-1972
Indiana University Honors Program, 1970-1972
Merit Scholarship Recipient, 1970-1972
Indiana University Department of Psychology Outstanding Undergraduate Award

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     Recipient, 1970-1972
Representative, Student Governing Commission, Indiana University, 1970


LICENSE

Clinical Psychologist, State of Illinois, 1980




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              Exhibit 25(c)




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                                 Exhibit B
                                  Bibliography




EXPERT REBUTTAL REPORT OF DR. RANDI C. ETTNER, Ph.D.
Kadel v. Folwell, No. 1:19-cv-00272-LCB-LPA


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feminization surgery or gender reassignment surgery. Quality of Life Research 19(7): 1019-1024.
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Mental Health Outcomes. JAMA Surgery. Published online April 28, 2021.
doi:10.1001/jamasurg.2021.0952
Amend, B., Seibold, J., Toomey, P., Stenzl, A., & Sievert, K. (2013). Surgical reconstruction for
male-to-female sex reassignment. European Urology 64(1): 141-149.
American Academy of Child and Adolescent Psychiatry (2019). AACAP Statement Responding
to Efforts to ban Evidence-Based Care for Transgender and Gender Diverse Youth.
American College of Obstetricians and Gynecologists. (2021). Committee Opinion No. 823:
Health Care for Transgender and Gender Diverse Individuals.
American Medical Association (2008). Resolution 122 (A-08).
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Affirming Care of Transgender Patients.
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disorders (5th ed.). Arlington, VA: American Psychiatric Publishing.
American Psychological Association. (2021). APA Resolution on Gender Identity Change
Efforts.
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transgender and gender nonconforming people. American Psychologist, 70, 832-864.
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non-discrimination. In Anton, B. S. (2009). Proceedings of the American Psychological
Association for the legislative year 2008: Minutes of the annual meeting of the Council of
Representatives. American Psychologist, 64(5), 372–453.
Arboleda, V. A., Lee, H., Sánchez, F. J., Délot, E. C., Sandberg, D. E., Grody, W. W., Nelson, S.
F., & Vilain, E. (2013). Targeted massively parallel sequencing provides comprehensive genetic
diagnosis for patients with disorders of sex development. Clinical genetics, 83(1), 35–43.
Bauer, G. R., Scheim, A. I., Pyne, J., Travers, R., & Hammond, R. (2015). Intervenable factors
associated with suicide risk in transgender persons: a respondent driven sampling study in
Ontario, Canada. BMC public health, 15, 525.
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polymorphism of the CYP17 gene related to sex steroid metabolism is associated with female-to-
male but not male-to-female transsexualism. Fertility and sterility, 90(1), 56–59.
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Psychological Association’s Handbook of Sexuality and Psychology. Washington, D.C.:
American Psychological Association.
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nonconforming people. Current Opinion in Endocrinology and Diabetes 23(2): 188-197.
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health. In Kreukels, Steensma, and De Vries (eds). Gender dysphoria and disorders of sex
development: Progress in care and knowledge. New York: Springer.
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Stigma, mental health, and resilience in an online sample of the US transgender
population. American journal of public health, 103(5), 943–951.
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process: Toward an integrated identity. Ettner, Monstrey & Eyler (eds.) Principles of
Transgender Medicine and Surgery. New York: Haworth Press.
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related discrimination and implications for health: results from the Virginia Transgender Health
Initiative Study. American journal of public health, 103(10), 1820–1829.
Brown, G. (2010). Auto-castration and auto-penectomy as surgical self-treatment in incarcerated
persons with Gender Identity Disorder. International Journal of Transgenderism 12: 31-39.
Brown, G., & McDuffie, E. (2009). Health care policies addressing transgender inmates in prison
systems in the United States. Journal of Correctional Health Care, 15, 280–291.
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The role of transition status, loss, social support, and coping. Journal of Consulting and Clinical
Psychology 81(3): 545.
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Langstein, H. N., & Manrique, O. J. (2021). Regret after Gender-affirmation Surgery: A
Systematic Review and Meta-analysis of Prevalence. Plastic and reconstructive surgery. Global
open, 9(3), e3477.
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terminalis in humans may extend into adulthood. Journal of Neuroscience 22(3): 1027-1033.
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functioning of transsexuals. In Gender Dysphoria: Interdisciplinary Approaches in Clinical
Management. Bocting & Coleman (eds). Haworth Press.
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nonconforming people, version 7. International Journal of Transgenderism, 13(4), 165-232.
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positive effect of cross-sex hormonal treatment on mental health: results from a longitudinal
study. Psychoneuroendocrinology, 39, 65–73.



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affirmation treatment on mental health in female-to-male transsexuals. Journal of Gay & Lesbian
Mental Health 15(3): 281-299.
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Social Psychology, Vol 11.
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Vansteenwegen, A., & Rubens, R. (2005). Sexual and physical health after sex reassignment
surgery. Archives of sexual behavior, 34(6), 679–690.
Danker, S., Narayan, S. K., Bluebond-Langner, R., Schechter, L. S., & Berli, J. U. (2018).
Abstract: A Survey Study of Surgeons’ Experience with Regret and/or Reversal of Gender-
Confirmation Surgeries. Plastic and Reconstructive Surgery Global Open, 6(9 Suppl), 189-189.
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formation. Journal of Gay and Lesbian Psychotherapy 8(1/2): 41-67.
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applications but few regrets: A complete analysis of all applications during 50 years. Journal of
Sexual Medicine 11: 8-9.
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transgender and gender diverse individuals. Caucus of LGBTQ Psychiatrists and the Council on
Minority Mental Health and Health Disparities, American Psychiatric Association.
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                  Exhibit 




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                                                                    Page 1

1                        IN THE UNITED STATES DISTRICT COURT
2                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
3        ___________________________________________________________
4        MAXWELL KADEL, et al.,            )
5                         Plaintiffs,      )
6        v.                                )Civil Action No. 1:19-cv-00272
7        DALE FOLWELL, in his              )
         official capacity as              )
8        State Treasurer of North )
         Carolina, et al.,                 )
9                                          )
                          Defendants.      )
10       ___________________________________________________________
11                 DEPOSITION OF JOHANNA OLSON-KENNEDY, MD
         ___________________________________________________________
12
                                        9:00 a.m.
13                              September 27, 2021
                              Los Angeles, California
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20                            YOM Full Service Reporting
                                1200 5th Avenue, #1820
21                             Seattle, Washington 98101
                                        800.831.6973
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25                 Reported By:         Judy Robinson, CCR #2171

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                                                                     Page 2

1                           A P P E A R A N C E S
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4        EDUCATION FUND, INC.
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8        TARA BORELLI, ESQ.
         CARL CHARLES, ESQ.
9        LAMBDA LEGAL DEFENSE AND
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13
         FOR THE DEFENDANTS, NORTH CAROLINA STATE HEALTH, DALE FOLWELL,
14       AND DEE JONES:
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19       Also Present:    Braden Bates, Videographer, Telegenics, Inc.,
                          Alan McInnes, North Carolina Department of
20                        Public Safety
21
22
23
24
25

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1        BY MR. KNEPPER:

2             Q      And -- and -- and what does -- what -- what does --

3        what are the responsibilities of a principal investigator on a

4        federal grant?

5             A      So I can answer what I do as the principal

6        investigator.       I can't answer what everybody does a principal

7        investigator.

8             Q      Okay.

9             A      In my case, I -- I wrote the majority of the grant.

10       The principal investigator is -- my understanding is usually

11       responsible for the overseeing of the grant.            So what that means

12       is, you know, making sure that the team is up-to-date on what

13       the grant entails, making sure that people have the information

14       that they need about how to conduct the business of the

15       research.

16                   Some -- I'm a pretty involved PI.         So I also have been

17       looking and analyzing the data myself and with my team.            I'm

18       also responsible for disseminating any findings that come out

19       for -- not solely responsible, but for overseeing these

20       activities.

21                   It's really to understand what's in the grant, and what

22       we're looking at, what we're measuring, making sure over time

23       that the measures that we're using are appropriate and

24       disseminating the findings.

25            Q      So Dr. Olson-Kennedy, what is gender dysphoria?

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1             A     Gender dysphoria has a broad definition, and it also

2        has a criteria list out -- outlined by the DSM.          So there's a

3        broad definition that includes -- that basically is the distress

4        that arises for people when they have an incongruence between

5        their gender and their designated sex or assumed sex at birth

6        based on their genitals.

7             Q     Okay.    And you said that's the broad definition; is

8        that correct?

9             A     Yes.

10            Q     Now, is -- is that broad definition a diagnosis?

11            A     Yes.    It's also an experience.

12            Q     Okay.    So -- so -- so what is the -- you said the broad

13       definition is a diagnosis.

14                  What's that diagnosis?

15            A     It corresponds to the diagnostic criteria that are

16       outlined in the DSM V, but it's broader than that because it

17       also includes things that are not outlined in the DSM.

18            Q     So -- so how -- how does one -- diagnose and treat -- I

19       guess I'm -- I'm trying to -- you said -- you said that -- this

20       is where I want to make sure I understand how the terms are

21       being used.

22                  You said there's -- there's gender dysphoria as -- as

23       identified in the -- well, I tell you what.          Before -- before we

24       even get any further, let me -- let me just introduce the DSM V

25       so we have a common frame of reference.

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1             Q     Okay.   So -- so gender incongruence is a different

2        diagnosis; is that correct?

3             A     I think that it would be necessary to talk about

4        the ICD, and how that looks right now and what it -- what it's

5        going to look in 11.

6                   So ICD 11 specifies gender incongruence as diagnosis,

7        but ICD 10 does not.

8             Q     So -- so then -- then let's -- let's finish up with the

9        DSM V, and then let's talk about ICD 10 and 11.

10                  So for I -- for -- for adults and adolescents, looking

11       at the top of page 50 -- 453, does -- does the DSM require for

12       adults and adolescents suffering from gender dysphoria that they

13       -- that the condition be associated with clinically-significant

14       distress or impairment in social, occupational or other

15       important areas of functioning?

16            A     Yes.

17            Q     Okay.   So the -- the DSM definition of gender

18       dysphoria, does that require more than an individual's effective

19       or cognitive discontent with assigned gender in order to be a

20       diagnosed medical condition?

21            A     For the diagnosis of gender dysphoria, as -- as we're

22       looking at it in the DSM, the criteria B has to be met.

23            Q     And is it possible to have effective or cognitive

24       discontent with one's assigned gener, but not meet criteria B?

25            A     Yes.

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1        concept of desistance?

2             A     He has.

3                        MR. GONZALEZ-PAGAN:       Objection to form.

4        BY MR. KNEPPER:

5             Q     What is -- what is the concept of desistance as you

6        understand it in Dr. Zucker's research?

7             A     I understand it to mean a group of people who were

8        diagnosed with Gender Identity Disorder or subthreshold for

9        Gender Identity Disorder in childhood who then did not go on to

10       have a -- a trans identity beyond childhood.

11            Q     And -- but you -- you -- in -- in paragraph 29, you --

12       you criticized the applicability of research to -- to -- by the

13       defense experts.

14                  I wondered if you could explain your -- yours views?

15       And feel -- feel free to look at your -- your report.              I'm not

16       trying to add new views, I just want you to know this isn't a

17       quiz.    I -- I just want to make sure I -- I have -- I have a

18       chance to gage with you on your -- on your criticism.

19            A     I have to go back into my report.            But is it -- was it

20       20 -- what was the paragraph number again?

21            Q     29 on page 8.

22            A     Okay.     My issues are as follows:         The first one is this

23       data is looking at prepubertal children.              So prepubertal

24       children do not get any -- there's no -- there are medical

25       interventions that are appropriate or warranted for prepubertal

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1        children across the board.        There are zero people practicing

2        this care that provide medical interventions for prepubertal

3        children.       That's the first thing.

4                    So the applicability of this study to young people who

5        are seeking services beyond their puberty, it's -- it's -- it's

6        not relevant to talk about people who are presenting in

7        childhood.       That's an applicability issue.

8                    The second one has to do with the time that these

9        studies took place, and the manifestation of the DSM at the time

10       and the way that this situation was -- was categorized.        So at

11       the time that these studies were done, we had an entity called

12       Gender Identity Disorder and that is no longer an entity.         And

13       so, because some of the criteria change, the applicability is in

14       question.

15                   But the biggest thing that I get concerned about are

16       things that -- that creates an applicability issue is that this

17       is a cohort of prepubertal children and not adolescents or young

18       adults or adults.

19            Q      So just a -- couple -- couple things to un -- a few

20       things.     You identified prepubertal children as prepubertal at

21       Tanner Stage 2 -- children of prepubertal development; is that

22       correct?

23            A      That's correct.

24            Q      Okay.    And so -- if -- if an in -- if a child has

25       reached -- entered Tanner Stage 2, how do you describe that

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1             Q     Sure.   Yeah.

2             A     Okay.

3             Q     I was going -- let's -- let's -- actually, you're

4        right.    Let's define terms.      If I use the term puberty blockers,

5        would you understand that to mean GNRH analogues used to delay

6        the onset of puberty?

7             A     If we -- I mean, if we define it that way, yes.

8             Q     Sure.

9             A     Yes.

10            Q     Okay.   Is there a different definition?         I want to make

11       sure I'm being fully --

12            A     Well, I think even just puberty blockers is kind of a

13       -- in some ways a problematic term because that's -- that's not

14       a specific entity for GNRH analogues.            Which GNRH analogues are

15       used to shut down the production of sex steroids, but -- but

16       they're used in -- in -- in, like, different time points I guess

17       if that -- they're used for different clinical entities.            They

18       are used in different age populations.

19                  So I think lumping them all together is puberty blocker

20       because sometimes we use GNRH analogues when we're not blocking

21       puberty, but we're blocking the production of sex steroids.

22            Q     Okay.   So when do you use GNRH analogues for the

23       treatment of gender dysphoria?

24            A     There are -- again, so let me -- let me break it down

25       by cohorts because that's a little bit easier to understand.

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1                   So in some young people with gender dysphoria, we are

2        using GNRH analogues so that they can put a pause on their

3        prepubertal development.     I think that's what people mean when

4        they say puberty blockers.

5                   But there are other indications to use GNRH analogues

6        as well.    So sometimes, for example, when there are folks who

7        are further along or done with their prepubertal development, we

8        might use GNRH analogues for other specific reasons, maybe to

9        induce amenorrhea.     Maybe so that they're used in conjunction

10       with gender firming hormones.

11                  So I just want to have a lot of clarity about what --

12       what we're talking about because they don't just have a singular

13       use.

14              Q   So let's -- let's -- let's -- let's identify -- let's

15       -- let's just start with -- and I think this is -- this is a

16       trick question, but I want to make sure I understand it.

17                  If -- if an individual is at Tanner Stage 1, the

18       prescription of GRN -- GNRH analogues is not appropriate.

19                  Is that your testimony?

20              A   That's correct.

21              Q   Okay.   If an individual is --

22              A   There's only -- hang on.      I -- I need to add to that

23       because if -- if someone in Tanner Stage 1, they're -- they have

24       not had any prepubertal changes, so there's nothing to block.

25       So there would be no reason to use them.

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              Exhibit 26(a)




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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,

                        Plaintiffs,

                           v.                               No. 1:19-cv-00272-LCB-LPA

 DALE FOLWELL, et al.,

                        Defendants.




  EXPERT REBUTTAL REPORT OF DR. JOHANNA OLSON-KENNEDY, M.D., M.S.

        1.     My name is Johanna Olson-Kennedy. I have been retained by counsel for plaintiffs

Maxwell Kadel, Jason Fleck, Connor Thonen-Fleck, Julia Mckeown, Michael D. Bunting, Jr.,

C.B., Sam Silvaine, and Dana Caraway (collectively, “Plaintiffs”) as an expert in connection with

the above-captioned litigation.

        2.     I have been asked by Plaintiffs’ counsel to provide my expert opinion on gender

identity, the treatment and diagnosis of gender dysphoria, particularly as it pertains to children and

adolescents, and to respond to, rebut, and provide my expert opinion regarding the reports by Dr.

Stephen R. Levine, Dr. Paul R. McHugh, Dr. Paul W. Hruz, and Dr. Patrick W. Lappert in this

case.

        3.     I have actual knowledge of the matters stated herein. If called to testify in this

matter, I would testify truthfully and based on my expert opinion.

   I.        BACKGROUND AND QUALIFICATIONS

        4.     I received my Doctor of Medicine (M.D.) degree from the Chicago Medical School

in 1997. In 2000, I completed my residency in pediatrics at the Children’s Hospital of Orange




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County, California, and from 2000 to 2003, I was a Fellow in adolescent medicine at the Children’s

Hospital of Los Angeles.

       5.      I have been a licensed physician in California since 2000 and am Double Board

Certified by the American Board of Pediatrics in Pediatrics and in Adolescent Medicine. I

specialize in the care of transgender youth and gender diverse children, and am currently the

Medical Director of the Center for Transyouth Health and Development, in the Division of

Adolescent Medicine at the Children’s Hospital in Los Angeles, California. The Center is the

largest clinic in the United States for transgender youth and provides gender diverse youth with

both medical and mental health services, including consultation for families with gender diverse

children and routine use of medications to suppress puberty in peri-pubertal youth (i.e., youth at

the onset of puberty), gender affirming hormone use for masculinization and feminization as well

as surgical referrals. Under my direction, the Center conducts rigorous research aimed at

understanding the experience of gender diversity and gender dysphoria from childhood through

early adulthood.

       6.      Over the course of my work with this population during the past 15 years, I have

provided services for approximately 1000 young people and their families, and currently have an

active panel of around 650 patients of varying ages, up to 25 years old.

       7.      I have been awarded research grants to examine the impact of early interventions

including puberty blockers and gender affirming hormones on the physiological and psychosocial

development of gender diverse and transgender youth I have lectured extensively on the treatment

and care of gender diverse children and transgender adolescents, the subjects including pubertal

suppression, gender affirming hormone therapy, transitioning teens and the adolescent experience,

age considerations in administering hormones, and the needs, risks, and outcomes of hormonal

                                                2

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treatments. I have published numerous articles and chapters, both peer reviewed, and non-peer

reviewed, on transgender health-related issues.

       8.      I am currently the principal investigator on a multisite NIH grant which recently

received funding to continue, for an additional 5 years, an ongoing study examining the impact of

gender affirming medical care for transgender youth on physiologic and psychological health and

well-being. The first five years have already been completed. This is the first study of its kind in

the US to determine longitudinal outcomes among this population of vulnerable youth. The study

to date has yielded approximately 26 manuscripts.

       9.      I am an Associate Professor at the Keck School of Medicine at the University of

Southern California and attending physician at Children’s Hospital of Los Angeles. I have been a

member of the World Professional Association for Transgender Health (WPATH) since 2010, and

a Board Member of the US Professional Association for Transgender Health (USPATH) since

2017. I am also a member of the Society for Adolescent Health and Medicine and the American

Academy of Pediatrics. In addition, I serve on the Executive Board of Transyouth Family Allies

and am a member of the LGBT Special Interest Group of the Society for Adolescent Health and

Development.

       10.     I am the 2014 Recognition Awardee for the Southern California Regional Chapter

of the Society for Adolescent Health and Medicine.

       11.     In 2019, I was invited by the University of Bristol as a Benjamin Meaker visiting

professor, the purpose of which is to bring distinguished researchers from overseas to Bristol in

order to enhance the research activity of the university.

       12.     In preparing this report, I have relied on my training and years of research and

clinical experience, as set out in my curriculum vitae, and on the materials listed therein. A true

                                                  3

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and accurate copy of my curriculum vitae is attached hereto as Exhibit A. It documents my

education, training, research, and years of experience in this field and includes a list of

publications.

       13.      I have also reviewed the materials listed in the attached bibliography (Exhibit B).

The sources cited therein are authoritative, scientific peer-reviewed publications. I generally rely

on these materials when I provide expert testimony, and they include the documents specifically

cited as supportive examples in particular sections of this declaration.

       14.      In addition, I have reviewed the Amended Complaint in this case; the reports by

Dr. Levine, Dr. McHugh, Dr. Hruz, and Dr. Lappert; and the reports by Dr. George Brown and

Dr. Loren S. Schechter. I may rely on these documents, as well as those cited in curriculum vitae

and the attached bibliography, as additional support for my opinions.

       15.      The materials I have relied upon in preparing this report are the same types of

materials that experts in my field of study regularly rely upon when forming opinions on the

subject. I reserve the right to revise and supplement the opinions expressed in this report or the

bases for them if any new information becomes available in the future, including as a result of new

scientific research or publications or in response to statements and issues that may arise in my area

of expertise.

       Prior Testimony

       16.      In the last four years, I have testified as an expert at trial or by deposition in the

following cases: In the interest of JA.D.Y. and JU.D.Y., Children, Case No. DF-15-09887 (255th

Jud. District Ct., Dallas Cty., Tex.); and Paul E. v. Courtney F., No. FC2010-051045 (Superior

Ct., Maricopa Cty., Ariz.).



                                                  4

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           Compensation

           17.     I am being compensated for my work on this matter at a rate of $200.00 per hour

for preparation of declarations and expert reports, as well as any pre-deposition and/or pre-trial

preparation and any deposition testimony or trial testimony. My compensation does not depend

on the outcome of this litigation, the opinions I express, or the testimony I may provide.

     II.         EXPERT OPINIONS1

     A. Gender Identity

           18.     Gender identity, often simply termed “gender,” is a distinct characteristic and is

defined as one’s internal sense of being male, female, both, neither, or some other gender identity.

It has a strong biological basis. Every person has a gender identity. The term cisgender refers to

a person whose gender identity matches their sex assigned at birth. The term transgender refers to

a person whose gender identity does not match their sex assigned at birth.

           19.     Historically, “gender” was equated with a person’s sex assigned at birth, which

refers to the sex assigned to a person when they are born, generally based on external genitalia.

However, a more contemporary understanding of gender shows that one’s gender identity may

differ from one’s sex assigned at birth.

           20.     While both gender identity and sex are often assumed and treated as binary and

oppositional, they are more accurately experienced as along a spectrum. For example, there are

multiple sex characteristics, such as genitalia, chromosomal makeup, hormones, and variations in

brain structure and function. For some of these characteristics there is significant variance as



1
 Subsections A and B of this report explain several concepts and provide some necessary
background information that is necessary to understand the more specific critiques of the reports
by Drs. Hruz, Levine, Lappert, and McHugh that I lay out on subsection on C.

                                                   5

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reflected by the dozens of intersex mechanisms and varying gender identities. Additionally, not all

sex characteristics, including gender identity, are always in alignment. Accordingly, the Endocrine

Society Guidelines, state that, “As these may not be in line with each other (e.g., a person with XY

chromosomes may have female-appearing genitalia), the terms biological sex and biological male

or female are imprecise and should be avoided.”

       21.     As early as 1966 it has been understood that gender identity cannot be changed.

Efforts to do so have been shown to be unsuccessful and harmful.

       22.     “Conversion” or “reparative” therapy refers to the practice of attempting to change

an individual’s sexual orientation and attractions from members of the same sex to those of the

opposite sex. A similar model of therapy for individuals with a transgender identity or experience

has historically been an approach promoted by some individuals, such as the defense experts,

notwithstanding its ineffectiveness and harmful effects. Accordingly, 20 states and the District of

Columbia have banned reparative therapy for youth, and major medical organizations have issued

statements deeming the practice to be unethical.

       23.     A Williams Institute report published in 2018 estimates that just under 700,000

LGBT individuals in the United States have undergone “conversion therapy” at some point in their

lifetime, about half of those during adolescence. Because some psychiatrists and sexologists

working in the 1960’s and 70’s perpetuated the idea that being transgender was likely the result of

a pathological early childhood experience, many professionals and lay community members

continue to believe that gender is malleable. Tactics have ranged from simple redirection, thought

pattern alteration or hypnosis to aversion techniques including induction of vomiting, nausea,

paralysis or electric shocks have been employed in order to change the expression, behavior, and

assertion of one’s authentic gender. (Mallory, et al., 2019). However, multiple studies show that

                                                   6

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gender identity has a strong biological basis and cannot be changed. As such, reparative therapy

is both ineffective and harmful for transgender and gender diverse youth.

   B. Gender Dysphoria and its Treatment

       24.     Gender Dysphoria (GD) is a serious medical condition characterized by distress

due to a mismatch between assigned birth sex and a person’s internal sense of their gender. GD

was formerly categorized as Gender Identity Disorder (GID) but the condition was renamed in

May 2013, with the release by the American Psychiatric Association (APA)’s fifth edition of the

Diagnostic and Statistical Manual of Mental Disorders (DSM-V). In announcing this change, the

APA explained that in addition to the name change, the criteria for the diagnosis were revised “to

better characterize the experiences of affected children, adolescents, and adults.” The APA further

stressed that “gender nonconformity is not in itself a mental disorder. The critical element of

gender dysphoria is the presence of clinically significant distress associated with the condition.”

       25.     On May 25, 2019, the World Health Assembly approved International

Classification of Diseases (ICD) version 11 that had been published by the World Health

Organization in 2018. In this newest version of the ICD, all trans-related diagnostic codes were

removed from the chapter “Mental and Behavioral Disorders,” and the code “Gender

incongruence” was included in a new chapter “Conditions related to sexual health.” These codes

replaced the outdated “Gender Identity Disorder of childhood” (F64.2), “Gender Identity Disorder

not otherwise specified” (F64.9), “transsexualism” (F64.0), and “Dual-role transvestism” (F64.1)

codes which perpetuated the idea that patients seeking and undergoing medical interventions for a

medical condition are mentally ill. (Suess Schwend, 2020).

       26.     For a person to be diagnosed with GD, there must be a marked difference between

the individual’s expressed/experienced gender and the gender others would assign to the

                                                 7

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individual, present for at least six months. In children, the desire to be of the other gender must

be present and verbalized.2 The condition must cause clinically significant distress or impairment

in social, occupational, or other important areas of functioning.

       27.     The World Professional Association of Transgender Health (WPATH) has clear

recommendations for the health of transsexual, transgender, and gender non-conforming people in

what is now the Standards of Care version 7. The SOC are based on the best available science and

expert professional consensus. They are currently under revision to create an updated version 8.

The WPATH Standards of Care have been endorsed and cited as authoritative by most major

medical associations in the United States, including the American Medical Association, the

American Psychiatric Association, the American Psychological Association, the Endocrine

Society, the Pediatric Endocrine Society, the American College of Physicians, and the American

Academy of Family Physicians, among others.

       28.     The UCSF Center for Excellence in Transgender Care as well as the Endocrine

Society have both published comprehensive guidelines for the care of transgender and non-binary

individuals that are largely consistent with the WPATH Standards of Care.

       29.     There are a significant number of pre-pubertal children who demonstrate an interest

or preference for clothing, toys, and games that are stereotypically of interest to members of the

“other” gender. Some of these children are transgender and some are not. It is the study of such

pre-pubertal children that has created confusion about the persistence of gender dysphoria into

adolescence and adulthood. Specifically, the pre-pubertal children who were the subject of


2
  Notably, the DSM-IV included a separate diagnosis for GID in children, which required the
child to display a number of behaviors stereotypical of the non-natal gender. That diagnosis, and
its list of behavioral requirements, have been deleted from the DSM-V and replaced by updated
and more precise diagnostic criteria.

                                                 8

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research endeavors in the late 20th century included both of these groups of children, those that

would have met current criteria for a diagnosis of “Gender Dysphoria in Children” and those who

would be considered “sub-threshold” for this diagnosis. At the time of these studies, criteria B had

not yet been added to the diagnosis, which is “the presence of clinically significant distress

associated with the condition.” In addition, the criteria for then-used “gender identity disorder in

children” diagnosis did not require a child to have “a strong desire to be of the other gender or an

insistence that one is the other gender (or some alternative gender different from one’s assigned

gender),” which the current “gender dysphoria in children” diagnosis does. Thus, given the

broader criteria used at the time, it is unsurprising that some of the research undertaken toward the

end of the 20th century demonstrated that most children who exhibited gender-nonconforming

behavior did not go on to have a transgender identity in adolescence. Yet, notwithstanding its

inapplicability and faulty underpinnings, this “evidence” has been used to argue against gender

affirmation for children and adolescents.

       30.     In any event, these arguments are wholly irrelevant to the question of coverage and

provision of medical care as treatment for GD. That is because research to date shows that if

transgender identification persists into adolescence, then desistance is incredibly rare, and no

medical or surgical treatments are recommended for pre-pubertal children.

       31.     Additionally, no studies have ever demonstrated that gender affirmation in

childhood “leads to” a child being transgender who otherwise might not have been. Studies have

demonstrated that the majority of youth whose GD and cross-gender identity continue to be

present, or those whose GD emerges in adolescence, are highly unlikely to identify and live as

cisgender individuals. Youth with GD, particularly those who are unaffirmed and denied care, are



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at high risk for depression, anxiety, isolation, self-harm and suicidality at the onset of puberty-

related changes that feel wrong to them.

       32.     In their reports, Dr. Levine and Dr. Hruz discuss a number of approaches to care,

though they fail to properly describe them and to discuss their limitations.

       33.     One of the approaches discussed by Dr. Levine and Dr. Hruz is “reparative” or

“corrective” therapy. As discussed above, this so-called “therapy” has proven to be ineffective

and harmful, and has been deemed to be unethical.

       34.     “Redirection” – Under this approach, advocated by people like Dr. Levine and Dr.

Hruz, a mental health therapist would encourage caregivers to use positive reinforcement to try to

“redirect” children toward behavior that is more typical of their birth-designated sex or less gender

specific. Underlying this approach is the assumption that a child’s gender identity is malleable

through social interventions. The goal of redirection is thus to eliminate gender-diverse desires

and expressions over time, and to try to prevent the transgender child from being transgender. This

approach is not recommended because negative reinforcement (e.g., shaming the child for gender

diverse expression) has substantial negative mental and social health consequences. (Turban and

Ehrensaft, 2018; Ehrensaft, 2017). It also ignores that gender identity is innate and cannot be

changed.

       35.     Wait-and-see – The wait-and-see approach (also called watchful waiting) involves

waiting to see if the child’s gender identity will change as the child gets older. This approach

typically recommends that caregivers prohibit a prepubertal social transition, but may allow cross-

gender play and clothing within the home or support both masculine and feminine activities as the

child explores their interests in other social settings. The wait-and-see approach assumes that

gender is binary and becomes fixed at a certain age; it pathologizes gender diversity and fluidity.

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It is distinguished from following the child’s lead, an affirming approach that allows the child to

present in the gender role that feels correct and moves at a pace that is largely directed by the child.

This approach ignores evidence that young children thrive when given permission to live in the

gender that is most authentic to them and are at risk for symptomatic behaviors if prevented from

doing so. (Ehrensaft, 2017).

        36.     Affirmation - The affirmative approach considers no gender identity outcome:

transgender, cisgender, or otherwise, to be preferable. (Turban and Ehrensaft, 2018). It permits a

child to explore gender development and self-definition within a safe setting. A fundamental

concept of this approach is that gender diversity is not a mental illness. The gender affirmative

model is defined as a method of therapeutic care that includes allowing children to speak for

themselves about their self-experienced gender identity and expressions and providing support for

them to evolve into their authentic gender selves, no matter at what age. Under this model, a child’s

self-report is embedded within a collaborative model with the child as subject and the collaborative

team including the child, parents, and professionals. Support is not characterized by “encouraging”

children or youth to be transgender or not, but rather by allowing children who express a desire to

undergo a social transition (which may include changing names, pronouns, clothing, hairstyles,

etc.) to do so. For children who have not yet reached puberty, medical intervention is

unnecessary and unwarranted. After the onset of puberty medical interventions such as puberty

blockers, and later hormones and surgery may be appropriate.

        37.     While some argue that gender affirmation leads a child or adolescent down a path

of inevitable transgender identity, no such evidence exists, either in the scientific or the clinical

setting. To the contrary, studies show that gender identification does not meaningfully differ

before and after social transition. (Rae, et al., 2019).

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         38.   Under both the “wait and see” and affirmative care models, as understood in the

scientific literature, medical care is recommended following the onset of puberty. (Ehrensaft,

2017).

         39.   The most effective treatment for adolescents and young adults with GD, in terms

of both their mental and medical health, contemplates an individualized approach. Medical and

surgical treatment interventions are determined by the care team (usually a medical and mental

health professional) in collaboration with the patient, and the patient’s family. These medical

decisions are made by the care team in conjunction with the patient and the patient’s family and

consider the patient’s social situation, the level of gender dysphoria, developmental stage, existing

medical conditions, and other relevant factors. Sometimes treatment begins with puberty delaying

medications (also referred to as puberty blockers), later followed by gender affirming hormones.

Most youth accessing treatment are already well into or have completed puberty. Gender-affirming

genital surgeries are generally sought after hormone treatment.

         40.   Puberty blockers: The beginning signs of puberty in transgender youth (the

development of breast buds in assigned birth females and increased testicular volume in assigned

birth males) is often a painful and sometimes traumatic experience that brings increased body

dysphoria and the potential development of a host of comorbidities including depression, anxiety,

substance abuse, self-harming behaviors, social isolation, high-risk sexual behaviors, and

increased suicidality. Puberty blocking, which involves the administration of gonadotrophin-

releasing hormone analogues (GnRH), essentially pauses puberty, thereby allowing the young

person the opportunity to explore gender without having to experience the anxiety and distress

associated with developing the undesired secondary sexual characteristics. In addition, for

parents/guardians uneducated about gender diversity and/or who have only recently become aware

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of their child’s transgender identity, puberty blockers provide additional time and opportunity to

integrate this new information into their own experience and to develop skills to support their

child. Puberty suppression also has the benefit of potentially rendering obsolete some gender-

affirming surgeries down the line, such as male chest reconstruction, tracheal shave, facial

feminization, and vocal cord alteration, which otherwise would be required to correct the initial

“incorrect” puberty.

        41.     Puberty suppression has been used safely for decades in children with other medical

conditions, and is a reversible intervention. If the medication is discontinued, the young person

continues their endogenous puberty a handful of months after puberty suppression is discontinued.

The “Dutch protocol,” developed from a study conducted in the Netherlands and published in

2006, calls for the commencement of puberty blockers for appropriately diagnosed and assessed

gender dysphoric youth as early as 12 years of age. (de Vries, et al., 2014). Both the Endocrine

Society and the WPATH’s Standards of Care, however, recommend initiation of puberty

suppression at the earliest stages of puberty (usually, Tanner 2) (assuming someone has engaged

in services before or around this time), regardless of chronological age, in order to avoid the stress

and trauma associated with developing secondary sex characteristics of the natal sex.

        42.     A growing body of evidence that demonstrates the positive impact of pubertal

suppression in youth with GD on psychological functioning including a decrease in behavioral and

emotional problems, a decrease in depressive symptoms, and improvement in general functioning.

(Turban, et al., 2020; de Vries, et al., 2014).

        43.     Puberty blockers, thus, afford youth the opportunity to undergo a single, correct

pubertal process and avoid many of the surgical interventions previously necessary for assimilation

into an authentic gender role. It is a simple reversible intervention that has the capacity to improve

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health outcomes and save lives. Over the course of my work in the past fifteen years with gender

diverse and transgender youth, I have prescribed hormone suppression for over 200 patients. All

of those patients have benefitted from putting their endogenous puberty process on pause, even

the small handful who discontinued GnRH analogues and went through their endogenous puberty.

Many of these young people were able to matriculate back into school environments, begin

appropriate peer relationships, participate meaningfully in therapy, and family functions. Children

who had contemplated or attempted suicide or self-harm (including cutting and burning) associated

with monthly menstruation or the anxiety about their voice dropping were offered respite from

those dark places of despair. GnRH analogues for puberty suppression are, in my opinion, a

sentinel event in the history of transgender medicine, and have changed the landscape almost as

much as the development of synthetic hormones.

       44.     Gender affirming hormones: Cross-gender or gender affirming hormone therapy

involves administering steroids of the experienced sex (i.e., their gender identity) (estrogen for

transfeminine individuals and testosterone for transmasculine individuals). The purpose of this

treatment is to attain the appropriate masculinization or feminization of the transgender person to

achieve a gender phenotype that matches as closely as possible to their gender identity. Gender

affirming hormone therapy is a partially reversible treatment in that some of the effects produced

by the hormones are reversible (e.g., changes in body fat composition, decrease in facial and body

hair) while others are irreversible (e.g., deepening of the voice, decreased testicular mass).

Eligibility and medical necessity should be determined case-by-case, based on an assessment of

the youth’s unique cognitive and emotional maturation and ability to provide a knowing and

informed consent. The decision would be made only after a careful review with the youth and

parents/guardians of the potential risks and benefits of hormone therapy. The youth’s primary care

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provider, therapist, or another experienced mental health professional can help document and

confirm the patient’s history of gender dysphoria, the medical necessity of the intervention, and

the youth’s readiness to transition medically.

       45.     Gender-affirming surgeries: Some transgender individuals need surgical

interventions to help bring their phenotype into alignment with their gender. Surgical interventions

may include vaginoplasty, tracheal shave, liposuction, breast implants, and orchiectomy for

transfeminine individuals and chest reconstruction, hysterectomy, oophorectomy, salpingectomy,

construction of neoscrotum, and metoidioplasty or phalloplasty for transmasculine individuals.

       46.     The current WPATH Standards of Care recommend that genital surgery – i.e.,

surgery which will render the individual sterile – not be carried out until the individual reaches the

legal age of majority to give consent for medical procedures, while acknowledging that care is

individualized. In addition, the Standards recommend that the other surgical interventions (e.g.,

chest surgery for transgender males and breast augmentation for transgender females) may occur

earlier than the legal age of consent, preferably after ample time living in the desired gender role

and after one year of hormone therapy. The Standards of Care, however, further recognize that

these are individual determinations and that “different approaches may be more suitable,

depending on an adolescent’s specific clinical situation and goals for gender identity expression.”

       47.     Gender affirming medical interventions are considered medically necessary, and

are recognized as such by many major professional organizations. The denial of this care results

in negative health consequences.

       48.     There are those, like Drs. Hruz, Levine, Lappert, and McHugh, who would make

the argument that the recent uptick in youth presenting for services related to GD is the result of

“social contagion.” But if social contagion theory applied to gender and gender identity, there

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would be zero transgender people, because of the consistent exposure to an overwhelming majority

of cisgender people. The social contagion argument that is posited by some confuses the

relationship between one’s recognition of their gender and their exposure to gender related

information and community, particularly with regard to internet activity, asserting that youth are

declaring themselves to be transgender or gender diverse because they were exposed to this online,

or they have multiple friends who are also experiencing GD. Adolescent development includes

finding like groups of peers, which extends to finding friend groups who are also gender diverse.

Finally, attributing GD to “social contagion” is a simplistic perspective that discounts that the

process of doing something about one’s gender dysphoria is complex and difficult and involves

parental consent for minors.

        49.     There is no scientific evidence that one develops gender dysphoria from being

exposed to people with GD. To the contrary, most evidence shows that gender identity has a

biological basis (Korpaisarn, et al., 2019; Saraswat, et al., 2015) and is affixed by early childhood

(Slaby, et al., 1975).

    C. Specific Critiques

        50.     Overall, Drs. Hruz, Levine, McHugh, and Lappert show a lack of familiarity and

understanding regarding the existing research about gender identity and gender dysphoria, as well

as the clinical experience surrounding the treatment of gender dysphoria, particularly regarding

transgender youth. This lack of familiarity and understanding makes sense, as Dr. Hruz and Dr.

Lappert have no experience working with transgender patients suffering from gender dysphoria,

and Dr. McHugh’s experience is fairly limited, at best, and dates to approximately 40 years ago.

Finally, Dr. Levine has very limited experience working with transgender youth and has not been

a member of WPATH for decades.

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       51.     These doctors have critiqued and opposed the provision of gender affirming care as

treatment for gender dysphoria for years, and in the case of Drs. Levine and McHugh, decades.

Yet, in all of these years, they have not undertaken the research they call for to answer the questions

they raise. Rather it seems their primary goal is opposing affirming care for transgender people,

instead of finding answers to questions and providing the best care for transgender people suffering

from gender dysphoria.

       52.     Below I outline additional, more specific critiques regarding the reports by Drs.

Hruz, Levine, McHugh, and Lappert. Some of the critiques apply to more than one report.

       Dr. Hruz’s Report

       53.     Dr. Hruz has no publications regarding transgender individuals, either adults or

youth. While he appears to have experience in the care of intersex patients, he does not have any

cited experience in the clinical care of children, adolescents or adults with gender dysphoria.

       54.     On paragraph 16 of his report, Dr. Hruz says that “The reliability and validity of

the term ‘gender identity’ is controversial and not accepted by the relevant scientific community.”

This is false. Dr. Hruz consistently positions the advancement of our understanding about gender

and gender dysphoria as controversial, untested and unethical, yet he has little to no experience

clinically with treating transgender youth or even communicating with transgender youth.

The term gender identity was originally coined in 1964 by American psychiatrist Robert J. Stoller,

a noted psychoanalyst who studied sexual orientation, gender identity, and differences in sexual

development. Gender identity is defined as a personal conception of oneself as male or female (or

rarely, both or neither). The concept of gender identity is contemporaneously understood both

colloquially and within the domain of science and medicine to denote someone’s gender. It is a

concept well-understood and accepted in medicine and science.               Indeed, gender identity

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information is commonly collected and reported on within the context of scientific research.

(Clayton, et al., 2016).

       55.     Dr. Hruz accuses some of Plaintiffs’ expert witnesses of perpetuating the

“transgender treatment industry,” a made-up entity that does not exist. Given that this terminology

is not based in science, it appears to be an attempt to use politically-charged language to trigger an

emotional response to the false accusation of treating youth for financial benefit. To be clear,

gender affirming care is supported by every mainstream medical organization in the United States.

Dr. Hruz’s views run counter to the established medical and scientific consensus.

       56.     In paragraphs 27 and 28 of his report, Dr. Hruz inaccurately suggests that diagnosis

of gender dysphoria is done solely through a patient’s self-report. His critique demonstrates a

fundamental misunderstanding of how gender affirming care is provided. While we have continued

to attain a greater understanding about the etiology of gender incongruence, patients do not “self-

diagnose,” as Dr. Lappert suggests. However, it is not unusual or extraordinary in medicine for a

provider to consider patients’ reports of their symptoms as part of the medical assessment. Much

like the diagnosis of many clinical conditions, providers rely on self-report to ascertain accurate

diagnoses. Consider the diagnosis of chronic fatigue. The diagnostic criteria for this diagnosis

include the following: fatigue so severe that it interferes with the ability to engage in pre-illness

activities; of new or definite onset (not lifelong); not substantially alleviated by rest; worsened by

physical, mental or emotional exertion. Like gender dysphoria, these diagnostic criteria are a

subjective telling of an individual’s personal experience. It is incumbent upon providers of gender

affirming care to acquire skills that help them ascertain many details about their patient’s gender

experience including but not limited to the history, developmental trajectory and expectations

regarding treatment options.

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       57.     The provision of gender affirming care occurs in multi-disciplinary settings, and

indeed, the Standards of Care recommend such an approach. (Chen, et al., 2016; Coleman, et al.,

2012). The multiple health providers involved, from various fields, are well trained to conduct

clinical interviews and to assess a patient’s report to determine whether they meet the diagnostic

criteria for GD.

       58.     In paragraph 29 of his report, Dr. Hruz says that “SOCIAL MEDIA

‘INFLUENCERS’         ARE     REPORTEDLY          TRAINING       PATIENTS        TO    FABRICATE

SYMPTOMS TO GAIN RAPID ACCESS TO ‘TRANSITION’ INTERVENTIONS.” (The all

caps are his.) Dr. Hruz cites to no authority for this claim, let alone a scientifically reliable one.

Again, Dr. Hruz inaccurately assumes that what everyone wants is “rapid” access to services. For

most transgender individuals seeking care, nothing about their process has been rapid, even when

they are young. Most individuals with gender dysphoria have engaged in a long, arduous and

private process of understanding their gender to be different from the one assumed at birth. Without

any scientific basis, Dr. Hruz gives no credibility to adolescents regarding their right to bodily

autonomy nor their capacity to make sound and informed decisions.

       59.     Dr. Hruz also discusses the increase in numbers of youth presenting for care related

to GD, stating that the numbers are far higher than they were prior. For one, varying estimates of

prevalence are the result of inconsistent measures of transgender populations. Some studies have

assessed the fraction of a population which had received the DSM-IV diagnosis of GID or the ICD

10 diagnosis of transsexualism, both of which were limited to clinical populations who sought a

binary transition (male-to-female or female-to-male). For example, the prevalence reported in

DSM-5 (0.005–0.014% for birth-assigned males; 0.002–0.003% for birth-assigned females) are

based on people who received a diagnosis of GID or transsexualism, and were seeking hormone

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treatment and surgery from gender specialty clinics, and, therefore, do not reflect the prevalence

of all individuals with gender dysphoria or who identify as transgender. Other studies have

reported on those who self-identified as transgender or gender incongruent, and found that

measuring self-identity yields much higher numbers. In 2016, data from the Center for Disease

Control’s Behavioral Risk Factor Surveillance System suggested that 0.6% of U.S. adults identify

as transgender, double the estimate utilizing data from the previous decade. (Byne, et al., 2018).

Ultimately, there is nothing surprising about the fact that more transgender people have begun

identifying themselves to others as societal stigma has started to abate, and nothing about that

lends support to the “social contagion” theory that Defendants’ experts espouse.

       60.     Dr. Hruz further misrepresents the affirmative model of care (paragraphs 52 and 53

of his report), stating that it is characterized by “actively encouraging children to embrace

transgender identity and social transition.” As noted above, the gender affirmative model is defined

as a method of therapeutic care that includes allowing children to express their gender identity

without fear of shame or coercion to change it, and providing support for them to evolve into their

authentic gender selves regardless of age. Support is not characterized by “encouraging” children

or youth to be transgender or not.

       61.     Dr. Hruz also says (paragraph 55) that scientific studies in support of treatments for

gender dysphoria are of low quality. The care of transgender individuals has a long history, and

cannot be equated to the sorts of things that Dr. Hruz likens it to, however, including eugenics, the

Tuskegee experiments, or the relatively short phase of unlocking “repressed memories.” Between

1963 and 1979, over 20 university-based gender identity clinics opened in the United States. These

clinics provided interdisciplinary care that included psychiatrists and other mental health

professionals and played an important role in the provision of medical services to transgender

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people and in promoting research to improve their care. The majority of these clinics closed

following a 1981 decision of the U.S. Department of Health and Human Services (HHS) that

labeled sex reassignment surgery as experimental, and for which Dr. McHugh was a major

advocate.3 That decision was overturned by HHS in 2014 in a determination that concluded that

the 1981 decision was “unreasonable and contrary to contemporary science and medical standards

of care.” (Byne, et al., 2018). Over the last four decades: research has continued to occur in the

United States and internationally; WPATH (formerly the Henry Benjamin International Gender

Dysphoria Association) published the first iteration of the Standards of Care, which is now in its

7th version and for which the 8th version is in development; the DSM and ICD stopped classifying

transgender identification as a mental disorder; the American Psychological Association and

Endocrine Society, as well as other medical organizations, adopted clinical guidelines consistent

with the WPATH Standards of Care; and dozens of interdisciplinary gender clinics associated with

research institutions and teaching hospitals have been providing gender affirming care for

transgender youth and adults across the United States.         Indeed, in 2017, Dr. Hruz’s own

Washington University in St. Louis opened a Transgender Center that provides gender affirming

care for children, adolescents, and adults.

       62.     To be sure, as with all medical care, there is a range of quality in the existing data

regarding the treatment of gender dysphoria (see UCSF Guidelines), and there is certainly a need

for additional studies of a longitudinal nature. But again, that is true with most medical care. One

of the intrinsic elements of rating the quality of evidence is the study design. Randomized

controlled studies are considered the highest quality in the grading of evidence. Given the length


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  In this way, Dr. McHugh actively attempted to suppress the research that he complains is
lacking in this field of care.

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of time that gender affirming medical interventions have been around and vast amount of clinical

knowledge about their efficacy, having untreated control groups of patients with gender dysphoria

is unethical. That said, we have a large de facto group of untreated individuals with gender

dysphoria who experience significant psychiatric symptoms because of widespread barriers to

access to care. Clinicians who are competent in the care of transgender individuals practice

according to a “first do no harm” ethic which understands that doing nothing is not a neutral option

for those with gender dysphoria. Multiple studies have demonstrated the safety of gender affirming

hormones, and a growing body of evidence does the same with regards to the safety of GnRH

analogs. (Kuper, et al., 2020; Chew, et al., 2018; Colton-Meier, et al., 2011). The same is true

with regards to surgery. (Marano, et al., 2021; Olson-Kennedy, et al., 2018; Murad, et al., 2010;

Smith, et al., 2005; Pfafflin & Junge, 1998).

       63.     In paragraph 57 of his report, Dr. Hruz wrongly asserts that hormone treatments

provided to children with gender dysphoria are “risky, scientific and unethical,” as well as “often

irreversible.” Dr. Hruz shows a clear misapprehension of transgender youth and the treatments for

gender dysphoria. First, Dr. Hruz conflates children having discomfort with gender roles with

transgender children. These are not the same populations. As noted above, the studies on which

Dr. Hruz relies to argue a particular percentage of desistance included pre-pubertal children some

of whom were neither transgender nor would have met the criteria for the diagnosis “Gender

Dysphoria in Children.” Second, Dr. Hruz is conflating the data regarding pre-pubertal children

with the treatments provided to adolescents, for whom it may be appropriate to treat with puberty

delaying treatments or gender affirming hormones. To clarify, there are no medical treatments

recommended for pre-pubertal children. Children who are prepubertal do not receive puberty

blocking medication or gender affirming hormones. Medical treatment is not initiated until the

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onset of puberty. Before commencing any medical intervention, patients (and their

parents/caregivers if they are minors) are provided with extensive information about the

medication(s) being considered including both known and potentially unknown effects, desired

effects and potentially undesired side effects, timeline of expected changes, and administration

options.

       64.     Dr. Hruz also misrepresents the science surrounding medical treatments for gender

dysphoria, in particular the provision of puberty delaying GnRH analogues. Indeed, as Dr. Hruz

should well know, GnRH analogues have been used safely for decades in children with other

medical conditions, like those experiencing precocious puberty, and is a reversible intervention.

(Mul, et al., 2008). If the medication is discontinued, the young person continues their endogenous

puberty a handful of months after puberty suppression is discontinued.

       65.     Dr. Hruz’s testimony (paragraph 63) evinces a poor understanding of the treatment

approach for pre-pubertal vs. peri-pubertal and later pubertal youth, as demonstrated with his

consistent conflation of these three cohorts. Additionally, he conflates gender affirmation with

medical intervention when it is merely one potential element of gender affirmation. Finally, there

are many medications that are used off label in the pediatric population. The majority of drugs

prescribed have not been tested in children and safety and efficacy of children’s medicines are

frequently supported by low quality of evidence. This is explained by the lack of clinical research

in this population, caused by ethical, scientific, and technical issues, besides commercial priorities.

Therefore, most of the therapies prescribed to children are on an off-label or unlicensed

basis. (Allen, et al., 2018). Common medications that are used “off-label” in pediatrics include

antibiotics, antihistamines, and antidepressants.



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       66.     Dr. Hruz’s assertion that treatment for gender dysphoria is experimental and

unproven is simply a statement of opinion, and not fact. We have decades of research and clinical

experience on gender dysphoria and its care. The majority of studies investigating the impact of

gender affirming medical interventions are observational because an untreated control group in a

randomized controlled trial is unethical. This is not uncommon. For example, “Despite GnRH

analogue treatment being used in precocious puberty for more than 20 years, there are no

randomized controlled trials to evaluate the effect of GnRHa on a final height compared with

untreated controls.” (Mul, et al., 2008). However, there are several studies which demonstrate the

safety and positive impact of gender affirming medical interventions. Additionally, larger

longitudinal studies are currently underway to help substantiate the significant existing data we

have. (de Vries, et al, 2021; Weinand, 2015).

       Dr. Levine’s Report

       67.     Dr. Levine demonstrates a poor understanding of the affirmative care model, and it

is clear that he lacks a contemporaneous perspective on the care of transgender youth and youth

with gender dysphoria. Additionally, his practice with minors suffering with gender dysphoria is

minimal.

       68.     Dr. Levine claims that there is a lack of consensus among psychiatrists and

psychotherapists about the cause of, and therapeutic response to gender dysphoria and because of

this, the field is experimental. The entire field of medicine is dynamic, growing as more

information becomes available. This does not preclude professionals from providing interventions

and necessary care. For example, in the field of cancer care a more complete understanding of how

cancer is acquired, spread, and contained leads to improvement in chemotherapy, as well as other

modalities for intervention. Whether or not individuals consider the field of cancer to be

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experimental or not is irrelevant and does not preclude practitioners from providing available

treatment.

       69.     Dr. Levine claims that the fact that a small percentage of the population has a gender

that is not aligned with their sex assigned at birth “begs for understanding.” Although Dr. Levine

claims he has been evaluating transgender adults for years, it is unclear what research he has

undertaken to attain a better understanding. The ideas that Dr. Levine goes on to state about the

etiology of gender incongruence are all rooted in a pathological model, i.e. “a deficient mother,”

“an absent father,” “trauma based rejection of maleness or femaleness,” or “some other emotional

disturbance.” Many of these hypotheses have been investigated and none have been validated.

(Turban and Ehrensaft, 2018). Not only is this perspective undergirded by the idea that transgender

experience is one of “wrongness” or pathological, but there is also simply no commonality for any

of these explanations across every transgender person. It also runs counter to the understanding of

every major medical organization that being transgender is not pathological. Additionally, these

ideas discount the rich history of transgender people across time and culture. Indeed, years of

research and study show that there is a strong biological basis for gender identity, even if not fully

understood, and that gender identity is innate, resistant to change, and fixed at an early age.

       70.     In 1966, Harry Benjamin wrote in his book “The Transsexual Phenomenon” the

following: “Allegedly, transsexualism, although basically a psychiatric condition, is paradoxically

resistant to psychiatric help.” In this statement, Harry Benjamin acknowledges that psychiatric

intervention cannot alter people’s gender, nor does it lead to a diminishing of the distress that arises

from gender incongruence. The statements of Defendants’ witnesses, which treat transgender

people as inherently disordered, are not helpful in the evolution of the practice.



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       71.     In his discussion about “biology,” Dr. Levine makes several assertions that bear

examination. First, Dr. Levine references that no matter how many endocrinological or surgical

procedures an individual undergoes, they can never be made a “complete man” or “complete

woman” reserving that label to those who possess the germinal cells of ovaries or testes and can

reproduce.   Terms like “complete man” or “complete woman” are not scientific, as even

recognized by the work of Magnus Hirschfield over a century ago, and ignore the current scientific

understanding of sex. Note that, as described above, there are multiple sex characteristics. Indeed,

aside from its offensiveness, Dr. Levine’s opinion would mean that people born with differences

in sex development (DSD) conditions could not also be considered a “complete man” or “complete

woman.”

       72.     Dr. Levine continues to assert that medical interventions should not be undertaken

because nothing can change the underlying biology of maleness or femaleness. He speaks as if it

is solely the biology of genitals, reproductive tract, and sex chromosomes that determine the

gender of an individual – failing to recognize that those characteristics do not always align.

Additionally, he ignores the growing body of research examining the role of brain structure (both

in size of nuclei, as well as connectivity of neurons) in gender identity.

       73.     Dr. Levine asserts that transgender people aspire to become “complete males” or

“complete females” which is not only binary, thereby overlooking those with non-binary gender

identities, but also underestimates the capacity of transgender people to comprehend what changes

are and are not possible with hormones and surgery.

       74.     In his statement about those youth whose gender dysphoria emerges in adolescence,

he states that this is commonly referred to as “rapid onset gender dysphoria.” First and foremost,

this pattern of emersion of gender dysphoria is not commonly referred to as “rapid onset gender

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dysphoria.” This is a fabricated name for a fabricated entity that arose out of a deeply flawed

research endeavor that gathered parents of youth with gender dysphoria from distinctly anti-gender

affirming websites. Investigators and clinicians who practice in this area of expertise do not utilize

this terminology. Dr. Levine’s speculation regarding youth whose GD emerges at puberty are

neither scientifically supported, nor are they supported by clinical experience. Dr. Levine and the

other witnesses proffered by the defense utilize language designed to shock, but poorly

characterizes the relative rarity of gender incongruence. For example, in the UK, the Tavistock

program reported that in 2015-2016 there were 969 youth under 18 years referred to the clinic, as

compared to 94 in 2009-2010. This change is described as an alarming nearly 1000% increase in

the number of youth presenting for care. There are an estimated 14 million youth in the UK under

the age of 18 years. Even using the conservative prevalence estimate of gender incongruence at

0.6%, the numbers tell us that there are potentially 84,000 transgender or non-binary youth under

the age of 18 in the UK. These numbers highlight the enormous gap that exists for provision of

care, not an out of control run on identifying as transgender and seeking services. As information

becomes more readily available and community becomes more accessible via the internet, it is not

hard to understand why increasing numbers of young people are better able to understand their

gender at younger ages.

       75.     Dr. Levine (paragraph 18) references his own article, which is not a scientific study,

as support for his recommendations for addressing gender dysphoria in children, and categorizes

gender dysphoria as a “complex behavioral problem.” Again, Dr. Levine has minimal experience

working with transgender youth. He asserts that many children and adolescents are not aware of

the many “adaptive possibilities” for how to live as a man or a woman. This assertion is not

supported by scientific data, nor by clinical experience. The framing of his discussion is

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undergirded by the distorted perspective that individuals (in this case, children and adolescents)

are considering “adopting a transgender identity.” My clinical experience does not correlate with

this framework.

       76.     Children who assert a gender identity in childhood tell us who they are with their

interests, and often their words. Indeed, the “Gender Dysphoria in Children” diagnosis requires

which requires a child to have “a strong desire to be of the other gender or an insistence that one

is the other gender (or some alternative gender different from one’s assigned gender).” Youth who

come out at, or whose gender dysphoria emerges with, the onset of puberty have tremendous

awareness about the challenges of being gender discordant, as well as awareness about the myriad

gender identities that exist. On the one hand Dr. Levine asserts that youth are not aware of these

possibilities, and on the other acknowledges the increasing numbers of young people who are

emerging asserting non-binary identities.

       77.     Dr. Levine also recommends that alternative approaches should be used for children

with gender dysphoria including teaching them “coping and resilience skills.” If this model were

applied to other medical conditions, it would be considered malpractice. Consider the intervention

for someone with diabetes teaching them coping and resiliency. The model of holding off on

medical interventions and equating it to a neutral option was not effective for transgender adults,

and it is not effective for transgender youth.

       78.     Dr. Levine implies that anyone who is considered a specialist in the field of gender

medicine is biased, rather than informed. When a pediatric rheumatologist sees an increasing

number of patients and accumulates a growing body of knowledge from both their clinical

experience and by remaining up to date with current research, they grow into the role of a



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specialist. They are not considered biased; they are considered educated and experienced. Only in

the field of gender care does this inaccurate characterization occur.

       79.     Dr. Levine also argues that gender affirming care is based on confirmation bias. His

assertion is predicated on the idea that gender dysphoria is trendy, and “politically correct.” As a

provider, I have directly witnessed the improved health of hundreds of youth with gender

dysphoria as a result of gender affirming medical interventions. The arduous process of being

assessed, diagnosed, and receiving care is not fashionable, but rather medical treatment that

provides much-needed relief for a medical condition. Moreover, scientific study and years of

research bear out the aforementioned observations based on decades of clinical experience. When

there is an overlap between medical care and human rights, it is inevitable that practitioners

providing care will become advocates for their patients when they witness firsthand the

improvement of their patients in response to interventions. This is one of the hallmarks of

medicine, we rely on both clinical experience and research for the evolution of the field. Dr.

Levine, however, cites to no clinical experience or scientific study to bolster his “alternatives,”

they are based solely on his own pre-conceived notions and bias against gender affirming care and

the nature of gender identity.

       80.     Dr. Levine (paragraph 21) asserts that a disproportionate number of children from

communities of color are diagnosed with gender dysphoria. This is patently untrue across the

United States. In fact, the opposite is true. The youth seeking puberty suppression do not deviate

significantly from general demographics; indeed, the preponderance of youth seeking puberty

suppression are white. In any event, this is irrelevant. Many medical conditions impact some

communities more than others. (Manton, et al., 1997). That is not a reason to deny medically

necessary health care.

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       81.     Dr. Levine simultaneously asks the court not to consider the DSM as a reliable

source, and states that gender dysphoria is only a psychiatric diagnosis (that is outlined in the

DSM). Dr. Levine misuses the data, specifically, the Cecilia Djhene manuscript about suicidality

among transgender women who underwent genital surgery compared to the entire population

statistics. This research has been consistently misused, much to the dismay of the first author,

whom I have communicated with about this very issue. The Dhejne study specifically states that,

“For the purpose of evaluating whether sex reassignment is an effective treatment for gender

dysphoria, it is reasonable to compare reported gender dysphoria pre and post treatment. Such

studies have been conducted either prospectively or retrospectively, and suggest that sex

reassignment of transsexual persons improves quality of life and gender dysphoria.” Dr. Levine’s

characterization of the Dhejne research is misleading, because the two comparison groups were

transgender women who underwent surgery and aged matched individuals from the general

population of Sweden. It is well known that transgender individuals have a higher suicide rate than

cisgender individuals. That is explained by the fact that transgender people, even after obtaining

gender affirming care, suffer from large and disproportionate rates of discrimination, harassment,

family rejection, and violence, all of which could contribute to larger suicidality rates when

compared to the general population. Additionally, the data in the Dhejne study was gathered from

patients seeking surgery between 1973 and 2003. The political and cultural context is vastly

different in 2021 and the surgical techniques are improved.

       82.     Dr. Levine further equates participants who are lost to follow up as a potential

indicator of desistance and/or who regretted undergoing medical interventions, but he provides no

support for his assertions.



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       83.     Dr. Levine and others who espouse similar “concern” about gender affirming

medical procedures have had decades to test their own recommendations about how gender

dysphoria should be managed. Dr. Levine suggests that mental health providers should approach

gender dysphoria as the result of a psychopathological process that first manifested as a failure to

establish a comfortable and conventional sense of self in early childhood. He refers to this as a

utilizing a developmental lens, and through this lens, identify the underlying cause, and ameliorate

suffering if the cause cannot be identified. Nothing scientific has come from those efforts, except

several accountings of the negative sequelae experienced by many who underwent conversion

therapy. Dr. Levine also assumes that “gender specialist” mental health providers focus only on

moving youth down some kind of a transgender “pathway,” without spending any time or effort

addressing the mental health of their clients. Both of these claims are false. Mental health

practitioners who are practicing an affirming model of care are providing a safe space in which

mental health symptoms or issues can be identified and addressed. Conversion therapy is not

supported by any scientific evidence or rigorous data.

       84.     In his report, Dr. Levine seems to endorse an approach he likens to the “watchful

waiting” approach. If Dr. Levine is defining the “wait and see” approach in pre-pubertal children

as one that does not employ medical intervention, that is literally the standard of care everywhere

and is indeed what is done under the gender affirming approach, as medical interventions for pre-

pubertal youth are not appropriate nor are they warranted. If Dr. Levine seems to be implying that

the “watchful waiting” approach requires the withholding of medical care after the onset of

puberty, then that is not the “watchful waiting” approach that is recognized in scientific literature.

       85.     As outlined above, the “watchful waiting” approach is deficient in that it ignores

evidence that young children thrive when given permission to live in the gender that is most

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authentic to them and are at risk for symptomatic behaviors if prevented from doing so. (Ehrensaft,

2017). “Research consistently demonstrates that gender diverse youth who are supported to live

and/or explore the gender role that is consistent with their gender identity have better mental health

outcomes than those who are not.” (AACAP, 2019).

       86.     However, under either the “watchful waiting” and gender affirmative approach,

medical care is provided to transgender youth with gender dysphoria following the onset of

puberty. (Ehrensaft, 2017; de Vries, et al., 2014; de Vries, et al., 2011). As such, any debate about

the “watchful waiting” and gender affirmative approaches is irrelevant to the questions at issue in

this case, which concern the coverage of medical care for gender dysphoria.

       87.     Dr. Levine also references a manuscript entitled “A Typology of Detransitions and

Its Implications for Healthcare Providers” proclaiming that there are 60,000 cases of

detransitioners on a subreddit thread. The source document actually states 16,000 not 60,000.

Again, this is an example of presenting what feels like giant numbers to alarm audiences, but

relative to the number of people who have successfully undergone phenotypic transition, this is a

low number.

       88.     It is concerning that Dr. Levine consistently misrepresents the affirmative model of

care, particularly in pre-pubertal children. Affirming approaches promote exploration of gender

development and self-definition within a safe setting. A fundamental concept of this approach is

that gender diversity is not a mental illness. The gender affirmative model is defined as a method

of therapeutic care that includes allowing children to speak for themselves about their gender

identity and expressions and providing support for them to evolve into their authentic gender

selves. Support is not characterized by “encouraging” children or youth to be transgender or not.

Interventions may include social transition, the changing of one’s presentation to more closely

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align with one’s gender, as well as later medical interventions after the onset of puberty, such as

puberty blockers, hormones, or surgery. Because care is individualized, it also may not.

       89.     Dr. Levine asserts that there is a growing body of evidence that suggests that

affirmation of gender diverse children results in a higher likelihood of persistence of gender

incongruence. He cites an article entitled “The myth of persistence: Response to ‘A critical

commentary on follow-up studies and ‘desistance’ theories about transgender and gender non-

conforming children’” by Temple Newhook et al. (2018) written by Ken Zucker. This is not a

research article. It simply provides a rebuttal by Dr. Zucker to a previous manuscript. In it Dr.

Zucker reviews some of the existing literature about persistence and desistance of gender

incongruence among children over time. As previously noted, though, the studies upon which Dr.

Zucker relies were based on the now obsolete and overly broad categorizations contained in the

diagnosis for “Gender Identity Disorder in Children.” None of the studies use the current DSM-5

“Gender Dysphoria in Children” diagnosis. Thus, the desistance rates of which Dr. Levine speaks

include children who did not identify as transgender to begin with or would be considered “sub-

threshold” for a Gender Dysphoria diagnosis. In addition, research shows that children who

identify as transgender into adolescence, which is when any medical treatment begins, persist in

their transgender identity. (de Vries, et al., 2011).

       90.     Dr. Levine attempts to create a causal relationship by asserting that gender

affirmation (social transition specifically) in childhood causes children to continue to assert a

gender incongruent with the sex they assigned at birth and that they would not have done so had

they not undergone social transition. There is a failure to consider the clinical observation that

children who end up socially transitioning are often experiencing the greatest distress about their

gender incongruence, a discussed predictor of persistence. He presents an argument against

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affirmation, social transition in particular, in light of the data that suggests the majority of children

with gender non-conforming behaviors in childhood grow out of those behaviors and feelings as

they move into adolescence. However, research shows that that gender identification does not

meaningfully differ before and after social transition. (Rae, et al., 2019).

        91.     Even if we fully embrace the idea that most children who are gender non-

conforming in childhood do not go on to assert gender incongruence in adolescence, it has no

relevance to the medical treatment of adolescents and adults who do have gender incongruence,

which is the subject of this case. The question is not “should we provide access to medical

interventions for people who had GD in childhood that dissipated in adolescence?” because that

population is not the population presenting for treatment and in any event, medical care is not

indicated for that population of children. Transgender adolescents and adults with gender

dysphoria are the patients we are discussing.

        92.     Dr. Levine asserts that the statements of professional organizations are not

legitimate because they are, according to him, not supported by science, and therefore the

statements that support gender affirmation from WPATH, AAP, APA, and the Endocrine Society

should be disregarded. Dr. Levine also dismisses the guidelines from WPATH and the Endocrine

Society for similar reasons. Across all domains of medicine standards of care and guidelines are

developed by the professional consensus model, which is absolutely informed by available science.

The development of reliable guidelines is a key priority for health care providers and

commissioners to promote best care for patients and are updated as the science expands. All of

these guidelines and statements are workshopped in groups and cite to scientific, peer-reviewed

literature. That Dr. Levine disagrees with them does not mean they are not supported by science.



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       93.     Dr. Levine and other witnesses in this case make reference to another made up

entity, the Transgender Treatment Industry, with the direct accusation that there is an entire

industry that is raking in monetary benefit from gender affirmation models. This is not supported

by any data and seems to simply be a way to try to undermine the treatment being provided by

thousands of health care professionals seeking to provide the best care for their patients, as well as

the overwhelming medical consensus.

       94.     Dr. Levine claims that puberty blockers have the potential to alter the natural course

of someone’s gender identity development. This is not supported by any data. Furthermore, this

issue has never been raised regarding children who are given puberty blockers to treat central

precocious puberty often at younger ages and for longer periods of time.

It is not a “novel” developmental trajectory that gender dysphoria emerges or intensifies at puberty

as Dr. Levine suggests, as that is the stage at which changes in the body diverge more intensely

from the adolescent’s gender identity. The only aspect of recent trajectories that is “novel” is the

fact that more information is available for youth who are suffering with gender dysphoria, and that

there is much greater societal acceptance that facilitates accessing services earlier.

       95.     Dr. Levine goes on to discuss the lack of quality evidence regarding the impact of

gender affirming interventions. Like all areas of medicine, clinical care often outpaces the science,

as is the case with transgender youth care. But the current evidence base for treatment of

transgender youth is commensurate with the evidence base for many other types of treatment for

adolescents. Additionally, the increase in younger patients seeking services is being paralleled by

the increase in data collection, with the promise of the creation of a rich database to better answer

some of the still unanswered questions. Nothing about that is unique to gender dysphoria.

Additionally, many existing studies have small numbers of participants because transgender

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experience is uncommon, there exist multiple barriers to accessing services, and there is a historical

mistrust of medical institutions based on an unimaginable amount of harm that such institutions

have perpetuated upon this vulnerable community. (Sharman, 2016).

       96.     Dr. Levine criticizes the existing data and recommendations for using medications

off label. As addressed above, it is common for medications to be used “off label” across all

domains of medicine. In addition to there being fewer studies in children and adolescents,

pharmaceutical companies often do not want to spend the money to get an FDA indication for use

in a very small population.

       97.     In paragraph 73 of his report, Dr. Levine discusses an article I co-authored that

makes reference to the need for more research in the field of gender affirming care. I stand by

what I wrote in this article. More research is necessary to support and test what we have learned

from a clinical perspective, and from the extant scientific data. This is true of all medicine.

Medicine is characterized by continuous research and an ever-expansive knowledge base. Finally,

that paper is five years old and since its publication, the NIH has invested many millions of dollars

to support the very research that myself and my co-authors recommended and that many of us are

undertaking. In other words, the research called for in my 2016 article is happening right now,

and unfortunately, it is opinions like those of Dr. Levine that attempt to obstruct the research from

happening.

       98.     Dr. Levine asserts that there is no data to suggest that affirmation will lower suicide

deaths more than a psychotherapeutic model or watchful waiting. However, there is evidence that

youth who have been exposed to both a psychotherapeutic model and/or a watchful waiting

approach, which deny affirmation and withhold medical care from adolescents, have died by

suicide. It does not seem logical to keep employing a method that has been unsuccessful in

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preventing such deaths. His criticism of Jack Turban’s manuscript includes that there was a high

level of suicidality (both ideation and attempts) among both those who wanted and received

blockers and those who wanted and did not receive blockers. That was not the thrust of the article.

The article was demonstrating a decrease of suicidal ideation among the cohort that got blockers.

While it is true that the raw data indicates that a higher percentage of the group that had access to

puberty blockers had hospitalizations related to suicide attempts (n=5), this difference was not

statistically significant, whereas lifetime suicidal ideation was statistically significantly lower in

that cohort.

       99.     Dr. Levine also states that gender affirming medical interventions may lessen the

“relatively minor pain of gender dysphoria” in the short term, but that long term debilitating

suffering will ensue. The pain of gender dysphoria is only characterized as “relatively minor” by

those individuals who do not sit in rooms with youth experiencing gender dysphoria such as Dr.

Levine. Gender dysphoria is debilitating for many, creating functional impairment across multiple

domains (one of the DSM 5 criteria required for the diagnosis of GD). There is no data to support

that there are people who experience long term suffering because they were provided gender

affirming interventions in adolescents. The high-profile cases of such individuals could be more

easily attributed to political undertakings than those accused of political agendas who support of

gender affirmation by Dr. Levine in his report.

       100.    Dr. Levine attests to a host of potential risks from genital surgeries and gender

affirming hormone care, none of which are above and beyond the risk profile commonly

encountered for many procedures and medications in the medical field. He presents an unattainable

goal of “controlled, reliable-valid research” to determine something is “completely true” which is

not a standard applied to any area of medicine, particularly newer fields such as transgender youth

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care. His suggestion that providers of such care do not thoroughly inform patients and families

about the potential side effects and impact on future fertility is likewise uninformed.

       101.    Dr. Levine opines on purportedly “High level” of regret rates but conflates

dissipation of gender non-conforming behavior in children to regret, cites a case study of seven

individuals, and misrepresents a manuscript referring to a subreddit thread of 16,000 members as

having 60,000 individuals characterized as detransitioners. There is irony in Dr. Levine’s inclusion

of the 60,000 number (besides it being incorrect by a significant amount) because the entire

manuscript is devoted to talking about the difference between individuals who detransition because

their dysphoria has allegedly dissipated and those who detransition because of other issues not

related to re-identification with gender concordant with sex assigned at birth. (Expósito-Campos,

2021). A recent study confirms that the vast majority of people who detransition do so because of

external factors such as pressure from family and societal stigma. (Turban, et al., 2021). In

addition, studies show that regret rates for those who have undertaken gender affirming care are

extremely low. (Narayan, et al., 2021; Wiepjes, et al., 2018).

       102.    As for informed consent, I can speak for myself and the practices of our center

regarding informed consent. Our center takes the process of informed consent very seriously. We

provide both verbal and written information that discusses the desirable and undesirable side

effects of puberty blockers, androgen antagonists, and hormones. The consent form covers the

known and the unknown about these medications, including fertility, psychological and

physiological impact. Extensive conversations regarding options for care (including no medical

intervention) occur. Both the patient and the parent/caregiver must demonstrate an understanding.

Additionally, we do not consider consent a singular process. Frequent follow up, laboratory

evaluations, and developmentally relevant conversations occur throughout treatment duration. In

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other words, Dr. Levine’s representations about informed consent are not based on any real

understanding of how interdisciplinary gender clinic, like our center, operate.

       Dr. Lappert’s Report

       103.    Dr. Lappert has no research experience in treating gender dysphoria, and does not

specify the numbers of patients he has treated for specific issues related to GD.

       104.    Dr. Lappert asserts that supporting a child with affirmation of their process will

lead them down a road of intentional or unintentional sterility. Aside from this being an overly

simplistic perspective about a significantly long and complicated process, it is wholly divorced

from the reality of care for transgender people. First, like all health care, gender affirming care for

every transgender person is individualized. There simply is no one specific route. Second, there

is no evidence that affirmation of pre-pubertal children in their identity or the provision of puberty

blockers lead to sterility. Indeed, the effects of puberty blockers are reversible. To the extent a

person desires and needs hormone treatment or surgery, such care is not provided until well into

maturity and after discussion of the effects of such. In addition, patients who may need a procedure

or treatment that will result in the side-effect of sterility are informed of such consequences and

are provided with alternative options such as fertility preservation before initiating such care.

(Chen, et al., 2017).

       105.    While Lappert asserts that youth who transition in childhood with the use of puberty

blockers go on to face significantly diminished sexual response and are unable to ever experience

orgasm, he follows this sentence with the fact that no research has endeavored to answer this

question. When data are lacking, we rely on clinical experience gathered from patient care and

conversations as well as existing data on extrapolatable cases. While there is a body of research

on the capacity of minors for sexual arousal and orgasm, there is no data to support the idea that

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gender affirmation diminishes sexual capacity. More commonly youth with GD experience

dysphoria from the act of masturbation, and often even the possibility or thoughts around sexual

intimacy. In fact, there is data that demonstrates improved satisfaction with sexual intimacy after

gender affirming interventions.

       106.    Informed consent is the legal embodiment of the concept that each individual has

the right to make decisions affecting his or her health. Physicians engaged in patient-physician

relationships involving medical informed consent have a moral responsibility to identify the best

treatments for each patient on the basis of available medical evidence and to discuss with patients

the hoped-for benefits and the potential risks. Physicians must allow for patients’ questions about

the proposed treatments, benefits, and risks and must answer those questions from the available

medical literature and their professional experience. This exchange of information and ideas is the

foundation of the patient-physician partnership and promotes informed decision making in the

most complex medical situations. (Paterick, et al., 2008). As noted above, speaking from own

clinical experience, at our center we strive to ensure that we are obtaining informed consent from

every patient (and their parent/guardian) throughout the course of treatment.

       Dr. McHugh’s Report

       107.    The actions of Paul McHugh in getting the Johns Hopkins transgender clinic closed

down resulted in a significant set-back in the care of transgender individuals. While still woefully

behind Europe (Germany in particular), the United States began forging forward in the field of

transgender care between 1969 and 1979. But services at Hopkins and a number of prestigious

hospitals abruptly shut down in 1979. The main trigger was a study by Jon Meyer, who ran the

hospital’s Sexual Behaviors Consultation Unit. In the study, Meyer concluded that although “sex-

change” surgery was “subjectively satisfying” for the small sample surveyed, the operations they

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underwent conferred “no objective advantage in terms of social rehabilitation.” Dr. McHugh

publicized his views that providing transgender individuals (particularly transfeminine) with

medical interventions was essentially aiding and abetting a psychiatric illness. What could have

been the beginning of an unparalleled opportunity to determine the impact of affirming

interventions over a longitudinal timeline instead came crashing down. Transgender care went

underground until around the early 1990’s when it re-emerged in the context of HIV related

services. Dr. McHugh is largely responsible for this inexcusable, but thankfully not permanent,

halting of transgender care in the academic world. In 2017, Johns Hopkins re-opened its

transgender clinic, re-affirming its commitment to the LGBTQ community. Dr. McHugh continues

to promote his perspective, which remains largely uninformed. Dr. McHugh has no noted

experience in the treatment of adolescents or children with gender dysphoria.

       108.     Meyer’s study was widely criticized for the arbitrary nature of its rating scale, as

well as for its value judgments: individuals who did not improve their socio-economic standing,

who continued to see a therapist, or who were unmarried or with a same-sex partner were deemed

to be less well-adjusted. In addition, noticeably absent was any measure of the participants’

satisfaction or happiness, despite Meyer admitting that only one of the individuals who underwent

gender-affirming surgery expressed any regrets at having done so (and in this person’s case,

because the surgery had been performed poorly). (Beemyn, 2014; Fleming, et al., 1980). Other

studies from the period found much more positive outcomes from surgery. (Bullough, et al., 1998;

Pauly, 1981).

       109.     There is no evidence to support that affirmation of gender in pre-pubertal children

“halts the healing process,” as McHugh suggests. Medical interventions are not recommended and

are not appropriate for pre-pubertal children. If one’s gender could be impacted by the role of

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rearing, there would be few transgender people who transition in adulthood, as most were reared

in the gender role that corresponded with their sex assigned at birth. It is not logical to think that

while we have been epically failing at convincing transgender people to be cisgender that we would

be able to make someone who is cisgender into someone who is transgender, a directionality that

may correspond with higher rates of discrimination, harassment, and even violence. It must be

absolutely clear when we are discussing interventions that three distinct cohorts are identified: pre-

pubertal children, peri-pubertal youth, and later/post pubertal adolescents. The conflation of the

trajectories as well as the recommended and available interventions by all of the defense experts

in such a way as to create confusion. Finally, there is no data to support any such notion that

children who are socially transitioned in a pre-pubertal time period who then go on to embrace

their assumed gender at birth are damaged. I know several such young people who are healthy and

happy.

   III.      CONCLUSION

          110.   Gender affirming medical and surgical care is effective, beneficial, and necessary

for transgender people suffering with gender dysphoria, including transgender youth after the onset

of puberty. It is well documented and studied, through years of clinical experience, observational

scientific studies, and even some longitudinal studies. It is also the accepted standard of care by

all major medical organizations in the United States.

          111.   The denial of gender affirming care, on the other hand, is harmful to transgender

people. It exacerbates their dysphoria and may cause anxiety, depression, and suicidality, among

other harms.

          112.   Drs. Hruz, Levine, Lapper, and McHugh all fail to understand what gender

affirming care consists of and share the following issues:

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               a. They possess very little clinical experience and expertise in the care of

                  transgender youth, or children and youth with gender dysphoria which deprives

                  them of the knowledge gleaned from clinical observation.

               b. They consistently misuse of the desistence data describing the trajectories of

                  gender nonconforming children diagnosed with GID by applying it to opinions

                  about medical interventions for transgender adolescents diagnosed with GD.

               c. They adhere to a nonscientific theory of “social contagion” to explain the

                  increase in younger patients presenting for medical services related to gender

                  dysphoria but show little to no acknowledgment of the changing socio-cultural

                  context that has created increased access to health care as well as information

                  and mischaracterizes this as groupthink.

               d. They simultaneously demand more high-quality data, but recommend no

                  medical interventions, two situations that cannot co-exist.

               e. They discount the experience and expertise of gender health experts, and

                  instead paint them as reckless and politically motivated, ignoring that it is their

                  own opinions which run counter to the prevailing medical consensus.

               f. They apply an unrealistic standard to the practice of gender affirming medical

                  care in order to categorize it as non-experimental, while ignoring that their same

                  critiques could be applied to virtually all medical care.

       113.    I do not disagree that, as with every field of medicine, there is more to learn in the

field of transgender youth care. That is why I became an investigator. However, there is room to

provide gender affirming medical interventions in a thoughtful manner that extrapolates from

relevant fields of science and medicine, existing data and clinical expertise while simultaneously

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Case 1:19-cv-00272-LCB-LPA Document 181-1 Filed 12/20/21 Page 439 of 590
                            CERTIFICATE OF SERVICE
      I hereby certify that on June 1, 2021, I caused a copy of the foregoing document

and all attachments to be served upon the following parties via email:

John G. Knepper                                 Zach Padget
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                                                zpadget@ncdoj.gov
James Benjamin Garner                           kpotter@ncdoj.gov
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STATE TREASURER                                 Counsel for Defendants University of
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                                           45


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Dated: June 1, 2021                     /s/ Amy E. Richardson
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                                        Counsel for Plaintiffs




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              Exhibit 26(b)




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                                Exhibit A
                           Curriculum vitae




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                                  CURRICULUM VITAE
                              JOHANNA OLSON -KENNEDY MS, MD
                                       MAY 8, 2021

EDUCATION AND PROFESSIONAL APPOINTMENTS

EDUCATION:
  Year              Degree, Field, Institution, City
  1992              BA, Mammalian Physiology, UC San Diego, San Diego
  1993              MS, Animal Physiology, The Chicago Medical School, Chicago
  1997              MD, Medical Doctor, The Chicago Medical Shool, Chicago
  2015              MS, Clinical and Biomedical Investigations in Translational Science, USC,
                    Los Angeles

POST-GRADUATE TRAINING:
  Year-Year    Training Type, Field, Mentor, Department, Institution, City
  1997-1998    Internship, Pediatrics, Children’s Hospital Orange County, Orange
  1998-2000    Residency, Pediatrics, Antonio Arrieta, Children’s Hosptial Orange County, Orange
  2000-2003    Fellowship, Adolescent Medicine, Children’s Hospital Los Angeles, Los Angeles
  2012-2015    Master’s Degree, Clinical and Biomedical Investigations in Translational Science, USC

ACADEMIC APPOINTMENTS :

  Year-Year         Appointment                     Department, Institution, City, Country
  2012-present      Medical Director                The Center for Transyouth Health and Development,
                                                    Division of Adolescent Medicine, Children’s Hospital
                                                    Los Angeles, Los Angeles, USA
  2008-2012         Fellowship Director             Division of Adolescent Medicine, Children’s Hospital
                                                    Los Angeles, Los Angeles, USA
  2006-2016         Assistant Professor of Clinical Division of Adolescent Medicine, Children’s Hospital
                    Pediatrics                      Los Angeles/USC Keck School of Medicine, Los
                                                    Angeles, USA
  2016 - Present    Associate Professor of Clinical Division of Adolescent Medicine, Children’s Hospital
                    Pediatrics                      Los Angeles/USC Keck School of Medicine, Los
                                                    Angeles, USA

LICENSURE , CERTIFICATIONS

LICENSURE :
  Year              License number, State, Status
  2000              A-67352, California, Active

BOARD CERTIFICATION OR ELIGIBILITY:
  Year             Board, State, Status
  2001, 2009, 2015 Pediatrics, California, active




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SPECIALTY CERTIFICATION :
  Year          Specialty Certification, Status
  2003, 2013    Adolescent Medicine, California, active

HONORS, AWARDS :

  Year            Description                      Awarding agency, address, city
  2019            Benjamin Meaker Visiting         University of Bristol, Bristol UK
                  Professorship
  2015            The Champion Award              The Division of Adolescent Medicine; CHAMPION
                                                  FUND 5000 Sunset Blvd. Los Angeles
  2014            Recognition Award for OutstandinSoCal Society for Adolescent Health and Medicine
                  Compassionate and Innovative    Regional Chapter, Los Angeles
                  Service
  2014            Anne Marie Staas Ally Award     Stonewall Democratic Club; 1049 Havenhurst Drive
                                                  #325, West Hollywood
  2012            Extraordinary Service Award     Equality California, 202 W 1st St., Suite 3-0130
                                                  Los Angeles
  2010            Clinical Research Academic CareeSaban Research Center TSRI Program: Community
                  Development Award               Health Outcomes and Intervention, Los Angeles
  2009            Health Care Advocacy            Democratic Advocates for Disability Issues,
                  Champion                        Los Angeles

TEACHING

UNDERGRADUATE , GRADUATE AND MEDICAL STUDENT (OR OTHER) MENTORSHIP:
  Year-Year     Trainee Name         Trainee Type     Dissertation/Thesis/Project Title
  2020-Present  Richard Mateo Mora   MD                Fertility Preservation Among
                                                      Transgender Women
  2019-2021     Laer Streeter        MD                Comparison of Histrelin Implants
  2016-Present  Jonathan Warus       MD/KL2             Affecting Pre-Exposure
                                                        Prophylaxis (PreP) Decision
                                                        Making to Improve Youth
                                                        Engagement in HIV Prevention
                                                        Services
  2015-2020       Shannon Dunlap             PhD                   Developmental Aspects of Gender
                                                                   Non-Conformong Youth
  2015-2016       David Lyons                MD                    Transgender Youth Clinical
                                                                   Clerkship
  2014-2015       Michael Haymer             MD                    Transgender Youth Clinical
                                                                   Clerkship




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POSTGRADUATE MENTORSHIP:
  Year-Year    Trainee Name                   If past trainee, current position and location
  2020-Present Marianela Gomez-Rincon         Adolescent Medicine Fellow
  2015-2018    Jonathan Warus, MD             Faculty, CHLA/USC Keck School of Medicine
  2015-2017    Patrick Shepherd, MD           CHLA Endocrinology Fellow
  2014         Julie Spencer, MD              Adolescent Medicine Provider Kaiser Hospital
  2013         Shelley Aggarwal, MD           Clinical Instructor – StanfordUniversity School of
                                                                    Medicine
  2012-2013        Lisa Simons, MD            Clinical Instructor – Lurie Children’s Hospital

SERVICE

DEPARTMENT SERVICE :
  Year-Year        Position, Committee                        Organization/Institution
  2010-2015        Secretary, The CHAMPION Fund               The Division of Adolescent Medicine,
                   Executive Board                            Children’s Hospital Los Angeles

PROFESSIONAL SERVICE:
  Year-Year        Position, Committee                        Organization/Institution
  2012-present     Member, LGBT Special Interest Group        Society for Adolescent Health and
                                                              Medicine

CONSULTANTSHIPS AND ADVISORY BOARDS :
  Year             Position, Board                            Organization/Hospital/School, Institution
  2017 - Present   Board Member                               US Professional Association of Transgen
                                                              Health
  2021                 Member, Advisory Board                 The National LGBTQIA+ Health
                                                              Education Center
  2010-2017            Member, Advisory Board                 Transyouth Family Allies
  2017-present         Member, National Medical Committee     Planned Parenthood

PROFESSIONAL SOCIETY MEMBERSHIPS:
  Year- Year     Society
  2017 - present US Professional Association for Transgender Health
  2014-present   Society for Pediatric Research
  2010-present   World Professional Association for Transgender Health
  2006-2011      Los Angeles Pediatric Society (Past president 2010)
  2005-2012      American Academy of Pediatrics
  2003-present   Society for Adolescent Health and Medicine

MAJOR LEADERSHIP POSITIONS : (E. G., DEAN, CHAIR, I NSTITUTE DIRECTOR, HOSPITAL
   ADMINISTRATION , ETC.)




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RESEARCH AND SCHOLARSHIP

EDITORSHIPS AND EDITORIAL BOARDS :
  Year-Year     Position         Journal/Board Name
  2015-present  Associate Editor Journal of Transgender Health

MANUSCRIPT REVIEW :
 Year-Year      Journal
 2018-present   Journal of Transgender Health
 2018 - present Clinical Child Psychology and Psychiatry
 2018 - present Journal of Sexual Medicine
 2015-present   Journal of Transgender Health
 2014-present   International Journal of Transgenderism
 2014-present   LGBT Health
 2014-present   Journal of Adolescent Health
 2014-present   Pediatrics

MAJOR AREAS OF RESEARCH INTEREST
 Research Areas
 1. Gender diverse children, transgender youth and young adults
 2. HIV medication adherence

GRANT SUPPORT - CURRENT :
  Grant No. (PI)2R01HD082554-06A1                             Dates of Award: 2021-2026
  Agency: NICHD                                               Percent Effort 25%
  Title: The Impact of Early Medical Treatment in Transgender Youth
   Description: This is the continuations of a multicenter study, the first of its kind in the U.S. to evaluate
  the long-term outcomes of medical treatment for transgender youth. This study will provide essential,
  evidence-based information on the physiological and psychosocial impact, as well as safety, of hormone
  blockers and cross-sex hormones use in this population.

  Role: Principle Investigator
 Total Direct Costs: $4,918,586

   Grant No. (PI) 1R01HD097122-01                               Dates of Award: 2019-2024
   Agency: NICHD                                                Percent Effort 10%
     Title: A Longitudinal Study of Gender Nonconformity in Prepubescent Children
   Description: The purpose of this study is to establish a national cohort of prepubertal
   transgender/gender nonconforming (TGNC) children (and their parents), and longitudinally observe this
   cohort to expand the body of empirical knowledge pertaining to gender development and cognition in
   TGNC children, their mental health symptomology and functioning over time, and how family-initiated
   social gender transition may predict or alleviate mental health symptoms and/or diagnoses.

   Role:Co-Investigator
   Total Direct Costs: $2,884,950




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 GRANT SUPPORT - PAST:
 Grant No. (PI) 1RO1HD082554-01A1                                          Dates of Award: 2015-2020
 Agency: NICHD                                                             Percent Effort 45%
 Title: The Impact of Early Medical Treatment in Transgender Youth
  Description: This is a multicenter study, the first of its kind in the U.S. to evaluate the long-term
 outcomes of medical treatment for transgender youth. This study will provide essential, evidence-based
 information on the physiological and psychosocial impact, as well as safety, of hormone blockers and
 cross-sex hormones use in this population.

 Role: Principle Investigator
Total Direct Costs: $4,631,970
 Grant No. (COI) R01AI128796-01                                        Dates of Award: 2/24/17-1/31/18
 Agency: NIAID                                                         Percent Effort: 5%
 Title: Maturation, Infectibility and Trauma Contributes to HIV Susceptibility in Adolescents
 Description: This proposal explores the overarching hypothesis that fluctuations in sex steroid levels and
 mucosal trauma (sexual activity) are key determinants of mucosal immune activation and epithelial
 integrity, and that microbial communities are central to these processes. We will pursue this hypothesis
 by examining longitudinal changes in the anogenital microbiome as well as protein expression at these
 mucosal sites during sexual maturation (cisgender youth) and in hormonally-controlled sexual
 maturation (transgender youth). Associations between sex steroid levels, microbial community
 composition, mucosal trauma, and vaginal proteins will be determined and modeled.
 Role: Co-Investigator
 Total Direct Costs: $44,816


 Grant No. (PI) U01HD040463                                  Dates of Award 2006 – 2016

 Agency: NIH/NICHD                                      Percent Effort: 10%
 Title: Adolescent Medicine Trials Network for HIV/AIDS
 Description: Adolescent Medicine Trials Network for HIV/AIDS

 Role: Co-Investigator
 Total Direct Costs: 2,225,674



 Grant No. (PI) SC CTSI                                     Dates of Award: 2012-2014
 8KL2TR000131




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 Agency: KL2 Mentored Career Research Development          Percent Effort: 37.5%
 Program of the Center for Education, Training and
 Career Development
 Title: The Impact of Hormone Blockers on the Physiologic and Psychosocial Development of Gender
Non-Conforming Peri-Pubertal Youth
 Description: This study aimed to understand the impact of puberty blocking medications on mental
health and physiolgic parameters in peri-pubertal transgender youth.
 Role: Principal Investigator
Total Direct Costs: 191,525

 Invited Lectures, Symposia, keynote addresses
 Year           Type          Title, Location
                              Approach to the Care of Gender Diverse Children and Transgender
 2021      Invited Lecture
                              Youth, USC Keck Medical School, Virtual Lecture
                              Caring for Gender Diverse and Transgender Youth. SLO Acceptance, Cal
 2021      Invited Lecture
                              Poly, Virtual Presentation
 2020        Symposium        Trans Youth Care, Chico Transgender Week, Virtual Presentation
                              Gender Nonconforming and Transgender Youth, Novartis, Virtual
 2020      Invited Lecture
                              Presentation
                              Advanced Hormones; More than Just T and E, CHLA, Virtual
 2020      Invited Lecture
                              Presentation
                              Video Telehealth and Transgender Youth, Telehealth Best Practices for
 2020      Invited Lecture    the Trans Community, The Central Texas Transgender Health Coalition,
                              Virtual Presentation
                              Caring for Gender Diverse and Transgender Youth , Center for Juvenile
 2020      Invited Lecture    Justice Reform Supporting the Well-Being of LGBTQ Youth Certificate
                              Program, Virtual Presentation
 2020      Invited Lecture    Gear Talk, Transforming Families, Virtual Lecture
                              Tips for Parenting a Trans or Gender Diverse Youth, Models of Pride,
 2020      Invited Lecture
                              Virtual Presentation
                              Caring for Gender Diverse and Transgender Youth, LGBTQ+ Clinical
 2020      Invited Lecture
                              Academy, Palo Alto University, Virtual presentation
                              Approach to the Care of Gender Non-conforming Children and
 2020      Invited Lecture
                              Transgender Youth, USC Medical School, Los Angeles, CA
                              Medical Interventions for transgender youth, Cal State Los Angeles, Los
 2020      Invited Lecture
                              Angeles
                              Understanding Issues Involving Gender Non-Conforming and
                              Transgender Individuals Coming to a Courtroom Near You,
 2020      Plenary Session
                              Mid-Winter Workshop for Judges of the Ninth Circuit, Palm Springs,
                              CA
 2019         Keynote         Transgender Youth Care, SickKids, Toronto, Canada




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                         The Care of Trans and Gender Non-Conforming Youth and Young
2019     Symposium
                         Adults, Cal State Los Angeles, California
                         The Care of Trans and Gender Non-Conforming Youth and Young
2019     Symposium
                         Adults, Claremont Colleges, California
2019     Symposium       TransYouth Care; Flagstaff, AZ

2019      Keynote        Future Directions, USPATH, Washington DC

2019   Invited Lecture   Just a Boy, Just a Girl, Gender Odyssey San Diego, San Diego, CA
                         Hormonas que Affirman el Genero pasa Juventud y Adultos Menores
2019   Invited Lecture
                         Trans, Transformando Desde el Amor y Las Familias, Colombia
                         Infancia Trans y da Genero Diverso, Transformando Desde el Amor y
2019   Invited Lecture
                         Las Familias, Colombia
                         Gender Dysphoria; A Deeper Dive Beyond the Diagnosis, Keynote
2019   Invited Lecture
                         address, Inaugaral LGBTQ summit, Santa Clara CA
                         Transgender and Gender Non-conforming Youth, Ascend Residential
2019   Invited Lecture
                         Treatment, Utah
                         Gender Diverse and Transgender Youth; What Pediatricians Should
2019   Invited Lecture
                         Know, Common Problems in Pediatrics Conference, Utah AAP, Utah
2019   Invited Lecture   Gender Diverse and Transgender Youth; What Pediatricians Should
                         Know, Common Problems in Pediatrics Conference, Utah AAP, Utah
                         Caring for Gender Diverse and Transgender Youth, Grand Rounds,
2019   Invited Lecture
                         UCLA Olive View, CA
                         Caring for Gender Diverse and Transgender Youth, Grand Rounds, Good
2019   Invited Lecture
                         Samaritan, CA
                         Gender Dysphoria; A Deeper Dive Beyond the Diagnosis, Advance LA
2019   Invited Lecture
                         Conference, California
                         Puberty Suppression and Hormones; Medical Interventions for
2019   Invited Lecture   Transgender Youth, USC Keck School of Medicine Reproductive Health
                         Section. Los Angeles, CA
                         Transgender Youth: Medical and Mental Health Needs, Bristol, United
2019   Invited Lecture
                         Kingdom
2019   Invited Lecture   Rethinking Gender, University of Bristol, United Kingdom
                         Puberty Suppression in Youth with Gender Dysphoria, Fenway Trans
2019   Invited Lecture
                         Health Program, Boston
                         Recognizing the Needs of Transgender Youth, California Department of
2019   Invited Lecture
                         Corrections And Rehabilitation, Ventura, CA
                         Gender Dysphoria; Beyond the Diagnosis, Gender Education
2019   Invited Lecture
                         Demystification Symposium, GA
                         Caring for Gender Nonconforming and Transgender Youth, Los Angeles
2019   Invited Lecture
                         Superior Court/Los Angeles Bar Association Training, CA
                         Supporting Gender Diverse and Transgender Youth; A Deeper Look at
2019   Invited Lecture
                         Gender Dysphoria, Oakwood School, CA




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                         Chest Reconstruction and Chest Dysphoria in Transmasculine
2018   Invited Lecture   Adolescents and Young Adults: Comparison of Nonsurgical and
                         Postsurgical Cohorts, Buenos Aires, Argentina
                         Transyouth Care – An NIH Multisite Study About the Impact of Early
2018   Invited Lecture   Medical Treatment in Transgender Youth in the US, Buenos Aires,
                         Argentina
                         Transgender Youth and Gender Affirming Hormones; A 6-8 year follow-
2018   Invited Lecture
                         up, Buenos Aires, Argentina
                         Supporting Gender Diverse and Transgender Youth: A Deeper Look at
2018   Invited Lecture
                         Gender Dysphoria, Studio City, CA
2018   Invited Lecture   Gender Dysphoria: Beyond the Diagnosis, Washington DC
                         Uso de Hormonas Reaffirmantes de Genero en Adolescentes
2018   Invited Lecture   Transgenero, Trans Amor Congreso Nacional de Transexualidad Juvenil
                         y Infantos, Monterey, Mexico
                         Bloquedores de la Pubertad, Trans Amor Congreso Nacional de
2018   Invited Lecture
                         Transexualidad Juvenil y Infantos, Monterey, Mexico
                         Working with Trans and Gender Non-Conforming Youth, Children’s
2018   Invited Lecture
                         Hospital Orange County, CA
                         Caring for gender Non-conforming and Transgender Youth and Young
2018   Invited Lecture
                         Adults, Ascend Residential, Encino CA
                         Gender Dysphoria; Beyond the Diagnosis; Midwest LGBTQ Health
2018   Invited Lecture
                         Symposium, Chicago, IL
                         Caring for gender Non-conforming and Transgender Youth and Young
2018   Invited Lecture
                         Adults, California State University Northridge, Northridge, CA
                         Puberty Suppression and Gender Affirming Hormones, Gender Fest, Las
2018   Invited Lecture
                         Vegas, NV
2018   Invited Lecture   Gender Google; Gender Odyssey Family Conference, Seattle WA
                         Gender Dysphoria; Beyond the Diagnosis, Gender Odyssey Family
2018   Invited Lecture
                         Conference, Seattle WA
                         Puberty Suppression: What, When, and How, Gender Odyssey Family
2018   Invited Lecture
                         Conference, Seattle WA
                         Gender Dysphoria; School Nurse Organization of Idaho Annual
2018   Invited Lecture
                         Conference, Idaho
                         Understanding Gender Dysphoria, Gender Spectrum Family Conference,
2018   Invited Lecture
                         Moraga, CA
                         Puberty Suppression and Gender Affirming Hormones, Gender Odyssey
2018   Invited Lecture
                         Family, Los Angeles, CA
                         Gender Dysphoria – Beyond the Diagnosis, Gender Odyssey Family, Los
2018   Invited Lecture
                         Angeles, CA
                         Gender and What You Should Know, Archer School for Girls,
2018   Invited Lecture
                         Brentwood, CA
                         Caring for Gender Non-Conforming and Transgender Youth,
2018     Symposium
                         TransYouth Care, Oceanside, CA




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                         Gender Dysphoria: Beyond the Diagnosis, Advance LA, Los Angeles,
2018   Invited Lecture
                         CA
                         Caring for Gender Non-Conforming and Transgender Youth, Andrology
2018   Invited Lecture
                         Society of America Clinical Symposium, Portland, OR
                         Caring for Gender Non-Conforming and Transgender Youth,
2018     Symposium
                         TransYouth Care, Los Angeles, CA
                         Caring for Gender Non-Conforming and Transgender Youth, Center for
2018   Invited Lecture
                         Early Education, Los Angeles, CA
                         Caring for Gender Non-Conforming and Transgender Youth,
2017     Symposium
                         TransYouth Care, Santa Barbara, CA
                         Gender Dysphoria, Beyond the Diagnosis, Pink Competency, Oslo
2017   Invited Lecture
                         Norway
2017   Invited Lecture   “Just a Boy, Just a Girl” Gender Infinity, Houston TX
                         Caring for Gender Non-Conforming Children and Transgender
2017   Invited Lecture   Adolescents:
                         A United States Perspective, Pink Competency, Oslo Norway
                         Gender Dysphoria; Beyond the Diagnosis, Models of Pride, Los Angeles,
2017   Invited Lecture
                         CA
                         Puberty Delay and Cross Hormones for Trans* Youth, Models of Pride,
2017   Invited Lecture
                         Los Angeles, CA
                         Healthcare for TGNC Youth, Expanding Competency for LGBT Youth
2017   Invited Lecture
                         in the System, Washington DC
                         Gender Non-conforming and Transgender Children and Youth; Center
2017   Invited Lecture
                         for Early Education, West Hollywood, CA
                         Rethinking Gender, University of Massachusetts
2017   Invited Lecture
                         Annual Convocation Welcome Luncheon, Worcester, MA
                         Puberty Delay and Cross Hormones for Trans* Youth, Gender Odyssey
2017   Invited Lecture
                         Family Conference, Seattle, WA
                         Puberty Suppression; What, When and How, Gender Odyssey Family
2017   Invited Lecture
                         Conference, Seattle, WA
2017   Invited Lecture   Just a Boy, Just a Girl, Gender Odyssey, Los Angeles, California
                         Puberty Blockers and Cross Sex Hormones, Gender Odyssey, Los
2017   Invited Lecture
                         Angeles, California
                         Caring for Gender Non-conforming and Transgender youth and Young
                         Adults, Diverse Families Forum: The Importance of Family Support In
2017   Invited Lecture   The Trans And LGBT Children, Organized by COPRED and The
                         International Association Of Families For Diversity (FDS), Mexico City,
                         Mexico
                         Gender Non-Conforming Children and Transgender Youth, Board of
2017   Invited Lecture
                         Behavioral Sciences, Orange, CA
                         Puberty Suppression and Hormones; Medical Interventions for
2017   Invited Lecture
                         Transgender Youth, Santa Monica Rape Treatment Center, Santa




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                          Monica, CA

                          Gender Nonconforming and Transgender Youth, CSU Fullerton,
2017    Invited Lecture
                          Fullerton, CA
2017    Invited Lecture   Rethinking Gender, Chico TransGNC Week, Chico, California
                          Caring for Gender Non-Conforming and Transgender Youth, Chico
2017    Invited Lecture
                          TransGNC Week, Chico, California
                          Transgender Youth Care in the New Millennium, USC Law and Global
2017    Invited Lecture
                          Health Initiative, Los Angeles, CA

Invited Grand Rounds, CME Lectures
             Type                                       Title, Location
Year

2021
                          Histrelin Implants for Suppression of Puberty in Youth with Gender Dysphoria:
2020     CME Lecture      a Comparison of 50 mcg/day (Vantas) and 65 mcg/day (SupprelinLA), WPATH
                          Conference, Virtual Presentation
                          Chest Reconstruction and Chest Dysphoria in Transmasculine Adolescents and
2020     CME Lecture      Young Adults, Comparison of Post-surgical and Non-surgical Cohorts,
                          WPATH Conference, Virtual Presentation
                          Gender Affirmation Through a Social Justice Lens, SAHM Conference, Virtual
         CME Lecture
2020                      Presentation
                          Introduction to the Care of Gender Diverse and Transgender Youth, AAP
         CME Lecture
2020                      Conference, Virtual Lecture
                          Conversations with LGBTQ youth; the role of the pediatrician, AAP
         CME Lecture
2020                      Conference, Virtual Lecture
                          Creating Affirming Environments for Trans and Gender Diverse Patients,
        Grand Rounds
2020                      USC OB/Gyn Grand Rounds, Virtual Presentation
                          Introduction to the Care of Gender Diverse and Transgender Youth,
         CME Lecture
2020                      Resident Lecture, CHLA
                          Introduction to the Care of Gender Diverse and Transgender Youth,
2020     CME Lecture
                          Facey Medical Group, Los Angeles, CA
2020    Plenary Lecture   Reframing Gender Dysphoria, LEAH Conference, Los Angeles, CA
                          Gender Affirming Care for Pre and Peri-pubertal Trans and Gender
2020     CME Lecture
                          Diverse Youth, LEAH Conference, Los Angeles, CA
                          Introduction to the Care of Gender Diverse and Transgender Youth, Division of
2020     CME Lecture      Endocrinology, USC, Los Angeles , CA
                          Understanding Issues Involving Gender Non-Conforming and
                          Transgender Individuals Coming to a Courtroom Near You,
2020    Plenary Session
                          Mid-Winter Workshop for Judges of the Ninth Circuit, Palm Springs,
                          CA
                          Recognizing the Needs of Transgender Youth, California Department of
2019     Symposium
                          Corrections and Rehabilitation, Stockton, CA




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2019       Keynote         Transgender Youth Care, SickKids, Toronto, Canada
                           The Care of Trans and Gender Non-Conforming Youth and Young
2019     Symposium
                           Adults, Cal State Los Angeles, California
                           The Care of Trans and Gender Non-Conforming Youth and Young
2019     Symposium
                           Adults, Claremont Colleges, California
                           Gender Diverse and Transgender Youth, Harbor UCLA Medical Center
2019    CME Lecture
                           Grand Rounds, Torrance, CA
                           Gender Dysphoria – Beyond the Diagnosis, Gender Odyssey San Diego,
2019    CME Lecture
                           San Diego, CA
                           Hormones 201 – Beyond T and E, Gender Odyssey San Diego, San
2019    CME Lecture
                           Diego, CA
                           Transgender Youth; What's New in 2019?, Children's Hospital Los
2019    Grand Rounds
                           Angeles, CA
                           Male Chest Reconstruction and Chest Dysphoria in Transmasculine
2019   Oral Presentation   Adolescents and Young Adults, European Professional Association of
                           Transgender Health, Rome Italy
                           Transgender Youth and Gender Affirming Hormones; 5-7 Year Follow
2019   Oral Presentation   Up, European Professional Association of Transgender Health, Rome
                           Italy
       CME Educational     Gender Dysphoria; Beyond the Diagnosis, European Professional
2019
          Lecture          Association of Transgender Health, Rome Italy
                           Caring for Gender Nonconforming and Transgender Youth, Children’s
2019   CME Symposium
                           Hospital Orange County, CA
                           Caring for Gender Nonconforming and Transgender Youth, Stanislaus
2019   CME Symposium
                           County Behavioral Health and Recovery Services, CA
       CME Eduational
2019                       Rethinking Gender, Olive View Medical Center Grand Rounds, CA
         Lecture
                           Caring for Gender Nonconforming and Transgender Youth, Glendale
2018   CME Symposium
                           Unified School District, CA
       CME Educational     Caring for Gender Non-Conforming Children and Transgender Youth,
2018
          Lecture          CME by the Sea, CA
                           Caring for Gender Non-Conforming and Transgender Youth,
2018   CME Symposium
                           TransYouth Care, Austin, TX
       CME Educational     Gender Affirming Hormone Therapy for Transmasculine Adolescents
2018
          Lecture          and Young Adults, Gender Infinity, Houston, Texas
       CME Educational     Outside of the Binary; Care for Non-Binary Adolescents and Young
2018
          Lecture          Adults, Gender Infinity, Houston, Texas
       CME Educational     Chest Dysphoria and the Impact of Chest Reconstruction, Gender
2018
          Lecture          Infinity, Houston, Texas
       CME Educational
2018                       Just a Girl, Just a Boy, Gender Infinity, Houston, Texas
          Lecture
       CME Educational     Hormones 201: More than Testosterone and Estrogen, Gender Odyssey
2018
          Lecture          Professional Symposium, WA
       CME Educational     Male Chest Reconstruction and Chest Dysphoria in Transmasculine
2018
          Lecture          Minors and Young Adults, Gender Odyssey Professional Symposium,




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                           WA

       CME Educational
2018                       Chest Surgery, Gender Spectrum, Moraga, CA
          Lecture
       CME Educational
2018                       Understanding Gender Dysphoria, Gender Spectrum, Moraga, CA
          Lecture
       CME Educational     Puberty Suppression and Gender Affirming Hormones, Gender Odyssey,
2018
          Lecture          Los Angeles, CA
       CME Educational     Gender Dysphoria – Beyond the Diagnosis, Gender Odyssey, Los
2018
          Lecture          Angeles, CA
       CME Educational     Approach to the Care of Gender Non-Conforming Children and
2018
          Lecture          Transgender Youth, Desert Oasis Healthcare, Palm Desert, CA
                           Puberty Blockers and Gender Affirming Hormones for Transgender
       CME Educational
2018                       Youth: What Do We Know, and What Have We Learned, Pediatric
          Lecture
                           Academic Societies, Toronto, Canada
                           Mental and Medical Healthcare for Transgender Adolescents, California
2018   CME Workshop
                           Association of Marriage and Family Therapists, Garden Grove, CA
       CME Educational     Approach to the Care of Gender Non-Conforming Children and
2018
          Lecture          Transgender Youth, Keck School of Medicine, Los Angeles, CA
                           Caring for Gender Non-Conforming Children and Transgender
2018    Grand Rounds
                           Adolescents, Primary Children’s Hospital, Salt Lake City, UT
       CME Educational
2018                       Caring for Transgender Youth, Chico Trans Week, Chico, CA
          Lecture
       CME Educational
2018                       Rethinking Gender, UCSD Medical School, San Diego, CA
          Lecture
       CME Educational
2018                       Rethinking Gender, UCLA Medical School, Los Angeles, CA
          Lecture
       CME Educational     Transyouth Care – Self-reflection On Personal Biases and Their Impact
2018
          Lecture          On Care, Society for Adolescent Health and Medicine, Seattle WA
       CME Educational     Rethinking Gender, Society for Adolescent Health and Medicine, Seattle
2018
          Lecture          WA
                           Providing 360 degree transgender hormone therapy: beyond the
       CME Educational
2018                       protocols, Medical Directors Council (MeDC) 14th Annual Clinical
          Lecture
                           Update in Reproductive Health and Medical Leadership, Snowbird, Utah
       CME Educational     Gender Dysphoria: Beyond the Diagnosis, Gender Education and
2018
            Lecture        deMystification Symposium, Salt Lake City, Utah
       CME Educational     Rethinking Gender, SoCal LGBTQIA health conference, Los Angeles,
2018
       Lecture - Keynote   CA
       CME Educational     The Care of Gender Non-Conforming children and Transgender Youth;
2017
           Seminar         Orange County Health Care Agency, Orange County, CA
       CME Educational     Rethinking Gender, Adolescent Grand Rounds, Children’s Hospital Los
2017
            Lecture        Angeles, Los Angeles, CA
       CME Educational
2017                       “Just a Boy, Just a Girl” Gender Infinity, Houston TX
            Lecture
       CME Educational     Chest Dysphoria – The Impact of Male Chest Reconstruction, Gender
2017
            Lecture        Infinity, Houston TX




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       CME Educational   Outside of the Binary; Care for Non-Binary Adolescents and Young
2017
          Lecture        Adults, Gender Infinity, Houston TX
       CME Educational
2017                     Puberty Blockers; What, When and How, Gender Infinity, Houston TX
          Lecture
       CME Educational
2017                     Gender Non-Conforming Children and Transgender Youth, Pasadena CA
          Lecture
       CME Educational   Gender Non-Conforming Children and Transgender Youth; Integrated
2017
          Lecture        Care Conference, Los Angeles, CA
                         Gender Non-Conforming and Transgender Children and Adolescents; A
       CME Educational
2017                     Multidisciplinary Approach, California Psychiatric Association Annual
          Lecture
                         Conference, Yosemite, CA
                         Gender Non-Conforming and Transgender Children and Adolescents,
       CME Educational
2017                     Developmental Pediatrics continuing education lecture, Children’s
          Lecture
                         Hospital Los Angeles, CA
       CME Educational   Masculinizing Hormones, Central Texas Transgender Health
2017
          Lecture        Conference, Austin, TX
       CME Educational   Children, Youth, Families and Hormone Blockers, Central Texas
2017
          Lecture        Transgender Health Conference, Austin, TX
       CME Educational   Chest Dysphoria – The Impact of Male Chest Reconstruction, Gender
2017
          Lecture        Odyssey Professional Symposium, Seattle, WA
       CME Educational   Puberty Delay and Cross Hormones for Transyouth, Gender Odyssey
2017
          Lecture        Professional Symposium, Seattle, WA
        CME Invited      Just a Girl, Just a Boy, Gender Odyssey Professional Symposium,
2017
          Lecture        Seattle, WA
       CME Educational
2017                     Gender Dysphoria, Gender Spectrum Family Conference, Moraga, CA
          Lecture
       CME Educational   Care of Gender Non-Conforming Children and Transgender Adolescents,
2017
          Lecture        Lopez Family Foundation Educational Lecture, Los Angeles, CA
                         Puberty Suppression and Hormones; Medical Interventions for
       CME Educational
2017                     Transgender Youth, USC Keck School of Medicine Reproductive
          Lecture
                         Health, Los Angeles, CA
       CME Educational   Caring for Gender Non-Conforming and Transgender Youth,
2017
          Seminar        TransYouth Care, San Diego, CA
                         Puberty Suppression in the United States; practice models, lessons
       CME Educational
2017                     learned, and unanswered questions, US Professional Association of
          Lecture
                         Transgender Health, Los Angeles, CA
                         The Impact of Male Chest Reconstruction on Chest Dysphoria in
       CME Educational
2017                     Transmasculine Adolescents and Young Men; A Preliminary Study, US
          Lecture
                         Professional Association of Transgender Health, Los Angeles, CA
                         Outside of the Binary; Care for Non-Binary Adolescents and Young
       CME Educational
2017                     Adults, US Professional Association of Transgender Health, Los Angeles,
          Lecture
                         CA




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PUBLICATIONS :

* INDICATES TRAINEES
** INDICATE YOURSELF AS CO -FIRST OR CO-CORRESPONDING OR SENIOR AUTHORS

REFEREED JOURNAL ARTICLES:
  Julian J*, Salvetti B, Held J, Lara-Rojas L, Olson-Kennedy J, (2020), The Impact of Chest
  Binding in Transgender and Gender Diverse Youth and Young Adults, Journal of Adolescent
  Health, DOI://https://doi.org/10.1016/j.jadohealth.2020.09.029

  Olson-Kennedy J, Streeter LH*, Garofalo R, Chan YM, Rosenthal SM (2020) Histrelin
  implants for suppression of puberty in youth with gender dysphoria: a comparison of 50 mcg/day
  (Vantas) and 65 mcg/day (SupprelinLA), Transgender Health X:X, 1–7, DOI:
  10.1089/trgh.2014.0032.

  Chen D, Abrams M, Clark L, Ehrensaft D, Tishelman AC, Chan YM, Garofalo R, Olson-
  Kennedy J, Rosenthal SM, Hidalgo MA, Psychosocial Characteristics of Transgender Youth
  Seeking Gender-Affirming Medical Treatment: Baseline Findings From the Trans Youth Care
  Study, Journal of Adolescent Health, 2020, ISSN 1054-139X
  https://doi.org/10.1016/j.jadohealth.2020.07.033.

  Millington K, Schulmeister C, Finlayson C, Grabert R, Olson-Kennedy J, Garofalo R,
  Rosenthal SM, Chan YM. Physiological and Metabolic Characteristics of a Cohort of
  Transgender and Gender-Diverse Youth in the United States. J Adolesc Health. 2020 May

  Lee JY, Finlayson C, Olson-Kennedy J, Garofalo R, Chan Y, Glidden DV, Rosenthal SM, Low
  bone mineral density in early pubertal transgender/gender diverse youth: Findings from the Trans
  Youth Care Study, Journal of the Endocrine Society,
  bvaa065. https://doi.org/10.1210/jendso/bvaa065

  Olson-Kennedy J, Chan YM, Rosenthal S, et al. Creating the Trans Youth Research Network: A
  Collaborative Research Endeavor. Transgend Health. 2019;4(1):304–312. Published 2019 Nov
  1. doi:10.1089/trgh.2019.0024

  Rider G, Berg D, Pardo S, Olson-Kennedy J, Sharp C, Tran K, Calvetti S, Keo-Meier C, Using
  the Child Behavior Checklist (CBCL) with transgender/gender nonconforming children and adolescents.
  Clinical Practice in Pediatric Psychology. 7(3):291–301, 2019 Sep

  Olson-Kennedy J**, Chan YM, Garofalo R, et al. Impact of Early Medical Treatment for
  Transgender Youth: Protocol for the Longitudinal, Observational Trans Youth Care Study. JMIR
  Res Protoc. 2019;8(7):e14434. Published 2019 Jul 9. doi:10.2196/14434

  Clark B, Virani A, Ehrensaft D, Olson-Kennedy J, (2019) Resisting the Post-Truth Era:
  Maintaining a Commitment to Science and Social Justice in Bioethics, The American Journal of
  Bioethics, 19:7, W1-W3, DOI: 10.1080/15265161.2019.1618951




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Sayegh CS, MacDonell KK, Olson-Kennedy J. The Impact of Cell Phone Support on
Psychosocial Outcomes for Youth Living with HIV Nonadherent to Antiretroviral Therapy.
AIDS Behav. Accepted for publication 2018. Role: Conceptualized the research, Edited
manuscript

Olson-Kennedy J**, Warus J*, Okonta V, Belzer M, Clark LF., Chest Reconstruction and
Chest Dysphoria in Transmasculine Minors and Young Adults: Comparisons of
Nonsurgical and Postsurgical Cohorts. JAMA Pediatrics, 2018 May 1;172(5):431-436. doi:
10.1001/jamapediatrics.2017.5440. Role: Conceptualized the research, wrote and edited
manuscript; first author

Olson-Kennedy J**, Okonta V, Clark LF, Belzer M, Physiologic Response to Gender-
Affirming Hormones Among Transgender Youth, Journal of Adolescent Health, Volume 0,
Issue 0 Published online October 2017; DOI:
http://dx.doi.org/10.1016/j.jadohealth.2017.08.005 Role: Conceptualized the research,
wrote and edited manuscript; first author.

Olson-Kennedy J**, Cohen-Kettenis P. T., Kreukels B.P.C, Meyer-Bahlburg H.F.L, Garofalo
R, Meyer W, Rosenthal S.M., Research Priorities for Gender Nonconforming/Transgender
Youth: Gender Identity Development and Biopsychosocial Outcomes, Curr Opin Endocrinol
Diabetes Obes. 2016 Jan 27. [Epub ahead of print]: Role: coordinated information from all
authors, wrote all drafts, and finalized manuscript; first author

Olson J**, Schrager S, Belzer M, Simons L*, Clark L. Baseline physiologic and psychosocial
characteristics of transgender youth seeking care for gender dysphoria. Journal of Adolescent
Health, July 2015 doi: 10.1016/j.jadohealth.2015.04.027 Role: Conceptualized the research,
wrote and edited manuscript; first author.

Klein DA, Ellzy JA, Olson J**. Care of a transgender adolescent. Am Fam Physician.
2015;92(2):143-148. Role: Edited manuscript; senior author

Belzer M, Kolmodin MacDonell K, Clark L, Huang J, Olson J, Kahana S, Naar S, Sarr M,
Thornton S. Acceptability and feasibility of a cell phone support intervention for youth living
with hiv with nonadherence to antiretroviral therapy, AIDS Patient Care and STDs, Vol. 29, No.
6, June 2015: 338-345. doi: 10.1089/apc.2014.0282; Role: edited manuscript;
Olson J**, Schrager S M., Clark L F., Dunlap S L., Belzer M. Subcutaneous testosterone: an
effective delivery mechanism for masculinizing young transgender men, LGBT Health.
September 2014, 1(3): 165-167. doi:10.1089/lgbt.2014.0018. Role: conceptualized research,
collected data, first authored manuscript; First author

Schrager SM, Olson J, Beharry M*, Belzer M, Goldsich K*, Desai M, Clark LF. Young men
and the morning after: a missed opportunity for emergency contraception provision? J Fam Plann
Reprod Health Care. 2015 Jan;41(1):33-7. doi: 10.1136/jfprhc-2013-100617. Epub 2014 Jan 24.
PubMed PMID: 24465024. Role: conceptualized research project, edited manuscript.




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  Belzer ME, Naar-King S, Olson J, Sarr M, Thornton S, Kahana SY, Gaur AH, Clark LF;
  Adolescent Medicine Trials Network for HIV/AIDS Interventions. The use of cell phone support
  for non-adherent HIV-infected youth and young adults: an initial randomized and controlled
  intervention trial. AIDS Behav. 2014 Apr;18(4):686-96. doi: 10.1007/s10461-013-0661-3.
  PubMed PMID: 24271347; PubMed Central PMCID: PMC3962719. Role: Edited manuscript

  Simons L*, Schrager SM, Clark LF, Belzer M, Olson J**. Parental support and mental health
  among transgender adolescents. J Adolesc Health. 2013 Dec;53(6):791-3. DOI:
  10.1016/j.jadohealth.2013.07.019. Epub 2013 Sep 4. PubMed PMID: 24012067; PubMed
  Central PMCID: PMC3838484. Role: Conceptualized research, collected data, edited manuscript

  Olson J**, Forbes C, Belzer M. Management of the transgender adolescent. Arch Pediatr
  Adolesc Med. 2011 Feb;165(2):171-6. doi: 10.1001/archpediatrics.2010.275. Review. PubMed
  PMID: 21300658. Role: Drafted and edited manuscript: first author

  Puccio JA, Belzer M, Olson J, Martinez M, Salata C, Tucker D, Tanaka D. The use of cell
  phone reminder calls for assisting HIV-infected adolescents and young adults to adhere to highly
  active antiretroviral therapy: a pilot study. AIDS Patient Care STDS. 2006 Jun;20(6):438-44.
  PubMed PMID: 16789857. Edited manuscript.

  Belzer M, Sanchez K, Olson J, Jacobs AM, Tucker D. Advance supply of emergency
  contraception: a randomized trial in adolescent mothers. J Pediatr Adolesc Gynecol. 2005
  Oct;18(5):347-54. PubMed PMID: 16202939. Edited manuscript.

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  Health Care: A Practical Guide, 6th edition, Lippincott Williams and Wilkins, 2015
  Forcier M, Olson J**, Transgender and Gender Nonconforming Youth, AM:STARs Hot Topics in
  Adolescent Health: Adolescent Medicine State of the Art Reviews, 25(2), August 2014 American
  Academy of Pediatrics Section on Adolescent Health

  Belzer ME, Olson J**. Adherence in Adolescents: A Review of the literature. Adolescent
  Medicine: State of the Art Reviews. Evaluation and Management of Adolescent Issues.
  American Academy of Pediatrics 2008:1999-117.

NON-REFEREED JOURNAL ARTICLES, REVIEWS , OR OTHER COMMUNICATIONS :

  Olson-Kennedy, J**. Hot Topics and Fresh Paradigms in Gender, Diversity and Care,
  AM:STARs: LGBTQ Youth: Enhancing Care For Gender and Sexual Minorities
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  of Professionals. JAMA Pediatr. 2016;170(5):423–424. doi:10.1001/jamapediatrics.2016.0155

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  treatment paradigms. Pediatr Ann. 2014 Jun;43(6):e132-7. doi: 10.3928/00904481-20140522-08.
  PubMed PMID: 24972421. Role: Drafted and edited manuscrpt: first author

  Hildago MA, Ehrensaft D, Tishelman AC, Clark LF, Garofalo R, Rosenthal SM, Spack NP,
  Olson J**. The gender affirmative model: What we know and what we aim to learn. Human
  Development, 2013, 3: 285-290. Edited manuscript; senior author

  Olson J**, Forcier M, Overview of the management of gender nonconformity in children and
  adolescents, In: UpToDate, Post TW (Ed), UpToDate, Waltham, MA Role: co-first authored
  manuscript – drafting and editing.

  Forcier M, Olson J**, Overview of gender development and clinical presentation of gender
  nonconformity in children and adolescents, In: UpToDate, Post TW (Ed), UpToDate, Waltham,
  MA. Role: co-first authored manuscript – drafting and editing.
  Olson, J**. Lesbian, gay, bisexual, transgender, queer youth and the internet- a virtual closet or
  cornucopia? – California Pediatrician, Jan 2011

  ABSTRACTS AND PRESENTATIONS :

  Olson J**, Clark L, Schrager S, Simons L, Belzer M, Baseline Characteristics Of Transgender
  Youth Naïve To Cross Sex Hormone Therapy, J Adol Health, February 2013 (Vol. 52, Issue 2,
  Supplement 1, Pages S35-S36, DOI: 10.1016/j.jadohealth.2012.10.086)

  Beharry M*, Olson J**, Men and the Morning After, poster presented at the Society for
  Adolescent Health and Medicine, Toronto, 2010.

MEDIA AND TELEVISION APPEARANCES :

   France 24 TV – Transgender Youth, 2015
   The DeMita Fletcher Family: What We Learned From Our Transgender Son , People.com

   Eisenhower Medical Center Hosts Transgender Symposium, Desert Sun

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   Driven to Suicide, People Magazine

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              Exhibit 26(c)




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1                                 IN THE UNITED STATES DISTRICT COURT
2                              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
3                                   Civil Action No. 1:19-cv-00272
4
               MAXWELL KADEL, et al.,                           )
5                                                               )
                                         Plaintiffs,            )
6                                                               )
                         vs.                                    )
7                                                               )
               DALE FOLWELL, in his official                    )
8              capacity as State Treasurer of                   )
               North Carolina, et al.,                          )
9                                                               )
                                         Defendants,            )
10             __________________________________)
11
12                                DEPOSITION OF DAN H. KARASIC, M.D.
13                                                   Remote
                                            September 20, 2021
14                                       9:00 a.m. Pacific Time
15
16
17
18
19             Prepared by:
               Vicki L. O'Ceallaigh Champion, CR
20             Certificate No. 50534
21
22
23             Prepared for:
24
25             (Certified copy)

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1                                         I N D E X
2
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4        DAN H. KARASIC, M.D.                                          PAGE
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6               Examination by Mr. Haskel................                 Xx
7
8                                     E X H I B I T S
9        NO.                       DESCRIPTION                         PAGE
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 1                      DEPOSITION OF DAN H. KARASIC, M.D.
 2       commenced at 9:00 a.m. on September 20, 2021, via
 3       Zoom, before VICKI L. O'CEALLAIGH CHAMPION, a
 4       Certified Reporter, CR No. 50534, for the State of
 5       Arizona.
 6
 7                                          * * *
 8                                 A P P E A R A N C E S
 9
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24       Also Present:
25                           Mr. Braden Bates, Legal Videographer

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1             A.         No.
2             Q.         Have you served as a principal investigator
3        on any private grants?
4             A.         No.
5             Q.         Dr. Karasic, what is gender dysphoria?
6                        MR. HASKEL:    Objection to the form.
7             A.         So gender dysphoria -- well, first of all,
8        there are a couple gender dysphorias.                     There is the
9        gender dysphoria, the symptom.                 You might say small
10       letter "G," small letter "D."
11                       There is also gender dysphoria, capital "G,"
12       capital "D," the DSM-5 diagnosis.                     If for gender
13       dysphoria the symptom, it is distress about the
14       difference between one's identified or lived gender
15       and one's assigned gender.
16       BY MR. KNEPPER:
17            Q.         Okay.   And then what is the diagnosis of
18       gender dysphoria?
19            A.         So the diagnosis of gender dysphoria is a
20       diagnosis that the American Psychiatric Association
21       has put in DSM-5.          That includes the presence of
22       persistent gender dysphoria along with -- well, it
23       lists various manifestations of that, but it also --
24       as potential symptoms and also has that the symptoms
25       cause social or occupational -- impairment of social

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1        occupational functioning or clinically significant
2        distress.
3              Q.        Is it clinically significant distress?
4              A.        Distress.
5              Q.        And how is that distinguished from the
6        distress identified as a symptom?                      You described it
7        as little-G-little-D dysphoria.
8                        MR. HASKEL:      Object to form.
9              A.        So the gender dysphoria as a symptom was --
10       or has been something that has been described in
11       people long before there was -- the DSM-5 came out
12       in 2013, but for example, WPATH Standards of Care 7
13       refers to gender dysphoria, not capitalized, and not
14       as -- not as an APA diagnosis, but as this symptom
15       of distress.
16       BY MR. KNEPPER:
17             Q.        So what -- let me just -- if an
18       individual -- and this is what I'm trying to
19       understand:         If an individual suffers from gender
20       dysphoria, little-G-little-D, does that mean that
21       they suffer from gender dysphoria, the psychiatric
22       diagnosis?
23                       MR. HASKEL:      Objection to form, foundation.
24       You can answer.
25             A.        Not necessarily.         I would say very often

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1        clinician-given scales as well as self-report
2        scales.
3        BY MR. KNEPPER:
4             Q.         Sure.   So did the Carmichael report find a
5        measurable improvement on physician administered
6        scales for individuals receiving puberty blockers?
7                        MR. HASKEL:    Objection; form.
8             A.         So my recollection was or my question when I
9        had seen this report was that the people getting
10       puberty blockers in some ways were perhaps kind of
11       frozen in place, that their gender dysphoria and
12       associated mental health measures were not being
13       treated necessarily by other puberty blockers, but
14       the puberty blockers may have prevented a worsening
15       that people coming into the study presumably, you
16       know, had some worsening of gender dysphoria as they
17       entered puberty, and then they are brought to the
18       study and started on puberty blockers and that
19       really kind of addressing that dysphoria, you know,
20       could happen at a later point, but it was kind of
21       preventing further changes from puberty that might
22       exacerbate their dysphoria and distress.
23                       That was just the impression, again, from my
24       recollection of seeing the study.
25

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              Exhibit 27(a)




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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,

                        Plaintiffs,

                           v.                               No. 1:19-cv-00272-LCB-LPA

 DALE FOLWELL, et al.,

                        Defendants.



             EXPERT REBUTTAL REPORT OF DR. DAN H. KARASIC, M.D.

        1.     My name is Dan H. Karasic. I have been retained by counsel for plaintiffs Maxwell

Kadel, Jason Fleck, Connor Thonen-Fleck, Julia McKeown, Michael D. Bunting, Jr., C.B., Sam

Silvaine, and Dana Caraway (collectively, “Plaintiffs”) as an expert in connection with the above-

captioned litigation.

        2.     I have been asked by Plaintiffs’ counsel to provide my expert opinion on gender

identity, the treatment and diagnosis of gender dysphoria, particularly as it pertains to children and

adolescents, and to respond to, rebut, and provide my expert opinion regarding the reports by Drs.

Stephen R. Levine, Paul R. McHugh, Paul W. Hruz, and Patrick W. Lappert in this case.

        3.     I have actual knowledge of the matters stated herein. If called to testify in this

matter, I would testify truthfully and based on my expert opinion.

   I.        BACKGROUND AND QUALIFICATIONS

        4.     I am a Professor Emeritus of Psychiatry at the UCSF Weill Institute for

Neurosciences. I have been on faculty at the University of California San Francisco since 1991.

I have also had a telepsychiatry private practice since 2020.




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       5.      I received my Doctor of Medicine (M.D.) degree from the Yale Medical School in

1987. In 1991, I completed my residency in psychiatry at the University of California           Los

Angeles Neuropsychiatric Institute, and from 1990 to 1991, I was a postdoctoral fellow in a

training program in mental health services for persons living with AIDS at UCLA.

       6.      For over thirty years, I have worked with transgender patients and worked on issues

related to transgender health care. I am a Distinguished Fellow of the American Psychiatric

Association and currently the chair of the American Psychiatric Association Workgroup on Gender

Dysphoria, as well as the sole author of the chapter on transgender care in the American Psychiatric

Press’s Clinical Manual of Cultural Psychiatry, Second Edition.

       7.      Over the past 30 years, I have provided care for thousands of transgender patients.

       8.      I previously sat on the Board of Directors of the World Professional Association

for Transgender Health (WPATH) and am a co-author of the WPATH Standards of Care for the

Health of Transsexual, Transgender, and Gender Nonconforming People, Version 7, which are

the internationally accepted guidelines designed to promote the health and welfare of transgender,

transsexual, and gender variant persons. For the upcoming WPATH Standards of Care, Version 8,

I am the lead author on the Mental Health chapter.

       9.      As a member of the WPATH Global Education Initiative, I helped develop a

specialty certification program in transgender health and helped train over 1,000 health providers.

At UCSF, I developed protocols and outcome measures for the Transgender Surgery Program at

the UCSF Medical Center. I also served on the Medical Advisory Board for the UCSF Center of

Excellence for Transgender Care, and co-wrote the mental health section of the original Guidelines

for the Primary and Gender-Affirming Care of Transgender and Gender Nonbinary People and

the revision in 2016.

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       10.     I have also worked with the San Francisco Department of Public Health, having

developed and implemented their training program for the care of transgender patients and for

mental health assessments for gender-affirming surgery. I served on the City and County of San

Francisco Human Rights Commission’s LGBT Advisory Committee, and I have been an expert

consultant for California state agencies and on multiple occasions for the United Nations

Development Programme on international issues in transgender care.

       11.     I have held numerous clinical positions concurrent to my clinical professorship at

UCSF. Among these, I served as an attending psychiatrist for San Francisco General Hospital’s

consultation-liaison service for AIDS care, as an outpatient psychiatrist for HIV-AIDS patients at

UCSF, as a psychiatrist for the Transgender Life Care Program and Dimensions Clinic of the

Castro Mission Health Center, and the founder and co-lead of the UCSF Alliance Health Project’s

Transgender Team. In these clinical roles, I specialized in the evaluation and treatment of

transgender, gender dysphoric, and HIV-positive patients. I also regularly provide consultation on

challenging cases to psychologists and other psychotherapists working with transgender and

gender dysphoric patients. I have been a consultant in transgender care to the California

Department of State Hospitals and am currently a consultant for the California Department of

Corrections and Rehabilitation on the care of incarcerated transgender people.

       12.     In addition to this work, I have done research on the treatment of depression. I have

authored many articles and book chapters, and edited the book Sexual and Gender Diagnoses of

the Diagnostic and Statistical Manual (DSM): A Reevaluation.

       13.     In preparing this report, I have relied on my training and years of research and

clinical experience, as set out in my curriculum vitae, and on the materials listed therein. A true

and accurate copy of my curriculum vitae is attached hereto as Exhibit A. It documents my

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education, training, research, and years of experience in this field and includes a list of

publications.

       14.      I have also reviewed the materials listed in the attached bibliography (Exhibit B).

The sources cited therein are authoritative, scientific peer-reviewed publications. I generally rely

on these materials when I provide expert testimony, and they include the documents specifically

cited as supportive examples in particular sections of this report.

       15.      In addition, I have reviewed the Amended Complaint in this case, the reports by

Dr. Levine, Dr. McHugh, Dr. Hruz, and Dr. Lappert, and the reports by Dr. George Brown and Dr.

Loren S. Schechter. I may rely on these documents, as well as those cited in curriculum vitae and

the attached bibliography, as additional support for my opinions.

       16.      The materials I have relied upon in preparing this report are the same types of

materials that experts in my field of study regularly rely upon when forming opinions on the

subject. I reserve the right to revise and supplement the opinions expressed in this report or the

bases for them if any new information becomes available in the future, including as a result of new

scientific research or publications or in response to statements and issues that may arise in my area

of expertise.

       Prior Testimony

       17.      In the last four years, I have not testified as an expert at trial or by deposition.

       Compensation

       18.      I am being compensated for my work on this matter at a rate of $400.00 per hour

for preparation of declarations and expert reports. I will be compensated $3,200.00 per day for

any deposition testimony or trial testimony. My compensation does not depend on the outcome

of this litigation, the opinions I express, or the testimony I may provide.

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II.    EXPERT OPINIONS

       A.      Gender Identity

       19.     Sex assigned at birth refers to the sex assigned to a person at the time of their birth,

typically based on the appearance of external genitals. While male and female sex are sometimes

used in reference to genitals, chromosomes, and hormones, the reality is that sex is complicated

and multifactorial. Aside from the appearance of external genitals, chromosomes, and endogenous

hormones, other factors related to sex include gonads, exposure to exogenous hormones during

fetal development, and variations in brain structure and function. Because each of these factors

may not always be in perfect alignment, “the terms biological sex and biological male or female

are imprecise and should be avoided.” (Hembree, et al., 2017).

       20.     Indeed, sex assigned at birth does not always align with XX or XY chromosomes.

For example, children with Androgen Insensitivity Syndrome have XY chromosomes and are

exposed to androgens in utero, but commonly are assigned female at birth.

       21.     “Gender” refers to attitudes, feelings, identity, and expression associated culturally

with male, female, nonbinary, or another gender.

       22.     Gender identity is “a person’s deep felt, inherent sense of being a girl, woman, or

female; a man, or male; a blend of male or female; [or another] gender” (American Psychological

Association, 2015, p. 862). Gender identity and lived gender roles do not always align with sex

assigned at birth or other markers. Gender identity has biological bases and is highly resistant to

change. As documented by multiple leading medical authorities, efforts to change a person’s

gender identity are ineffective, can cause harm, and are unethical. (American Psychological

Association, 2021; Byne, et al., 2018; Coleman, et al., 2012).



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       B.      Gender Dysphoria and its Treatment

       23.     Gender dysphoria is distress related to the incongruence between one’s gender

identity and attributes related to one’s sex assigned at birth.

       24.     “Gender Dysphoria in Children” is a diagnosis applied only to pre-pubertal

children, in the Diagnostic and Statistical Manual Fifth Edition (DSM-5), released in 2013. The

criteria include “A: A marked incongruence between one’s experienced/expressed gender and

assigned gender, of at least 6 months’ duration.” The diagnosis also requires the presence of

criterion A1, which is “A strong desire to be of the other gender or insistence that one is the other

gender (or some alternative gender different from one’s assigned gender.” The prior version of

the diagnosis, Gender Identity Disorder of Children, in DSM IV, did not require this A1 criterion

of gender identity, and could be applied solely on the basis of gender atypical behavior. Most

research on persistence and desistance of gender identity in pre-pubertal children was conducted

in the era of DSM-IV and earlier versions, and applied a broader diagnosis that could be based

only on gender atypical behavior alone, without necessarily a transgender identity.

       25.     The DSM-5 diagnosis of “Gender Dysphoria in Adolescents and Adults” includes

at least 6 months of distress or impairment with “A marked incongruence between one’s

experienced/expressed gender and assigned gender,” and at least 2 of 6 other symptoms. The name

change from DSM-IV’s Gender Identity Disorder in Adolescents and Adults emphasized that the

distress, or dysphoria, was the disorder, and not transgender identity. (DSM-5, 2013).

       26.     The World Professional Association for Transgender Health (formerly the Harry

Benjamin Gender Dysphoria Association) has issued Standards of Care for the Health of

Transsexual, Transgender, and Gender Nonconforming People since 1979. The current version is

WPATH SOC 7, with WPATH SOC 8 due out later this year. WPATH SOC 7 provides guidelines

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for multidisciplinary care of transgender and gender diverse individuals, and describes criteria for

the treatment of gender dysphoria, including hormone treatment and surgery. WPATH SOC 7 also

states, “Treatment aimed at trying to change a person’s gender identity and expression … is no

longer considered ethical.”

       27.     The WPATH Standards of Care are endorsed and cited as authoritative by many

professional medical associations including the American Medical Association, the American

Psychiatric Association, the American Psychological Association, the Endocrine Society, the

Pediatric Endocrine Society, the American College of Obstetrics and Gynecology, the American

College of Physicians, and the World Medical Association, among others.

       28.     Guidelines from other organizations, including UCSF and the Endocrine Society of

North America, also list similar protocols for the medically necessary treatment of gender

dysphoria.

       29.     In accordance with the WPATH SOC 7, addressing gender dysphoria and gender

transition may include aspects of social transition, treatment with hormones, and treatment with

surgery.

       30.     The World Professional Association of Transgender Health Medical Necessity

Statement (WPATH, 2016) also lists gender-confirming surgeries among the medically necessary

for the treatments of gender dysphoria.

       31.     No medical or surgical treatment for gender dysphoria is provided to pre-pubertal

children. Adolescents may be treated with medications to delay the onset of puberty, which are

also used in children without gender dysphoria, but with early onset of puberty. After ongoing

work with mental health professionals, adolescents may start treatment with hormones. Adults



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may start hormones after work with a therapist, or after assessment by a primary care provider or

endocrinologist.

        32.     Mental health professionals, primary care providers, endocrinologists, and

surgeons often work collaboratively, whether in multidisciplinary teams, or with communication

between individual professional practices.

        33.     Affirming care for transgender children does not mean steering children in any

particular direction, but rather supporting them through their period of exploration of gender

expression and increasing self-awareness of their identity (Coleman, et al., 2012). For pre-

pubescent children, no medical or surgical intervention is involved. Instead, interventions are

directed at supporting the child with family, peers, and school.

        34.     Puberty blockers may be indicated at Tanner Stage 2 of puberty if the onset of

physical changes of puberty is causing distress. Puberty blockers allow the child time to better

understand their gender identity under the care of a mental health professional, while delaying

distress from the progression of the development of secondary sex characteristics.

        35.     Given that prior longitudinal studies included gender nonconforming children who

were not transgender due to the broad criteria for the since-abandoned “gender identity disorder in

children” diagnosis, these studies shed little light into questions of persistence and desistance of

gender dysphoria in pre-pubertal children. However, longitudinal studies show that gender

dysphoria in adolescence usually persists (DeVries, et al., 2011). Additionally, no medical

treatment, let alone irreversible medical and surgical interventions, is used prior to puberty, so the

persistence and desistance statistics of pre-pubertal children do not inform the decision whether or

not to initiate these treatments.



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       36.     Data from the Dutch experience with evaluation and care by a multidisciplinary

team, using puberty blockers, followed by hormones and surgery when indicated, show that this

approach appears to result in high satisfaction, a lack of regret, and mental health outcomes similar

to those of a control group that was not transgender. (DeVries, et al., 2014).

       37.     In a United States study, treatment with gender affirming hormones in transgender

youth was associated with a substantial reduction in body dissatisfaction, and well as improvement

on mental health measures (Kuper, et al., 2020).

       C.      Harms of Denying Gender-Affirming Care

       38.     The overarching goal of treatment is to eliminate the distress of gender dysphoria

by aligning an individual patient’s body and presentation with their internal sense of self. The

denial of medically indicated care to transgender people not only results in the prolonging of their

gender dysphoria, but causes additional distress and poses other health risks, such as depression,

posttraumatic stress disorder, and suicidality. The prevalence of these mental health conditions is

widely thought to be a consequence of minority stress, the chronic stress from coping with societal

stigma and discrimination because of one’s identity, including gender identity and gender

expression. (American Medical Association, 2019). In other words, lack of access to gender-

affirming care directly contributes to poorer mental health outcomes for transgender people.

(Owen-Smith, et al., 2018).

       39.     Accordingly, major medical organizations, such as the American Medical

Association, American Psychiatric Association, and American College of Obstetricians and

Gynecologists, oppose the denial of this medically necessary care and support public and private

health insurance coverage for treatment of gender dysphoria as recommended by the patient’s

physician. (American Medical Association, 2019).

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       40.     Denial of this appropriate care for transgender youth is also opposed by mainstream

organizations responsible for the care of youth, including the American Academy of Pediatrics,

the Academy of Child and Adolescent Psychiatry, and the Pediatric Endocrine Society.

       41.     Parental support and other social support have been associated with dramatically

less suicidal ideation in transgender people, as has treatment with hormones and completing

medical transition. (Bauer, et al., 2015). Provision of puberty blockers for transgender youth

likewise decreases suicidality (Turban, et al., 2020). The American Academy of Child and

Adolescent Psychiatry states, “Research consistently demonstrates that gender diverse youth who

are supported to live and/or explore the gender role that is consistent with their gender identity

have better mental health outcomes than those who are not.” (AACAP, 2019).

       42.     In the past 10 years, there has been a reversal in longstanding policies that had

excluded reimbursement for transgender people, including youth. There are many more clinics

providing care to transgender youth and adults in academic medical centers than a decade ago,

because funding is now available. This change is allowing clinical researchers to expand the body

of research in the United States, as well as increasing access to care.

       D.      Specific Critiques

       43.     The critiques below apply to more than one expert. The experts for the defense are

outside the mainstream of transgender health. Instead, they are better known for their political

efforts to deny care to transgender people and to oppose LGBTQ rights, rather than for providing

care for or clinical research regarding transgender people. Their views are outside the mainstream

of experts in transgender health and mainstream medical organizations.

       44.     The use of the terms “transgender treatment industry” and “gender transition

industry” are particularly inappropriate to reference the dedicated health professionals and

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researchers who have worked to provide medically necessary care for their transgender patients,

as they do for other patients, despite the fact that for many years care for transgender patients was

specifically denied government funding and insurance reimbursement, in part due to the efforts of

political opponents, such as Paul McHugh.

       45.     Health professionals across disciplines attempting to provide good and medically

necessary care for transgender people, as they do for their other patients, do not constitute a

“transgender treatment industry.”

       Dr. Levine’s Report

       46.     Stephen Levine, MD, was an editor of Standards of Care 5 (“SOC 5”) of the Harry

Benjamin Gender Dysphoria Association (the precursor to WPATH), which were released in 1998.

After widespread criticism of the SOC 5, it was replaced by the SOC 6 in just three years. By

contrast, the SOC 6 (published in 2001) and SOC 7 (published in 2012) have each been used for

approximately 10 years. Dr. Levine was critical of the changes in transgender care since 1998, and

has been a critic of modern transgender care since. His involvement in transgender health in recent

years has centered on the denial of care to transgender people through his role providing testimony

with respect to prison systems. Dr. Levine’s bias was noted in Norsworthy v. Beard, in which U.S.

District Judge Jon Tigar stated: “The Court gives very little weight to the opinions of Levine,

whose report misrepresents the Standards of Care; overwhelmingly relies on generalizations about

gender dysphoric prisoners, rather than an individualized assessment of Norsworthy; contains

illogical inferences; and admittedly includes references to a fabricated anecdote.”

       47.     Regarding Dr. Levine’s criticism of the DSM-5 (Levine Decl. ¶ 13), Dr. Insel was

emphasizing the need to research the biological conditions underlying mental illness, rather than

the focus on categorization of the illnesses. These critiques are about categorization of mental

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illness as a whole, not specifically a criticism of the diagnosis of or criteria for Gender Dysphoria

contained in the DSM-5.

       48.     In addition, Dr. Levine’s criticism, particularly with regard to desistance, is based

on studies relying on the now obsolete and overly broad categorizations contained in the DSM III-

R and DSM IV for “Gender Identity Disorder in Children.” None of the studies cited by Dr. Levine

use the current DSM-5 gender dysphoria diagnosis. As noted above, a child could meet criteria for

the DSM III-R or DSM-IV diagnosis of gender identity disorder without identifying as transgender

because the diagnostic criteria did not require identification with a gender other than the one

assigned to the person at birth. This problem with the diagnosis was remedied with the new DSM-

5 diagnosis of “Gender Dysphoria in Children,” which requires a child to have “a strong desire to

be of the other gender or an insistence that one is the other gender (or some alternative gender

different from one’s assigned gender).” It is therefore not surprising that children discussed in the

studies cited by Dr. Levine did not identify as transgender at follow-up as these children did not

necessarily identify as transgender to begin with.

       49.     In addition, the studies cited by Dr. Levine all examined pre-pubertal children.

There is broad consensus that once youth reach the earliest stages of puberty (i.e., Tanner 2) and

identify as transgender, desistance is rare. The notion of desistance therefore is not generally

applied to transgender people once they reach the Tanner 2 stage of puberty. Even the researchers

who published the dataset about desistance that Dr. Levine cites are clear that once a child reaches

puberty, it is not medically appropriate to withhold affirming treatment.

       50.     In any event, aside from the DSM, there is only one other comprehensive, widely

accepted listing of disorders, the World Health Organization’s International Classification of

Diseases, now in its eleventh version, ICD-11. Reflecting the medical nature of the diagnosis, ICD-

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11’s diagnosis of Gender Incongruence is not listed with the mental disorders, and is not focused

on distress and impairment, but otherwise is similar to Gender Dysphoria in DSM-5. Mainstream

health providers rely on categorization in DSM and ICD to diagnose each patient, and this is true

for the use of Gender Dysphoria and Gender Incongruence as well.

       51.     Dr. Levine uses his prior experience with WPATH over two decades ago to burnish

his credentials as an expert in transgender health, but otherwise dismisses WPATH as an “activist,”

rather than a professional organization. WPATH restricts its full membership to professional

clinicians and health academics. That more clinicians and health academics are transgender

themselves than in Dr. Levine’s long-ago tenure with the organization does not diminish their

expertise as clinicians and researchers.

       52.     Dr. Levine’s beliefs in the early malleability of gender identity in youth, whether

by parental support or “social contagion,” are in contrast to the actual experience of transgender

youth, who express their identity despite the overwhelming disapproval of society to transgressing

gender norms. The etiology or “pathways” to any particular gender identity remain the subject of

debate and research, though research to date indicates that gender identity has biological bases.

However, any debate surrounding the etiology of any particular gender identity does not diminish

the necessity of treatment of those suffering from the distress of gender dysphoria, especially since

treatments endorsed by mainstream medicine have been shown to improve quality of life, decrease

distress, and decrease suicidality.

       53.     Dr. Levine’s assertions that successful transition for transgender individuals “is not

biologically attainable” due to lack of reproductive capacity are untrue. Transgender individuals

may find other ways to build families, but so do other individuals who need medical assistance

with reproduction or choose to adopt. Reproductive capacity is not what makes a person a man or

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a woman, and we do not describe others as less of a man or woman for needing assistance with

family building or choosing not to raise children.

       54.     As a clinician who, unlike Dr. Levine, actively works with a multitude of clinicians

providing care to transgender youth and adults, I reject Dr. Levine’s false claim that these

clinicians simply see their roles as pushing youth towards a transgender identity. First, transgender

youth identity and dysphoria is not a product of external influence and not subject to voluntary

change. Second, dedicated professionals who provide care to transgender people, like the care

they provide to others, undertake a serious endeavor in trying to provide the best care for their

patients according to prevailing standards of care, not the pushing of a political agenda or being

“fashionable.” The alternative proposed by Dr. Levine, “conversion therapy,” has been opposed

by mainstream health organizations as ineffective and harmful.

       55.     Dr. Levine describes “confirmation bias” as “the methodologically defective

tendency to process information by only looking for, and interpreting, evidence consistent with

existing beliefs, favorite theories, and pre-conceived notions.” Dr. Levine believes this applies to

the thousands of clinicians actually providing care for transgender patients, and to the academics

researching transgender care, but seems unable to apply the concept of confirmation bias to

examine his own views. Dr. Levine’s confirmation bias leads him to propound at length his own

theories of etiology and treatment of gender dysphoria (which are unsupported by scientific peer-

reviewed literature), while dismissing the approaches of modern mainstream medicine and

pediatrics, as put forward in academic journals like The Lancet, the American Journal of

Psychiatry, the Journal of the American Medical Association, and the New England Journal of

Medicine, as well as by organizations including the American Medical Association, the American

Psychiatric Association, and American Academy of Pediatrics, the American Psychological

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Association. Dr. Levine’s theories should be understood in the context of his own confirmation

bias that seemingly places him as the lone truth-teller in a deluded world.

         56.    Dr. Levine states that mainstream transgender care, including gender confirming

surgery, “is not supported by credible, reliable-valid scientific research, not accepted by the

relevant scientific community, and has no known error rates, and no careful systematic follow-up

using agreed upon criteria to even assess multifaceted failure rates.” In fact, transgender care,

including gender confirming surgery, has been studied extensively, with much evidence of the

effectiveness of such treatment, and of low regret rates. (Cornell “What We Know” systematic

review; see also, e.g., Marano, et al., 2021; Colton-Meier, et al., 2011; Murad, et al., 2010; Smith,

et al., 2005; Pfafflin & Junge, 1998).

         57.    Dr. Levine refers to purportedly high rates of regret, and also refers to data on the

Swedish experience with surgery as treatment for transgender patients’ dysphoria. From 1960-

2010, the regret rate in those who received surgery in Sweden was 2%. The regret rate went down

over the 50 years covered in the study of Swedes having transgender surgery, and in the last decade

of the Swedish study, 2001-2010, the regret rate was 0.3%. These regret rates are low, including

in comparison to rates of regret for a number of surgical procedures that cisgender people undergo.

For example, one study of women who had mastectomy for breast cancer, followed by breast

reconstructive surgery, reported a 47% regret rate for having breast reconstruction (Sheehan, et al.,

2008).

         58.    Dr. Levine also implies that allowing a child to socially transition makes them

identify more strongly as transgender and thus more likely to “persist” in their transgender identity.

A recently published study, which Dr. Levine fails to cite, has found this not to be true. The study



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authors found that gender identification did not meaningfully differ before and after social

transition. (Rae, et al., 2019).

        59.     Additionally, research shows that transgender youth supported by their families in

socially transitioning have been shown to have measures of depression and self-worth similar to

their non-transgender siblings. (Durwood, et al., 2017).

        60.     Mainstream medicine, transgender health advocates, and Dr. Levine all agree on

the centrality of informed consent in the provision of healthcare. Dr. Levine’s version of informed

consent includes his confirmation bias on the futility of care for transgender people. Informed

consent should encapsulate the risks and benefits of the given treatment as best known through the

perspective of scientific evidence and modern health practice.

        61.     There are limits on the capacity of children to consent, which is why parents consent

for healthcare, including for transgender youth.

        Dr. McHugh’s Report

        62.     Dr. McHugh was central to the cutoff of funding of transgender healthcare in the

late 1970’s and early 1980’s, including the closure of the transgender surgery program at Johns

Hopkins in 1979, leading to the federal restriction of funding for transgender health in 1981. He

became active again opposing transgender health funding when the 1981 decision was reversed in

2014. In the interim, he was best known for making public his views outside the medical

mainstream on broad range of issues, from the use of stem cells in medical research to the alleged

“dangers” of marriage by same-sex couples. Dr. McHugh is indeed a vociferous opponent of

LGBTQ rights, as he considers homosexuality an “erroneous desire” and has advocated against

any medical treatment for gender dysphoria. He has submitted multiple amicus briefs to the U.S.

Supreme Court opposing marriage for same-sex couples and regarding which restrooms

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transgender youth should use. Yet, Dr. McHugh is not currently a provider of transgender care nor

a researcher of transgender health, and his direct experience in the field in the past has been limited.

        63.     Dr. McHugh states: “There are no long-term, peer-reviewed published, reliable and

valid, research studies documenting the reliability and validity of assessing gender identity by

relying solely upon the unverified statements of a patient.” As a psychiatrist, Dr. McHugh must

know that most DSM-5 psychiatric diagnoses are made via the psychiatric interview of the patient.

The diagnosis of Gender Dysphoria under the DSM-5 is made the same way as other DSM

diagnoses, through an interview in which the health professional determines if DSM-5 diagnostic

criteria are met. Mental health professionals are well-trained to conduct such interviews. The

validity and reliability of DSM-5 diagnoses were assessed and determined in the process of

creating the DSM-5. Clinicians do not simply defer to the reported experiences of the patient, but

instead rely on the application of professional experience and expertise to assess whether the

patient meets the relevant diagnostic criteria. Similarly, the ICD-11 diagnosis of Gender

Incongruence is made by interview of the patient. The World Health Organization conducted field

studies internationally on the reliability and validity of the Gender Incongruence diagnosis of ICD-

11.

        64.     Dr. McHugh cites a survey by Lisa Littman of participants on discussion websites

for parents who opposed their children’s gender transition and derived a theory that adolescents

develop gender dysphoria via social contagion. This survey has been contradicted by the World

Professional Association for Transgender Health. The survey was of parents’ perception after

learning of their children’s transgender identity, rather than of the children themselves, and

conflicts with the experience of those who work with the children themselves. No conclusions can

be drawn from the Littman survey other than the fact that some anonymous people recruited from

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internet sites who opposed transition care for youth speculate that transgender identity is due to

social contagion. This speculation from anonymous people online does not constitute a reliable

source, and does not establish a true phenomenon. No study to date has demonstrated that the

determinant of gender identity is psychosocial.

       65.     Furthermore, noting the serious flaws with the Littman survey, a correction to the

article was later published, which noted that, “Rapid-onset gender dysphoria (ROGD) is not a

formal mental health diagnosis at this time” and that the “report did not collect data from the

adolescents and young adults (AYAs) or clinicians and therefore does not validate the

phenomenon.” The correction goes on to say that “the term should not be used in any way to imply

that it explains the experiences of all gender dysphoric youth.”

       66.     Dr. McHugh states that medical and surgical care for transgender people are

experimental and unproven. Transgender care has been studied for over half a century, and there

is substantial evidence that it improves quality of life and measures of mental health. (Cornell,

“What We Know” review).

       67.     Dr. McHugh states that some transgender children do not persist with their cross-

gender identification into adolescence. However, puberty blockers, hormones, and surgery are not

provided to pre-pubertal children, and the desistance of gender dysphoria to which Dr. McHugh

refers, to the extent it happens, occurs before puberty. It is also important to keep in mind that the

studies on which Dr. McHugh relies pertain to gender nonconforming children diagnosed with

“Gender Identity Disorder in Children” under the DSM III-R and DSM-IV, which included

children who are not transgender. One could meet criteria for the DSM III-R or DSM-IV diagnosis

of Gender Identity Disorder without identifying as transgender because the diagnostic criteria did

not require identification with a gender other than the one assigned to the person at birth, as is

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required under the DSM-5 for “Gender Dysphoria in Children.” Moreover, research shows that

Gender Dysphoria is unlikely to desist in adolescence and adulthood, and that is when treatment

begins. Hence all of the debate about desistance of gender dysphoria in pre-pubescent children is

irrelevant to the debate over medical and surgical treatment.

       68.       Dr. McHugh states: “Medical treatments may differ significantly by sex according

to chromosomal assessment but not by gender identity.” People born with complete androgen

insensitivity syndrome have XY chromosomes but are assigned female at birth and usually identify

as female. Chromosomal sex is not the basis of treatment for transgender people, but rather the

presence or absence of gender dysphoria.

       Dr. Hruz’s Report

       69.       Dr. Hruz is not a psychiatrist or psychologist and his use of the DSM in his ordinary

work as a pediatrician is therefore limited.

       70.       Dr. Hruz says that “[t]he reliability and validity of the term ‘gender identity’ is

controversial and not accepted by the relevant scientific community.” The term “gender identity”

is credited to Dr. Robert Stoller, a professor of psychiatry at UCLA. Dr. Stoller started the Gender

Identity Clinic in 1963. The use of the term has been well established in the intervening years

since 1963. It is used in research and medicine, and by every major medical organization in the

United States.

       71.       Dr. Hruz repeats the assertion that the diagnosis of Gender Dysphoria lacks validity

and reliability. Validity and reliability of each diagnosis in DSM-5 were field tested prior to

inclusion.

       72.       Dr. Hruz dismisses the reliability of psychiatrists and psychologists to make the

DSM diagnosis of Gender Dysphoria. Psychiatrists and psychologists have many years of training

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to make diagnoses, which are made primary by the clinical interview with the patient. This process

is similar to that of diagnosing other DSM diagnoses, to determine treatment for other disorders.

The process of taking a history of symptoms from a patient is not only used to determine most

psychiatric treatment, but also many medical and pediatric treatments. It is surprising to hear any

medical professional dismiss the importance of taking a good history from a patient. Even medical

disorders that rely on blood tests and imaging for a definitive diagnosis rely first on taking a history

to know which tests to order.

        73.     Mental health professionals have years in training in determining diagnoses. In my

clinical experience, we have not seen people play-acting being transgender at the behest of

YouTube influencers as Dr. Hruz contends, but we are confident we would recognize this if it were

to happen.

        74.     Dr. Hruz correctly states that Cognitive Behavioral Therapy (CBT) is effective for

depressive and anxiety disorders, and questions why CBT is not used to change gender identity.

The answer is simple: CBT has been demonstrated effective to treat depression and anxiety but

not to change gender identity. However, CBT is commonly used in transgender patients who have

depression and anxiety to help alleviate these symptoms, as it is used in patients who are not

transgender.

        75.     Dr. Hruz discusses the “watchful waiting” of pre-pubescent children. Note that the

debate over desistance in pre-pubertal children and of watchful waiting versus affirming

approaches is for the period of life before medical and surgical interventions are warranted.

“Watchful waiting” was coined by the same Dutch researchers who pioneered the use of puberty

blockers once the same children reached puberty, and found that puberty blockers, hormones, and

later surgery successfully treated gender dysphoria in the same youth once they were of

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developmental stage for puberty blockers. The result was that mental health outcomes significantly

improved in the youth who received transition care in the study. (de Vries, et al., 2014). Other

studies have also shown improvement in mental health measures in trans youth with gender-

affirming medical treatment. (van der Miesen, et al., 2020; Kuper, et al., 2020). It is important to

emphasize that in the Dutch research, the youth who were going to desist from the gender identity

disorder diagnosis were not treated with medications and surgery, and desistance occurred before

puberty. The youth whose gender dysphoria persisted to puberty, and who were therefore treated,

did not have a reversion to the gender identity congruent with sex assigned at birth, nor did any

research participants who transitioned experience regret at doing so.

       76.     Dr. Hruz mentions ratings of quality of evidence for transgender care. Randomized,

controlled, blinded trials of whether a child or adult is allowed to transition are not possible. Often

evidence is derived from lesser-graded evidence, not only for transgender care, but for many

treatments for which randomized, controlled, blinded trials are not possible.

       77.     Dr. Hruz states in paragraph 57 of his report (all caps are his): “INTERVENTIONS

(‘TREATMENTS’) OF CHILDREN WITH POTENTIALLY HARMFUL HORMONES TO

INTERVENE IN THE LIFE OF A CHILD WHO IS HIGHLY LIKELY (80%+) TO RESOLVE

THE GENDER DYSPHOTIA [sic] ISSUE NATURALLY                         IS RISKY, UNSCIENTIFIC and

UNETHICAL. IATROGENIC DAMAGES TO PATIENTS.” This shows Dr. Hruz’s

misunderstanding of the care of transgender children. The data on children who desist are on pre-

pubertal children who were diagnosed with “gender identity disorder in children.” When children

persist with gender dysphoria, it is persistent into adolescence. By that phase of the child’s life,

the child is unlikely to desist. In early adolescence, the child may be treated with puberty blockers,

which delay the onset of puberty but are reversible as an intervention by simply stopping the

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medication. Puberty blockers are also used in children who are not transgender but experience

puberty early, so that they can go through puberty with their peers. It is not until later in

adolescence, when it is clear to the adolescent’s care providers that the gender identity is stable

and persistent, that cross-sex hormones are started. At that point, the patient is better able to

understand the risks and benefits of treatment, and the parents also must consent. Note that this

informed consent includes a discussion of options for the preservation of reproductive capacity.

        78.      The continued discussion in the ensuing paragraphs of Dr. Hruz’s report reflects a

misunderstanding of the point in the child’s life at which irreversible interventions are employed.

The pre-pubertal child is not treated with medications. After the start of puberty, a youth

experiencing the onset of puberty may be treated with puberty blockers, but these treatments are

reversible, and if stopped the youth will undergo a normal puberty. Later in adolescence, when the

adolescent and parents, in consultation with mental health professionals and pediatricians, have

had time to ensure that change in gender identity is unlikely, the adolescent may start cross-sex

hormones, with the consent of parents and agreement of mental health and medical professionals.

        79.      Outcomes of gender affirming care have been observed for over 60 years, with a

study of 50 years of the experience of gender clinics in Sweden showing that regret is rare (Dhejne,

et al., 2014).

        Dr. Lappert’s Report

        80.      Dr. Lappert is a cosmetic plastic surgeon who, per his “Lappert Skin Care” practice

website, provides his patients with botox treatment, Juvederm fillers, treatment of age spots, and

tattoo removal. Dr. Lappert reports that he has taken care of transgender patients when they have

appeared in his office with skin issues. But his background is not in transgender health, nor does

he have experience in mental health and making diagnoses using the DSM-5.

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       81.     Dr. Lappert has a misunderstanding of how DSM-5 diagnoses are made.

Psychiatrists, psychologists, and other mental health professionals take histories from patients and

use their years of training to make diagnoses. DSM-5 diagnoses are the basis of the medical

treatment of depression, anxiety, schizophrenia, and other mental disorders, and well as for

psychotherapy treatments. Gender Incongruence is a diagnosis in the ICD-11. The ICD is used to

make medical as well as mental health diagnoses.

       82.     Dr. Lappert states that children who may desist from gender dysphoria are treated

with irreversible interventions. Again, this is based on studies looking at children using the more

expansive “gender identity disorder in children” diagnosis contained in the DSM III-R and DSM

IV, and not on the “gender dysphoria in children” diagnosis contained in the DSM-5. In any event,

any desistance happens before puberty, and no irreversible interventions are considered until well

into adolescence, after puberty.

       83.     Dr. Lappert discusses regret by those who have received transition care. Over 50

years of experience in Swedish gender clinics, the regret rate was 2%. By contrast, in Dr. Lappert’s

field of cosmetic plastic surgery, one poll shows that the regret rate among those having cosmetic

plastic surgery was 65%. (https://www.medicalaccidentgroup.co.uk/news/two-thirds-brits-regret-

cosmetic-surgery/). There have been few randomized, blinded clinical trials of the efficacy of

many cosmetic plastic surgery interventions, or much study of how to help heal those who regret

cosmetic plastic surgery interventions. Regret rates for transgender surgery thankfully are far

lower. A pooled review of 7,928 patients receiving gender affirming surgery showed a regret rate

of 1%. (Bustos, et al., 2021). Informed consent lets patients know the risks and benefits of the

surgical interventions they plan to have, including the risk of regret.



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          84.     Dr. Lappert states, “A large percentage of children (over 80% in some studies) …

will, if left alone, develop an acceptance of their natal (biological) sex.”         This statement

misconstrues earlier studies and is inaccurate for the reasons explained above.

   III.         CONCLUSION

          85.     Drs. McHugh, Levine, Hruz, and Lappert present a perspective on transgender

health that is far from the mainstream medicine and mental health practices. The practice of

transgender health and the medical necessity of the provision of health care to treat gender

dysphoria is well established. Transgender patients benefit from gender affirming healthcare and

regret rates are very low.



          I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and corrected.

          Executed this 30th day of May, 2021.




                                                       Dan H. Karasic, M.D.




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                            CERTIFICATE OF SERVICE
      I hereby certify that on June 1, 2021, I caused a copy of the foregoing document

and all attachments to be served upon the following parties via email:

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                                           25


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              Exhibit 27(b)




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                                Exhibit A
                           Curriculum vitae




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                       University of California, San Francisco
                                CURRICULUM VITAE
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Position:      Professor Emeritus
               Psychiatry
               School of Medicine

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                San Francisco, CA 94110


               Voice: 415-935-1511
               Fax: 888-232-9336


EDUCATION
1978 - 1982    Occidental College, Los             A.B.; Summa     Biology
               Angeles                             Cum Laude
1982 - 1987    Yale University School of           M.D.            Medicine
               Medicine
1987 - 1988    University of California, Los       Intern          Medicine, Psychiatry, and
               Angeles                                             Neurology
1988 - 1991    University of California, Los       Resident        Psychiatry
               Angeles; Neuropsychiatric
               Institute
1990 - 1991 University of California, Los          Postdoctoral    Training Program in Mental
            Angeles; Department of                 Fellow          Health Services for Persons
            Sociology                                              with AIDS
LICENSES, CERTIFICATION
1990           Medical Licensure, California, License Number G65105
1990           Drug Enforcement Administration Registration Number BK1765354
1993           American Board of Psychiatry and Neurology, Board Certified in Psychiatry

PRINCIPAL POSITIONS HELD
1991 - 1993    University of California, San Francisco         Health Sciences Psychiatry
                                                              Clincial Instructor
1993 - 1999    University of California, San Francisco         Health Sciences Psychiatry
                                                              Assistant Clinical



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                                                             Professor
1999 - 2005     University of California, San Francisco       Health Sciences Psychiatry
                                                             Associate Clinical
                                                             Professor
2005 - present University of California, San Francisco        Health Sciences Psychiatry
                                                             Clinical Professor

OTHER POSITIONS HELD CONCURRENTLY
1980 - 1980   Associated Western Universities / U.S.        Honors        UCLA Medicine
               Department of Energy                         Undergraduate
                                                            Research Fellow
1981 - 1981 University of California, Los Angeles;          Summer Student        UCLA
     Medicine American Heart Association, California        Research Fellow
               Affiliate
1986 - 1987     Yale University School of Medicine;     Medical Student           Psychiatry
                American Heart Association, Connecticut Research Fellow
                Affiliate
1990 - 1991   University of California, Los Angeles Postdoctoral Sociology Fellow
1991 - 2001   SFGH Consultation-Liaison Service; Attending     Psychiatry
               AIDS Care                                Psychiatrist
1991 - 2001     AIDS Consultation-Liaison Medical           Course Director       Psychiatry
                Student Elective
1991 - present UCSF Positive Health Program at San     HIV/AIDS            Psychiatry Francisco
                General Hospital (Ward 86)      Outpatient
                                                       Psychiatrist
1991 - present UCSF AHP (AIDS Health Project/Alliance HIV/AIDS                  Psychiatry
                Health Project)                        Outpatient
                                                       Psychiatrist
1994 - 2002     St. Mary's Medical Center CARE Unit.      Consultant            Psychiatry
                The CARE Unit specializes in the care of patients
                with AIDS dementia.
2001 - 2010     Depression and Antiretroviral Adherence Clinical Director       Psychiatry and
                Study (The H.O.M.E. study: Health                               Medicine
                Outcomes of Mood Enhancement)
2003 - present Transgender Life Care Program and         Psychiatrist      Dimensions
                Dimensions Clinic, Castro Mission Health Clinic
                Center
2013 - present UCSF Alliance Health Project, Co-lead,       Co-Lead and         Psychiatry
                Transgender Team                            Psychiatrist
HONORS AND AWARDS
1981            Phi Beta Kappa Honor Society              Phi Beta Kappa


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1990             NIMH Postdoctoral Fellowship in        National Institute of Mental Health
                 Mental Health Services for People with
                 AIDS (1990-1991)
2001             Lesbian Gay Bisexual Transgender          SFGH Department of Psychiatry
                 Leadership Award, LGBT Task Force
                 of the Cultural Competence and
                 Diversity Program
2006             Distinguished Fellow                      American Psychiatric Association
2012             Chancellor’s Award for Leadership in        UCSF
                 LGBT Health

KEYWORDS/AREAS OF INTEREST
Psychiatry, HIV/AIDS, consultation-liaison, medication adherence, gay/lesbian, transgender,
gender dysphoria, sexuality, homeless/marginally housed, mood disorders, teaching/supervision

CLINICAL ACTIVITIES SUMMARY
As psychiatrist for the Positive Health Practice at Ward 86, I evaluate and treat patients with
psychiatric illness and HIV. I provide consultation to internists, fellows, and nurse practitioners
on managing psychiatric illness in their patients. Clinical work includes attention to the needs
of special populations, including working with a multidisciplinary team in a drop-in clinic for HIV-
positive women, and addressing issues emerging in HIV and Hepatitis C co-infection. As
psychiatrist at the UCSF Alliance Health Project, I evaluate and treat patients and I am co-chair
of the Gender Team, which provides assessment and care for transgender patients. As
psychiatrist for the Transgender Life Care program and Dimensions Clinic, I evaluate and treat
transgender patients, working with a multidisciplinary team at Castro Mission Health Center. In
my faculty practice, I treat transgender, gender dysphoric, and HIV-positive patients referred
from providers across Northern California, and I provide consultation on challenging cases to
psychologists and other psychotherapists working with transgender and gender dysphoric
patients.

MEMBERSHIPS
1990 - present Association of Gay and Lesbian Psychiatrists
1992 - present Northern California Psychiatric Society
1992 - present American Psychiatric Association
2000 - present Bay Area Gender Associates (an organization of psychotherapists working with
     transgendered clients)
2001 - present World Professional Association for Transgender Health

SERVICE TO PROFESSIONAL ORGANIZATIONS
1981 - 1982      The Occidental                                                News Editor
1984 - 1985      Yale University School of Medicine                            Class President
1989 - 1991      Kaposi's Sarcoma Group, AIDS Project Los Angeles              Volunteer
                                                                               Facilitator




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1992 - 1996     Early Career Psychiatrist Committee, Association of Gay Chair and
                Lesbian Psychiatrists
1992 - 1996   Board of Directors, Association of Gay and Lesbian           Member
               Psychiatrists
1993 - 1993 Local Arrangements Committee, Association of Gay and           Chair Lesbian
     Psychiatrists
1994 - 1995 Educational Program, Association of Gay and Lesbian            Director Psychiatrists,
     1995 Annual Meeting
1994 - 1998     Board of Directors, BAY Positives                           Member
1994 - present Committee on Lesbian, Gay, Bisexual and Transgender         Member
                Issues, Northern California Psychiatric Society
1995 - 1997   Board of Directors, Bay Area Young Positives. BAY            President
               Positives is the nation's first community-based
               organization providing psychosocial and recreational
               services to HIV-positive youth
1995 - 1997   Executive Committee, Bay Area Young Positives.       Chair
1996 - 2004   Committee on Lesbian, Gay, Bisexual and Transgender          Chair
               Issues, Northern California Psychiatric Society
1998 - 2002     City of San Francisco Human Rights Commission,              Member
                Lesbian, Gay Bisexual Transgender Advisory Committee
2000 - 2004     Association of Gay and Lesbian Psychiatrists.      Vice President Responsible
                for the organization's educational programs
2004 - 2005   Association of Gay and Lesbian Psychiatrists         President-elect
2005 - 2007   Caucus of Lesbian, Gay, and Bisexual Psychiatrists of the Chair
               American Psychiatric Association
2005 - 2007     Association of Gay and Lesbian Psychiatrists                President
2007 - 2009    Association of Gay and Lesbian Psychiatrists                 Immediate Past
                                                                            President
2009 - 2010   Consensus Committee for Revision of the Sexual and       Member
               Gender Identity Disorders for DSM-V, GID of Adults
               subcommittee. (Wrote WPATH recommendations as
               advisory body to the APA DSM V Committee for the
               Sexual and Gender Identity Disorders chapter revision.)
2010 - 2011   Scientific Committee, 2011 WPATH Biennial Symposium, Member Atlanta
2010 - present World Professional Association for Transgender Care          Member
                Standards of Care Workgroup and Committee (writing
                next revision of the WPATH Standards of Care, which is
                used internationally for transgender care.)
2010 - 2018    ICD 11 Advisory Committee, World Professional                Member
               Association for Transgender Health


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2012 - 2014     Psychiatry and Diagnosis Track Co-chair, Scientific      Member Committee,
                2014 WPATH Biennial Symposium, Bangkok
2014 - 2016     Scientific Committee, 2016 WPATH Biennial Symposium, Member Amsterdam
2014 - 2018     Board of Directors (elected to 4 year term), World        Member
                Professional Association for Transgender Health
2014 - 2018     Public Policy Committee, World Professional Association Chair for
                Transgender Health
2014 - 2018     WPATH Global Education Initiative: Training providers Trainer and and
                specialty certification in transgender health    Steering
                                                                          Committee
                                                                          Member
2014 - 2016     American Psychiatric Association Workgroup on Gender Member Dysphoria
2016 - present American Psychiatric Association Workgroup on Gender Chair Dysphoria
2016            USPATH: Inaugural WPATH U.S. Conference, Los              Conference Chair
                Angeles, 2017

SERVICE TO PROFESSIONAL PUBLICATIONS
2011 - present Journal of Sexual Medicine, reviewer
2014 - present International Journal of Transgenderism, reviewer
2016 - present LGBT Health, reviewer

INVITED PRESENTATIONS - INTERNATIONAL
2009            World Professional Association for Transgender Health,    Plenary Session
                Oslo, Norway                                              Speaker
2009            World Professional Association for Transgender Health,    Symposium
                Oslo, Norway                                              Speaker
2009            Karolinska Institutet, Stockholm Sweden                   Invited Lecturer
2012            Cuban National Center for Sex Education (CENESEX),       Invited Speaker
                Havana, Cuba
2013            Swedish Gender Clinics Annual Meeting, Stockholm,        Keynote Speaker
                Sweden
2013            Conference on International Issues in Transgender care, Expert Consultant
                United Nations Development Programme - The Lancet, Beijing, China
2014            World Professional Association for Transgender Health, Track Chair
                Bangkok, Thailand
2014            World Professional Association for Transgender Health, Invited Speaker
                Bangkok, Thailand
2014            World Professional Association for Transgender Health, Invited Speaker
                Bangkok, Thailand



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2015          European Professional Association for Transgender         Invited Speaker
              Health, Ghent, Belgium
2015          European Professional Association for Transgender          Symposium Chair
              Health, Ghent, Belgium
2015          Israeli Center for Human Sexuality and Gender Identity, Invited Speaker Tel
              Aviv
2016          World Professional Association for Transgender Health, Symposium Chair
              Amsterdam
2016          World Professional Association for Transgender Health, Invited Speaker
              Amsterdam
2016          World Professional Association for Transgender Health,     Invited Speaker
              Amsterdam

2018          Brazil Professional Association for Transgender Health,   Sao
              Paulo
2018          World Professional Association for Transgender Health, Invited Speaker
              Buenos Aires

INVITED PRESENTATIONS - NATIONAL
1990          Being Alive Medical Update, Century Cable Television       Televised Lecturer
1992   Institute on Hospital and Community Psychiatry, Toronto Symposium Speaker
1992          Academy of Psychosomatic Medicine Annual Meeting,          Symposium
              San Diego                                                  Speaker
1994          American Psychiatric Association 150th Annual Meeting, Workshop Chair
              Philadelphia
1994          American Psychiatric Association 150th Annual Meeting, Workshop Speaker
              Philadelphia
1994          American Psychiatric Association 150th Annual Meeting, Paper Session Co-
              Philadelphia                                            chair
1995          Spring Meeting of the Association of Gay and Lesbian      Symposium Chair
              Psychiatrists, Miami Beach
1996          American Psychiatric Association 152nd Annual Meeting, Workshop Speaker
              New York
1997          American Psychiatric Association Annual Meeting, San      Workshop Speaker
              Diego
1997          Gay and Lesbian Medical Association Annual       Invited Speaker Symposium
1998          American Psychiatric Association Annual Meeting,          Workshop Chair
              Toronto
1998          American Psychiatric Association Annual Meeting,           Workshop Chair
              Toronto


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1998        American Psychiatric Association Annual Meeting,         Media Session
            Toronto                                                  Chair
1998        American Psychiatric Association Annual Meeting,       Media Session
            Toronto                                                 Chair
1999        American Psychiatric Association Annual Meeting,       Symposium Chair
            Washington, D.C.
1999        American Psychiatric Association Annual Meeting,         Symposium
            Washington, D.C.                                         Presenter
1999        American Psychiatric Association Annual Meeting,       Workshop Chair
            Washington, D.C.
2000        American Psychiatric Association Annual Meeting,       Workshop Chair
            Chicago
2000        National Youth Leadership Forum On Medicine, Invited Speaker
            University of California, Berkeley
2001        American Psychiatric Association Annual Meeting, New Workshop Chair
            Orleans
2001        American Psychiatric Association Annual Meeting, New     Media Program
            Orleans                                                  Chair
2001        Association of Gay and Lesbian Psychiatrists             Chair
            Symposium, New Orleans
2001        Harry Benjamin International Gender Dysphoria Invited Speaker
            Association Biennial Meeting, Galveston, Texas
2002        American Psychiatric Association Annual Meeting,       Media Program
            Philadelphia                                            Chair
2002        American Psychiatric Association Annual Meeting,         Workshop Chair
            Philadelphia
2002        American Psychiatric Association Annual Meeting,       Workshop Chair
            Philadelphia
2003        Association of Gay and Lesbian Psychiatrists CME       Chair Conference
2003        American Psychiatric Association Annual Meeting, San     Symposium Chair
            Francisco
2003        American Psychiatric Association Annual Meeting, San     Symposium Co-
            Francisco                                                Chair
2003        American Psychiatric Association Annual Meeting, San   Workshop Chair
            Francisco
2003        American Public Health Association Annual Meeting, San Invited Speaker
            Francisco
2004        Mission Mental Health Clinic Clinical Conference Invited Speaker
2004        Association of Gay and Lesbian Psychiatrists             Co-Chair


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            Conference, New York
2004        Mental Health Care Provider Education Program: Los      Invited Speaker
            Angeles. Sponsored by the American Psychiatric
            Association Office of HIV Psychiatry
2005        American Psychiatric Association Annual Meeting,        Workshop Speaker
            Atlanta
2005        Association of Gay and Lesbian Psychiatrists Saturday   Invited Speaker
            Symposium
2008        Society for the Study of Psychiatry and Culture, San    Invited Speaker
            Francisco
2009        American Psychiatric Association Annual Meeting, San    Symposium
            Francisco                                                Speaker
2011        National Transgender Health Summit, San Francisco        Invited Speaker
2011        National Transgender Health Summit, San Francisco        Invited Speaker
2011        American Psychiatric Association Annual Meeting,         Symposium Chair
            Honolulu, HI
2011        American Psychiatric Association Annual Meeting,         Symposium
            Honolulu, HI                                             Speaker
2011        World Professional Association for Transgender Health   Invited Speaker
            Biennial Conference, Atlanta, GA
2011        World Professional Association for Transgender Health   Invited Speaker
            Biennial Conference, Atlanta, GA




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                                                                       Invited Speaker



2011        World Professional Association for Transgender Health
            Biennial Conference, Atlanta, GA
2011        Institute on Psychiatric Services, San Francisco   Invited Speaker
2012        Gay and Lesbian Medical Association Annual Meeting        Invited Speaker
2013        National Transgender Health Summit, Oakland, CA           Invited Speaker
2013        National Transgender Health Summit, Oakland, CA            Invited Speaker
2013        National Transgender Health Summit, Oakland, CA            Invited Speaker
2013        American Psychiatric Association Annual Meeting, San      Invited Speaker
            Francisco
2013        Gay and Lesbian Medical Association, Denver, CO           Invited Speaker
2014        American Psychiatric Association Annual Meeting, New Invited Speaker York
2014        Institute on Psychiatric Services, San Francisco           Moderator
2014        Institute on Psychiatric Services, San Francisco           Invited Speaker
2014        Institute on Psychiatric Services, San Francisco   Invited Speaker
2015        National Transgender Health Summit, Oakland, CA           Invited Speaker
2015        National Transgender Health Summit, Oakland, CA            Invited Speaker
2015        American Psychiatric Association Annual Meeting,           Workshop Speaker
            Toronto
2015        American Psychiatric Association Annual Meeting,          Course Faculty
            Toronto
2016        American Psychiatric Association Annual Meeting           Course Faculty
2016        World Professional Association for Transgender Health      Course Faculty
            Global Education Initiative, Atlanta
2016        World Professional Association for Transgender Health      Course Faculty
            Global Education Initiative, Springfield, MO




2016        World Professional Association for Transgender Health     Course Faculty
            Global Education Initiative, Fort Lauderdale, FL

2017        World Professional Association for Transgender Health,
            GEI, Los Angeles Course Faculty

            World Professional Association for Transgender Health


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            Surgeon’s Training, Irvine, CA Course Faculty




2017      American Urological Association Annual Meeting, San Francisco CA
                                                                Invited Speaker

2018      World Professional Association for Transgender Health GEI, Portland OR,
          Course Faculty

2018      World Professional Association for Transgender Health GEI, Palm Springs,
          Course Faculty

2018      American Society for Adolescent Psychiatry Annual Meeting, San Francisco,
          Speaker

2018      American Psychiatric Association Annual Meeting, San Francisco, Session
          Chair

INVITED PRESENTATIONS - REGIONAL AND OTHER INVITED PRESENTATIONS
1990        Advanced Group Therapy Seminar, UCLA               Invited Lecturer
            Neuropsychiatric Institute
1991        Joint Project of the Southern California AIDS Interfaith   Symposium
            Council and UCLA School of Medicine                          Speaker
1991        Joint Project of the Southern California AIDS Interfaith   Workshop Panelist
            Council and UCLA School of Medicine
1992        Advanced Group Therapy Seminar, UCLA               Invited Lecturer
            Neuropsychiatric Institute
1993        UCSF School of Nursing      Invited Lecturer
1995        UCSF/SFGH Department of Medicine Clinical Care             Invited Speaker
            Conference
1996        UCSF School of Nursing      Invited Speaker
1996        Psychopharmacology for the Primary Care AIDS/Clinician, Invited Lecturer
            series of four lectures, UCSF Department of Medicine
1996        UCSF AIDS Health Project Psychotherapy Internship
            Training Program
1996        UCSF/SFGH Department of Medicine AIDS Quarterly            Invited Speaker
            Update
1996        San Francisco General Hospital, Division of Addiction      Invited Speaker
            Medicine




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                                                                       Invited Speaker
1996        UCSF Langley Porter Psychiatric Hospital and Clinics     Invited Speaker Grand
            Rounds
1997        UCSF School of Nursing     Invited Speaker
1997        UCSF Department of Medicine AIDS Program                    Invited Speaker
1997        Northern California Psychiatric Society Annual Meeting, Workshop Speaker
            Monterey
1997        San Francisco General Hospital Department of Psychiatry Invited Speaker
            Grand Rounds
1997        San Francisco General Hospital Department of Psychiatry Invited Speaker
            Grand Rounds
1997        Northern California Psychiatric Society LGBT Committee Chair Fall
            Symposium
1997        Progress Foundation, San Francisco        Invited Speaker
1998        San Francisco General Hospital Department of Psychiatry Invited Speaker
            Grand Rounds
1999        Northern California Psychiatric Society Annual Meeting, Invited Speaker
            Santa Rosa
1999        Northern California Psychiatric Society Annual Meeting, Invited Speaker
            Santa Rosa
1999        University of California, Davis, Department of Psychiatry Invited Speaker Grand
            Rounds
1999        California Pacific Medical Center Department of   Invited Speaker Psychiatry
            Grand Rounds
1999        San Francisco General Hospital Department of Psychiatry Discussant
            Departmental Case Conference
2000        Langley Porter Psychiatric Hospital and Clinics   Invited Speaker
            Consultation Liaison Seminar
2000        San Francisco General Hospital, Psychopharmacology       Invited Speaker
            Seminar
2000        UCSF Transgender Health Conference, Laurel Heights       Invited Speaker
            Conference Center
2000        Psychiatry Course for UCSF Second Year Medical              Invited Lecturer
            Students
2000        Community Consortium Treatment Update Symposium,            Invited Speaker
            California Pacific Medical Center, Davies Campus
2000        San Francisco General Hospital Department of Psychiatry Invited Speaker
            Grand Rounds



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2001        Psychiatry Course for UCSF Second Year Medical           Invited Lecturer
            Students
2003        Tom Waddell Health Center Inservice                        Invited Speaker
2003        San Francisco Veterans Affairs Outpatient Clinic Invited Speaker
2004        San Francisco General Hospital Psychiatric Emergency Invited Speaker
            Service Clinical Conference
2004        South of Market Mental Health Clinic, San Francisco      Invited Speaker
2005        Northern Psychiatric Psychiatric Society Annual Meeting Invited Speaker
2005        Equality and Parity: A Statewide Action for Transgender Invited Speaker HIV
            Prevention and Care, San Francisco
2005        San Francisco General Hospital Department of Psychiatry Invited Speaker
            Grand Rounds.
2006        SFGH/UCSF Department of Psychiatry Grand Rounds          Invited Speaker
2007        UCSF Department of Medicine, HIV/AIDS Grand Rounds, Invited Speaker
            Positive Health Program
2007        California Pacific Medical Center LGBT Health     Invited Speaker Symposium,
            San Francisco LGBT Community Center
2007        UCSF CME Conference, Medical Management of               Invited Speaker
            HIV/AIDS, Fairmont Hotel, San Francisco
2008        UCSF Department of Medicine, Positive Health Program, Invited Speaker
            HIV/AIDS Grand Rounds
2008        San Francisco General Hospital Psychiatry Grand Rounds Invited Speaker
2008        UCSF CME Conference, Medical Management of                 Invited Speaker
            HIV/AIDS, Fairmont Hotel, San Francisco
2010        Northern California Psychiatric Society Annual Meeting, Invited Speaker
            Monterey, CA
2011        Transgender Mental Health Care Across the Life Span,     Invited Speaker
            Stanford University
2011        San Francisco General Hospital Department of Psychiatry Invited Speaker
            Grand Rounds
2012        UCSF AIDS Health Project           Invited Speaker 2012 San Francisco
            Veterans Affairs Medical Center.
2013        Association of Family and Conciliation Courts Conference, Invited Speaker Los
            Angeles, CA
2014        UCSF Transgender Health elective         Invited Speaker
2014        UCSF Department of Psychiatry Grand Rounds                 Invited Speaker
2014        California Pacific Medical Center Department of   Invited Speaker Psychaitry
            Grand Rounds


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                                                                         Invited Speaker
2014           UCLA Semel Institute Department of Psychiatry Grand     Invited Speaker
               Rounds
2015           UCSF Transgender Health elective          Invited Speaker
2015           Fenway Health Center Boston, MA (webinar)                   Invited Speaker
2015           Transgender Health Symposium, Palm Springs                  Invited Speaker
2015           Transgender Health Symposium, Palm Springs                  Co-Chair
2015           Santa Clara Valley Medical Center Grand Rounds          Invited Speaker
2016           UCSF School of Medicine Transgender Health elective     Invited Speaker
 2016   Langley Porter Psychiatric Institute APC Case Conference Invited Speaker (2 session
                                                                                     series)
2016           Zuckerberg San Francisco General Department of          Invited Speaker
               Psychiatry Grand Rounds
2016           UCSF Mini-Medical School Lectures to the Public             Invited Speaker

CONTINUING EDUCATION AND PROFESSIONAL DEVELOPMENT ACTIVITIES
2005           Northern California Psychiatric Society
2005           Northern California Psychiatric Society Annual Meeting, Napa
2005           Association of Gay and Lesbian Psychiatrist Annual Conference
2006           Annual Meeting, American Psychiatric Association, Atlanta
2006           Annual Meeting, American Psychiatric Association, Toronto
2006           Institute on Psychiatric Services, New York
2007           Association of Gay and Lesbian Psychiatrists Annual Conference
2007           American Psychiatric Association Annual Meeting, San Diego
2007           The Medical Management of HIV/AIDS, a UCSF CME Conference
2008           Society for the Study of Psychiatry and Culture, San Francisco
2009           American Psychiatric Association, San Francisco
2009           World Professional Association for Transgender Health, Oslo, Norway
2010           Annual Meeting of the Northern California Psychiatric Society, Monterey, CA
2011           Transgender Mental Health Care Across the Life Span, Stanford University
2011           National Transgender Health Summit, San Francisco
2011           American Psychiatric Association Annual Meeting, Honolulu, HI
2011           World Professional Association for Transgender Health Biennial Conference,
               Atlanta, GA



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2011            Institute on Psychiatric Services, San Francisco
2012            Gay and Lesbian Medical Association Annual Meeting, San Francisco
2013            National Transgender Health Summit, Oakland, CA
2013            American Psychiatric Association Annual Meeting, San Francisco
2013            Gay and Lesbian Medical Association, Denver, CO
2014            American Psychiatric Association Annual Meeting, New York
2014            Institute on Psychiatric Services, San Francisco
2015            European Professional Association for Transgender Health, Ghent, Belgium
2015            National Transgender Health Summit, Oakland
2015            American Psychiatric Association Annual Meeting, Toronto
2016            American Psychiatric Association Annual Meeting, Atlanta
2016            World Professional Association for Transgender Health, Amsterdam


GOVERNMENT AND OTHER PROFESSIONAL SERVICE
1998 - 2002     City and County of San Francisco Human Rights Member Commission LGBT
                Advisory Committee

SERVICE ACTIVITIES SUMMARY
My current service work focuses on developing transgender care at UCSF, nationally, and
internationally.

I worked with urologist Maurice Garcia, MD on developing protocols as well as outcome
measures for the UCSF Transgender Surgery Program at UCSF Medical Center. I am on the
Medical Advisory Board of the UCSF Center of Excellence for Transgender Care, and have
cowritten the mental health section of the original Primary Care Protocols and the new
revision. I have chaired the Mental Health Track of UCSF’s National Transgender Health
Summit since its inception in 2011. I am a founder and co-chair of the Gender Team at the
UCSF Alliance Health Project. I helped develop, and participated as a trainer, in the San
Francisco
Department of Public Health provider training program for care of transgender patients and for
mental health assessments for surgery, and have worked in program development for the
SFDPH Transgender Health Services surgery program.




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I am the chair of the American Psychiatric Association Workgroup on Gender Dysphoria, which
developed a CME course fort the 2015 and 2016 APA Annual Meetings, and is now
embarking on a larger educational mission to train American psychiatrists to better care for
transgender patients. I have been leading education efforts in transgender health at APA
meetings since 1998. On the APA Workgroup on Gender Dysphoria, I am a co-author of a
paper of transgender issues that has been approved by the American Psychiatric Association
as a resource document and is in press for the American Journal of Psychiatry. I am also the
sole author of the chapter on transgender care in the American Psychiatric Press’s Clinical
Manual of Cultural Psychiatry, Second Edition.

I am active internationally in transgender health through my work as a member of the Board of
Directors of the World Professional Association for Transgender Health. I am an author of the
WPATH Standards of Care, Version 7, and am Chapter Lead for the Mental Health Chapter of
SOC 8. I chaired of the WPATH Public Policy Committee and was a member of the Global
Education Initiative, which developed a specialty certification program in transgender health. I
helped plan the 2016 WPATH Amsterdam conference, and was on the scientific committee for
the last four biennial international conferences. I was on the founding committee of USPATH,
the national affiliate of WPATH, and I chaired the inaugural USPATH conference, in Los
Angeles in 2017. As a member of the steering committee of the WPATH Global Educational
Initiative, I helped train over 1000 health providers in transgender health, and helped develop a
board certification program and examination in transgender health.

UNIVERSITY SERVICE UC SYSTEM AND MULTI-CAMPUS SERVICE
1991 - present HIV/AIDS Task Force           Member
1992 - 1993   HIV Research Group Member
1992 - 1997     Space Committee                                                Member
1992 - present Gay, Lesbian and Bisexual Issues Task Force                     Member
1994 - 1997     SFGH Residency Training Committee                              Member
1996 - 1997     Domestic Partners Benefits Subcommittee.                       Chair
1996 - 2000     Chancellor's Advisory Committee on Gay, Lesbian,           Member Bisexual
                and Transgender Issues.
1996 - 2003     HIV/AIDS Task Force                                            Co-Chair
1996 - 2003     Cultural Competence and Diversity Program                      Member
2009 - present Medical Advisory Board, UCSF Center of Excellence for       Member
     Transgender Health
2010 - present Steering Committee, Child Adolescent Gender Center          Member
2011 - present Mental Health Track, National Transgender Health Summit Chair

DEPARTMENTAL SERVICE
1991 - present San Francisco General Hospital, Department of Psychiatry, Member
     HIV/AIDS Task Force




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1992 - 1993 San Francisco General Hospital, Department of Psychiatry, Member HIV
     Research Group
1992 - 1997    San Francisco General Hospital, Department of Psychiatry, Member Space
               Committee
1992 - 2003    San Francisco General Hospital, Department of Psychiatry, Member GLBT
               Issues Task Force
1994 - 1997    San Francisco General Hospital, Department of Psychiatry, Member
               Residency Training Committee
1996 - 2003    San Francisco General Hospital, Department of Psychiatry, Member Cultural
               Competence and Diversity Program
1996 - 2003    San Francisco General Hospital, Department of Psychiatry, Co-Chair
               HIV/AIDS Task Force
2012 - present San Francisco Department of Public Health Gender         Member
     Competence Trainings Committee
2013 - present San Francisco Department of Public Health Transgender Member Health
     Implementation Task Force
2014 - present San Francisco General Hospital, Department of Psychiatry, Member
     Transgender Surgery Planning Workgroup

PEER REVIEWED PUBLICATIONS
1. Berliner JA, Frank HJL, Karasic D, Capdeville M. Lipoprotein-induced insulin resistance
   in aortic endothelium. Diabetes. 1984; 33:1039-44.
2. Bradberry CW, Karasic DH, Deutch AY, Roth RH. Regionally-specific alterations in
   mesotelencephalic dopamine synthesis in diabetic rats: association with precursor
   tyrosine. Journal of Neural Transmission. General Section, 1989; 78:221-9.
3. Targ EF, Karasic DH, Bystritsky A, Diefenbach PN, Anderson DA, Fawzy FI. Structured
   group therapy and fluoxetine to treat depression in HIV-positive persons.
   Psychosomatics. 1994; 35:132-7.
4. Karasic DH. Homophobia and self-destructive behaviors. The Northern California
   Psychiatric Physician. 1996; 37 Nov.-Dec. Reprinted by the Washington State Psychiatric
   Society and the Southern California Psychiatric Society newsletters.
5. Karasic D. Anxiety and anxiety disorders. Focus. 1996 Nov; 11(12):5-6. PMID: 12206111
6. Polansky JS, Karasic DH, Speier PL, Hastik KL, Haller E. Homophobia: Therapeutic and
   training considerations for psychiatry. Journal of the Gay and Lesbian Medical
   Association. 1997 1(1) 41-47.
7. Karasic DH. Progress in health care for transgendered people. Editorial. Journal of the
   Gay and Lesbian Medical Association, 4(4) 2000 157-8.
8. Perry S, Karasic D. Depression, adherence to HAART, and survival. Focus: A Guide to
   AIDS Research and Counseling. 2002 17(9) 5-6.




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9. Fraser L, Karasic DH, Meyer WJ, Wylie, K. Recommendations for Revision of the DSM
   Diagnosis of Gender Identity Disorder in Adults. International Journal of Transgenderism.
   Volume 12, Issue 2. 2010, Pages 80-85.
10. Coleman, E., Bockting, W., Botzer, M., Cohen-Kettenis, P., DeCuypere, G., Feldman, J.,
    Fraser, L., Green, J., Knudson, G., Meyer, W., Monstrey, S., Karasic D and 22 others.
  (2011). Standards of Care for the Health of Transsexual, Transgender, and Gender
  Nonconforming People, 7th Version. International Journal of Transgenderism, 13:165-232,
  2011
11. Tsai AC, Karasic DH, et al. Directly Observed Antidepressant Medication Treatment and
    HIV Outcomes Among Homeless and Marginally Housed HIV-Positive Adults: A
  Randomized Controlled Trial. American Journal of Public Health. February 2013, Vol. 103,
   No. 2, pp. 308-315.
12. Tsai AC, Mimmiaga MJ, Dilley JW, Hammer GP, Karasic DH, Charlebois ED, Sorenson
    JL, Safren SA, Bangsberg DR. Does Effective Depression Treatment Alone Reduce
    Secondary HIV Transmission Risk? Equivocal Findings from a Randomized Controlled
    Trial. AIDS and Behavior, October 2013, Volume 17, Issue 8, pp 2765-2772.
13. Karasic DH. Protecting Transgender Rights Promotes Transgender Health. LGBT Health.
    2016 Aug; 3(4):245-7. PMID: 27458863
14. Winter S, Diamond M, Green J, Karasic D, Reed T, Whittle S, Wylie K. Transgender
    people: health at the margins of society. Lancet. 2016 Jul 23;388(10042):390-400. doi:
    10.1016/S0140-6736(16)00683-8. Review./> PMID: 27323925
15. Grelotti DJ, Hammer GP, Dilley JW, Karasic DH, Sorensen JL, Bangsberg DR, Tsai AC.
    Does substance use compromise depression treatment in persons with HIV? Findings
    from a randomized controlled trial. AIDS Care. 2016 Sep 2:1-7. [Epub ahead of print]/>
    PMID: 27590273
16. Strang JF, Meagher H, Kenworthy L, de Vries AL, Menvielle E, Leibowitz S, Janssen A,
    Cohen-Kettenis P, Shumer DE, Edwards-Leeper L, Pleak RR, Spack N, Karasic DH,
    Schreier H, Balleur A, Tishelman A, Ehrensaft D, Rodnan L, Kuschner ES, Mandel F,
    Caretto A, Lewis HC, Anthony LG.
  Initial Clinical Guidelines for Co-Occurring Autism Spectrum Disorder and Gender
  Dysphoria or Incongruence in Adolescents. J Clin Child Adolesc Psychol. 2016 Oct 24:1-
  11. [Epub ahead of print]/> PMID: 27775428
17. Milrod C, Karasic DH. Age Is Just a Number: WPATH-Affiliated Surgeons' Experiences
    and Attitudes Toward Vaginoplasty in Transgender Females Under 18 Years of Age in the
    United States. J Sex Med 2017;14:624–634.
18. Karasic, DH & Fraser, L Multidisciplinary Care and the Standards of Care for Transgender and
   Gender Non-conforming Individuals. Schechter, L & Safa, B. (Eds.) Gender Confirmation Surgery,
   Clinics in Plastic Surgery Special Issue, Vol 45, Issue 3, pp 295-299. 2018
   Elsevier,Philadelphia. https://doi.org/10.1016/j.cps.2018.03.016
19. Milrod C, Monto M, Karasic DH. Recommending or Rejecting "the Dimple":
    WPATHAffiliated Medical Professionals' Experiences and Attitudes Toward Gender-
    Confirming Vulvoplasty in Transgender Women. J Sex Med. 2019 Apr;16(4):586-595. doi:
    10.1016/j.jsxm.2019.01.316. Epub 2019 Mar 2.




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BOOKS AND CHAPTERS
 1. Karasic DH, Dilley JW. Anxiety and depression: Mood and HIV disease. In: The UCSF
    AIDS Health Project Guide to Counseling: Perspectives on Psychotherapy, Prevention,
    and Therapeutic Practice. Dilley JW and Marks R, eds. Jossey-Bass. San Francisco,
    1998, pp.227-248.
 2. Karasic DH, Dilley JW. Human immunodeficiency-associated psychiatric disorders. In:
    The AIDS Knowledge Base, Third Edition. Cohen PT, Sande MA, Volberding PA, eds.
    Lippincott-Williams &Wilkens, Philadelphia, 1999, pp. 577-584.
 3. Karasic DH and Drescher J. eds. Sexual and Gender Diagnoses of the Diagnostic and
    Statistical Manual (DSM): A Reevaluation. 2005. Haworth Press, Binghamton, NY. (Book
    Co-Editor)
 4. Karasic DH. Transgender and Gender Nonconforming Patients. In: Clinical Manual of
    Cultural Psychiatry, Second Edition. Lim RF ed. pp 397-410. American Psychiatric
    Publishing, Arlington VA. 2015.
 5. Karasic DH. Mental Health Care of the Transgender Patient. In: Comprehensive Care of
    the Transgender Patient, Ferrando CA ed. pp. 8-11. Elsevier, 2019.
 6. Karasic DH. The Mental Health Assessment for Surgery. In: Gender Confirmation
    Surgery – Principles and Techniques for an Emerging Field. Schechter L ed. Springer
    Nature, in press 2019.



OTHER PUBLICATIONS
 1. Karasic DH, Dilley JW. HIV-associated psychiatric disorders: Treatment issues. In:
    Cohen P, Sande MA, Volberding P, eds., The AIDS Knowledge Base. Waltham, MA: The
    Medical Publishing Group/ Massachusetts Medical Society. 1994. pp. 5.31-1-5.
 2. Karasic DH, Dilley JW. HIV-associated psychiatric disorders: Clinical syndromes and
    diagnosis. In: Cohen P, Sande MA, Volberding P, eds., The AIDS Knowledge Base,
    Second Edition. Waltham, MA: The Medical Publishing Group/Massachusetts Medical
    Society. 1994 pp. 5.30-1-5.
 3. Karasic DH. A primer on transgender care. In: Gender and sexuality. The Carlat Report
    Psychiatry. April 2012. Vol 10, Issue 4.
 4. Karasic D and Ehrensaft D. We must put an end to gender conversion therapy for kids.
    Wired. 7/6/15.




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EXPERT WITNESS AND CONSULTATION ON TRANSGENDER CARE AND RIGHTS


2008 Consultant, California Department of State Hospitals

2012 Dugan v. Lake, Logan UT

2012 XY v. Ontario http://www.canlii.org/en/on/onhrt/doc/2012/2012hrto726/2012hrto726.html

2014 Cabading v California Baptist University

2014 CF v. Alberta
      http://www.canlii.org/en/ab/abqb/doc/2014/2014abqb237/2014abqb237.html

2017 United Nations Development Programme consultant, transgender health care and legal
      rights in the Republic of Vietnam; Hanoi.

2017- Forsberg v Saskatchewan; Saskatchewan Human Rights v Saskatchewan
2018 https://canliiconnects.org/en/summaries/54130
       https://canliiconnects.org/en/cases/2018skqb159

2018 United Nations Development Programme consultant, transgender legal rights in
      Southeast Asia; Bangkok.

2018   Consultant, California Department of State Hospitals

2019, 2021 Consultant/Expert, Disability Rights Washington

2019, 2021 Consultant/Expert, ACLU Washington

2021 Consultant, California Department of Corrections and Rehabilitation




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              Exhibit 27(c)




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https://doi.org/10.1001/jamasurg.2021.0952
American Academy of Child and Adolescent Psychiatry (2019). AACAP Statement Responding
to Efforts to ban Evidence-Based Care for Transgender and Gender Diverse Youth.
https://www.aacap.org/AACAP/Latest_News/AACAP_Statement_Responding_to_Efforts-
to_ban_Evidence-Based_Care_for_Transgender_and_Gender_Diverse.aspx
American College of Obstetricians and Gynecologists. (2021). Committee Opinion No. 823:
Health Care for Transgender and Gender Diverse Individuals.
https://www.acog.org/clinical/clinical-guidance/committee-opinion/articles/2021/03/health-care-
for-transgender-and-gender-diverse-individuals
American Medical Association and GLMA (2019). Health Insurance Coverage for Gender-
Affirming Care of Transgender Patients. https://www.ama-assn.org/system/files/2019-
03/transgender-coverage-issue-brief.pdf
American Psychiatric Association. (2013). Diagnostic and Statistical Manual of Mental
Disorders (5th ed.). Arlington, VA: American Psychiatric Publishing.
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Efforts. https://www.apa.org/about/policy/resolution-gender-identity-change-efforts.pdf
American Psychological Association. (2015). Guidelines for psychological practice with
transgender and gender nonconforming people. American Psychologist, 70, 832-864.
Bustos, V. P., Bustos, S. S., Mascaro, A., Del Corral, G., Forte, A. J., Ciudad, P., Kim, E. A.,
Langstein, H. N., & Manrique, O. J. (2021). Regret after Gender-affirmation Surgery: A
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1                 IN THE UNITED STATES DISTRICT COURT

2            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

3

4

5

6

7            CIVIL ACTION NO.:               1:19-cv-272-LCB-LPA

8

9            MAXWELL KADEL, et al.

10                        Plaintiffs

11

12           v.

13

14           DALE FOLWELL, et al.

15                        Defendants

16

17

18                REMOTE VIDEOTAPED VIDEOCONFERENCE

19                        DEPOSITION TESTIMONY OF:

20                           PATRICK LAPPERT, M.D.

21                               September 30, 2021

22

23



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15                             operation 'utterly

16                             unacceptable' and a form of

17                           'child abuse',

18                             LifeSiteNews.com

19

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21

22

23



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1            risk but also the potential benefits.

2            And the potential benefits have to be

3            very high.           The higher the risk is, the

4            higher the benefit has to be.                         And that's

5            kind of a general principle of the

6            medical care.             You know, before all else,

7            do no harm.           That's what informs all

8            medical care, and I would hope that's

9            what informs the FDA policy, whatever

10           that may be.

11                 Q.      Okay.       Well, let's look at the

12           policy.

13                 A.      Okay.

14                 Q.      I'm going to introduce another

15           exhibit.         Okay.       This is going to be

16           Exhibit 11.           Let me know when you have

17           it.

18           (Exhibit 11 was marked for identification

19           and is attached.)

20                 A.      Okay.

21                 Q.      Have you ever seen this document

22           before?

23                 A.      I have not.



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1                 Q.      Do you know what the Federal

2            Register is?

3                 A.      It's a -- it's a federal list of

4            regulations pertaining to things like

5            this.

6                 Q.      Yeah.        It's the

7            official publication --

8                 A.      Federal code.

9                 Q.      -- of federal rules, proposed

10           rules, and notices for federal agencies;

11           right?

12                A.      Yeah.        Right.

13                Q.      I see this is dated at the top

14           November 18, 1994.                 See that?

15                A.      Yes.

16                Q.      Page 1, middle column, see it

17           says, "Agency: Food and Drug

18           Administration, HHS"?

19                A.      Let's see.            "Agency: Food and

20           Drug Administration, HHS."                       Yes.

21                Q.      It says, "Action."                  It says,

22           "Notice; request for comments."                           Do you

23           see that?



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1                 A.      Yes.

2                 Q.      All right.            Go to page 2.

3                 A.      Okay.

4                 Q.      In the column all the way to the

5            right, you see there's a section II, and

6            it's titled, "FDA Policy on Promotion of

7            Unapproved Uses."                Do you see that?

8                 A.      I do.

9                 Q.      All right.            The first paragraph

10           says, "Over a decade ago, the FDA Drug

11           Bulletin informed the medical community

12           that 'once a [drug] product had been

13           approved for marketing, a physician may

14           prescribe it for uses or in treatment

15           regimens of patient populations that are

16           not included in approved labeling.'"                             Do

17           you see that?

18                A.      I do.

19                Q.      What do you understand that to

20           mean?

21                A.      That --

22                        MR. KNEPPER:             Objection.

23                A.      I apply that to mean that --



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1            that the -- that the FDA does not -- does

2            not intend to weigh in on off-label use,

3            you know, without restriction, I guess.

4            The sense I get of it is that they're --

5            they're declining to prohibit the

6            off-label use in -- in other patients at

7            this time, I would -- I would guess.                              I

8            suppose that if they started to see

9            complications, they might weigh in.                              This

10           has been the history, for example, with

11           nausea medicines and things like that

12           that created problems after use.

13                Q.      At that time at least, the FDA

14           was telling the medical community that

15           doctors may prescribe drugs for uses

16           outside of FDA-approved indications;

17           correct?

18                A.      Yes.      I would say that --

19                        MR. KNEPPER:            Objection, form.

20                A.      -- in 1994, the FDA declined to

21           -- to -- I don't know what they've done

22           subsequently.            I -- but -- but in 1994,

23           they -- they -- off-label use was not



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1            prohibited.

2                 Q.      Well, actually --

3                 A.      They finally --

4                 Q.      Sorry, finish.

5                 A.      No, go ahead.

6                 Q.      Well, you see this actually

7            says, "The publication further stated,"

8            and then there's a quote.                     And after the

9            quote, there's a Footnote 4.

10                        Before we get to that, do you

11           see it says -- it cites to the FDA Drug

12           Bulletin from 1982.

13                A.      Right.

14                Q.      Right?

15                A.      Right.

16                Q.      So that original guidance came

17           from a 1982 FDA position; right?

18                A.      Right.

19                        MR. KNEPPER:            Objection, form.

20                Q.      And you say that you read this

21           and you don't think that the FDA has

22           taken a position, but let's see what else

23           that quote says.              You see the quoted



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1            language starting with "The publication

2            further stated"?              Do you see that?

3                 A.      That starts with the word

4            "unapproved"?

5                 Q.      Yeah.       It says, "'unapproved'

6            or, more precisely, 'unlabeled' uses may

7            be appropriate and rational in certain

8            circumstances, and may, in fact reflect

9            approaches to drug therapy that have been

10           extensively reported in medical

11           literature."           Do you see that?

12                A.      I do.

13                Q.      You understand what that means;

14           right?

15                        MR. KNEPPER:            Objection to form.

16                A.      Yes.      Yes.

17                Q.      Off-label use -- strike that.

18                        The FDA has recognized as early

19           as 1982 that off-label use may be based

20           on medical literature, not published

21           indications; right?

22                A.      Right.

23                Q.      And then it says, "Valid new



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1            uses for drugs already on the market are

2            often first discovered through

3            serendipitous observations and

4            therapeutic innovations, subsequently

5            confirmed by well-planned and executed

6            clinical investigations."                     Right?

7                 A.      Yeah.       That's -- that's kind of

8            a -- just a restating of what I related

9            to you about, for example, the use of

10           Botox and hyperhidrosis, as I have done.

11           Yeah, I would totally agree with that.

12                Q.      And then it says, "The agency

13           and its representatives have restated

14           this policy on numerous occasions."                              Do

15           you see that?

16                A.      I do.

17                Q.      Do you understand that for

18           decades, for three decades at least, the

19           FDA has taken the position that

20           physicians are allowed to prescribe drugs

21           on an off-label basis?

22                        MR. KNEPPER:            Objection, form.

23                A.      Yes.



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1                 Q.      Your report doesn't acknowledge

2            this longstanding position from the FDA,

3            does it?

4                 A.      My report does not -- no, it

5            does not.

6                 Q.      And I mean, I know I just heard

7            you say, well, maybe this is from the

8            '80s.      Let me show you what the FDA says

9            today.

10                A.      Okay.

11                Q.      I'm going to introduce another

12           exhibit.        This is Exhibit 12.                  Let me

13           know when you get it.

14           (Exhibit 12 was marked for identification

15           and is attached.)

16                A.      Okay.       All right.           I've got it.

17                Q.      All right.           You see that this is

18           a printout from fda.gov, the official

19           website of the FDA; right?

20                A.      Right.

21                Q.      The title is "Understanding

22           Unapproved Use of Approved Drugs 'Off

23           Label.'"        Right?



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1                 A.      Right.

2                 Q.      Go to page 2.

3                 A.      Okay.

4                 Q.      Toward the bottom, it says in

5            bold, "Why might an approved drug be used

6            for an unapproved use?"                   Do you see that?

7                 A.      I do.

8                 Q.      Then it says, "From the FDA

9            perspective, once the FDA approves a

10           drug, healthcare providers generally may

11           prescribe the drug for an unapproved use

12           when they judge that it is medically

13           appropriate for their patient."                          Do you

14           see that?

15                A.      I do.

16                Q.      And then skipping one sentence,

17           it says, "One reason is that there"

18           may -- "might not be an approved drug to

19           treat your disease or medical condition."

20           Right?

21                A.      Right.

22                Q.      So the FDA -- the position that

23           the FDA takes is off-label use may be



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1            medically appropriate for patients;

2            right?

3                  A.      Right.

4                  Q.      That's a position they've taken

5            for thirty years plus; right?

6                  A.      Right.

7                          MR. KNEPPER:            Objection, form.

8                  Q.      All right.           And we talked

9            earlier about, you know, is off-label use

10           experimental or investigational.                           Before

11           forming those opinions, did you look to

12           see what the FDA says on that point?

13                 A.      How the FDA classifies

14           experimental or investigational?

15                 Q.      Do you know what position the

16           FDA takes on whether off-label use is

17           considered investigational?

18                 A.      I don't know what their official

19           position is, no.

20                 Q.      All right.           Let's look at that.

21           All right.           This is going to be Exhibit

22           13.        Let me know when you have it.

23           (Exhibit 13 was marked for identification



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                                 Understanding the Well-Being of
                                     LGBTQI+ Populations

                                 Committee on Understanding the Well-Being of Sexual and
                                               Gender Diverse Populations

                       Charlotte J. Patterson, Martín-José Sepúlveda, and Jordyn White, Editors


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                                                      A Consensus Study Report of




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                                        Guidelines and Policies Related to Gender Affirmation

                        Clinicians who provide
                                            p        g
                                                     gender-affirming g ppsychosocial
                                                                           y           and medical services in the United
                States are informed by   y expert
                                              p evidence-based gguidelines. In 2012,, the World Professional
                Association for Transgender
                                         g        Health ((WPATH)) published
                                                                      p          version 7 of the Standards off Care ffor
                the Health off Transgender,
                                       g       , Transsexual,, and Gender-Nonconforming
                                                                                     f      g People,
                                                                                                   p , which have been
                continuously y maintained since 1979,, and revisions for version 8 are currently     y underway y
                (
                (Coleman   et al.,, 2012).
                                         ) Two newer gguidelines have also been ppublished by     y the Endocrine Society y
                (
                (Hembree    et al.,, 2017)) and the Center of Excellence for Transgender
                                                                                     g       Health ((UCSF Transgender
                                                                                                                   g
                Care,, 2016).
                            ) Each set of gguidelines is informed by    y the best available data and is intended to be
                flexible and holistic in application
                                             pp          to individual people.
                                                                       p p All of the guidelines
                                                                                          g           recommend
                py
                psychosocial       pp in tandem with physical
                               support                      p y                           gg timing
                                                                     interventions and suggest        g interventions to
                  p
                optimize  an individual’s ability  y to ggive informed consent. Mental and physical
                                                                                              p y              p
                                                                                                        health problems
                                                   p
                need not be resolved before a person              g a pprocess of medical ggender affirmation, but they
                                                            can begin
                should be managed sufficiently such that they do not interfere with treatment.
                        A major success of these guidelines has been identifying evidence and establishing expert
                consensus that gender-affirming care is medically necessary and, further, that withholding this
                care is not a neutral option (World Professional Association for Transgender Health, 2016). A
                number of professional medical organizations have joined WPATH in recognizing that gender-
                affirming care is medically necessary for transgender people because it reduces distress and
                promotes well-being, while withholding care increases distress and decreases well-being (AMA,
                2008; American Psychiatric Association, 2018; American Psychological Association (APA),
                2008, 2015; American Academy of Family Physicians, 2012; American Academy of Pediatrics,
                2018; American College of Nurse Midwives, 2012; American College of Obstetricians and
                Gynecologists, 2011; Endocrine Society, 2017). Accordingly, public and private insurers have
                expanded access to gender-affirming care; some have done so proactively, while others have
                been required by state and federal nondiscrimination laws to remove coverage exclusions (Baker,
                2017).
                        Coverage requirements for gender-affirming care typically rely on an overarching
                principle of parity between medically necessary services for transgender and cisgender people.
                Treatments that are gender-affirming for transgender patients are covered by public and private
                insurers for intersex and cisgender people for a variety of conditions, including genital
                difference, endocrine disorders, cancer prevention or treatment, and reconstructive surgeries
                following an injury. Examples of these services include testosterone or estrogen replacement
                therapy after surgery or menopause, vaginoplasty after pelvic surgery or for women with vaginal
                agenesis in the context of an intersex condition, and phalloplasty for cisgender male service
                members injured in war (Spade et al., 2009; Baker et al., 2012; Balzano and Hudak, 2018).
                        As this report goes to press, 24 states and the District of Columbia have enacted laws or
                made administrative changes prohibiting transgender-specific insurance exclusions in private
                coverage (Movement Advancement Project, 2020a). However, Medicaid programs in 10 states
                continue to explicitly exclude gender-affirming care for transgender individuals, and many states
                do not address the issue of this coverage in Medicaid (Mallory and Tentindo, 2019). At the
                federal level, the Medicare program removed its exclusion for “transsexual surgery” in 2014
                (U.S. Department of Health and Human Services, 2014), though coverage decisions related to
                gender-affirming surgeries are still made on a case-by-case basis (CMS, 2016). As discussed

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